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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF ARIZONA

IN RE: JUUL LABS, INC.
                                                      N.D. Cal. No.
MARKETING, SALES PRACTICES,
                                                   19-md-02913-WHO
AND PRODUCTS LIABILITY
LITIGATION
Maricopa County,

                    Plaintiff,            D. Ariz. No.

vs.                                       COMPLAINT

JUUL Labs, Inc.; Altria Group, Inc.;      JURY TRIAL DEMANDED
Altria Client Services LLC; Altria
Group Distribution Company; Philip
Morris USA, Inc.; James Monsees;
Adam Bowen; Nicholas Pritzker;
Hoyoung Huh; and Riaz Valani,

                    Defendants.
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                                 I.     INTRODUCTION

         1.    The battle to end nicotine addiction and its associated diseases and death has

consumed our nation’s public health resources for more than half a century. After five

decades of tireless efforts by public health advocates, litigators, and regulators, the war on

tobacco was on the path to victory. By 2014, rates of smoking and nicotine addiction in

this country were finally at an all-time low, particularly among teenagers. Until now. The

United States, closer than ever to consigning the nicotine industry to the dustbin of history,

now faces a youth nicotine epidemic of historic proportions.

         2.    JUUL products are rampant in the nation’s schools, with the percentage of

12th graders who reported consuming nicotine almost doubling between 2017 and 2018.

In 2019, more than five million middle and high school students reported current use of

e-cigarettes, including more than one in every four high schoolers. Consistent with these

national numbers, youth in Maricopa County are vaping at high rates. In 2018,

approximately 1 in every 5 students had used e-cigarettes within the last thirty days.1 The

Surgeon General has warned that this new “epidemic of youth e-cigarette use” could

condemn a generation to “a lifetime of nicotine addiction and associated health risks.” The

swift rise in a new generation of nicotine addicts has overwhelmed parents, schools, and

the medical community (including county public health departments) on the front lines




1
    2018 Arizona Youth Survey Maricopa County, Ariz. Criminal Justice Comm’n (2018),
    https://staging.azcjc.gov/sites/default/files/pubs/AYSReports/2018/2018_AYS_Maricop
    a_County_Profile_Report.pdf.

                                              1
dealing with this crisis, drawing governmental intervention at nearly every level—but it’s

too little, too late.

        3.      This public health crisis is no accident. What had been lauded as progress in

curbing cigarette use, JUUL Labs Inc.’s (JLI) co-founders Adam Bowen and James

Monsees viewed as opportunity. Seizing on the decline in cigarette consumption and the

lax regulatory environment for e-cigarettes, Bowen, Monsees, and investors in their

company sought to introduce nicotine to a whole new generation, with JLI as the dominant

supplier. To achieve that common purpose, they knew they would need to create and

market a product that would make nicotine cool again, without any of the stigma

associated with cigarettes. With help from their early investors and board members, who

include Nicholas Pritzker, Riaz Valani, and Hoyoung Huh (together, the “Management

Defendants”), they succeeded in hooking millions of youth, and, of course, earning

billions of dollars in profits.

        4.      Every step of the way, JLI, by calculated intention, adopted the cigarette

industry’s playbook, in coordination with one of that industry’s innovators, cigarette giant

Altria. JLI was created in the image of the iconic American cigarette companies, which

JLI founders praised for creating “the most successful consumer product of all time. . . .

an amazing product.” The secret to that “amazing product”? Nicotine, a chemical that has

deleterious effects on developing young brains, is the fundamental reason that people

persist in using tobacco products even though they can cause pulmonary injuries,

cardiovascular disease and other serious, often fatal, conditions. Through careful study of




                                       2
decades of cigarette industry documents, JLI knew that the key to developing and

sustaining addiction was the amount and the efficiency of the nicotine delivery.

       5.     Three tactics were central to decades of cigarette industry market

dominance: product design to maximize addiction; mass deception; and targeting of youth.

JLI and its co-conspirators adopted and mastered them all. First, JLI and Bowen designed

JUUL products to create and sustain addiction, not break it. JLI and Bowen were the first

to design an e-cigarette that could compete with combustible cigarettes on the speed and

strength of nicotine delivery. Indeed, JUUL products use nicotine formulas and delivery

methods much stronger than combustible cigarettes, confirming that what JLI and Bowen

designed was a starter product designed for youth, not a cessation or cigarette replacement

product. JLI and Bowen also innovated by making an e-cigarette that was smooth and easy

to inhale, practically eliminating the harsh “throat hit,” which otherwise deters nicotine

consumption, especially among nicotine “learners,” as R.J. Reynolds’ chemist Claude

Teague called new addicts, primarily young people.

       6.     Second, JLI and the Management Defendants, just like cigarette companies

before them, targeted kids as their customer base. One of JLI’s “key needs” was the need

to “own the ‘cool kid’ equity.” JUUL products were designed to appear slick and high-

tech like a cool gadget, including video-game-like features like “party mode.” JLI offered

kid-friendly flavors like mango and cool mint, and partnered with Altria to create and

preserve the market for mint-flavored products—all because Defendants knew that flavors

get young people hooked. Under the guise of youth smoking prevention, JLI sent

representatives directly to schools to study teenager e-cigarette preferences.



                                     3
       7.     Third, JLI, the Management Defendants and Altria engaged in a campaign

of deceit, through sophisticated mass media and social media communications,

advertisements and otherwise, about the purpose and dangers of JUUL products. JUUL

products’ packaging and advertising grossly understates the nicotine content in its

products. Advertising campaigns featured JUUL paired with food and coffee, positioning

JUUL as part of a healthy meal, a normal part of a daily routine, and as safe as caffeine.

In partnership with Altria, JLI adopted a “Make the Switch” campaign to mislead the

public into thinking that JLI products were benign smoking cessation devices, even though

JUUL was never designed to break addictions. JLI, the Management Defendants, and

Altria also concealed the results of studies that revealed that JUUL products were far more

powerfully addictive than was disclosed. JLI’s deceptive marketing scheme was carried

out across the country through broad distribution channels: veteran cigarette industry

wholesalers, distributors and retailers ensured that JUUL products would become widely

available to a new market of nicotine-newcomers, especially youth. JLI and the

Management Defendants joined with these veteran cigarette industry marketers to secure

premium shelf space for vivid displays at convenience stores, like 7-11, and gas stations,

including Chevron, that would lure e-cigarette users, particularly young people, who

would become long-term customers. These marketing efforts have been resounding

successes—when JUUL products were climbing in sales, most youth—and their parents—

believed that e-cigarettes did not contain nicotine at all.

       8.     JLI and the Management Defendants reached their intended demographic

through a diabolical pairing of notorious cigarette company advertising techniques (long



                                      4
banned for cigarettes because they cause young people to start smoking) with cutting-edge

viral marketing campaigns and social media. They hired young models and advertised

using bright, “fun” themes, including on media long barred to the cigarette industry, such

as billboards, on children’s websites such as “Nick Junior” and Cartoon Network, and on

websites providing games and educational tools to students in middle school and high

school.    JLI and the Management Defendants also employed young social-media

“influencers” and celebrities popular with teenagers. When the public, regulators, and

Congress caught onto JLI’s relentless focus on children, JLI and the Management

Defendants simply lied, even though they knew well that they had purposefully targeted

youth in their marketing and those efforts had been breathtakingly successful.

      9.      It should come as little surprise that JLI and the Management Defendants’

misconduct, expressly patterned after decades of cigarette company practices, could not

have been carried out without the involvement and expertise of an actual cigarette

company. In December 2018, Altria paid $12.8 billion to acquire a 35% stake in JLI.

Nicholas Pritzker and Riaz Valani led the negotiations for JLI and worked closely with

Altria’s executives to secure Altria’s agreement to pull its own competing e-cigarette

product off the market and instead throw its vast resources and cigarette industry

knowledge behind JUUL. Altria thus supported and ultimately directed JLI, working to

ensure its continued success despite Altria’s knowledge that JLI and the Management

Defendants’ had misled the public and targeted youth. JUUL’s market dominance was

established, positioning Altria and the Management Defendants to share in JLI’s profits.

Defendants’ conduct prompted the Federal Trade Commission to sue JLI and Altria on



                                    5
April 1, 2020 alleging violations of the antitrust laws and seeking to unwind the JLI/Altria

transaction. But even well before Altria announced its investment in JLI, the connections

between the two companies ran deep.           With the assistance and direction of the

Management Defendants, Altria collaborated with JLI to maintain and grow JUUL sales,

despite its knowledge that JUUL was being marketed fraudulently to all consumers and

targeted to youth, including by sharing data and information and coordinating marketing

activities, including acquisition of key shelf space next to top-selling Marlboro cigarettes.

Altria’s investment in JLI is not merely a financial proposition, but a key element of

Defendants’ plan to stave off regulation and public outcry and keep their most potent and

popular products on the market. JLI (and the Management Defendants) have benefitted

from Altria’s expertise in designing and marketing addictive products, and in thwarting

regulation.

       10.    There is no doubt about it—JLI, the Management Defendants, Altria, and

their co-Defendants have created this public health crisis. At the heart of this disastrous

epidemic are the concerted efforts of JLI, its co-conspirators, and all those in JUUL’s

supply and distribution chain to continuously expand their market share and profits by

preying upon a vulnerable young population and deceiving the public about the true nature

of the products they were selling. Nicotine is not benign like coffee, contrary to what many

JUUL users believe. Nor is the aerosol as harmless as puffing room air. Worse, the flavors

in JUUL products are themselves toxic and dangerous, and have never been adequately

tested to ensure they are safe for inhalation. According to the most recent scientific

literature, JUUL products cause acute and chronic pulmonary injuries, cardiovascular



                                      6
conditions, and seizures. Yet JUUL products and advertising contain no health risk

warnings at all. And a generation of kids is now hooked, ensuring long-term survival of

the nicotine industry because, today just as in the 1950s, 90% of smokers start as children.

                          II.   JURISDICTION AND VENUE

       11.    This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because Plaintiff’s racketeering claim arises under the laws of the United

States, 18 U.S.C. § 1961 et seq., and pursuant to 28 U.S.C. § 1332(a) because: (i) the

amount in controversy exceeds $75,000, exclusive of interests and costs, and (ii) the

plaintiff and defendants are citizens of different states. This Court has supplemental

jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

       12.    The Court has personal jurisdiction over Defendants because they do

business in the District of Arizona and have sufficient minimum contacts with the District.

Defendants intentionally avail themselves of the markets in this State through the

promotion, marketing, and sale of the products at issue in this lawsuit in Arizona, and by

retaining the profits and proceeds from these activities, to render the exercise of

jurisdiction by this Court permissible under Arizona law and the U.S. Constitution. The

Court also has personal jurisdiction over JLI, the Management Defendants, and Altria

under 18 U.S.C. § 1965, because at least one of these Defendants has sufficient minimum

contacts with the District.

       13.    All Defendants have materially participated in conduct that had intended

and foreseeable effects on Plaintiff such that the forum Court could exercise personal




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jurisdiction over all Defendants. Defendants’ conduct was purposefully directed at

Plaintiff and similarly situated plaintiffs throughout the United States and in each forum.

       14.    Venue is proper in the District of Arizona pursuant to 28 U.S.C. § 1391

(b)(2) and (3) because a substantial part of the events or omissions giving rise to the claims

at issue in this Complaint arose in this District and Defendants are subject to the Court’s

personal jurisdiction with respect to this action.

       15.    In the alternative, this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 because Plaintiff’s racketeering claim arises under the laws

of the United States, 18 U.S.C. § 1961 et seq., and pursuant to 28 U.S.C. § 1332(a)

because: (i) the amount in controversy exceeds $75,000, exclusive of interests and costs,

and (ii) the plaintiff and defendants are citizens of different states. This Court has

supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

       16.    This Court has personal jurisdiction over Defendants because they do

business in the Northern District of California and have sufficient minimum contacts with

the District. Defendants intentionally avail themselves of the markets in this State through

the promotion, marketing, and sale of the products at issue in this lawsuit in California,

and by retaining the profits and proceeds from these activities, to render the exercise of

jurisdiction by this Court permissible under California law and the U.S. Constitution.

       17.    In addition, Defendant JUUL Labs Inc. has its principal place of business in

the Northern District of California and Defendants Monsees, Bowen, Pritzker, and Valani

reside within the Northern District of California, making them subject to the general




                                      8
jurisdiction of this Court. Defendant Huh resided in the Northern District of California

when he engaged in the conduct alleged herein.

       18.    All Defendants have materially participated in conduct that had intended

and foreseeable effects on Plaintiff such that this Court can exercise personal jurisdiction

over all Defendants. Defendants’ conduct was substantially connected to the Northern

District of California and was purposefully directed at Plaintiff and similarly situated

plaintiffs from the Northern District of California throughout the United States and into

each state at issue.

       19.    This Court also has personal jurisdiction over JLI, the Management

Defendants, and Altria under 18 U.S.C. § 1965, because at least one of these Defendants

has sufficient minimum contacts with the District.

       20.    Venue is proper in the Northern District of California pursuant to 28 U.S.C.

§ 1391 (b)(2) and (3) because a substantial part of the events or omissions giving rise to

the claims at issue in this Complaint arose in this District and Defendants are subject to

the Court’s personal jurisdiction with respect to this action.

                                     III.   PARTIES

Plaintiff

       1.     Plaintiff Maricopa County is the largest county in Arizona, the fastest

growing county in the country, and the fourth most populous county in the United States,

with approximately 4.4 million residents.




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JUUL Labs, Inc.

         2.   Defendant JUUL Labs, Inc. (“JLI”) is a Delaware corporation, having its

principal place of business in San Francisco, California. Ploom, Inc., a predecessor

company to JLI, was incorporated in Delaware on March 12, 2007. In 2015, Ploom, Inc.

changed its name to PAX Labs, Inc. In April 2017, PAX Labs, Inc. changed its name to

JUUL Labs, Inc., and formed a new subsidiary corporation with its old name, PAX Labs,

Inc. That new subsidiary, PAX Labs, Inc. (“PAX”), was incorporated in Delaware on

April 21, 2017 and has its principal place of business in San Francisco, California.

         3.   JLI designs, manufactures, sells, markets, advertises, promotes and

distributes JUUL e-cigarettes devices, JUUL pods and accessories (collectively “JUUL”

or “JUUL products”). Prior to the formation of separate entities PAX Labs, Inc. and JLI

in or around April 2017, JUUL designed, manufactured, sold, marketed, advertised,

promoted, and distributed JUUL under the name PAX Labs, Inc.

         4.   Together with its predecessors, JUUL Labs, Inc is referred to herein as

“JLI.”

Altria Defendants

         5.   Defendant Altria Group, Inc., (“Altria” or “Altria Group” or together with

its wholly owned subsidiaries and their predecessors, “Altria” or together with Defendants

Philip Morris USA, Inc., Altria Client Services LLC, and Altria Group Distribution

Company, the “Altria Defendants”) is a Virginia corporation, having its principal place of

business in Richmond, Virginia. Altria is one of the world’s largest producers and




                                    10
marketers of tobacco products, manufacturing and selling combustible cigarettes for more

than a century.

         6.    Defendant Philip Morris USA, Inc. (“Philip Morris”), is a wholly-owned

subsidiary of Altria. Philip Morris is also a Virginia corporation that has its principal place

of business in Richmond, Virginia. Philip Morris is engaged in the manufacture and sale

of cigarettes in the United States. Philip Morris is the largest cigarette company in the

United States. Marlboro, the principal cigarette brand of Philip Morris, has been the largest

selling cigarette brand in the United States for over 40 years.

         7.    On December 20, 2018, Altria Group and Altria Enterprises LLC purchased

a 35% stake in JLI. Altria and JLI executed a Services Agreement that provides that Altria,

through its subsidiaries, Philip Morris, Altria Client Services LLC, and Altria Group

Distribution Company, would assist JLI in the selling, marketing, promoting, and

distributing of JUUL, among other things.

         8.    Defendant Altria Client Services LLC (“Altria Client Services” or “ACS”)

is a Virginia limited liability company with its principal place of business in Richmond,

Virginia. Altria Client Services provides Altria Group, Inc. and its companies with

services in many areas including digital marketing, packaging design & innovation,

product development, and safety, health, and environmental affairs. Pursuant to Altria’s

Relationship Agreement with JLI, Altria Client Services assists JLI in the sale, marketing,

promotion and distribution of JUUL products.2 Such services include database support,


2
    Altria Group, Inc., Relationship Agreement by and among JUUL Labs, Inc., Altria
    Group, Inc., and Altria Enterprises LLC (“Relationship Agreement”) (Form 8-K), Ex.



                                      11
direct marketing support, and premarket product application support.3 On September 25,

2019, the former senior vice president and chief growth officer of Altria Client Services,

K.C. Crosthwaite, became the new chief executive officer of JLI.

       9.     Defendant Altria Group Distribution Company (“AGDC”) is a Virginia

corporation and wholly owned subsidiary of Altria Group, Inc. with its principal place of

business in Richmond, Virginia. Altria Group Distribution Company provides sales,

distribution and consumer engagement services to Altria’s tobacco companies. Altria

Group Distribution Company performs services under the Relationship Agreement to

assist JLI in the sale, marketing, promotion and distribution of JLI. Such services include

JUUL-distribution support, the removal by Altria Group Distribution Company of Nu

Mark products (such as Green Smoke or MarkTen) and fixtures in retail stores and

replacing them with JUUL products and fixtures, and sales support services.

       10.    While Plaintiff has attempted to identify the specific Altria defendant which

undertook certain acts alleged in this Complaint, they were not always able to do so due

to ambiguities in Altria’s and JLI’s own documents. References in these internal

documents to “Altria” without further detail are common. In other words, Defendants do

not always specify which entity is involved in particular activities in their own internal

documentation. Moreover, key employees moved freely between Altria Group, Inc. and

its various operating subsidiaries, including defendants Altria Client Services, Altria



  2.2 (Dec. 20, 2018),
  https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex22
  .htm.
3
  Id.



                                    12
Group Distribution Company, and Philip Morris USA Inc – each of which is a wholly

owned subsidiary of Altria Group, Inc. For example, K.C. Crosthwaite (who would later

become CEO of JLI) was at various points from 2017 through 2019 employed by Altria

Client Services, Philip Morris, and Altria Group. And in its own annual reports to

Shareholders, when identifying the “Executive Officers” of Altria Group, Altria states that

the “officers have been employed by Altria or its subsidiaries in various capacities during

the past five years.”4

         11.   Notably, Altria Group directs the activities of its varying operating

companies, including defendants Altria Client Services, AGDC, and Philip Morris. For

this reason, and unless otherwise specified, the term “Altria” refers to Altria Group Inc.

as the responsible entity, by virtue of its control over its various operating subsidiaries. To

the extent such an assumption is incorrect, the knowledge of which Altria Group Inc.

subsidiary is responsible for specific conduct is knowledge solely within the possession

of the Altria Defendants.

Management Defendants

         12.   Defendant James Monsees is a resident of the San Francisco Bay area,

California. In 2007, he co-founded Ploom with Adam Bowen. He served as Chief

Executive Officer of JLI until October 2015. Since October 2015, he has been Chief

Product Officer of JLI. At all relevant times, he has been a member of the Board of

Directors of JLI until he stepped down in March 2020.


4
    Altria Group, Inc., 2018 Altria Group, Inc. Annual Report at 98, available at
    http://investor.altria.com/file/4087349/Index?KeyFile=1001250956 (emphasis added)



                                      13
      13.    Defendant Adam Bowen is a resident of the San Francisco Bay area,

California. In 2007, he co-founded Ploom with Defendant Monsees. At all relevant times,

he has been Chief Technology Officer and a member of the Board of Directors of JLI.

      14.    Defendant Nicholas Pritzker is a resident of San Francisco, California, and

a member of the Pritzker family, which owned the chewing-tobacco giant Conwood before

selling it to Reynolds American, Inc., a subsidiary of British American Tobacco. Pritzker

received a J.D. from the University of Chicago. He served as president of the Hyatt Hotels

Corporation and was a member of its Board of Directors from 1980 to 2007. More

recently, he co-founded Tao Capital, an early investor in, among other companies, Tesla

Motors and Uber. In 2011, he invested in JLI.5 He has been on the Board of Directors of

JLI since at least August 2013.6 At least from October 2015 to August 2016, he was on

the Executive Committee in the Board of Directors and served as Co-Chairman. He

controlled two of JLI’s seven maximum Board seats (the second of which was occupied

at relevant times by Alexander Asseily and Zachary Frankel).7

      15.    Defendant Hoyoung Huh currently lives in Florida. During most of the

relevant time period, he lived and worked in the Silicon Valley area, California. He holds

an M.D. from Cornell and a Ph.D. in Genetics/Cell Biology from Cornell/Sloan-Kettering.

He has been CEO or a Board member of numerous biotechnology businesses, including


5
  Ainsley Harris, How JUUL went from a Stanford thesis to $16 billion startup, Fast Co.
  (Mar. 8, 2020), https://www.fastcompany.com/90263212/how-JUUL-went-from-a-
  stanford-thesis-to-16-billion-startup.
6
  JLI01426164.
7
  JLI01356230; JLI01356237; JLI00417815 (same in February 2018); JLI01362388;
  JLI01439393; JLI01440776.



                                    14
Geron Corporation. Huh has been on the Board of Directors of JLI since at least June

2015. At least from October 2015 to August 2016, he was on the Executive Committee in

the Board of Directors. Huh occupied the Board seat appointed by a majority of the JLI

Board.8 Huh resigned from JLI’s board in May 2018.9

       16.    Defendant Riaz Valani lives near San Jose, California and is a general

partner at Global Asset Capital, a San Francisco-based private equity investment firm. He

first invested in JLI in 2007, and has been on the Board of Directors of JLI since at least

2007.10 At least from October 2015 to August 2016, he was on the Executive Committee

in the Board of Directors. He controlled two JLI’s maximum seven Board seats.11

Beginning around March 2015, Valani’s second seat was occupied by Hank Handelsman;

Zach Frankel may have occupied Valani’s second seat starting in 2017, though

Handelsman remained on the board.12

       17.    Defendants Monsees, Bowen, Pritzker, Huh, and Valani are referred to

collectively as the “Management Defendants.”

       18.    The Altria Defendants, Monsees, Bowen, Pritzker, Huh, and Valani are

referred to collectively as the “RICO Defendants.”




8
   Id.
9
   JLI01425022.
10
    JLI01437838; Ploom, Inc., Notice of Exempt Offering of Securities (Form D) (May 5,
   2011),
   https://www.sec.gov/Archives/edgar/data/1520049/000152004911000001/xslFormDX0
   1/primary_doc.xml.
11
    JLI01426710; JLI01365707; INREJUUL_00327603; JLI00417815.
12
    JLI01356230; JLI01356237; JLI00417815; JLI01365706; JLI01362388; JLI01439393;
   JLI01440776.



                                    15
                      IV.     GENERAL FACTUAL ALLEGATIONS

A.        Each Defendant Was Instrumental in Seeking to Develop and Market the
          Blockbuster Sequel to Combustible Cigarettes, the “Most Successful
          Consumer Product of All Time.”

          19.    JLI’s co-founder James Monsees has described the cigarette as “the most

successful consumer product of all time . . . an amazing product.”13 This statement, which

ignores the fact that cigarettes have caused more deaths than any other human invention,

contained a kernel of truth. When U.S. smoking rates peaked in the mid-1960s, 42% of

adults smoked cigarettes. Cigarettes were everywhere; people smoked on airplanes, in

movie theatres, at the office, and at sports games. Movie stars and sports heroes smoked.

Cigarette advertising wallpapered American life, glamorizing smoking as sophisticated,

cool, and the thing to do.

          20.    But in reality, of course, this “successful” product has long been the world’s

leading cause of preventable death.

          21.    Years of anti-smoking campaigns, including work by local government

public health departments and school-based anti-tobacco programs, have made great

strides towards denormalizing cigarette smoking. But where public health officials and

schools saw progress, others saw an opportunity.

          22.    Citing “some problems” inherent in the cigarette, Monsees and JLI co-

founder Adam Bowen set out to “deliver[] solutions that refresh the magic and luxury of



13
     Kathleen Chaykowski, Billionaires-to-be: Cigarette Breakers–James Monsees and
     Adam Bowen Have Cornered the US E-Cigarette Market with Juul. Up Next: The
     World, FORBES INDIA (Sept. 27, 2018),
     www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-breakers/51425/1.



                                       16
the tobacco category.”14 Monsees saw “a huge opportunity for products that speak directly

to those consumers who aren’t perfectly aligned with traditional tobacco products.”15

Successfully capitalizing on this opportunity would mean not only billions of dollars in

short-term revenue but lucrative acquisition by a cigarette industry power player.

       23.    Bowen and Monsees took the first major step toward realizing their vision

by deliberately creating an extremely potent nicotine product that looked nothing like a

cigarette. But achieving widespread adoption of their highly addictive product required

resources and expertise beyond those possessed by Bowen, Monsees or others at JLI.

       24.    When it became clear that Bowen and Monsees could not achieve vision of

growing the number of nicotine-addicted e-cigarette users to ensure a base of customers

for life through JLI by themselves, the Management Defendants planned a fundamental

shift in roles to allow Pritzker, Huh, and Valani to direct and take control of JLI and use

it to commit the Defendants’ unlawful acts.

       25.    Specifically, in October 2015, Monsees stepped down from his role as Chief

Executive Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker,

Valani, and Huh formed an Executive Committee of the JLI Board of Directors that would

take charge of fraudulently marketing JUUL products, including to youth.

       26.    Prior to the installation of Tyler Goldman as JLI’s new CEO in August 2016,

Defendants Pritzker, Valani, and Huh used their newly formed Executive Committee to


14
    Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco
   Pods, SOLID SMACK (Apr. 23, 2014), www.solidsmack.com/ design/ploom-modeltwo-
   slick-design-tobacco-pods.
15
    Id.



                                    17
expand the number of addicted e-cigarette users through fraudulent advertising and

representations to the public. They overrode other board members’ arguments that JLI’s

youth oriented marketing campaign should be abandoned or scaled back, directed the

continuation of the marketing campaign that they knew was actively targeting youth, and

cleaned house at JLI by “dismiss[ing] other senior leaders and effectively tak[ing] over

the company.”16 Once their leadership was secure, defendants Pritzker, Valani, and Huh

pressed for even “more aggressive rollout and [marketing].”17

       27.    Defendants Bowen, Monsees, Pritzker, Valani, and Huh thus, and as further

set forth in this complaint, controlled JLI and used it to make fraudulent

misrepresentations or omissions regarding Juul’s intentional addictiveness and method of

nicotine delivery, combined with the intent, contrary to public statements, to grow the

market for nicotine-addicted individuals for their own financial gain.

       28.    And, as set forth in this complaint, Defendants Bowen, Monsees, Pritzker,

Huh, and Valani sought to personally profit from their unlawful acts, using their control

of JLI to position the company for acquisition. By no later than August 2015, and likely

earlier, Defendant Monsees was in talks with Japan Tobacco International (an early

investor in Ploom, JLI’s predecessor), British American Tobacco, and Phillip Morris

International regarding a potential acquisition of the JUUL business. Monsees had already

received “a couple good faith lowball offers” from British American Tobacco and was


16
    Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y.
   TIMES (Nov. 23, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-
   crisis.html.
17
    INREJUUL_00278359.



                                    18
awaiting a proposal from PMI that month. At the same time, Monsees was looking for

“banking support to give an internal tobacco champion the tools to argue for a sizeable

deal.”18

         29.   By no later than August 2015, Defendants Bowen, Pritzker, Valani, and Huh

joined in the discussions of a potential acquisition by a major cigarette company,19 as they

knew, in the words of Defendant Bowen, “big tobacco is used to paying high multiples

for brands and market share.”

         30.   Unable to secure an early acquisition, the Management Defendants knew

that their desire to monetize a massive new market for JUUL would be aided if they could

convert Altria, a competitor through its e-cigarette subsidiary Nu Mark LLC and an

experienced cigarette company with a history of marketing to youth and covering it up,

into an ally and eventual purchaser. They began that effort as late as the Spring of 2017.

While Defendants JLI, Bowen, Monsees, Valani, and Huh are relative newcomers to the

tobacco industry, Altria has been manufacturing and selling “combustible” cigarettes for

more than a century.

         31.   Altria, for its part, desperately sought a replenishing customer base.

Cigarette companies have long known that profitable growth requires a pipeline of

“replacement” customers. After decades of tobacco litigation and regulation, Altria

(including through its subsidiary Philip Morris) had little ability to recruit new smokers in

the ways that had driven Philip Morris’s success through most of the 1900s. In 2017,


18
     JLI01369437
19
     INREJUUL_00016386 (Stifel Presentation, Aug. 2015).



                                     19
Altria’s combustible cigarette products (sold through Philip Morris) were facing

increasing regulatory pressures. In late July 2017, Altria’s stock value plummeted shortly

after the FDA announced that it would reduce the amount of nicotine allowed in cigarettes

with an eye toward reaching non-addictive levels.20 In late 2017, Altria, and other major

cigarette companies, also finally complied with a consent decree from the 1990s tobacco

litigation that required them to issue corrective advertising statements that highlighted the

addictiveness and health impacts of smoking cigarettes.21

       32.    Due in large part to this litigation and regulation, cigarette use has been

declining in the United States in the last decade, especially among youth.22 Altria estimates

that the cigarette industry declined by 4% in 2017 and by 4.5% in 2018, and it predicted a

continued 4% to 5% decline in the average annual U.S. cigarette industry volume for 2019

through 2023.23 Altria later adjusted the estimated rate of decline to 4% to 6%, to reflect

efforts to increase the legal age for cigarette smoking to 21.24


20
     See Dan Caplinger, Altria Group in 2017: The Year in Review, The Motley Fool (Dec.
    18, 2017), https://www.fool.com/investing/2017/12/18/altria-group-in-2017-the-year-in-
    review.aspx.
 21
     https://www.law360.com/articles/1037281/tobacco-cos-settle-long-running-health-
    warning-dispute
 22
     Current Cigarette Smoking Among Adults In the United States, CDC,
    https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.
    htm (last visited February 10, 2020); Youth and Tobacco Use, CDC,
    https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.
    htm (last visited February 10, 2020).
23
    Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria (Jan. 31, 2019),
   http://investor.altria.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=100124
   7877&iid=4087349.
24
    Altria Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31,
   2019), https://tobaccobusiness.com/altria-shares-slide-as-cigarette-sales-continue-to-
   decline/.



                                     20
       33.    In the face of this continued downward trend in the traditional cigarette

market, Altria had undertaken its own efforts at marketing an e-cigarette product through

its subsidiary Nu Mark LLC. Altria, through Nu Mark, had launched the MarkTen product

nationwide in 2014 with an aggressive marketing campaign, eclipsing the advertising

expenditures for the market leader at that time, blu e-cigarettes.25 Of the $88.1 million

spent on e-cigarette advertising in 2014, nearly 40% of that was Altria’s MarkTen

campaign, at $35 million.26 Altria was clear in its intent to dominate the e-cigarette market

as it has the combustible cigarette market: “We are the market leader today and we will

continue to be,” then-CEO Marty Barrington told investors at the time of MarkTen’s

launch.27 The original MarkTen was a “cigalike,” designed to mimic the look and feel of

a combustible cigarette.

       34.    Altria had also been acquiring small companies in the e-cigarette industry,

starting in 2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike” style,

and were sold in flavors including “Vanilla Dreams” and “Smooth Chocolate.”28 In 2016,




25
    Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as Altria’s
   MarkTen enters the marketplace, Tobacco Control 25 (10) (2015),
   http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
26
    Id.
27
    Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News
   (July 22, 2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
 28
     Mike Esterl, Altria To Launch MarkTen E-Cigarette Nationally, Wall St. J. (Feb. 19,
    2014), https://www.wsj.com/articles/altria-to-launch-markten-e-cigarette-nationally-
    1392832378; Senator Richard J. Durbin et al., Gateway to Addiction? A Survey of
    Popular Electronic Cigarette Manufacturers and Targeted Marketing to Youth at 12
    (Apr. 14, 2014), https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
    Cigarettes%20with%20Cover.pdf.



                                     21
Altria acquired an e-cigarette product called Cync, from Vape Forward.29 Cync is a small

e-cigarette device that uses prefilled pods in a variety of flavors, similar to the JUUL.

       35.    At the same time Altria was struggling to market a successful e-cigarette

product through Nu Mark, it was carefully studying JUUL. A May 13, 2016 presentation

by Altria Client Services titled “JUUL Market Summary” included detailed information

on the sale of JUUL, including market share, the number of chain stores selling JUUL, the

price of JUUL and JUUL pods, updates to the design of JUUL and JUUL pods, new flavor

names, the purported nicotine strength of JUUL pods, the “Target consumer” for JUUL,

and the “Business Model/Sources of Funding” of JLI (then PaxLabs).30

       36.    In February 2017, Altria told investors at the 2017 Consumer Analyst Group

of New York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark)

made excellent progress toward its long-term aspiration of becoming a leader in e-

vapor.”31 In his remarks, Altria Group’s current then-CEO, Howard A. Willard III, said,

“Nu Mark, our e-vapor company, had a very strong year. It made excellent progress

toward establishing MarkTen as a leading brand in the category, continued to improve its

supply chain, and took the necessary steps to comply with the deeming regulations.” He


29
    Remarks by Jody Begley, 2017 Altria Investor Day (Nov. 2, 2017),
   http://media.corporate-
   ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.
30
    ALGAT0002577924.
31
    Remarks by Marty Barrington, Altria Group, Inc.’s (Altria) Chairman, CEO and
   President, and other members of Altria’s senior management team 2017 Consumer
   Analyst Group of New York (CAGNY), (2017),
   http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-
   06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-
   06673f29b6b0&iid=4087349.



                                     22
noted, however, that the estimated “total 2016 e-vapor consumer spending was roughly

flat compared to the prior year at approximately $2.5 billion.”32 In 2017, Altria’s MarkTen

e-cigarettes had a market share of only 13.7%, well behind JLI’s growing market share of

40%.33 Thus, despite its public statements to the contrary, Altria knew the popularity of

JUUL stood in the way of Altria becoming the dominant force in the e-cigarette market.

          37.    With smoking on the decline, litigation and regulatory controls were

ramping up and threatening Altria’s ability to attract new smokers, and JUUL

outperforming Altria’s products in the market, Altria saw a solution in JLI, with its

exponential growth and large youth market. That youth market would be key to replacing

Altria’s lost profits for years to come. So, Altria Group and Altria Client Services set out

to court the leaders of JLI in an eighteen-month dance, all the while signaling that a

massive payout would await those leaders if they maintained JLI’s large youth market.

          38.    Essential to maintaining JLI’s large youth market, of course, was delaying

or preventing regulation or public outcry that could interfere with Altria’s and the

Management Defendants’ efforts. Altria, with its decades of experience doing just that,

aided JLI and the Management Defendants in these efforts along the way, ultimately

attempting to deceive the public and the FDA itself in order to defraud users when the

specter of regulation threatened the value of its impending investment in late 2018.

Altria’s best bet for maintaining its sales by increasing the number of users, especially


32
      Id.
33
      Richard Craver, Vuse falls further behind Juul on e-cig sales, Winston-Salem Journal
     (Dec. 14, 2017), https://www.journalnow.com/business/vuse-falls-further-behind-juul-
     on-e-cig-sales/article_ed14c6bc-5421-5806-9d32-bba0e8f86571.html.



                                      23
youth, addicted to nicotine was to partner with JLI’s leadership (1) to maintain or increase

the number of users, especially youth, hooked on JUUL; and (2) to delay and prevent

regulation that could interfere with this first scheme.

       39.    For those reasons and others, Altria began coordinating with the

Management Defendants in the Spring of 2017. And so, with Defendants Bowen,

Monsees, Pritzker, Valani, and Huh looking for a big payout, and Altria and Altria Client

Services looking for new customers, this group of Defendants began to work together,

using JLI to further their unlawful ends, in the Spring of 2017. Of course, these Defendants

were not strangers to one another. Before the Spring of 2017, Altria (through Altria Client

Services) and JLI were members of at least one industry group that shared information

and coordinated public statements regarding vaping,34 and Ploom’s advisory committee

included Altria’s former growth officer. Howard Willard, Altria’s CEO said, the company

followed “JUUL’s journey rather closely” from its early beginnings.35

       40.    As discussed further below, Altria first contacted JLI’s leadership, including

Defendants Pritzker and Valani, about a partnership by early 2017, with “confidential

discussions” beginning in the Spring of 2017.36 JLI’s pitch deck to investors at the time

boasted that “Viral Marketing Wins,” and that JUUL’s super potent nicotine formulation




34
   INREJUUL_00278740.
35
   Olivia Zaleski & Ellen Huet, Juul Expects Skyrocketing Sales of $3.4 Billion, Despite
   Flavored Vape Restrictions, Bloomberg (Feb. 22, 2019),
   https://www.bloomberg.com/news/articles/2019-02-22/juul-expects-skyrocketing-sales-
   of-3-4-billion-despite-flavored-vape-ban.
36
   Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).



                                     24
was “cornering” the consumables market with the highest customer retention rate of any

e-cigarette.37

         41.     By the Fall of 2017, JLI, through its leadership including the Management

Defendants, and Altria had agreed to and had taken coordinated actions to maintain and

expand JUUL’s market share, knowing that it was based on sales to youth and fraudulent

and misleading advertising to users of all ages.

         42.     The “confidential discussions” continued, with Altria’s leadership meeting

regularly with Pritzker and Valani for “a period of approximately 18 months.”38

Defendants Pritzker and Valani took the lead on these discussions (together with JLI CEO

Kevin Burns), working to establish the formal JLI-Altria partnership. On August 1, 2018,

Pritzker, Valani, and JLI’s CEO Kevin Burns met Willard and William Gifford, Altria’s

CFO, at the Park Hyatt Hotel in Washington, D.C., to discuss their partnership and Altria’s

support of JUUL’s mission.

         43.     During the roughly 18-month negotiating period, Pritzker, Valani, and JLI’s

leadership communicated regularly with Altria as they all worked together to fraudulently

growand maintain JUUL’s market share. Through their control of JLI, Bowen, Monsees

and Huh remained critical to the success of these efforts. Without their control of the JLI

Board of Directors and prior fraudulent conduct, the close coordination between JLI’s

leadership and Altria and Altria’s investment in JLI to support JUUL’s mission, would

not have been possible.


37
     INREJUUL_00349529.
38
     Id.



                                       25
       44.    In December 2018, Altria decided to take the next step in its coordination

with the Management Defendants and JLI’s leadership by making a $12.8 billion equity

investment in JLI, the largest equity investment in United States history. This arrangement

was profitable for Altria, as well as enormously lucrative for Defendants Monsees, Bowen,

Pritzker, Valani, and Huh, as detailed below.

       45.    Both before and after Altria’s investment, JLI, through its employees and

officers, provided Altria with critical information regarding the design and nicotine

content of the JUUL product, the labeling of the JUUL product, and related topics

including advertising, retail distribution, online sales, age verification procedures,

information on underage user’s flavor preferences, and regulatory strategies. Altria, for its

part, increasingly guided and directed JLI and the Management Defendants in these areas

and helped them devise and execute schemes to preserve JLI’s youth appeal and market,

including by deceiving users of all ages and regulators.

       46.    JLI, the Management Defendants, and Altria worked together to implement

their shared goal of growing a youth market in the image of the combustible cigarette

market through a multi-pronged strategy to: (1) create an highly addictive product that

users would not associate with cigarettes and that would appeal to the lucrative youth

market, (2) deceive the public into thinking the product was a fun and safe alternative to

cigarettes that would also help smokers quit, (3) actively attract young users through

targeted marketing, and (4) use a variety of tools, including false and deceptive statements

to the public and regulators, to delay regulation of e-cigarettes. As detailed more fully




                                     26
throughout this Complaint, each of the Defendants played a critical role—at times

overlapping and varying over time—in each of these strategies.

B.     Defendants’ Strategy Was to Create a Nicotine Product That Would Maximize
       Profits Through Addiction.

       1.     Defendants Understood that the “Magic” Behind Cigarettes’
              Stratospheric Commercial Success Was Nicotine Addiction.

       47.    The first step in replicating the success of combustible cigarettes was to

create a product that, like combustible cigarettes, was based on getting users addicted to

the nicotine in the product. Nicotine is an alkaloid, a class of plant-derived nitrogenous

compounds that is highly addictive and the key ingredient that drives addiction to

cigarettes. Nicotine’s addictive properties are similar to heroin and cocaine.39

       48.    Route of administration and speed of delivery are key to understanding

nicotine’s addictive potential. Dr. Neal Benowitz, Scientific Editor of the 1988 Surgeon

General’s Report on nicotine addiction, wrote: “After a puff, high levels of nicotine reach

the brain in 10–20 s[econds], faster than with intravenous administration, producing rapid

behavioral reinforcement. The rapidity of rise in nicotine levels permits the smoker to

titrate the level of nicotine and related effects during smoking, and makes smoking the

most reinforcing and dependence-producing form of nicotine administration.”40

       49.    Again, according to Dr. Benowitz, “The rapid rate of delivery of nicotine by

smoking … results in high levels of nicotine in the central nervous system with little time


39
   See e.g., U.S. Dep’t of Health and Human Servs., Nicotine Addiction: A Report of the
   Surgeon General, DHHS Publication Number (CDC) 88-8406, (1988).
40
   Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192
   HANDB. EXP. PHARMACOL. 29 (2010),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/



                                     27
for development of tolerance. The result is a more intense pharmacologic action. The short

time interval between puffing and nicotine entering the brain also allows the smoker to

titrate the dose of nicotine to a desired pharmacologic effect [often subconsciously],

further reinforcing drug self-administration and facilitating the development of

addiction.”41

          50.   Nicotine fosters addiction through the brain’s “reward” pathway. Both a

stimulant and a relaxant, nicotine affects the central nervous system; increases blood

pressure, pulse, and metabolic rate; constricts blood vessels of the heart and skin; and

causes muscle relaxation. Long-term exposure to nicotine causes upregulation—an

increase in the number of these high-affinity nicotinic receptors in the brain. When

nicotine binds to these receptors it triggers a series of physiological effects in the user that

are perceived as a “buzz” that includes pleasure, happiness, arousal, and relaxation of

stress and anxiety. With regular nicotine use, however, these feelings diminish, and the

user must consume increasing amounts of nicotine to achieve the same effects.

          51.   Kids are particularly vulnerable to nicotine addiction, as Defendants know

well. As described by the United States Surgeon General, “Tobacco use is a pediatric

epidemic.” Nine out of ten smokers begin by age 18 and 80% who begin as teens will

smoke into adulthood.42




41
     Id.
42
      Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General at
     1 (2012), https://www.hhs.gov/surgeongeneral/reports-and-
     publications/tobacco/index.html.



                                      28
       52.    The above statements apply equally, if not more so, to e-cigarettes. Further,

the Surgeon General has explained how the nicotine in e-cigarettes affects the developing

brain and can addict kids more easily than adults: “Until about age 25, the brain is still

growing. Each time a new memory is created, or a new skill is learned, stronger

connections—or synapses—are built between brain cells. Young people’s brains build

synapses faster than adult brains. Because addiction is a form of learning, adolescents can

get addicted more easily than adults.”43 The effects of nicotine exposure on the brain of

youth and young adults include not only addiction, priming for use of other addictive

substances, but also reduced impulse control, deficits in attention and cognition, and mood

disorders.44 A highly addictive, psychoactive substance that targets brain areas involved

in emotional and cognitive processing, nicotine poses a particularly potent threat to the

adolescent brain, as it can “derange the normal course of brain maturation and have lasting

consequences for cognitive ability, mental health, and even personality.”45

       53.    In 2014, the United States Surgeon General reported that nicotine addiction

is the “fundamental reason” that individuals persist in using tobacco products, and this




43
    Know The Risks: E-Cigarettes & Young People (2019), https://e-
   cigarettes.surgeongeneral.gov/ knowtherisks.html.
44
    Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. OF Physiology 3397
   (2015), www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S. Surgeon General and
   U.S. Centers for Disease Control & Prevention, Office on Smoking and Health, Know
   the Risks: E-Cigarettes and Young People (2019), https://e-
   cigarettes.surgeongeneral.gov/.
45
    Natalia A. Goriounova & Huibert D. Mansvelder, Short- and Long-Term Consequences
   of Nicotine Exposure During Adolescence for Prefrontal Cortex Neuronal Network
   Function, 2 COLD SPRING HARBOR PERSP. MED. 12 (2012),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.



                                    29
persistent tobacco use contributes to millions of needless deaths and many diseases,

including diseases that affect the heart and blood vessels (cardiovascular disease), lung

diseases (chronic obstructive pulmonary disease (COPD) and lung cancer), cancer almost

anywhere in the body, and birth defects.46

       54.    It took five decades of public health initiatives, government intervention,

impact litigation, consumer education and tobacco regulation to finally see a significant

drop in cigarette smoking and nicotine addiction.

       55.    By 2014, the number of adults that reported using cigarettes had dropped to

18%, and the number of adult smokers who reported quitting smoking increased from

50.8% in 2005 to 59% by 2016.47 By 2014, teen smoking also hit a record low.48 In June

2014, the Centers for Disease Control and Prevention (“CDC”) reported that “in achieving

a teen smoking rate of 15.7 percent, the United States has met its national Healthy People

2020 objective of reducing adolescent cigarette use to 16 percent or less.”


46
    U.S. Dep’t of Health and Human Servs. 2014 Surgeon General's Report: The Health
   Consequences of Smoking—50 Years of Progress (2014),
   https://www.cdc.gov/tobacco/data_statistics/sgr/50th-anniversary/index.htm#report.
47
    Centers for Disease Control and Prevention, U.S. Dep’t of Health and Human Services,
   Trends in Cigarette Smoking Among High School Students—United States, 1991-2001,
   51 MORBIDITY & MORTALITY WKLY. REP. 409 (May 17, 2002),
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5119a1.htm; Teresa W. Wang et
   al., Tobacco Product Use Among Adults—United States, 2017, 67 MORBIDITY &
   MORTALITY WKLY. REP. 1225 (Nov. 9, 2018),
   https://www.cdc.gov/mmwr/volumes/67/wr/pdfs/mm6744a2-H.pdf; U.S. Dep’t of
   Health and Human Servs. 2014 Surgeon General's Report: The Health Consequences of
   Smoking—50 Years of Progress (2014),
   https://www.cdc.gov/tobacco/data_statistics/sgr/50th-anniversary/index.htm#report.
48
    Press Release, Centers for Disease Control and Prevention, Cigarette smoking among
   U.S. high school students at lowest level in 22 years (June 12, 2014),
   https://www.cdc.gov/media/releases/2014/p0612-YRBS.html.



                                    30
          56.    The United States Surgeon General reported in 2014 that: “We are at a

historic moment in our fight to end the epidemic of tobacco use that continues to kill more

of our citizens than any other preventable cause. The good news is that we know which

strategies work best. By applying these strategies more fully and more aggressively, we

can move closer to our goal of making the next generation tobacco-free.”49

          57.    Where the public health community saw progress in curbing the use of

cigarettes and nicotine addiction, Defendants saw an opportunity.

          2.     Following the Cigarette Industry Playbook, Defendants Sought to
                 Market a Product that would Create and Sustain Nicotine Addiction,
                 but Without the Stigma Associated with Cigarettes

          58.    Seeking to build and dominate a new market for nicotine products without

the baggage of combustible cigarettes (i.e. well-established link to death and disease), JLI

engineered a cool-looking e-cigarette device capable of delivering more nicotine and

fueling higher levels of consumer addiction than ever before. JLI marketed that highly-

addictive device as healthy, safe, cool and available in kid-friendly flavors.

          59.    In doing so, JLI followed the cigarette industry’s playbook. Monsees

admitted that when creating JLI, he and Bowen carefully studied the marketing strategies,

advertisements, and product design revealed in cigarette industry documents that were

uncovered through litigation and made public under the November 1998 Master

Settlement Agreement between the state Attorneys General of forty-six states, five U.S.



49
      U.S. Dep’t of Health and Human Servs. Let’s Make the Next Generation Tobacco-Free:
     Your Guide to the 50th Anniversary Surgeon General’s Report on Smoking and Health
     (2014), https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-
     guide.pdf



                                      31
territories, the District of Columbia and the four largest cigarette manufacturers in the

United States. “[Cigarette industry documents] became a very intriguing space for us to

investigate because we had so much information that you wouldn’t normally be able to

get in most industries. And we were able to catch up, right, to a huge, huge industry in no

time. And then we started building prototypes.”50

       60.    In a thesis presentation Bowen and Monsees gave in 2004, Monsees

candidly admitted, “The cigarette is actually a carefully engineered product for nicotine

delivery and addiction.”51 JLI researched how cigarette companies engineered their

products and chemically manipulated nicotine to maximize delivery: “We started looking

at patent literature. We are pretty fluent in ‘Patentese.’ And we were able to deduce what

had happened historically in the tobacco industry.”52 With access to the trove of

documents made public to curb youth smoking and aid research to support tobacco control

efforts, JLI was able to review literature on manipulating nicotine pH to maximize its

delivery in a youth-friendly vapor with minimal “throat hit.”

       61.    Through studying industry documents, JLI learned that the cigarette

industry had tried for years to figure out ways to create and sustain addiction by delivering

more nicotine in way that would be easy to ingest—without the nausea, cough, or other

aversive side effects that many new smokers experienced. In the 1970s, R.J. Reynolds


50
   Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
51
   Jordan Crook, This is the Stanford Thesis Presentation That Launched Juul, TECH
   CRUNCH (Feb. 27, 2019), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-
   presentation-that-launched-juul/.
52
   Id.



                                     32
scientists eventually found a solution: Combine the high-pH nicotine with a low-pH acid.

The result was a neutralized compound referred to as nicotine salt. In a 1973 RJR

memorandum titled “Cigarette concept to assure RJR a larger segment of the youth

market,” RJR highlighted that this chemical manipulation of the nicotine content was

expected to give its cigarettes an “additional nicotine ‘kick’” that would be more appealing

and addictive. A young RJ Reynolds chemist, Thomas Perfetti, synthesized 30 different

nicotine salt combinations, tested the salts’ ability to dissolve into a liquid, and heated

them in pursuit of the “maximum release of nicotine.”53 Perfetti published his results in a

1979 memo stamped “CONFIDENTIAL,” which was found among the documents that

the FDA obtained from JLI in 2018. Relying on cigarette industry research like this, and

assistance from Perfetti himself, JLI developed a cartridge-based e-cigarette using nicotine

salts. As described in herein, JLI’s use of nicotine salts, pioneered by major combustible

tobacco companies, was a critical tool for addicting non-smokers, including youth.

          62.    JLI also engaged former cigarette industry researchers to consult on the

design of their product. As Monsees noted in an interview with WIRED magazine: “The

people who understood the science and were listed on previous patents from tobacco

companies aren’t at those companies anymore. If you go to Altria’s R&D facility, it’s




53
      Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978),
     https://ca-times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-
     salts-investigation.pdf.



                                      33
empty.”54 The WIRED article stated that “[s]ome of those people are now on [PAX Lab,

Inc.’s] team of advisers, helping develop J[UUL].”55

       63.    One of the keys to JLI’s success was its ability to fuse addiction and

technology. The JUUL e-cigarette system is comprised of three parts: (1) the JUUL e-

cigarette device (2) the JUUL pod (with e-liquid), and (3) the Universal Serial Bus [USB]

charger (collectively referred to herein as “JUUL”). The JUUL e-cigarette device is a thin,

sleek rectangular e-cigarette device consisting of an aluminum shell, a battery, a magnet

(for the USB-charger), a circuit board, an LED light, and a pressure sensor. JLI

manufactures and distributes JUUL pods that contain liquid that includes nicotine,

flavoring and other additives. Each JUUL pod is a plastic enclosure containing 0.7

milliliters of JLI’s patented nicotine liquid and a coil heater. When a sensor in the JUUL

e-cigarette detects the movement of air caused by suction on the JUUL pod, the battery in

the JUUL e-cigarette device activates the heating element, which in turn converts the

nicotine solution in the JUUL pod into a vapor consisting of nicotine, benzoic acid,

glycerin, and propylene glycol along with myriad chemical flavorings and other

chemicals, many of which are recognized as toxic.56




54
    David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015),
   www.wired.com/2015/04/pax-juul-ecig/.
55
    Id.
 56
     King County & Seattle Public Health, E-cigarettes and Vapor Products (Dec. 30,
    2019), https://www.kingcounty.gov/depts/health/tobacco/data/e-cigarettes.aspx.



                                    34
      64.    JLI sells the JUUL pods in packs of four or two pods, and until recently, in

a variety of enticing flavors. Many of the flavors have no combustible cigarette analog,

including “cool” cucumber, fruit medley, “cool” mint, and crème brûlée. Figure 1 shows

the JLI device and a JLI “Starter Kit” with four flavored JUUL pods:




                                   35
Figure 1

          65.    JLI attempted to distinguish JUUL products from the death and disease

associated with cigarettes by deliberately providing a false assurance of safety. For

example, on May 8, 2018, a document titled “Letter from the CEO” appeared on JUUL’s

website. The document stated: “[JUUL]’s simple and convenient system incorporates

temperature regulation to heat nicotine liquid and deliver smokers the satisfaction that

they want without the combustion and the harm associated with it.”57

          66.    JLI even took this message to ninth graders: in 2018, a representative from

JLI spoke at a high school during a presentation for ninth graders, stating that JUUL “was

much safer than cigarettes,” that the JUUL was “totally safe,” that the JUUL was a “safer



57
      Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc. (Sept. 9,
     2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
     investigations/warning-letters/juul-labs-inc-590950-09092019.



                                       36
alternative than smoking cigarettes,” and that the “FDA was about to come out and say it

[JUUL] was 99% safer than cigarettes . . . and that . . . would happen very soon.”58

       67.    This was not just a rogue employee. Internal messaging around JUUL,

crafted by the executives, emphasized that JUUL was safer than smoking. In a “Marketing

Update” presentation dated March 26, 2015, a message from then-Chief Marketing Officer

Scott Dunlap stated that “[v]aporization technology is fundamentally disruptive, because

it is safer, faster, more effective and less intrusive than alternatives.”59 More than a year

later, on April 28, 2016, Tim Danaher sent Tyler Goldman a slide deck aimed at investors

which he said that “James [Monsees] owns” and “will pull / update the relevant slides.”60

The deck claimed that “PAX Labs’ new delivery system is faster, safer, more effective

and less intrusive than[,]” among other options, “[s]moking[.]”61 The consistency of the

wording in these presentations more than a year apart shows that this was standard

company language.

       68.    JLI’s mission was not to improve public health. Rather, JLI sought to

introduce a new generation of users to nicotine. JLI’s business model was never about

reducing addiction. As one JLI engineer put it: “We don’t think a lot about addiction here

because we’re not trying to design a cessation product at all . . . anything about health is

not on our mind.”62


58
    Id.
59
    INREJUUL_00441986 (emphasis added).
 60
    JLI00373324.
 61
    JLI00373328 (emphasis added).
62
    Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. TIMES (Jan. 11, 2019),
   https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.



                                     37
          69.    JLI, Bowen, and Monsees achieved their vision. Pioneering a nicotine

delivery technology that eliminated the harshness of traditional free-base nicotine, JLI’s

e-cigarette system provided users with palatable access to high-concentrations of nicotine

like never before. Since the JUUL’s launch in 2015, JLI has become the dominant e-

cigarette manufacturer in the United States. Its revenues grew by 700 percent in 2017

alone. By 2019, JLI owned three-quarters of the e-cigarette market.63

          3.     Defendants Sought to Position JLI for Acquisition by a Major Cigarette
                 Company.

          70.    JLI, along with the Management Defendants, worked together to maintain

and expand the number of nicotine-addicted e-cigarette users in order to ensure a steady

and growing customer base.

          71.    That growing customer base was crucial to JLI’s and the Management

Defendants’ long term objective—lucrative acquisition by another company. They

recognized that JLI’s product, with its potential to dominate the nicotine products market

by hooking new users, would appeal to one segment of the economy in particular: the

cigarette industry.

          72.    JLI and the Management Defendants also recognized that their business

goal—becoming part of the cigarette industry—was unlikely to endear them to the users

that they needed to purchase their products. Years of anti-smoking campaigns have




63
     Dick Durbin et al., Durbin & Senators to JUUL: You are More Interested in Profits
     Than Public Health, Durbin Newsroom (Apr. 8, 2019),
     https://www.durbin.senate.gov/newsroom/press-releases/durbin-and-senators-to-juul-
     you-are-more-interested-in-profits-than-public-health.



                                      38
successfully stigmatized cigarette smoking. When Monsees and Bowen presented their

thesis and product design to their classmates, they included a clip from a South Park

episode showing the characters assembled at the Museum of Tolerance and shaming a

smoker.64

       73.    Monsees and Bowen needed to shape social norms such that the public

attitude towards e-cigarettes would allow users to use their product without the stigma and

self-consciousness smokers experienced. Monsees and Bowen saw a market opportunity

in a generation of non-smoking users brought up on anti-smoking norms. In Monsees’

words, they wanted to redesign the cigarette “to meet the needs of people who want to

enjoy tobacco but don’t self-identify with—or don’t necessarily want to be associated

with—cigarettes.”65

       74.    Part of this approach was consistently portraying JUUL as an enemy of the

cigarette industry, with a publicly announced goal of eliminating the cigarette. In an

interview, Bowen asserted that he and Monsees spent a lot of time talking about “the kind

of typical thoughts of evil Big Tobacco companies like coming down and squashing

you.”66 The “Mission Statement” on JLI’s homepage proclaims:




64
     Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
    https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
65
    Id.; see also, INREJUUL_00064696 (May 28, 2015) (Slides describing JUUL’s market
   overview and positioning as a “tech lifestyle product with a nicotine experience that
   satisfies, JUUL will appeal to regular ecig users and wealthy, tech savvy smokers – a
   significant portion of the market.”)
66
    Alison Keeley, Vice Made Nice? A High-tech Alternative to Cigarettes, STANFORD
   MAGAZINE (2012), https://stanfordmag.org/contents/vice-made-nice.



                                    39
       Our mission is to transition the world’s billion adult smokers away from
       combustible cigarettes, eliminate their use, and combat underage usage of
       our products.

       We envision a world where fewer adults use cigarettes, and where adults who
       smoke cigarettes have the tools to reduce or eliminate their consumption
       entirely, should they so desire.67

In fact, JLI’s Chief Administrative Officer has publicly stated that the goal behind JLI is

“eliminating cigarettes.”68

       75.    This public message of eliminating cigarettes and challenging tobacco

companies stands in direct contrast with JLI’s actual business and investment strategy,

which involved replicating in JUUL’s new market the tobacco companies’ historical

success in the market for cigarettes. From the beginning, Bowen and Monsees actively

sought the investment and assistance of major cigarette companies. Bowen and Monsees’

initial foray into the e-cigarette business, Ploom, launched its e-cigarette as the ModelOne

in 2010, using pods of loose-leaf tobacco heated by butane. It did not catch on. Ploom

only sold a few thousand devices. By then a company with a dozen employees, Ploom was

faltering, in need of money, technological expertise, and marketing savvy.69

       76.    Help came from Japan Tobacco International (“Japan Tobacco”), a division

of Japan Tobacco Inc., the fourth-largest tobacco company in the world. In December

2011, Japan Tobacco and Ploom entered into a strategic agreement, which gave Japan



67
    JUUL Labs, Our Mission (2019), https://www.juul.com/mission-values.
68
    Ashley Gould, JUUL Labs is Committed to Eliminating Cigarettes, CAL MATTERS
   (March 18, 2019), https://calmatters.org/commentary/e-cigarette/.
69
    David H. Freedman, How do you Sell a Product When You Really Can’t Say What it
   Does?, Inc., https://www.inc.com/magazine/201405/david-freedman/james-monsees-
   ploom-ecigarette-company-marketing-dilemma.html



                                     40
Tobacco a minority stake in Ploom and made it a strategic partner. In a statement regarding

the agreement, Monsees said, “We are very pleased to partner with [Japan Tobacco] as

their deep expertise, global distribution networks and capital resources will enable us to

enter our next phase of growth and capitalize on global expansion opportunities.”70 As

Bowen explained in an interview, “We were still doing a lot of our own internal product

development, but now we had access to floors of scientists at [Japan Tobacco].”71

       77.    According to internal documents, JLI (then known as Pax) entered into a

“strategic partnership” with Japan Tobacco after it “evaluated all major tobacco industry

companies.”72 When JLI was getting ready to launch JUUL, its business plan called for a

“massive distribution for JUUL,” to “be distributed by the four largest US tobacco

distributors.”73 In addition, in 2015, JLI counted among its advisors Charles Blixt, the

former general counsel of Reynold American, Chris Skillin, former director of corporate

business development at Altria Group, Bryan Stockdale, the former SVP/President & CEO

of R.J. Reynolds / American Snuff Company, and Chris Coggins, a toxicologist at

Reynolds for 20 years.74




70
    Innovative P’ship for Ploom and Japan Tobacco Int’l JTI to Take Minority Share in
   Ploom, JAPAN TOBACCO INT’L (Dec. 8, 2011),
   https://www.jti.com/sites/default/files/press-releases/documents/2011/innovative-
   partnership-for-ploom-and-japan-tobacco-international.pdf.
71
    David H. Freedman, How do you Sell a Product When You Really Can’t Say What it
   Does?, INC. MAGAZINE (2014), https://www.inc.com/magazine/201405/david-
   freedman/james-monsees-ploom-ecigarette-company-marketing-dilemma.html.
72
    INREJUUL_00371423 (Pax Labs company overview, Feb. 2015).
73
    INREJUUL_00371447.
74
    INREJUUL_00371458-INREJUUL_00371459.



                                    41
      78.    JLI and the Management Defendants even retained the Investment Bank

Stifel to help JLI “establish strong international partnerships with leading tobacco

companies (“LT”) to accelerate JUUL.”75 According to Stifel, “JUUL could be a multi-

billion opportunity to LT [leading tobacco companies] over time,” and Stifel offered to

manage a process that: “Identified the best Partner(s) for JUUL”; “Best positions JUUL

to each Partner”; “Creates a catalyst for [leading tobacco company] decision making”; and

“drives strong economic value and terms through competition.”76 The end result of the

process would be an exclusive agreement with the cigarette industry that would

“maximize JUUL Growth Trajectory.”77

      79.    Stifel’s presentation to the JLI Board of Directors, which included each of

the Management Defendants, also emphasized both the stagnant and declining cigarette

market, and the sharply growing e-cigarette market:78




75
   INREJUUL_00016386 (Stifel Presentation, Aug. 2015).
76
   Id.
77
   Id.
78
   INREJUUL_0016399.



                                   42
         80.   According to Stifel, “[s]ince 2013 [leading tobacco companies] have

aggressively but unprofitably entered the vape category . . . with products that are not

compelling.”79 Stifel’s conclusion was that in light of the leading cigarette companies’

failures to develop an appealing e-cigarette product: “JUUL Presents a Prime Opportunity

for [leading tobacco companies] to Compete with [vaporizers, tanks and mods] in Form

Factor and Dominate the E-cig Experience Through Retail Channels that Leverage its

Distribution Strengths.”80

         81.   Consistent with Stifel’s presentation, and the profits it was forecasting, a

draft December 7, 2015 presentation to the board of directors included as a “management




79
     INREJUUL_0016400-INREJUUL_0016401.
80
     INREJUUL_0016404.



                                     43
committee recommendation” that JLI position itself for “strategic alternatives (including

licensing or sale)”:81




         82.    The presentation also made clear that the “strategic alternative” for JLI

envisioned by management was its acquisition by a large cigarette company:82




81
     INREJUUL_00061757 (board meeting presentation, Dec. 7, 2015).
82
     INREJUUL_00061833.



                                     44
         83.   This goal—acquisition by a major cigarette company—was a motive that

the JLI and the Management Defendants would return to in making decisions about the

manufacture and marketing of JUUL products. As an example, in a 2016 email exchange

with JLI employees regarding potential partnerships with e-cigarette juice manufacturers,

Defendant Bowen reminded the employees that “big tobacco is used to paying high

multiples for brands and market share.”83 Bowen knew that to achieve the ultimate goal

of acquisition, JLI and the Management Defendants would have to grow the market share

of nicotine-addicted e-cigarette users, regardless of the human cost.

         84.   JLI and the Management Defendants sought to grow the market share of

nicotine-addicted e-cigarette users beginning by at least early 2015 through two related

schemes: first, by designing an unsafe product with a high nicotine content that was

intended to addict, or exacerbate the addiction of, its users; and, second, by marketing and


83
     INREJUUL_00294198.



                                     45
misbranding that potent product to the broadest possible audience of potential customers,

including young people whose addiction would last the longest and be the most profitable

for the Defendants.

       85.    These schemes were an overwhelming success. In December 2016, Monsees

observed in an email to Valani that “Soon enough [JUUL’s success] will catch the eyes of

big tobacco and they’ll either swing a new product more directly towards us, get

aggressive about acquisition or do both in parallel.”84 By the close of 2017, according to

Nielsen data, JLI had surpassed its competitors in capturing 32.9% of the e-cigarette

market, with British American Tobacco at 27.4% and Altria at 15.2%.85 The total e-

cigarette market expanded 40% to $1.16 billion.86

       86.    By 2018, JLI represented 76.1% of the national e-cigarette market,87 and

JLI’s gross profit margins were 70%.88 In a complaint it filed in November 2018 against

24 vape companies for alleged patent infringement, JLI asserted that it was “now




84
    JLI00380274.
85
    Ari Levy, E-cigarette maker Juul is raising $150 million after spinning out of vaping
   company, CNBC (Dec. 20, 2017), https://www.cnbc.com/2017/12/19/juul-labs-raising-
   150-million-in-debt-after-spinning-out-of-pax.html.
86
    Id.
87
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at
   2, STAN. RES. INTO THE IMPACT OF TOBACCO ADVERT. (2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
88
    Dan Primack, Scoop: The Numbers Behind Juul’s Investor Appeal, AXIOS (July 2,
   2018), https://www.axios.com/numbers-juul-investor-appeal-vaping-22c0a2f9-beb1-
   4a48-acee-5da64e3e2f82.html.



                                    46
responsible for over 95% of the growth in the ENDS cartridge refill market in the United

States” and included the following chart:89




       87.    JLI shattered previous records for reaching decacorn status, reaching

valuation of over $10 billion in a matter of months—four times faster than Facebook.90

This all came just three years after its product launch.

C.     JLI and Bowen Designed a Nicotine Delivery Device Intended to Create and
       Sustain Addiction.

       88.    JLI was well-aware from the historical cigarette industry documents that the

future of any nicotine-delivery business depends on snaring kids before they age beyond




89
    Verified Complaint Under Section 337 of the Tariff Act of 1930 at 6, In the Matter of
   Certain Cartridges for Elec. Nicotine Delivery Sys. & Components Thereof,
   Investigation No. 337-TA-1141 (USITC Nov. 19, 2018).
90
    Zack Guzman, Juul Surpasses Facebook As Fastest Startup to Reach Decacorn Status,
   YAHOO! FIN. (Oct. 9, 2018), https://finance.yahoo.com/news/juul-surpasses-facebook-
   fastest-startup-reach-decacorn-status-153728892.html.



                                     47
the window of opportunity. One memo from a Lorillard marketing manager to the

company’s president put it most succinctly, “[t]he base of our business is the high school

student.”91 It is no surprise, then, that the industry designed products specifically to attract

and addict teen smokers. Claude Teague of R.J. Reynolds titled one internal memo

“Research Planning Memorandum on Some Thoughts About New Brands of Cigarettes

for the Youth Market.” In it he frankly observed, “Realistically, if our Company is to

survive and prosper, over the long term, we must get our share of the youth market. In my

opinion this will require new brands tailored to the youth market.”92 Dr. Teague noted that

“learning smokers” have a low tolerance for throat irritation so the smoke should be “as

bland as possible,” i.e., not harsh; and he specifically recommended an acidic smoke “by

holding pH down, probably below 6.” As seen below, JLI heeded Dr. Teague’s advice.

       1.     JLI and Bowen Made Highly Addictive E-Cigarettes Easy for Young
              People and Non-Smokers to Inhale.

       89.    As combustible cigarettes were on the decline, e-cigarettes were introduced

to the U.S. market beginning in 2007. Over time, e-cigarettes developed a small group of

regular users, who were primarily current or former smokers. By 2014, the e-cigarette

market in the U.S. was in decline.

       90.    E-cigarettes struggled to compete with combustible cigarettes, because of

the technical challenge of delivering enough aerosolized nicotine to satisfy a smoker’s




91
    Internal Memo from T.L. Achey, Lorillard Tobacco Company, to Curtis Judge, Product
   Information (August 1978).
92
    Internal Memo from Claude Teague, R.J. Reynolds, Research Planning Memorandum
   on Some Thoughts About New Brands of Cigarettes for the Youth Market (Feb. 2, 1973).



                                      48
addiction in a palatable form.93 Before JUUL, most e-cigarettes used an alkaline form of

nicotine called free-base nicotine.94 When aerosolized and inhaled, free-base nicotine is

relatively bitter, irritates the throat, and is perceived as harsh by the user.95 This experience

is often referred to as a “throat hit.” The higher the concentration of free-base nicotine, the

more intense the “throat hit.”96 While some “harshness” would not have much impact on

seasoned cigarette smokers, it would deter newcomers, or nicotine “learners,” as Claude

Teague at R.J. Reynolds called young non-smokers decades ago.

       91.     Before 2015, most e-liquids on the market were between 1% and 2%

concentration; 3% concentrations were marketed as appropriate for users who were

accustomed to smoking approximately forty cigarettes a day.97 None of these e-liquids

delivered as much nicotine as quickly as a combustible cigarette.

       92.     Around 2013, JLI scientists developed new e-liquids and new devices to

increase the amount of nicotine that e-cigarettes could deliver to users and to reduce the

throat hit. JLI scientists focused on nicotine salts rather than free-base nicotine, and they

tested their formulations in a variety of ways.




93
   Robert K. Jackler & Divya Ramamurthi, Nicotine Arms Race: JUUL and the High-
   nicotine Product Market, 28 TOBACCO CONTROL 623 (2019).
94
   Id.
95
   Id.
96
   Id.
97
   Id.



                                       49
          2.     JLI’s Initial Experiments Measured Non-Smokers’ “Buzz” Levels and
                 Perceptions of Throat Harshness.

          93.    JLI intentionally designed its product to minimize “throat hit” and maximize

“buzz.” JLI’s first known testing of JUUL-related products occurred in 2013, when it

conducted “buzz” experiments that included non-smoker participants and measured

“buzz” and throat harshness. JLI officers and directors Adam Bowen, Ari Atkins, and Gal

Cohen served as the initial subjects in the “buzz” experiments. These early tests were

performed with the assistance of Thomas Perfetti, the same RJR chemist who had studied

nicotine salt decades ago to help RJR palatably deliver more nicotine.

          94.    In these early tests, JLI’s goal was to develop a “buzz-effective e-cig

formulation,” which would principally turn on “effectiveness (buzz, harshness),” followed

by shelf life and patentability.98 The aim was to develop a nicotine salt formulation that

maximized buzz, minimized harshness. “Employees tested new liquid-nicotine

formulations on themselves or on strangers taking smoke breaks on the street. Sometimes,

the mix packed too much punch – enough nicotine to make some testers’ hands shake or

send them to the bathroom to vomit . . . .”99

          95.    The “buzz” experiments, which used heart rate as a qualitative measurement

for buzz, showed that Bowen tested a 4% benzoate (nicotine salt) solution, which caused




98
      INREJUUL_00002903.
99
      Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS
     (Nov. 5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.



                                       50
his resting heart rate to increase by about 70% in under 2 minutes, far exceeding all other

formulations JLI was considering:100




       96.    Because they personally consumed these formulations, Bowen, Cohen, and

Atkins knew that the 4% benzoate solution delivered a strong buzz that matched or

exceeded a cigarette but had minimal throat hit.

       97.    A later study by Anna K. Duell et al., which examined 4% benzoate

solutions—the basis for JUUL’s subsequent commercial formulations—explains why

there was so little throat hit. The Duell study determined that the fraction of free-base

nicotine in JUUL’s “Fruit Medley” flavor was 0.05 and in “Crème Brulee” was 0.07.101

Given total nicotine content of 58 mg/ml and 56 mg/ml in each flavor, respectively, these

flavors have roughly 3-4 mg/ml free-base nicotine. For comparison, “Zen” brand e-liquid

contains 17 mg/ml of nicotine—less than one-third of the total nicotine content of JUUL’s




100
   INREJUUL_00002903.
101
   U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in
  Electronic Cigarette Liquids by H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431,
  432 (Fig. 3).



                                    51
flavors—but has a free-base fraction of 0.84,102 resulting in over 14 mg/ml of free-base

nicotine. The Duell Study’s authors found that the low free-base fraction in JUUL aerosols

suggested a “decrease in the perceived harshness of the aerosol to the user and thus a

greater abuse liability.”103

       98.    Dramatically reducing the throat hit is not necessary for a product that is

aimed at smokers, who are accustomed to the harshness of cigarette smoke, but it very

effectively appeals to nonsmokers, especially youths. The cigarette industry has long

recognized this; a published study of industry documents concluded that “product design

changes which make cigarettes more palatable, easier to smoke, or more addictive are also

likely to encourage greater uptake of smoking.”104 The Duell study concluded that JLI’s

use of nicotine salts “may well contribute to the current use prevalence of JUUL products

among youth.”105

       99.    Reducing the harshness of nicotine also allows more frequent use of e-

cigarettes, for longer periods of time, and masks the amount of nicotine being delivered.

By removing the physiological drawbacks of inhaling traditional free-base nicotine, JLI’s

technology removes the principal barrier to nicotine consumption and addiction. The




102
    Anna K. Duell et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids
  by H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431 (hereinafter “Duell Study”).
103
    Id. at 431–34.
104
    David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In,
  N.Y. TIMES (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-
  kids.html.
105
    Duell Study at 433 (citing J.G. Willett, et al., Recognition, Use and Perceptions of
  JUUL Among Youth and Young Adults, TOBACCO CONTROL 054273 (2018)).



                                    52
Duell study further concluded that JLI’s creation of a non-irritating vapor that delivers

unprecedented amounts of nicotine is “particularly problematic for public health.”106

       3.     JUULs Rapidly Deliver Substantially Higher Doses of Nicotine than
              Cigarettes.

       100.   In 2014, after the “buzz” experiments, JLI engineers ran a pilot

pharmacokinetic study in New Zealand, called the Phase 0 Clinical Study.107 The

participants in the study—Adam Bowen, Gal Cohen, and Ari Atkins108—had their blood

drawn while vaping prototype JUUL aerosols. From these measurements, the scientists

calculated key pharmacokinetic parameters, including maximum concentration of nicotine

in the blood (Cmax) and total nicotine exposure (Area Under the Curve or AUC). JLI

reported the results in U.S. Patent No. 9,215,895 (the ’895 patent), for which JLI applied

on October 10, 2014,109 and which was granted in December 2015. The named inventors

on the patent were Adam Bowen and Chenyue Xing

       101.   Among the formulations was a 4% benzoate formulation, which was made

with 3.8% benzoic acid and 5% nicotine, as well as propylene glycol and vegetable

glycerin.110 As a comparator, JLI also measured nicotine blood levels after smoking Pall

Mall cigarettes. The Phase 0 study also tested a 2% benzoate formulation, which had a




106
    Id. at 431.
107
    INREJUUL_00350930.
108
    Id.
109
    This application was a continuation of U.S. Patent Application No. 14/271,071 (filed
  May 6, 2014), which claimed the benefit of U.S. Provisional Patent Application Serial
  No. 61/820,128, (filed May 6, 2014), and U.S. Provisional Patent Application Serial No.
  61/912,507 (filed December 5, 2013).
110
    U.S. Patent No. 9,215,895, at 19:63-20:4 (filed Dec. 22, 2015).



                                    53
similar Cmax as a Pall Mall cigarette, and a variety of other formulations.111 The following

graph shows the pharmacokinetic results of the Phase 0 study:




         102.   According to Table 1 in the patent, the Cmax (the maximum nicotine

concentration in blood) for Pall Mall cigarettes was 11.65 ng/mL, and for 4% benzoate it

was 15.06 ng/mL, which is nearly 30% higher. The total nicotine exposure (as measured

by Area Under the Curve or AUC) was 367.5 ng * min/mL for Pall Mall cigarettes and

400.2 ng * min/mL for 4% benzoate, which is almost 9% higher. The 4% benzoate

formulation had the highest Cmax and AUC of any of the formulations measured.

         103.   Describing these results, JLI’s ’895 patent all but brags that it surpassed a

commercially available combustible cigarette (Pall Mall) in maximum delivery and nearly

rivaled it in how soon it could deliver peak nicotine. According to the ‘895 patent, “certain

nicotine salt formulations [i.e., JLI’s] provide satisfaction in an individual superior to that




111
      INREJUUL_00024437.



                                      54
of free base nicotine, and more comparable to the satisfaction in an individual smoking a

traditional cigarette.”112 The patent further explains that the “rate of nicotine uptake in the

blood” is higher for some claimed nicotine salt formulations “than for other nicotine salt

formulations aerosolized by an electronic cigarette . . . and likewise higher than nicotine

free-base formulations, while the peak nicotine concentration in the blood and total

amount of nicotine delivered appears comparable to a traditional cigarette.”113

       104.   In other words, JLI distinguishes itself, and established the patentability of

its e-liquids, by reference to their superlative ability to deliver nicotine, both in terms of

peak blood concentration and total nicotine delivery. The rate of nicotine absorption is

key to providing users with the nicotine “kick”114 that drives addiction and abuse.115

Because “nicotine yield is strongly correlated with tobacco consumption,”116 a JUUL pod

with more nicotine will strongly correlate with higher rates of consumption of JUUL pods,

generating more revenue for JUUL. For example, a historic cigarette industry study that

looked at smoker employees found that “the number of cigarettes the employees smoked


112
    U.S. Patent No. 9,215, 895, at 7:51-55 (filed Dec. 22, 2015) (emphasis added).
113
    Id. at 7:63-8:4.
114
    Internal Memo from Frank G. Colby, R.J. Reynolds, Cigarette Concept to Assure RJR a
  Larger Segment of the Youth Market (Dec. 4, 1973).
115
    As the National Institutes of Health has noted, the “amount and speed of nicotine
  delivery . . . plays a critical role in the potential for abuse of tobacco products.” U.S.
  Dep’t of Health & Human Servs., How Tobacco Smoke Causes Disease: The Biology
  and Behavioral Basis for Smoking-Attributable Disease, A Report of the Surgeon
  General at 181 (2010),
  https://www.ncbi.nlm.nih.gov/books/NBK53017/pdf/Bookshelf_NBK53017.pdf.
116
    Martin J. Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine
  Intakes in Smokers: Evidence From a Representative Population Survey, 93 NT’L
  CANCER INST. 134 (Jan. 17, 2001),
  https://academic.oup.com/jnci/article/93/2/134/2906355



                                      55
per day was directly correlated to the nicotine levels.”117 In essence, JLI distinguished

itself based on its e-liquids’ extraordinary potential to addict.

       105.     Another study corroborates the key result of the Phase 0 study that the 4%

benzoate solution delivers more nicotine than a combustible cigarette.118 The Reilly study

tested JUUL’s tobacco, crème brûlée, fruit medley, and mint flavors and found that a puff

of JUUL delivered 164 ± 41 micrograms of nicotine per 75 mL puff. By comparison, a

2014 study using larger 100 mL puffs found that a Marlboro cigarette delivered 152-193
        119
              Correcting to account for the different puff sizes between these two studies,



other words, the Reilly study suggests that JUUL delivers more nicotine per puff than a

Marlboro cigarette.

       106.     Additionally, depending on how the product is used, an e-cigarette with the

4% benzoate solution is capable of delivering doses that are materially higher than those

seen in the Phase 0 study. As a paper published by the European Union notes: “[A]n e-

cigarette with a concentration of 20 mg/ml delivers approximately 1 milligram of nicotine

in five minutes (the time needed to smoke a traditional cigarette, for which the maximum




117
    Letter from Peggy Martin to Study Participants, Resume of Results from Eight-Week
  Smoking Study, UCSF Library, 1003285443-5443 (Sept. 10, 1971).
118
    Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by
  JUUL Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (Aug. 19, 2019),
  https://www.ncbi.nlm.nih.gov/pubmed/30346584.
119
    Megan J. Schroeder & Allison C. Hoffman, Electronic Cigarettes and Nicotine Clinical
  Pharmacology, 23 TOBACCO CONTROL ii30 (May 23, 2014),
  www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/.



                                      56
allowable delivery is 1 mg of nicotine).”120 With at least 59 mg/ml of nicotine in a salt

form that increases the rate and efficiency of uptake (and even with a lower mg/ml

amount), a JUUL pod easily exceeds the nicotine dose of a combustible cigarette. Not

surprisingly, the European Union has banned all e-cigarette products with a nicotine

concentration of more than 20 mg/ml nicotine, and other countries have considered similar

regulations.121

       107.   Around 2014, JLI engineers designed the JUUL vaping device, which also

was designed for addictiveness. On average, the JUUL was engineered to deliver between

four to five milligrams of aerosol per puff, which is an unusually massive puff122:




120
     E-Cigarettes, European Comm’n,
   https://ec.europa.eu/health/sites/health/files/tobacco/docs/fs_ecigarettes_en.pdf (citing
   United Kingdom Medicines and Healthcare Products Regulatory Agency and industry
   reports).
121
     Charis Girvalaki et al., Discrepancies in Reported Versus Measured Nicotine Content
  of E-cigarette Refill Liquids Across Nine European Countries Before and After the
  Implementation of the EU Tobacco Products Directive, 55 EUR. RESPIR. J. 1900941
  (2020), https://doi.org/10.1183/13993003.00941-2019.
 122
     INREJUUL_00442040-INREJUUL_00442080; INREJUUL_00442064



                                      57
                           6
                                          JUUL                   Blu
                                          Linear (JUUL)          Linear (Blu)
                           5
       AVERAGE MASS/PUFF (mg)




                           4



                           3



                           2



                           1



                           0
                                 0                  25                   50              75                100
                                                                  PUFF COUNT
                                108.   Given the concentration of nicotine in a JUUL pod, four to five milligrams



Myers, a JLI scientist, in an internal 2018 email to Adam Bowen and Ziad Rouag, a

regulatory employee at JLI at the time, “much more nicotine than 150 per puff could be



of nicotine per puff.123 In other words, JUUL’s precisely calibrated nicotine delivery

system was specifically engineered to aerosolize up to 2.5 times as much nicotine per puff

as a cigarette. Myers also noted that “Adam put in his recommendation of ~4mg/puff as

the target” for a pharmacokinetic study.124




123
      INREJUUL_00347306.
124
      Id.



                                                            58
       109.   JLI scientists realized in 2014 that the amount of nicotine that JUUL e-

cigarettes delivered could be problematic. Chenyue Xing stated that “[y]ou hope that they

get what they want, and they stop,” but JLI scientists were concerned that “a Juul—unlike

a cigarette—never burns out,” so the device gives no signal to the user to stop. According

to Xing, JLI scientists “didn’t want to introduce a new product with stronger addictive

power.”125 For this reason, “the company’s engineers explored features to stop users from

ingesting too much of the drug, too quickly. JLI’s founders applied for a patent in 2014

that described methods for alerting the user or disabling the device when the dose of a

drug such as nicotine exceeds a certain threshold.”126 For example, “[o]ne idea was to shut

down the device for a half-hour or more after a certain number of puffs[.]”127 But upper

management rejected the concerns that the scientists raised, and “[t]he company never

produced an e-cigarette that limited nicotine intake.”128

       110.   As another option, JLI could have limited the duration of each puff to

prevent the JUUL from delivering doses of nicotine exceeding those of a cigarette on a

per-puff basis. Instead, it programmed the device to emit puffs for up to six seconds.129

JUUL knew from the Phase 0 pharmacokinetic study in 2014 and the CH-1702




125
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS
  (Nov. 5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
126
    Id.
127
    Id.
128
    Id.
129
    INREJUUL_00431693



                                     59
pharmacokinetic study in 2017 that puffs of three seconds generate pharmacokinetic

profiles matching that of a cigarette.130

       111.   Further warnings about the addictive power of the JUUL e-cigarette—and

its appeal to youths—came from consumer research that Ploom commissioned in 2014.

Ploom hired the consumer research firm Tragon to do research with prototypes of the

JUUL e-cigarette. On September 30, 2014, Lauren Collinsworth, a consumer researcher

at Tragon, emailed Chelsea Kania, a marketing employee at Ploom, with some of the

preliminary results from the studies. She stated that the testing showed that “the younger

group is open to trying something new and liked J1 [the JUUL prototype] for being smart,

new, techy, etc.”131 Ms. Collinsworth added that “the qualitative information suggests J1

could fit into the e-cig or vapor category for the younger group. The qualitative findings

suggested this product isn’t going to fit as well with consumers who are looking to cut

back on the cigarette intake.”132

       112.   On October 1, 2014, Ms. Collinsworth followed up with additional

comments. She stated that “[t]he delivery was almost too much for some smokers,

especially those used to regular e-cigarettes. When they approached the product like they

would a Blu or other inexpensive e-cig, they were floored by the delivery and didn’t really

know how to control it.”133




130
    INREJUUL_00351218; INREJUUL_00351239.
131
    JLI00365905.
132
    Id. (emphasis added).
133
    JLI00365709.



                                      60
       113.   Survey responses showed that the least important product attribute for the

adult smokers and non-smokers in that group was “buzz.”134 Comments from the study’s

subjects included “overwhelming when I first inhaled,” “too much for me,” “it was too

strong,” and “it caught me off-guard.”135 Comments on the device’s style said JUUL

“might manage to make smoking cool again”; others “thought it was a data storage

device.”136

       114.   The final results from this consumer research were distributed to upper

management, including to then-CEO James Monsees137 and then-Chief Marketing Officer

Richard Mumby.138

       115.   In late 2014, knowing the results of the buzz tests, the Phase 0 study and the

consumer research, JLI executives, including Bowen, selected the 4% benzoate

formulation to serve as the model for all formulations to be used in the JUUL product to

be released in 2015. All JUUL formulations at launch used the same amount of nicotine

and benzoic acid as did the formulation that resulted in the highest nicotine blood levels

in the Phase 0 study. JUUL pods were foreseeably exceptionally addictive, particularly

when used by persons without prior exposure to nicotine.




134
    JLI00365176.
135
    INREJUUL_00058345.
136
    Id.
137
    JLI00364678.
138
    JLI00364487.



                                    61
      4.     JLI and the Management Defendants Knew That JUUL was
             Unnecessarily Addictive Because It Delivered More Nicotine Than
             Smokers Needed or Wanted.

      116.   The JUUL e-cigarette launched in 2015. After the launch, JLI and the

Management Defendants continued to collect information about the addictiveness of

JUUL. This information confirmed what they already knew: JUUL was exceptionally

dangerous because of its addictiveness.

      117.   For example, on April 22, 2017, an e-cigarette retailer emailed Gal Cohen

expressing concern about the addictiveness of JLI’s products. He wrote:

      I am very concerned about the JLI products. People's addiction behavior
      is SEVERE with this JLI device. I don't think I can justify carrying this
      anymore.
      The Brooklyn store is run by someone else and he still wants to carry it. I am
      not really happy about this. It was a simple product for users who do not want
      to fill tanks and change atomizers and it was easy to sell, but I really don't
      feel good about selling it. I know we talked about this back a few years ago
      before we were carrying the product, but I am curious to know what is in the
      liquid. I know the nicotine salts are added but I would like to know what else
      is in it. Do you guys have a GCMS or ingredient listing for the liquid? Are
      there other additives? I want to feel more comfortable so I can keep carrying
      these, but I have seen what it is doing to people and I am very
      uncomfortable with it. Last year when the news came to me and wanted me
      to help them with the story that teens were using JLI I shut that story down
      by telling them it wasn't true. It is true. kids are getting hooked on this
      thing and they don't even understand half the time that it has nicotine
      in it! Little kids.. like 14 and 15 year olds. They try to come in my shop
      and we tell them it is 21 and over and get them out... but it is REALLY bad!
      I have kids calling and trying to order using delivery services as well. We
      will only allow pickup and delivery for regular customers whose ID we have
      already checked... but they TRY and that worries me.. because the smoke
      shops and bodegas are NOT checking that the person they are picking up for
      is old enough to buy the product.
      I agree that it is certainly less hazardous than smoking... but to
      intentionally increase the addictiveness of nicotine seems really
      irresponsible and makes me feel like Big Tobacco pushing people onto a



                                   62
       really addictive product. I just don't think that it is necessary and I don't
       feel good about it.
       Anyway... if there is any info you have that might make me feel better about
       selling it let me know... or if you could send me ingredient listing (I know
       Pax applied for the patent on the liquid with the nicotine salts so it should be
       ok to share now?) I would appreciate it.139
       118.   Another example came just days later. On April 28, 2017, JLI held a science

meeting discussing the scientific information in JLI’s possession with outside scientists.

Notes from the meeting state that “concern was raised that because the nicotine update

[sic] is slightly faster the data could be interpreted as feeding an addiction faster. Given

the current climate with addictions to OxyContin how the data is presented needs to be

considered carefully.”140

       119.   Additionally, Dan Myers wrote to Adam Bowen in October 2017 that

“single puff data from Juul suggests that a small number of puffs, at the beginning of the

pod’s lifetime, may contain 2-3X” the levels of nicotine in the puffs from the rest of the
                                141
                                      This is consistent with a central goal of the product’s

design: capturing “users with the first hit.”142

       120.   None of this information was a surprise, nor did it cause JLI or the

Management Defendants to change JLI’s products or marketing. In fact, they embraced it.

On November 3, 2017, Steven Hong, JLI’s Director of Consumer Insights, described




139
    INREJUUL_00264888-INREJUUL_00264890.
140
    INREJUUL_00230416.
141
    INREJUUL_00434580-INREJUUL_00434590.
142
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS
  (Nov. 5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette.



                                       63
JUUL’s “design and chemical formulation (fast acting nic salts)” as JLI’s “ace in the hole”

over the competition.143

       121.   The following year, JLI and the Management Defendants obtained even

more evidence that the amount of nicotine in JUULpods was needlessly high. By no later

than May of 2018, JLI had completed Phase I of “Project Bears,” a JLI study of smoker

and vaper nicotine strength preferences. The results showed that “[a]cross the smoker

segments, product liking is very similar[,]” and the “heaviest smokers (21+ cigs) like 1.7%

more than higher strengths” such as 3% and 5%.144 Similarly, “for those who evaluated

the 5% pod, when given the choice of lower level pod strengths, at least half would choose

a lower strength pods.”145

       122.   The same tests also showed that, contrary to JLI’s expectations, smokers did

not increase their use of the 1.7% formulation relative to the 5% formulation in order to

achieve nicotine satisfaction. “Smoking volume does seem to be a driver of vaping

volume, but this does not vary much by strength within a given smoker type.”146

       123.   Thus, Project Bears revealed that 5% JUULpods delivered more nicotine

than necessary to satisfy cigarette smokers, even those characterized as “heavy”

smokers.147




143
    INREJUUL_00228928-INREJUUL_00228930.
144
    INREJUUL_00260068.
145
    INREJUUL_00260065.
146
    INREJUUL_00244200.
147
    Id.



                                    64
          124.   At some point during the coordination between JLI, the Management

Defendants, and Altria, but no later than the due-diligence period for Altria’s investment

in JLI, either JLI (through its employees) or one or more of Defendants Bowen, Monsees,

Pritzker, Huh, and Valani provided Altria with a copy of the Project Bears findings.148

          125.   Nonetheless, JLI, the Management Defendants, and Altria have maintained

and promoted the 5% JUULpods as JLI’s flagship offering of JUULpods although they

knew that even current smokers prefer a lower nicotine content. They pushed the 5%

JUULpod because it hooked users faster and kept them addicted to nicotine.149

          126.   In addition to Project Bears, JLI and the Management Defendants (and

potentially Altria) were aware of other internal studies that established that its 5% JUUL

pod product would not be a successful cessation tool, as it was not attractive to an audience

looking to reduce cigarette consumption.150

          5.     JUUL’s Design Did Not Look Like a Cigarette, Making it Attractive to
                 Non-Smokers and Easy for Young People to Use Without Detection.

          127.   Not only did JUUL contain high levels of nicotine that delivered a strong

“buzz” from the first puff, JLI designed its product to look appealing to youth and non-

smokers. In January 2015, six months before JUUL’s launch, JLI’s Marketing Director,

Sarah Richardson, identified “key needs” for JUUL’s PR strategy, including “Establish

premium positioning to entice the “masses” to follow the trend setters; own the “early

adopter” /”cool kid” equity as we build out volume”, and highlighted that “JUUL



148
    Id.
149
    Id.
150
    Id.



                                      65
deliberately doesn’t resemble e-cigs or cigalikes” that are “awkward” and “douche-y”.151

Instead, JUUL is “elegant” and “cool”.

       128.   JLI’s strategy to position a nicotine-delivery device as the cool thing to do

is not new. Decades before, Dr. Teague from R.J. Reynolds observed: “pre-smokers” face

“psychological pressure” to smoke if their peers are doing so, “a new brand aimed at a

young smoker must somehow be the ‘in’ brand and its promotion should emphasize

togetherness, belonging and group acceptance, while at the same time emphasizing ‘doing

one’s own thing.’”152 Again, JUUL followed the cigarette playbook verbatim.

       129.   JLI knew that among its target audience, young people, cigarette smoking

had become increasingly stigmatized. JLI wanted to create a product that would create

“buzz” and excitement, totally different from the image of addicted cigarette smokers

huddling outside their workplaces in the cold to get their nicotine fix.

       130.   Unlike the distinct smell and odor emitted from combustible cigarettes,

JUUL emits a reduced aerosol with a nearly undetectable scent. And unlike other e-

cigarettes, the JUUL device does not produce large plumes of smoke. Instead, the vapor

cloud is very small and dissipates very quickly, allowing for concealed use. As a result,

young users can, and do, use JUUL—in class or at home—without detection.

       131.   The JUUL device is also designed to be small and discrete. Fully assembled,

the device is just over 9.5 cm in length and 1.5 cm wide. The JUUL device resembles a




151
   INREJUUL_00057291 et seq.
152
   Internal RJR Memo, Claude Teague, Research Planning Memorandum on Some
  Thoughts About New Brands of Cigarettes for the Youth Market, (Feb. 2, 1973).



                                     66
memory stick and can be charged in a computer’s USB drive. This design allows the

device to be concealed in plain sight, camouflaged as a thumb-drive, for use in public

spaces, like schools and even charged in school computers. JLI has been so successful in

emulating harmless technology that its small, rectangular devices are often mistaken for—

or passed off as—flash drives. According to one high school senior, “that’s what people

tell the teachers a lot, too, if you charge it in class, they’ll just say it’s my flash drive.”




       132.    The ability to conceal a JUUL is part of the appeal for adolescents. The

devices are small and slim, so they fit easily in a closed hand or a pocket. The ease and

simplicity of use—there is nothing to light or unwrap, not even an on-off switch—also




                                       67
make it possible to covertly use a JUUL behind a turned back, which has become a trend

in many schools. As a police officer told reporters, JUUL use is “incredibly prevalent in

schools,” including both high schools and middle schools, and that it is hard to catch kids

in the act of using JUUL because the device does not produce a large vapor cloud. As the

officer explained, students will “just take a little hit or puff off them and then can hold the

vapor in their mouth for a little while . . . There’s minimal vapor. They’ll also just blow

into their sleeve or into their hoodie.”153 Finding new ways to hide the ever-concealable

JUUL has spawned products designed just for that purpose, such as apparel that allows

the wearer to use the device while it is concealed in the drawstring of a hoodie or the strap

of a backpack.154

       133.   Referred to as “the iPhone of e-cigarettes,” JLI’s design was also slick and

high-tech, which made it appealing to youth. JLI co-founder Bowen drew on his

experience as a design engineer at Apple Inc. to make JUUL resonate with Apple’s

popular aesthetics. This high-tech style made JUULs look “more like a cool gadget and

less like a drug delivery device. This wasn’t smoking or vaping, this was JUULing.”155

The evocation of technology makes JUUL familiar and desirable to the younger tech-

savvy generation, particularly teenagers. According to a 19-year-old interviewed for the




153
    Juuling at School, KOMO News (2019),
  https://komonews.com/news/healthworks/dangerous-teen-trend-juuling-at-school.
154
    Evie Blad, ‘Juuling’ and Teenagers: 3 Things Principals and Teachers Need to Know,
  EDUC. WK. (July 18, 2018), https://www.edweek.org/ew/articles/2018/07/18/juuling-
  and-teenagers-3-things-principals-and.html.
155
    How JUUL Made Nicotine Go Viral, VOX (Aug. 10, 2018),
  https://www.youtube.com/watch?v=AFOpoKBUyok.



                                      68
Vox series By Design, “our grandmas have iPhones now, normal kids have JUULs now.

Because it looks so modern, we kind of trust modern stuff a little bit more so we’re like,

we can use it, we’re not going to have any trouble with it because you can trust it.”156 A

16-year-old agreed, explaining that “the tech aspect definitely helps people get introduced

to it and then once they’re introduced to it, they’re staying, because they are conditioned

to like all these different products. And then this is another product. And it’s just another

product. Until you’re addicted to nicotine.”157

       134.   JUUL’s design also included an LED light, which allowed users to active

“party mode,” whereby the LED light would flash a rainbow of colors. “Party mode” is

activated by the user by waving the JUUL device back and forth until the white LED light

starts flashing multiple colors, so that the rainbow colors are visible while the person

inhales from the JUUL device. “Party mode” can also be permanently activated on the

JUUL by the user quickly and firmly slapping the JUUL against the palm of the hand,

until the LED light starts flashing multiple colors permanently. Party mode on the JUUL

is described by users to be “like an Easter egg in a video game” and allows for “some cool

tricks that are going to drive [] friends crazy.” 158 This feature was another characteristic

that set JUUL apart from other e-cigarettes on the market, and made it even more

appealing and “cool” to young users.




156
    Id.
157
    Id.
158
    Jon Hos, Getting Your Juul Into Party Mode, (Jul. 12, 2018),
  https://vapedrive.com/getting-your-juul-into-party-mode.



                                     69
       135.   According to Dr. David Kessler, a former Commissioner of the FDA and

current Professor of Pediatrics at the University of California, San Francisco, JUUL’s

“fundamental design appears to ease young people into using these e-cigarettes and

ultimately, addiction.”159 Dr. Kessler emphasized the reduced harshness of JUUL’s

nicotine salt formulation, the high nicotine content, discreet vapor cloud, and use of

flavors as design features that appeal to youth.160 On April 24, 2018, the FDA sent JLI a

letter, based on the FDA’s concern “about the popularity of JUUL products among youth”

and stated that this popularity may be related to “the product design.”161 As a result, the

FDA requested documents related to product design, including its “shape or form,”




159
    David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In,
  N.Y. TIMES (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-
  kids.html.
160
    Id.
161
    Letter from Matthew R. Holman, Director of the Office of Science at the Center for
  Tobacco Products, to Ziad Rouag, Vice President of Regulatory & Clinical Affairs,
  JUUL Labs, Inc. (Apr. 24, 2018), https://www.fda.gov/media/112339/download.



                                    70
“nicotine salt formulation” and “nicotine concentration/content,” “flavors,” and “features

such as: appearance, or lack thereof, or plume . . . [and] USB port rechargeability.”

       6.     JLI Enticed Newcomers to Nicotine with Kid-Friendly Flavors Without
              Ensuring the Flavoring Additives Were Safe for Inhalation.

              a.     JIL Develops Flavored JUUL Products That Would Appeal to
                     Youth.

       136.   Cigarette companies have known for decades that flavored products are key

to getting young people to acclimate to nicotine. A 1972 Brown & Williamson

memorandum: Youth Cigarette – New Concepts, specifically noted the “well known fact

that teenagers like sweet products.”162 A 1979 Lorillard memorandum concluded that

younger customers would be “attracted to products with ‘less tobacco taste,” and even

proposed borrowing data from the “Life Savers” candy company to determine which

flavors enjoyed the widest appeal among youth.163

       137.   Altria’s subsidiary U.S. Smokeless Tobacco Company (formerly called

United States Tobacco Company) described the initiation of new customers through

flavored products as “the graduation theory”:

       New users of smokeless tobacco—attracted to the product for a variety of
       reasons—are most likely to begin with products that are milder tasting, more
       flavored, and/or easier to control in the mouth. After a period of time, there
       is a natural progression of product switching to brands that are more full-



162
    Marketing Innovations, Inc., Brown & Williamson Tobacco Corp. Project Report:
  Youth Cigarette—New Concepts, U.C.S.F. Truth Tobacco Indus. Documents (Sept.
  1972), https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=hzpd0040.
163
    Flavored Tobacco FAQs, Students Working Against Tobacco,
  http://swatflorida.com/uploads/fightresource/Flavored%20Tobacco%20Industry%20Qu
  otes%20and%20Facts.pdf (citing Sedgefield Idea Sessions 790606-790607 (June 8,
  1979), Bates No. 81513681/3691) (last visited Mar. 27. 2020).



                                    71
       bodied, less flavored, have more concentrated “tobacco taste” than the entry
       brand.164

       138.   A sales manager who worked at U.S. Tobacco in the 1980s told the Wall

Street Journal that “They talked about graduation all the time—in sales meetings, memos

and manuals for the college program. It was a mantra.”165

       139.   A 2004 study found that seventeen-year-old smokers were more than three

times as likely as those over the age of twenty-five to smoke flavored cigarettes, and they

viewed flavored cigarettes as safer.166

       140.   In June 2015, JUUL came to market in four flavors including tabaac (later

renamed tobacco), fruut (later renamed fruit medley), bruulé (later renamed crème brulee),

and miint (later renamed mint).




164
    G.N. Connolly, The marketing of nicotine addiction by one oral snuff manufacturer, 4
  TOBACCO CONTROL 73-79 (1995),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1759392/pdf/v004p00073.pdf.
165
    Alix Freedman, Juiced Up: How a Tobacco Giant Doctors Snuff Brands to Boost Their
  ‘Kick,’ WALL ST. J. (Oct. 26, 1994),
  https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=mlch0185.
166
    Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. TIMES (Sept.
  22, 2009), https://www.nytimes.com/2009/09/23/health/policy/23fda.html.



                                     72
       141.   JUUL later offered other kid-friendly flavors, including cool mint,

cucumber, and mango.




       142.   In 2009, the FDA banned flavored cigarettes (other than menthol) as its first

major anti-tobacco action pursuant to its authority under the Family Smoking Prevention

and Tobacco Control Act of 2009. “Flavored cigarettes attract and allure kids into

addiction,” Health and Human Services Assistant Secretary Howard Koh, MD, MPH, said

at a news conference held to announce the ban.167 In January 2020, the FDA banned

flavored e-cigarette pods, other than “Tobacco” and “Menthol” flavors, in response to

“epidemic levels of youth use of e-cigarettes” because these products are “so appealing”

to children.”168

       143.   The availability of e-liquids in flavors that appeal to youth increases rates of

e-cigarette adoption by minors. A national survey found that that 81% of youth aged


167
    Daniel J. DeNoon, FDA Bans Flavored Cigarettes: Ban Includes Cigarettes With
  Clove, Candy, and Fruit Flavors, WebMD (Sept. 22, 2009),
  https://www.webmd.com/smoking-cessation/news/20090922/fda-bans-flavored-
  cigarettes#2.
168
    U.S. Food & Drug Admin., FDA Finalizes Enforcement Policy on Unauthorized
  Flavored Cartridge-Based E-cigarettes that Appeal to Children, Including Mint (Jan. 22,
  2020), https://www.fda.gov/news-events/press-announcements/fda-finalizes-
  enforcement-policy-unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.



                                     73
twelve to seventeen who had ever used e-cigarettes had used a flavored e-cigarette the first

time they tried the product, and that 85.3% of current youth e-cigarette users had used a

flavored e-cigarette in the past month. Moreover, 81.5% of current youth e-cigarette users

said they used e-cigarettes “because they come in flavors I like.”169

       144.   Adding flavors to e-liquids foreseeably increases the risk of nicotine

addiction by making it easier and more pleasant to ingest nicotine.170 Research has shown

that adolescents whose first tobacco product was flavored are more likely to continue

using tobacco products than those whose first product was not flavored.

       145.   In a recent study, 74% of youth surveyed indicated that their first use of a

JUUL was of a flavored JUUL pod.171

       146.   Research shows that when youth see advertisements for flavored e-

cigarettes, they believe the advertisements and products are intended for them.172




169
    See Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged
  12-17 Years, 2013-2014, 314 JAMA 1871 (2015). Another peer-reviewed study
  concluded that young adults who use electronic cigarettes are more than four times as
  likely to begin using regular cigarettes as their peers who have not used e-cigarettes. See
  Brian A. Primack, et al. Initiation of Traditional Cigarette Smoking after Electronic
  Cigarette Use Among Tobacco-Naïve US Young Adults, 131 AM. J. MED. 443.e1 (2018).
170
    See U.S. Dep’t of Health & Human Servs., How Tobacco Smoke Causes Disease: The
  Biology and Behavioral Basis for Smoking-Attributable Disease: A Report of the
  Surgeon General, Chapter 4 (Centers for Disease Control and Prevention ed. 2010),
  https://www.ncbi.nlm.nih. gov/books/NBK53018/ #ch4.s92.
171
    Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-
  based Electronic Cigarettes. 1 JAMA NETWORK OPEN e183535 (2018), https://
  doi:10.1001/jamanetworkopen.2018.3535.
172
    D.C. Petrescu, et al., What is the Impact of E-Cigarette Adverts on Children’s
  Perceptions of Tobacco Smoking? An Experimental Study, 26 TOBACCO CONTROL 421
  (2016); Julia C. Chen-Sankey et al., Perceived Ease of Flavored E-Cigarette Use and E-
  Cigarette Use Progression Among Youth Never Tobacco Users, 14 PLOS ONE 1 (2019).



                                     74
       147.   Flavors like mint and menthol are attractive to youth. According to Robin

Koval, CEO and president of Truth Initiative, mint and menthol are among the most

popular flavors for youth and that “[w]e also know, as does the tobacco industry, that

menthol has been and continues to be the starter flavor of choice for young cigarette

users.” According to the FDA, “younger populations have the highest rate of smoking

menthol cigarettes” and “menthol in cigarettes is likely associated with increased initiation

and progression to regular [] cigarette smoking.”173

       148.   A significant majority of under-age users chose flavored e-cigarette

products.174 By at least early 2017, JLI knew that its flavors had attracted young people

and non-smokers in droves.175 Instead of taking corrective action or withdrawing the kid

friendly flavors, JLI capitalized on their popularity with kids continued to promote

JUUL’s flavors. In a social media post from August 2017, for example, JLI tweeted “Beat

The August Heat with Cool Mint” and “Crisp peppermint flavor with a pleasant

aftertaste.”176 In another August 2017 tweet, JLI compared JUUL to dessert: “Do you


173
    Preliminary Scientific Evaluation of the Possible Public Health Effects of Menthol
  Versus Nonmenthol Cigarettes at 5, FDA, https://www.fda.gov/media/86497/download
  (last visited Mar. 28, 2020).
174
    Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 322 JAMA
  2095 (2019), https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users,
  an estimated 72.2% . . . of high school students and 59.2% . . . of middle school students
  used flavored e-cigarettes. . . .").
175
    See INREJLI_00265068 (Feb. 13, 2017 internal JLI email string: “. . . [f]lavors are
  important for retention – especially when you consider the switching effectiveness of
  JLI. Would we still have these people as customers if we didn’t offer fruit or dessert
  flavors? Hard to say on this alone, but if we removed our highest quality flavors (mint or
  mango), we would surely risk churn.”)
176
    JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 4, 2017),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.



                                     75
brulée? RT [re-tweet] if you enjoy dessert without the spoon with our Creme Brulee

#JUULpods.”177

       149.   JLI asserts that it did not intend its flavors to appeal to underage users. After

eleven Senators sent a letter to JLI questioning its marketing approach and kid-friendly e-

cigarette flavors, JLI visited Capitol Hill and told Senators that it never intended its

products to appeal to kids and did not realize they were using the products, according to a

staffer for Senator Richard Durbin178. JLI’s statements to Congress—which parallel

similar protests of innocence by cigarette company executives—were false.

       150.   A former JUUL manager, who spoke to The New York Times on the

condition that his name not be used, said that within months of JUUL’s 2015 introduction,

it became evident that teenagers were either buying JUULs online or finding others who

made the purchases for them. Some people bought more JUUL kits on the company’s

website than they could individually use—sometimes ten or more devices at a time. “First,

they just knew it was being bought for resale,” said the former senior manager, who was

briefed on the company’s business strategy. “Then, when they saw the social media, in

fall and winter of 2015, they suspected it was teens.”179


177
    Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns,
  Forbes (Nov. 16, 2018),
  https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
  juuls-early-marketing-campaigns/#3da1e11b14f9.
178
    Lorraine Woellert & Sarah Owermohle, Juul Tries to Make Friends in Washington as
  Regulators Circle, POLITICO (Dec. 28, 2018),
  https://www.politico.com/story/2018/12/08/juul-lobbying-washington-1052219.
179
    Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
  N.Y. TIMES (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-
  teen-marketing.html.



                                     76
        151.   JLI’s use of flavors unfairly targeted not only youth, but unsuspecting adults

as well. By positioning JUUL pods as a flavor-oriented product rather than a system for

delivering a highly addictive drug, JLI deceptively led users to believe that JUUL pods

were not only healthy (or at least essentially harmless), but also a pleasure to be enjoyed

regularly, without guilt or adverse effect.

               b.     Defendants Developed and Promoted the Mint Flavor and Sought
                      to Preserve its Market.

        152.   While JLI and the Management Defendants were developing and marketing

their flavored products to appeal to and recruit youth, Altria, recognizing the value of those

young “replacement smokers” committed itself to the cause. With the shared goal to grow

the number of nicotine-addicted users, and as detailed further herein, JLI’s leadership, the

Management Defendants, and Altria set out to do whatever was necessary to create and

preserve the lucrative market for flavors. In order to maximize the value of its mint line

of JUULpods, JLI, with the support of the Management Defendants, chemically and

socially engineered its mint pods to become the most popular “flavor” among youth,

including through extensive surveillance of youth behavior and preferences, all while

seeking to conceal mint’s appeal to youth.

        153.   In July 2013, Reynolds American Inc.180 released the Vuse, the first-known

cartridge-based nicotine salt e-cigarette to reach the domestic market.181 Altria entered the




180
   Reynolds is now a wholly owned subsidiary of British American Tobacco.
181
   See FAQs, RJR Vapor Co., LLC, http://www.vusevapor.com/faqs/product/ (“Since
  Vuse’s launch in 2013, all of our closed systems available for sale nationally (i.e., Vuse
  Solo, Vuse Ciro, Vuse Vibe, and Vuse Alto) include nicotine salts.”).



                                      77
nicotine salt market one month later, with the MarkTen cig-a-like.182 JLI would enter the

market in June 2015.

       154.   Though mint was one of the least popular e-cigarette flavor categories with

youth in 2015, trailing the fruit and dessert categories,183 Reynolds, Altria and JLI had all

introduced mint-flavored products within a year of each company’s initial release. By mid-

2014, Reynolds had added “Mint, Rich Mint, Spearmint, [and] Wintergreen” to its Vuse

lineup.184 By February 2015, Altria’s Nu Mark LLC, under the leadership of Joe Murillo

(JLI’s current regulatory head), released a Winter Mint flavor for MarkTen.

       155.   Unlike Reynolds and Altria, which released mint products after first

releasing a menthol variant, JLI skipped menthol and went straight to mint, adding

Menthol in late 2017 around the same time it released its mango JUULpods.

       156.   JLI’s flavored JUULpods were particularly popular with its underage users

and, when mango was introduced, it was the underage user’s flavor of choice.

       157.   JLI, the Management Defendants, and Altria recognized both the potential

of using flavors to hook kids and the inevitability that the government would seek to

regulate said flavors. So, they sought to solidify the market presence of a “substitute”




182
    Additional Info, Nu Mark LLC, https://markten.com (“certain varieties” of MarkTen
  Original “contain … acetic acid, benzoic acid, and lactic acid.”).
183
    See M.B. Harrell et al., Flavored E-cigarette Use: Characterizing Youth, Young Adult,
  and Adult Users, 5 PREVENTIVE MEDICINE REPS. 33-40, § 3.3 (Mar. 2017),
  https://www.sciencedirect.com/science/article/pii/S2211335516301346.
184
    See Sen. Richard Durbin, et al., Gateway to Addiction? (April 14, 2014),
  https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
  Cigarettes%20with%20Cover.pdf.



                                     78
youth-friendly flavor—mint—which might escape regulation and preserve JLI’s

astronomical sales figures.

       158.   One recent study found that JLI’s mango had the lowest free-base content,

making it the least harsh formula; and that mint had the highest free-base content (30%

more free-base than mango), making mint the formula with the strongest nicotine

impact:185




       159.   These findings evidence JLI, the Management Defendants, and the Altria

Defendants’ plan to make the flavor whose lifespan they were working hard to preserve

the most potent when it got into the hands of nonsmokers, including youth.

              c.     JLI’s Youth Surveillance Programs Confirmed that Mint JUUL
                     Pods are Preferred by Teens.

       160.   In January 2018, Kevin Burns, JLI’s new CEO, deployed his experience as

the former CEO of a yogurt company to begin developing JUUL’s flavor portfolio.


185
   See Duell AK, et al. Nicotine in Tobacco Product Aerosols:
  “It's Déjà vu All Over Again,” 5 TOBACCO CONTROL (Dec. 17, 2019),
  https://tobaccocontrol.bmj.com/content/tobaccocontrol/early/2019/12/16/tobaccocontrol-
  2019-055275.full.pdf.



                                   79
       161.   One part of this initiative included studying consumer reactions to flavor

names. By February 2018, McKinsey & Company had provided a roadmap to JLI’s

Consumer Insights department, which included multiple flavor studies including a flavor

“likability” tests, which was carried out under JUUL’s marketing and commercial

department.186

       162.   In April 2018, JLI received a document request from the FDA on April 24,

2018, seeking information about the design and marketing of JLI’s products, among other

things.187

       163.   In response, JLI announced a commitment of $30 million to youth

prevention efforts and began sending JLI representatives to schools to present what were

essentially advertising campaigns for JUUL products. This conduct resulted in a Warning

Letter from the FDA’s Center for Tobacco Products to JLI in September 2019.188

       164.   Under the guise of this youth prevention program, JLI directly studied 13-

to 17-year-old teens’ e-cigarette flavor preferences.189 These studies, undertaken at a time

when JLI and Altria were coordinating their activities, asked teens to rank a variety of e-

cigarette flavors in terms of appeal, and included the names of current JUUL flavors,

JUUL flavors under development, and flavors offered by JLI’s competitors. Though they


186
    INREJUUL_00053172.
187
    Matthew Holman, U.S. Food & Drug Admin., to Ziad Rouag, Juul Labs, Inc., Letter
  from Director of Office of Science, Center for Tobacco Products (Apr. 24, 2018),
  https://www.fda.gov/media/112339/download.
188
    Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc.
  (Sept. 9, 2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
  investigations/warning-letters/juul-labs-inc-590950-09092019.
189
    INREJUUL_00121627 (preliminary slides); INREJUUL_00124965 (data).



                                     80
were not made public, through document requests, two such studies have been identified

from April 2018.

      165.   The first study, carried out by McKinsey & Company, generated over 1,000

responses from teens aged 13 to 17 years old.190 The second study, conducted by DB

Research, appears to have gathered data from a focus group of 16 kids in Bethesda,

Maryland, and Baltimore, Maryland.191

      166.   Both studies found that teens’ co-favorite JUUL flavors were mango and

mint, and that teens found only one third-party flavor more desirable than mango and mint:

“Cotton Candy” (McKinsey) 192 and “Fruit Loops” (DB Research).193

      167.   Though the McKinsey study did not survey teens’ preference for menthol,

the DB Research study did and found that while 28% of teens found menthol appealing,

72% of teens liked mint.194

      168.   In other words, these surveys showed that teens respond to mint the way

they respond to their favorite candy flavors and respond to Menthol the way they respond

to traditional tobacco flavors typically disfavored by youth. This is unsurprising, as the

“Mint” flavor was designed not to taste like a Menthol cigarette. Users have described




190
    Id.
191
    INREJUUL_00035325.
192
    INREJUUL_00124965.
193
    Id.
194
    INREJUUL_00035325.



                                    81
JLI’s Menthol flavor as “tast[ing] like a [N]ewport” cigarette that “doesn’t have that good

peppermint taste like [C]ool [M]int.”195

       169.   Because of these and other studies, JLI, the Management Defendants, and

the Altria Defendants knew that mint is an attractive flavor for kids. According to

Siddharth Breja, who was senior vice president for global finance at JLI, after JLI pulled

most flavored pods, including mango, from the market in a purported attempt to reduce

youth usage of JUUL, then-CEO Kevin Burns said that “[y]ou need to have an IQ of 5 to

know that when customers don’t find mango they buy mint.”196 And it was public

knowledge that mint and menthol have a well-documented history of facilitating youth

tobacco use, as Dr. Jonathan Winickoff testified before Congress:

       [it is] completely false to suggest that mint is not an attractive flavor to
       children. From candy canes to toothpaste, children are introduced to mint
       flavor from a young age. Not only do children enjoy mint, but it has special
       properties that make it an especially dangerous flavor for tobacco. Menthol’s
       anesthetic properties cool the throat, mask the harshness of nicotine, and
       make it easier for children to start using and continue using tobacco products.
       The impact of mint and menthol flavors on increasing youth tobacco
       addiction is well documented.197




195
    Reddit, How does Classic Menthol Compare to Cool Mint,
   https://www.reddit.com/r/juul/comments/7wo39m/how_does_classic_menthol_compar
   e_to_cool_mint/.
196
    Sheila Kaplan and Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former
  Executive Say, N.Y. TIMES (Nov. 20, 2019),
  https://www.nytimes.com/2019/10/30/health/juul-pods-contaminated.html.
197
    Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 3
  (2019) (statement of Jonathan P. Winickoff, American Academy of Pediatrics). ,
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Wi
  nickoff%20AAP%20Testimony.pdf.



                                     82
       170.   If the purpose of these youth prevention studies was to “better understand

how different flavor profiles appeal to different age groups to inform youth prevention,”

as the McKinsey slides presenting that study’s findings indicate, the lesson for JLI, the

Management Defendants, and the Altria Defendants was that teens like mint as much or

more than any other JUUL flavor, including mango, fruit medley, crème brulee, cucumber,

and more than a dozen other candy-like flavors produced by third-parties for use with the

JUUL device.

       171.   With that knowledge and with no genuine interest in youth prevention, and

as detailed below, JLI, the Management Defendants, and Altria committed to work to

preserve mint as a flavor for as long as possible. Indeed, to further this goal, Defendants

Pritzker and Valani poured additional money into JLI a mere two months later as part of

a $600 million funding round.198

       172.   By keeping mint on the market long after other flavors were pulled, these

Defendants continued to expand the number of addicted e-cigarette users.

D.     Defendants Developed and Implemented a Marketing Scheme to Mislead Users
       into Believing that JUUL Products Contained Less Nicotine Than They
       Actually Do and Were Healthy and Safe.

       173.   Having created a product designed to hook users to its nicotine, JLI had to

mislead users into believing JUUL was something other than what it actually was. So, the

company engaged in a years’ long campaign to downplay JUUL’s nicotine content,




198
    Alex Wilheim & Jason D. Rowley, JUUL Raises $650M Of Its $1.25B Mega-Round,
  CRUNCHBASE (Jul. 10, 2018), https://news.crunchbase.com/news/juul-raises-650m-of-
  its-1-25b-mega-round/.



                                    83
nicotine delivery, and the unprecedented risks of abuse and addiction JUUL poses.

Defendants devised and knowingly carried out a material scheme to defraud and addict

users by (a) misrepresenting the nicotine content, nicotine delivery profile, and risks of

JUUL products, (b) representing to the public that JUUL was a smoking cessation tool,

and (c) using third-party groups to spread false and misleading narratives about e-

cigarettes, and JUUL in particular.

       1.     The Defendants Knowingly Made False and Misleading Statements and
              Omissions Concerning JUUL’s Nicotine Content.

       174.   As part of their strategy to market to youth and nonsmokers, JLI and the

Management Defendants also did not effectively inform users that JUUL products contain

nicotine. Despite making numerous revisions to JUUL products’ packaging since 2015,

JLI did not include nicotine warnings until forced to do so in August 2018.199

       175.   Moreover, many of JUUL’s advertisements, particularly prior to November

2017, also did not mention that JUUL contained nicotine. In the first year after JUUL’s

launch, not one of JLI’s 171 promotional emails said anything about the nicotine content

in JUUL products.200 For example, in a July 11, 2015 email, JLI advertised its promotional

events with the text, “Music, Art, & JUUL. What could be better? Stop by and be gifted a




199
    See INREJUUL_00444332 (2015 image of JLI packaging). The JLI packaging
  originally included such warnings about nicotine, but were removed during various
  rounds of revisions, see e.g., INREJUUL_00021583-586 at 583 (2014 image of JLI
  packaging containing handwritten revisions of the original language).
200
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 25 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.



                                      84
free starter kit.”201 This email did not mention that JUULpods contain nicotine, nor did it

say that JUUL or the free starter kits were intended for adults only.

       176.   Similarly, none of JLI’s 2,691 tweets between June 2015 and October 6,

2017 mentioned that JUUL contained nicotine.202 For example:

       A.     On August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15? We got you. Follow
              us and tweet #JUULallnight and our faves will get a pair of tix!”203 This tweet did
              not mention that JUUL contained nicotine.

       B.     On July 28, 2017, JLI tweeted an image of a Mango JUULpod next to mangos
              captioned “#ICYMI: Mango is now in Auto-ship! Get the #JUULpod flavor you
              love delivered & save 15%. Sign up today.”204 This tweet did not mention that
              JUUL contained nicotine.

       C.     On August 4, 2017, JLI tweeted “Beat The August Heat with Cool Mint” and “Crisp
              peppermint flavor with a pleasant aftertaste,” captioned “A new month means you
              can stock up on as many as 15 #JUULpod packs. Shop now.”205 This tweet did not
              mention that JUUL contained nicotine.

       D.     On August 28, 2017, JLI tweeted “Do you brulée? RT [re-tweet] if you enjoy
              dessert without the spoon with our Creme Brulee #JUULpods.” 206 This tweet did
              not mention that JUUL contained nicotine.




201
    Check out our JUUL events this Summer, JUUL (hello@juulvapor.com) (July 11,
  2015),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/email/large/email_2.jpg.
202
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 25 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
203
    JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 7, 2015),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_18.jpg.
204
    JUUL Labs, Inc. (@JUULvapor), Twitter (July 28, 2017),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_38.jpg.
205
    JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 4, 2017),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
206
    Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns,
  Forbes (Nov. 16, 2018),
  https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
  juuls-early-marketing-campaigns/#3da1e11b14f9.



                                      85
       177.   Even after Defendants added a nicotine warning to JUUL products, they

continued to mislead youth and the public about the amount of nicotine in a JUULpod.

Every 5% strength JUUL pod package represents that one pod is equivalent to one pack

of cigarettes. This statement is deceptive, false and misleading. As JLI’s regulatory head

explained internally to former CEO Kevin Burns in 2018, each JUUL pod contains

“roughly twice the nicotine content of a pack of cigarettes.”207

       178.   In addition, and as JLI and the Management Defendants know, it is not just

the amount of nicotine, but the efficiency with which the product delivers nicotine into the

bloodstream, that determines the product’s narcotic effect, risk of addiction, and

therapeutic use. Most domestic cigarettes contain 10–15 mg of nicotine per cigarette208

and each cigarette yields between 1.0 to 1.4 mg of nicotine,209 meaning that around 10%

of the nicotine in a cigarette is typically delivered to the user. JUUL e-cigarettes, on the

other hand, have been found to deliver at least 82% of the nicotine contained in a JUUL




207
    INREJUUL_00279931.
208
    Neal L Benowitz & Jack E Henningfield, Reducing the Nicotine Content to Make
  Cigarettes less addictive, 22 TOBACCO CONTROL Supp. 1, i14-17 (2013),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3632983/.
209
    Lynn T. Kozlowski & Janine L. Pilliteri, Compensation for Nicotine by Smokers of
  Lower Yield Cigarettes, 7 SMOKING AND TOBACCO CONTROL MONOGRAPH 161, 164
  (1983), https://cancercontrol.cancer.gov/brp/tcrb/monographs/7/m7_12.pdf



                                     86
pod to the user.210 JLI’s own internal studies suggest a nicotine transfer efficiency rate of

closer to 100%.211

       179.   Defendants also knew that the use of benzoic acid and nicotine salts in JUUL

pods affects pH and facilitates “absorption of nicotine across biological membranes.”212

JUUL’s e-liquid formulation is highly addictive not only because it contains a high

concentration of nicotine, but because it contains a particularly potent form of nicotine,

i.e., nicotine salts. Defendants knew this, as Adam Bowen advised the Board of Directors

at an October 2015 Board meeting on JLI’s “nicotine salts patent application.”213 And the

Altria Defendants were aware of the research showing the potency of nicotine salts from

their many years in the tobacco business.

       180.   JLI and Defendant Bowen, knowing that the Phase 0 results illustrated that

the nicotine content was greater than they wanted to represent, sought to engineer test

results that differed from those results and were more consistent with JLI’s deceptive

messaging. In May 2014, within weeks of the Phase 0 study, JLI and Defendant Bowen

carried out a second pharmacokinetics study in New Zealand. This study was called the

CH-1401, or the “Phase 1” study. This study again examined the effects of inhaling


210
   Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by
  JUUL Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (2019),

  per puff).
211
    See, e.g., INREJUUL_00023597 (finding 94% nicotine transfer efficiency with 4%
  benzoate formula).
212
    Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192
  HANDB.EXP.PHARMACOL. 29 (2010),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/
213
    INREJUUL_00278408.



                                     87
aerosol from various 2% nicotine solutions: nicotine benzoate (blend A), nicotine malate

(blend B), and free-base nicotine (blend C).214 In a further departure from the Phase 0

study, which used experienced e-cigarette users, the Phase 1 study used subjects that had

not previously ingested aerosolized nicotine vapor, and who had certainly never ingested

aerosolized nicotine vapor from nicotine salts. As Defendants JLI and Bowen knew, this

difference is critical. Just as first-time smokers would not inhale as much cigarette smoke

as regular smokers, inexperienced (or “learning”) e-cigarette users will not inhale vapor

at a rate that maximizes nicotine delivery.215 JLI’s decision to omit participants with

previous e-cigarette experience from the criteria for inclusion in CH-1401 resulted in

artificially deflated Cmax results.216

       181.   The Cmax recorded in the Phase 1 study was approximately a third of that

achieved by smoking a cigarette. Specifically, e-cigarette users recorded a Cmax of

approximately 12.87 ng/ml, compared with the 31.47 ng/ml Cmax resulting from smoking

a Pall Mall.217

       182.   In possession of the results from both the Phase 0 and Phase 1 studies, JLI

nevertheless decided to launch a 5% nicotine salt solution as its commercial product. An

internal memo explained JLI’s reasoning as follows: “[s]ince the Cmax of the [2%]

nicotine salt was about 1/3 that of cigarettes, we chose a concentration of 5% for our




214
    INREJUUL_00014159-INREJUUL_00014226.
215
    INREJUUL_00002526-INREJUUL_00002625.
216
    Id.
217
    Id.



                                         88
commercial product (JUUL), which should provide a Tmax and Cmax consistent with a

cigarette.”218

       183.      Instead of testing a 5% solution, JLI estimated the Cmax result of a 5%

nicotine solution using a model.219 But the Phase 0 data showed that a 4% benzoic acid /

5% nicotine solution would have a higher Cmax and AUC than those of a cigarette, not

one that was equal.

       184.      JLI and the Management Defendants knew that JLI’s studies indicated that

their 5% solution product was more potent and more addictive than a typical cigarette. But

JLI and the Management Defendants then used their unsupported extrapolation of their

flawed studies to market JUUL as providing a nicotine experience on par with a cigarette,

even though they designed JUUL to ensure that was not true. In reality, there were never

any measured test results in accord with JLI’s marketing to distributors, retailers, and the

public at large.

       185.      In the United States, the unsupported extrapolations from what appears to

be the Phase 1 study were used to create charts, which JLI posted on its website, shared

with journalists, sent to retailers, and distributed to third party promoters, showing that

JUUL’s 5% solution achieved a pk profile just below that of a cigarette. For example, the

following chart appeared on the online publication TechCrunch:220




218
    INREJUUL_00351717-INREJUUL_00351719.
219
    Id.
220
    Ryan Lawler, Vaporization Startup Pax Labs Introduces Juul, Its Next-Gen-E-
  Cigarette, TECH CRUNCH (Apr. 21, 2015), https://techcrunch.com/2015/04/21/pax-juul/.



                                      89
         186.   Simultaneously, while providing extrapolated data to the public, Phase 1

was used as the basis for representations to retailers that a 2% solution achieved a pk

profile equaling that of a cigarette. In a pitch deck dated March 25, 2015, and labeled as

being intended for the convenience store distributor Core-Mark, JLI presented interim221

Phase 1 data showing this equivalence:222




221
      See JLI00363360.
222
      INREJUUL_00448896.



                                     90
         187.   These misrepresentations to the public were not accidental, nor were they

the work of a rogue employee. In a June 2014 Ploom Board meeting in London, the Ploom

executives’ presentation to the Board, which at that time included Defendants Bowen,

Monsees, Pritzker, and Valani, explained the differences between the Phase 0 and Phase

1 results as “due to averaging across more subjects with variability in puffing behavior.”223

Their explanation did not note that “variability in puffing behavior” was partly a result of

the fact that participants in the Phase 0 study were experienced e-cigarette users whereas

the participants in the Phase 1 study were not. Thus, Defendants Bowen, Monsees,

Pritzker, and Valani were privy to both the Phase 0 and Phase 1 results. And they knew

that the data JLI (then Ploom) was pushing on the public was false and misleading, but

none made any efforts to correct or withdraw those false and misleading statements. Aside




223
      INREJUUL_00016443-INREJUUL_00016507.



                                     91
from submitting the testing protocol and results of the Phase 0 study with the ‘895 patent,

JLI, Bowen, Monsees, Pritzker, and Valani otherwise ignored the Phase 0 study and

omitted it from public discussion of JUUL’s nicotine delivery.

       2.     JLI, the Management Defendants, and Altria Transmitted, Promoted
              and Utilized Statements Concerning JUUL’s Nicotine Content that They
              Knew Was False and Misleading.

       188.   As set forth above, the statements in JLI advertisements and on JUUL pod

packaging that each JUUL pod contains about as much nicotine as a pack of cigarettes are

deceptive, false and misleading. Defendants knew this.

       189.   JLI and the Management Defendants caused deceptive, false and misleading

statements that a JUUL pod had an equivalent amount of nicotine as one pack of cigarettes

to be distributed via the wires and mails. These Defendants have thus materially

misrepresented the nicotine content of JUUL products to the consuming public including

Plaintiff, through acts of mail and wire fraud.

       190.    By no later than October 30, 2016 (and likely earlier), the JLI Website—

which, as discussed above, the Management Defendants on JLI’s Board of Directors

reviewed and approved—advertised that “[e]ach JUULpod contains 0.7mL with 5%

nicotine by weight, approximately equivalent to 1 pack of cigarettes or 200 puffs.”224 The

language on the website would later change, but still maintained the same fraudulent




224
   JUULpod, JUUL Labs, Inc. (Oct. 30, 2016),
  https://web.archive.org/web/20161030085646/https://www.juulvapor.com/shop-pods/



                                     92
misrepresentation—i.e., that “[e]ach 5% JUULpod is roughly equivalent to one pack of

cigarettes in nicotine delivery.”225

       191.   As noted above, JLI and the Management Defendants directed and approved

the content of the JUUL website, and they also directed and approved the distribution

channels for JUUL pods and deceptive, misleading and fraudulent statements regarding

JUUL’s nicotine content. And although they knew that these statements, which they

caused to be transmitted over the wires and mails, were untrue, JLI and the Management

Defendants have made no effort to retract such statements or correct their lies. Moreover,

by no later than July 2018, James Monsees required JLI employees to personally seek his

approval for the artwork on all JUUL and JUUL pod packaging.226

       192.   In addition to approving the JLI website, knowing that it contained

deceptive, misleading and false statements, JLI (through its employees) and the

Management Defendants also were directly responsible for the interstate transport, via

U.S. mail, of JUULpod packaging contained misrepresentations and omissions. At the

same Board Meeting where Defendants Pritzker, Huh, and Valani were installed as the

Executive Committee, the Board directed JLI’s management on, among other things, “the

need to rely on distributors and the challenges in reaching customers otherwise.”227




225
    What is Vaping?, JUUL Labs, Inc. (July 2, 2019),
  https://www.JUUL.com/resources/What-is-Vaping-How-to-Vape
226
    JLI10045538
227
    INREJUUL_00278408.



                                       93
       193.   JUUL pod packages that were sent via U.S. mail stated that a single Juul

pod is “approximately equivalent to about 1 pack of cigarettes.”228 These statements, as

well as the statements on the JLI website, are false and misleading.

       194.   The statement on the JLI website, and in its advertisements and packaging,

that each JUUL pod contains 5% nicotine and is approximately equivalent to a pack of

cigarettes is false and likely to deceive and mislead, because the actual amount of nicotine

contained in a JUUL pod is as much as twice as high as that in a pack of cigarettes.

       195.   AGDC and Altria Client Services greatly expanded the reach of this fraud

by providing their retail and distribution might for JLI products, causing millions of JUUL

pods to be sent via U.S. mail with packaging stating that JUUL pods contain only 5%

nicotine by weight and are “approximately equivalent to about 1 pack of cigarettes.”229

JLI, the Management Defendants, and the Altria Defendants knew that these statements

were false and misleading, but nevertheless utilized JUUL product packing, marketing

and advertising to maintain their fraud.

       196.   The Altria Defendants knew in 2017 that a JUUL pod delivered more

nicotine than one pack of cigarettes. In 2017, Altria, through its wholly owned subsidiary

Nu Mark, launched its MarkTen Bold e-cigarette, a relatively high-strength 4%

formulation compared to the 2.5% and 3.5% strength MarkTen products initially offered.

Even though JUUL was already on store shelves and was rapidly gaining market share




228
    Juul Labs, Inc., Twitter, (Feb. 14, 2018),
  https://twitter.com/JUULvapor/status/963844069519773698,
229
    Id.



                                     94
with its 5% nicotine formulation, Altria (through Nu Mark) chose to bring a less potent

4% formulation to market.

       197.   According to Altria’s own pharmacokinetic testing (likely conducted by

Altria Client Services) as reflected in the chart below, this 4% less potent formulation was

nevertheless sufficient to raise plasma nicotine to levels approaching those generated by

combustible cigarettes. In other words, the Altria Defendants’ own pharmacokinetic

testing suggested the highly addictive nature of a 5% formulation, as such a formulation

would readily equal or exceed the nicotine delivery profile of a combustible cigarette.




 Figure 1: Presented at Altria Group Inc.’s November 1, 2017 Investor Day Presentation.
                                   MarkTen Bold 4%

       198.   Based on its own internal knowledge, the Altria Defendants knew that a 5%

nicotine formulation would carry more nicotine than one pack of cigarettes. In addition to

data Altria and Altria Client Services received from JLI, their due diligence undoubtedly

included a careful examination of JLI’s intellectual property, including the ’895 patent,

which provides a detailed overview of nicotine benzoate’s pharmacokinetic profile.




                                     95
       199.   Thus, JLI, the Management Defendants, and the Altria Defendants knew

that the statement on JUUL pod packaging that each JUUL pod contains 5% nicotine and

about as much nicotine as a pack of cigarettes is literally false and they intended such

statements to mislead. Neither the Altria Defendants nor JLI or the Management

Defendants have made any effort to correct or retract the false and misleading statements

as to the true nicotine content in JUUL pods. Instead, they have continued to misrepresent

the product’s nicotine content and design, with the goal of misleading and deceiving users.

       200.   From JUUL’s pre-release announcements to this day, JLI has continuously

represented that each pod is approximately equivalent to a pack of cigarettes. These

claims, which JLI repeats widely in advertisements, press releases, and its web site, have

been distributed via the wires and mails and disseminated by reputable and widely reliable

sources that accepted those representations as true.230




230
   See Truth Initiative, 6 Important Facts about Juul, https://truthinitiative.org/research-
  resources/emerging-tobacco-products/6-important-facts-about-juul; Erin Brodwin, An
  E-cigarette with Twice the Nicotine of Comparable Devices is Taking over High
  Schools – and Scientists are Sounding the Alarm, BUSINESS INSIDER (Apr. 30, 2018),
  https://www.businessinsider.com/juul-e-cig-vaping-health-effects-2018-3; Caroline
  Kee, Everything you Need to Know About the JUUL, Including the Health Effects,
  BUZZFEED NEWS (Feb. 5, 2018),
  https://www.buzzfeednews.com/article/carolinekee/juul-ecigarette-vape-health-effects;
  Jan Hoffman, The Price of Cool: A Teenager, a Juul and Nicotine Addiction, NEW
  YORK TIMES, (November 16, 2018),
  https://www.nytimes.com/2018/11/16/health/vaping-juul-teens-addiction-nicotine.html;
  Sarah Milov, Like the Tobacco Industry, E-cigarette Manufacturers are Targeting
  Children, THE WASHINGTON POST, (Sept. 23, 2018)
  https://www.washingtonpost.com/outlook/2018/09/23/like-tobacco-industry-e-cigarette-
  manufacturers-are-targeting-children/; Washington State Dep’t of Health, What are
  Vapor Products?,
  https://www.doh.wa.gov/YouandYourFamily/Tobacco/VaporProducts.



                                     96
       201.   Not only have JLI and the Management Defendants misrepresented or

concealed the actual amount of nicotine consumed via JUUL pods, but they also did not

effectively or fully inform users about the risks associated with the potent dose of nicotine

delivered by JLI’s products. Despite going through numerous revisions since 2015, the

JUUL packaging did not include nicotine addiction warnings until JLI was forced to add

them in August 2018. The original JUUL product labels had a California Proposition 65

warning indicating that the product contains a substance known to cause cancer, and a

warning to keep JUUL pods away from children and pets, but contained no warnings

specifically about the known effects, or unknown long-term effects, of nicotine or

consuming e-cigarettes/inhaling nicotine salts.231

       202.   Moreover, the form of nicotine JUUL pods contain is particularly potent.

JUUL’s use of “strength” to indicate concentration by weight is also at odds with the

industry standard of reporting concentration by volume,232 leading users to believe it

contains less nicotine than other formulations advertised as 6% nicotine, when JUUL pods

in fact contain approximately the same nicotine as a solution that is 6% nicotine by

volume.




231
    See INREJUUL_00444332 (2015 image of JLI packaging). Note that JLI packaging
  originally included such warnings about nicotine, but were apparently removed during
  various rounds of revisions, see e.g. INREJUUL_00021583 (2014 image of JLI
  packaging containing handwritten revisions of the original language.).
232
    See, e.g., American E-Liquids Manufacturing Standards Association, E-Liquids
  Manufacturing Standards, § 1.05 (2017), https://www.aemsa.org/wp-
  content/uploads/2017/03/AEMSA-Standards-v2.3.3.pdf, (quantifying e-liquid nicotine
  content in terms of volume).



                                     97
       203.   The “5% strength” statement in Defendants’ advertisements misrepresents

the most material feature of the JUUL product—the nicotine content—and has misled

users to their detriment. Resellers, apparently assuming that “5% strength” means

“50mg/ml” nicotine by volume, compound confusion among users by stating that JUUL

pods contain “50 mg/ml,” which they do not.233

       204.   If JLI and the Management Defendants did not know when JLI released

JUUL pods that the “5% strength” representation in Defendants’ advertisements was

misleading, they learned that there was widespread confusion about the JUUL pods’

nicotine content. By 2017, studies revealed that smokers did not understand “5%

strength,” and some understood that phrase to mean 5% of a cigarette. Though this was

identified as a “pain point” for new users,234 JLI and the Management Defendants (and

later the Altria Defendants) did nothing to stop or correct this confusion about the nicotine

content.




233
    See, e.g. Tracy Vapors, Starter Kit,
 http://web.archive.org/web/20190422143424/https://www.tracyvapors.com/collections/s
 tarter-kit; Lindsey Fox, JUUL Vapor Review, E-cigarette Reviewed, (Mar. 20, 2017),
 https://ecigarettereviewed.com/juul-review (“The nicotine content of the JUUL pods is
 always the same: 5% or 50 mg/ml”); Jason Artman, JUUL E-Cigarette Review, eCig
 One (Oct. 26, 2016) https://ecigone.com/e¬cigarette-reviews/juul-e-cigarette-review/
 (“the e-liquid contains 50 mg of nicotine per ml of e-liquid”); West Coast Vape Supply,
 Juul Starter Kit (July 18, 2019),
 http://web.archive.org/web/20190718190102/https://westcoastvapesupply.com/products/
 juul-starter-kit (“5% . . . 50 mg”); Vapor4Life, How Much Nicotine is In a JUUL? (Aug.
 24, 2018), https://www.vapor4life.com/blog/how-much-nicotine-is-in-a-JUUL/. “Each
 official JUUL pod contains a whopping 50mg of nicotine per milliliter of liquid (most
 other devices range from 3 to 30mg per milliliter.”
234
    INREJUUL_00123540.



                                     98
       205.   The “5% strength” statement in Defendants’ advertisements is also

misleading. At least two independent studies testing multiple varieties of JUUL pods have

likewise found significantly higher concentrations of nicotine than the 59 mg/mL JUUL’s

website represents, suggesting that the difference in the total nicotine content of a JUUL

pod vs. a pack of combustible cigarettes could be even greater.235

       3.     Defendants Used Food and Coffee Themes to Give False Impression that
              JUUL Products Were Safe and Healthy.

       206.   In late 2015, JLI and the Management Defendants employed a deceptive

marketing scheme to downplay the harms of e-cigarettes with a food-based advertising

campaign called “Save Room for JUUL.” The campaign framed JUUL’s addictive pods

as “flavors” to be paired with foods.236 JLI described its Crème Brûlée nicotine pods as

“the perfect evening treat” that would allow users to “indulge in dessert without the

spoon.”237 In one 2016 email, JLI bluntly suggested that users satisfy their sugar cravings

with JUUL’s highly-addictive nicotine vapor: “Have a sweet tooth? Try Brulee.”238 JLI



235
    See J.F. Pankow et al., Benzene Formation in Electronic Cigarettes, 12 PLoS ONE 1
  (2017); See also Anna K. Duell, et al., Free-Base Nicotine Determination in Electronic
  Cigarette Liquids by 1H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 431-34
  (2018).
236
    Erin Brodwin, $15 Billion Startup JUUL Used ‘Relaxation, Freedom, and Sex Appeal’
  to Market its Crème-brulee-flavored E-cigs on Twitter and Instagram but its Success
  has Come at a Big Cost, BUSINESS INSIDER (Oct. 26, 2018),
  https://www.businessinsider.com/juul-e-cig-marketing-youtube-twitter-instagram-social-
  media-advertising-study-2018-10.
237
    Stanford University, Research into the Impact of Tobacco Advertising,
  http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php
  &token1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JU
  UL&subtheme_name=Flavors
238
    Stanford University, Research into the Impact of Tobacco Advertising,
  http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php



                                    99
similarly promoted the fruit medley pods using images of ripe berries.239 JLI described its

“Cool” Mint pods as having a “crisp peppermint taste with a pleasant aftertaste” and

encouraged users to “Beat The August Heat With Cool Mint.”240




 &token1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JU
 UL&subtheme_name=Flavors
239
    Stanford University, Research into the Impact of Tobacco Advertising,
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/flavors/large/flavor_6.jpg.
240
    Stanford University, Research into the Impact of Tobacco Advertising,
  http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.ph
  p&token1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=J
  UUL&subtheme_name=Flavors



                                    100
            207.   Again, none of these advertisements disclosed that JUUL was addictive and

unsafe.

            208.   In several caffeine-pairing advertisements, JUUL devices or pods sit next to

coffee and other caffeinated drinks, sometimes with what appear to be textbooks in the

picture.241 JLI’s coffee-based advertisements suggest that JUUL should be part of a

comfortable routine, like a cup of coffee.

            209.   JLI’s reference to coffee is no mere marketing gimmick, it reflects the larger

effort to mislead customers into believing that JUUL is no more harmful than coffee,

reinforcing the false and dangerous concept that if a substance is “not harmful,” then

addiction to that substance cannot be harmful.




241
      Id.



                                         101
         210.   Defendants knew that tying JUUL to caffeine and food would mislead their

target audience—youth and non-smokers—into believing that JUUL was a healthy, safe

treat.

         4.     JLI’s “Make the Switch” Campaign Intentionally Misled and Deceived
                Users to Believe that JUUL Is a Cessation Device.

         211.   JLI, the Altria Defendants, and the Management Defendants recognized that

one of the keys to growing and preserving the number of nicotine-addicted e-cigarette

users (and thus JLI’s staggering market share), was to mislead potential customers about

the true nature of JUUL products. Defendants knew that if it became public that JUUL

was designed as a way to introduce nicotine to youth and otherwise hook new users with

its potent nicotine content and delivery, it would not survive the public and regulatory

backlash. Therefore, JLI (with the knowledge and support of the Management Defendants)

and the Altria Defendants repeatedly made false and misleading statements to the public

that JUUL was created and designed as a smoking cessation device, and falsely and

misleadingly used the mails and wires to spread the subterfuge. JLI, the Management

Defendants, and the Altria Defendants committed these deceptive, misleading and

fraudulent acts intentionally and knowingly. In making these representations, JLI, the




                                    102
Management Defendants, and the Altria Defendants intended that users, the public, and

regulators rely on misrepresentations that JUUL products were designed to assist smoking

cessation.

       212.   The most blatant evidence of the cover-up scheme was the January 2019,

$10 million “Make the Switch” television advertising campaign. This campaign, which

was a continuation of JLI’s web-based Switch campaign, was announced less than a month

after the Altria Defendants announced Altria’s investment in JLI.

       213.   The “Make the Switch” television ads featured former smokers aged 37 to

54 discussing “how JUUL helped them quit smoking.”242 According to JLI’s Vice

President of Marketing, the “Make the Switch” campaign was “an honest, straight down

the middle of the fairway, very clear communication about what we’re trying to do as a

company.”243 These statements were false as JUUL was not intended to be a smoking

cessation device. JLI and the Management Defendants committed acts of wire fraud when

they caused the “Make the Switch” campaign to air on television with the fraudulent intent

of deceiving and misleading the public, the United States Congress, and government

regulators into believing that JLI is and had been focused solely on targeting adult

smokers. The Altria Defendants also committed acts of mail fraud when they caused tens




242
    Angelica LaVito, JLI Combats Criticism with New TV Ad Campaign Featuring Adult
  Smokers Who Quit after Switching to E-cigarettes, CNBC (Jan. 8, 2019),
  https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-cigarettes-in-
  ad-campaign.html.
243
    Id.



                                   103
of thousands, if not millions, of written versions of the Make the Switch campaign to be

distributed with packages of Altria’s combustible cigarettes.

       214.   The “Make the Switch” campaign was fraudulent and was made to protect,

maintain, and expand the tremendous market share gained by lying to users and hooking

youth on nicotine by convincing regulators and the public that JUUL was actually as

cessation device and JLI’s marketing was never aimed at youth.

       215.   Defendants continually and intentionally sought to frame JUUL products as

smoking cessation devices in their public statements and on their website as part of their

scheme to mislead and defraud the public. Defendant Monsees explained during his

testimony before Congress:

       The history of cessation products have extremely low efficacy. That is the
       problem we are trying to solve here. So, if we can give consumers an
       alternative and market it right next to other cigarettes, then we can actually
       make something work.

       [T]raditional nicotine replacement therapies, which are generally regarded as
       the gold standard for tools, right, for quitting, those are nicotine in a patch or
       a gum form, typically, and the efficacy rates on those hover just below about
       a 10 percent or so. JUUL-we ran a very large study of JUUL consumers, ex-
       smokers who had picked up JUUL, and looked at them, looked at their usage
       on a longitudinal basis, which is usually the way that we want to look at this,
       in a sophisticated fashion ... what we found was that after 90 days, 54 percent
       of those smokers had stopped smoking completely, for a minimum of 30 days
       already. And the most interesting part of this study is that if you follow it out
       further, to 180 days, that number continues to go up dramatically, and that is
       quite the opposite of what happens with traditional nicotine replacement
       therapies.244

244
   Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
  (2019) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).,
  https://oversight.house.gov/legislation/hearings/examining-juul-s-role-in-the-youth-
  nicotine-epidemic-part-ii.



                                     104
       216.   In response to a direct question about whether people buy JUUL to stop

smoking, Defendant Monsees responded: “Yes. I would say nearly everyone uses our

product as an alternative to traditional tobacco products.”245

       217.   Following Defendants Monsees’ and Altria’s lead, Defendants caused a

number of other misleading public statements—suggesting that Juul would help existing

adult smokers even though it delivered more nicotine than cigarettes and was designed to

appeal to kids—to be made, including the following:

                  “JUUL Labs was founded by former smokers, James and
                 Adam, with the goal of improving the lives of the world’s
                 one billion adult smokers by eliminating cigarettes. We
                 envision a world where fewer adults use cigarettes, and
                 where adults who smoke cigarettes have the tools to
                 reduce or eliminate their consumption entirely, should
                 they so desire.” (JLI Website, April 2018 (or earlier));246

                 “JUUL Labs, which exists to help adult smokers switch
                 off of combustible cigarettes.” (JLI Website, September
                 19, 2019); and,247

                 “To paraphrase Commissioner Gottlieb, we want to be
                 the offramp for adult smokers to switch from cigarettes,
                 not an on-ramp for America’s youth to initiate on
                 nicotine.” (JLI Website, November 13, 2018);248




245
    Id.
246
    Our Mission, JUUL Labs, Inc. (2019), https://www.juul.com/mission-values.
247
    CONSUMER UPDATE: 9/19, JUUL Labs, Inc. (Sept. 19, 2019),
  https://newsroom.juul.com/consumer-update-9-19/.
248
    JLI Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018),
  https://newsroom.juul.com/juul-labs-action-plan/ (statement of then-CEO Kevin Burns).



                                    105
                 “We are taking significant action to prepare for a future where
                 adult smokers overwhelmingly choose non-combustible products
                 over cigarettes by investing $12.8 billion in JUUL, a world
                 leader in switching adult smokers . . . . We have long said that
                 providing adult smokers with superior, satisfying products with
                 the potential to reduce harm is the best way to achieve tobacco
                 harm reduction.” (Altria Website, December 20, 2018);249

                 “We believe e-vapor products present an important opportunity
                 to adult smokers to switch from combustible cigarettes.”
                 (Letter to FDA Commissioner Gottlieb, 10/25/18);250

                 “We have long said that providing adult smokers with
                 superior, satisfying products with the potential to reduce
                 harm is the best way to achieve tobacco harm reduction.
                 Through Juul, we are making the biggest investment in our
                 history toward that goal.” (Altria Press Release, Dec. 20,
                 2018);251

                 “Through JUUL, we have found a unique opportunity to not only
                 participate meaningfully in the e-vapor category but to also
                 support and even accelerate transition to noncombustible
                 alternative products by adult smokers.” (Altria Earnings Call,
                 January 31, 2019);252 and

                 We expect the JUUL product features that have driven
                 JUUL’s success in switching adult smokers in the U.S. to


249
    Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction
  and Drive Growth, BUSINESSWIRE (Dec. 20, 2018),
  https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-
  Minority-Investment-JUUL-Accelerate
250
    Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, at 1-2 (Oct. 25,
  2018).
251
    Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction
  and Drive Growth, (Dec. 20. 2018), BUSINESSWIRE,
  https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-
  Minority-Investment-JUUL-Accelerate.
252
    Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call
  for the period ending December 31, 2018, (Jan. 31, 2019),
  https://www.fool.com/earnings/call-transcripts/2019/02/01/altria-group-mo-q4-2018-
  earnings-conference-call-t.aspx.



                                    106
                      strongly appeal to international adult cigarette smokers. (Altria
                      Earning Call, January 31, 2019).253

            218.   Defendants knew that the “switch” messaging they initiated for JUUL was

false, deceptive and misleading. JUUL does not have FDA approval as a cessation

product. The Switch advertisements reinforced the impression left by the testimony of

JLI’s co-founder, clearly linking JUUL to cessation and quitting. For example:




253
      Id.



                                        107
       219.   Representative Rashida Tlaib, upon presenting this ad to Monsees, had the

following exchange:

       Rep. Tlaib: After 30 lines, starting with “quit,” the ad says “switch,”
       followed by no further mentions of start smoking again. You were a smoker.
       Does this ad give a smoker hope that there might be a way to quit cigarettes
       for good?

       Mr. Monsees: I think the intention of this ad is to make it very clear to
       consumers that there is an alternative, finally, to combustible cigarettes. I am
       one of those people.254

       220.   Defendants’ tacit message in their Switch advertisements is: switch because,

unlike cigarettes, JUUL is harmless to your health.

       221.   Defendants’ false, deceptive and misleading Switch campaign suggests that

purchasing a JUUL will “switch” a smoker to a non-smoker and that it was designed to

switch adult smokers off cigarettes rather than addict youth to nicotine.

       222.   Defendants know that a large number of smokers who use JUUL products

do not end up switching but instead end up consuming both cigarettes and JUUL.

       223.   Moreover, Defendants know that, by design, a large number of their

customers are first-time youth users and that JUUL was never designed to be a cessation

device.

       224.   JLI has advertised cost-savings calculators as part of its Switch campaign.

Those calculators assume that a smoker who switches will continue consuming the same



254
   Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
  (2019) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.)., https://www.c-
  span.org/video/?c4811191/user-clip-wasserman-grothman-tlaib-question-monsees at
  12:33-13:04.



                                    108
amount of nicotine that he or she did as a smoker (i.e., a pack a day smoker is presumed

to consume one JUUL pod a day). Defendants know that the calculator is misleading

because smokers who switch to JUUL frequently increase their nicotine intake.

       225.   JUUL labels and advertisements also marketed the product as an

“alternative” to cigarettes:




       226.   Other advertisements similarly marketed the product as smoking “evolved”:




       227.   The goal of these advertisements was to convey the deceptive, misleading

and false impression that JUUL products could help users quit smoking and break nicotine

addiction in a way that was healthy and safe. But, as noted above, that was simply not the



                                   109
case. Defendants never disclosed to users that JUUL e-cigarettes and JUUL pods are at

least as, if not more, addictive than combustible cigarettes. And each of JLI, the

Management Defendants, and the Altria Defendants received data to this effect, as

discussed above, and were aware of this fact.

      228.   In addition, the notions that JUUL products are designed only for existing

cigarette smokers, and safer than combustible cigarettes are belied by JLI’s own

knowledge, marketing plan and intentions on several fronts. First, Defendants sought to

grow a new group of users of nicotine products (e.g., “vapers”), not just to market to the

shrinking number of existing cigarette smokers. Second, JLI and Bowen designed the

JUUL device to be easy to use for youth and others who have never smoked and to create

and exacerbate nicotine addiction by encouraging ingestion of excessive amounts of

nicotine. Third, as noted above, JLI’s own internal testing revealed that JUUL products

were often more potent than combustible cigarette smokers prefer. Each of the

Management Defendants knew this from his position on JLI’s Board of Directors, and the

Altria Defendants knew the same when they began to actively coordinate with JLI and the

Management Defendants. Despite this knowledge, these Defendants made numerous

deceptive, false and misleading public statements that JUUL was intended to be a

cessation device.

      229.   JUUL is not a product adults typically use to quit smoking. Researchers have

found that as of 2018, only 7.9% of American adults had ever used USB shaped e-cigarette




                                   110
devices, like JUUL, and only 2% of adults currently used them.255 By contrast, a recent

study found that 15- to 17-year-olds are sixteen times more likely to use JUUL products

than 25 to 34-year-olds.256

       230.   JLI’s own marketing research indicated that JUUL was not appropriate as a

cessation device for adults. In 2014, JLI when it was called Ploom hired the consumer

research firm Tragon to do research with prototypes of the JUUL e-cigarette. On

September 30, 2014, Lauren Collinsworth, a consumer researcher at Tragon, e-mailed

Chelsea Kania, a marketing employee at Ploom, with some of the preliminary results from

the studies. She stated that the testing showed that “the younger group is open to trying

something new and liked J1 [the JUUL prototype] for being smart, new, techy, etc.” 257

Ms. Collinsworth added that “The qualitative findings suggested this product isn’t going

to fit as well with consumers who are looking to cut back on the cigarette intake.”258 On

October 1, 2014, Ms. Collinsworth followed up with additional comments. She stated that

“[t]he delivery was almost too much for some smokers, especially those used to regular e-

cigarettes.”259 The final results from this consumer research were distributed to upper




255
    Kristy L. Marynak et al., Use and Reasons for Use of Electronic Vapour Products
  Shaped like USB Flash Drivers Among a National Sample of Adults, 28 TOBACCO
  CONTROL 685 (Nov. 2019), https://tobaccocontrol.bmj.com/content/28/6/685.
256
    D.M. Vallone et al., Prevalence and Correlates of JLI Use Among a National Sample of
  Youth and Young Adults, TOBACCO CONTROL (Oct. 29, 2018),
  http://dx.doi.org/10.1136/tobaccocontrol-2018-054693.
257
    JLI00365905.
258
    Id. (emphasis added).
259
    JLI00365709.



                                   111
management, including to then-CEO James Monsees260 and then-Chief Marketing Officer

Richard Mumby.261

         231.   The deceptive, misleading and fraudulent nature of the “Make the Switch”

campaign is evident when comparing the campaign’s advertisements to JUUL’s initial

advertising, as demonstrated below. The fact that these advertisements are for the same

product confirms that, notwithstanding the advice JLI and the Altria Defendants received

from their media consultants, the Defendants never intended to target only adult smokers.




And

260
      JLI00364678.
261
      JLI00364487.



                                    112
       232.   Defendants designed JUUL to be the opposite of a “tool[] to reduce or

eliminate” nicotine consumption. According to the National Institutes of Health, the

“amount and speed of nicotine delivery . . . plays a critical role in the potential for abuse

of tobacco products.”262 As described above, JLI and Bowen designed the JUUL product

to deliver nicotine in larger amounts and at a faster rate than even cigarettes, and then

knowingly misled the public about those facts.

       233.   The Switch campaign also does not disclose or warn about the risks of using

multiple tobacco products, “dual use” or that the JUUL is not a smoking cessation product.

In addition to the heightened risks of addiction that multiple tobacco product use poses,

one recent study found that persons who use e-cigarettes and smoke have blood toxin




262
   U.S. Dep’t of Health & Human Servs., Nicotine Addiction: Past and Present, How
  Tobacco Smoke Causes Disease (2010),
  https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92



                                    113
levels far higher than one would expect given the blood toxin levels that e-cigarettes and

cigarettes generate individually.263

       234.   The FDA and other government regulators, enforcing existing laws

addressing e-cigarettes, 264 publicly criticized the “Make the Switch” campaign and other

efforts by Defendants to depict JUUL as a smoking cessation device. Section

911(b)(2)(A)(i) of the Federal Food, Drug, and Cosmetics Act (FDCA) (21 U.S.C.

§ 387k(b)(2)(A)(i)) states that when advertising or labeling of a cigarette product directly

or indirectly suggests that the product has a lower risk of cigarette-related disease, is less

harmful than traditional cigarettes, or is otherwise ‘safer’ than traditional cigarettes, then

the product becomes a “modified risk tobacco product.”265

       235.   In late 2019, and in response to the House of Representatives hearings in

which JLI executives testified, the FDA issued two warning letters to JLI detailing its

concern that JLI was unlawfully marketing its e-cigarette products as cessation tools or as

“modified risk tobacco products” within the meaning of the FDCA.266




263
    Julie B. Wang et al., Cigarette and E-Cigarette Dual use and Risk of Cardiopulmonary
  Symptoms in the Health eHeart Study, 13 PLoS ONE 1 (2018).
264
    Section 911(b)(2)(A)(i) of the FDCA (21 U.S.C. § 387k(b)(2)(A)(i)) states that when
  advertising or labeling of a cigarette product directly or indirectly suggests that the
  product has a lower risk of cigarette-related disease, is less harmful than traditional
  cigarettes, or is otherwise ‘safer’ than traditional cigarettes, then the product becomes a
  “modified risk tobacco product.”
265
    Id.
266
    Letter from U.S. Food and Drug Admin. to Kevin Burns, CEO of JUUL Labs, Inc.,
  (Sept. 9, 2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
  investigations/warning-letters/juul-labs-inc-590950-09092019.



                                       114
       236.   Then, in its September 9, 2019 letter to JLI, the FDA notified JLI that its

advertising slogans such as “99% safer,” “much safer,” and “a safer alternative” than

cigarettes was “particularly concerning because [those] statements were made directly to

children in school.”267 The FDA concluded that in using advertising language that e-

cigarettes were safer than cigarettes, JLI had violated Sections 902(8) and 911 by

marketing JUUL products as “modified risk tobacco products” without prior approval.268

       237.   The September 9, 2019 letter also detailed the FDA’s concerns with JLI’s

“Switch” marketing campaign. “[T]roubled by recent testimony” that JLI had given to the

House Subcommittee on Economic and Consumer Policy of the Committee on Oversight

and Reform, the FDA noted that JLI’s Switch advertising campaign “may also convey that

switching to JUUL is a safer alternative to cigarettes.”269

       238.   The FDA specifically highlighted the Switch campaign slogans which

referenced smoking cigarettes, or attempts to quit smoking, followed by “Make the

Switch.” The FDA stated that JLI’s campaign was in violation of multiple FDA regulations

and the FDCA subsections, and that JLI’s Switch campaign purported to tell the public

that using e-cigarettes was an alternative to smoking, or a possible cessation tool.270

       239.   On the same day, the FDA requested that JLI provide all documents related

to its decision to market the Switch campaign to the Cheyenne River Sioux Tribe, in light




267
    Id.
268
    Id.
269
    Letter from U.S. Food and Drug Admin. Ctr. for Tobacco Prods. to JUUL Labs, Inc.
  (Sept. 9, 2019), https://www.fda.gov/media/130859/download.
270
    Id.



                                    115
of the testimony by JLI that it had taken a “public health” approach to Native American

tribes, and had sought healthcare professionals to refer Native American smokers to JLI’s

Switching Program.271

       240.   Perhaps unsurprisingly, the Make the Switch campaign was spearheaded by

a marketing firm with long-standing ties to the cigarette industry. In particular, it was led

by a subsidiary of Omnicom Group, Inc., one of the “Big Four” advertising holding

companies dominating marketing and communications worldwide since the 1990s, second

only to WPP. Omnicom is the parent company of Mercury Public Affairs which, by at

least April 2018, counted both Altria and JLI as its clients. Mercury lobbied for Altria on

tobacco regulations,272 and helped JLI push back against negative press coverage of youth

usage of its products.273

       241.   For example, on April 2, 2018, a managing director from Mercury, Erick

Mullen, emailed Defendant Valani and Daniel Cruise, Chief Public Affairs Officer at JLI,

with a numbered list of actions in response to The New York Times article published that

day, “‘I Can’t Stop’: Schools Struggle With Vaping Explosion.”274 Mercury’s list includes

the recommendation to push the idea that JLI’s nicotine formulation is no more harmful

than water, sugar, and caffeine: “Engage the press on all the definitions in every fucking


271
    Id.
272
    Kevin McCauley, Altria Taps Mercury For Tobacco Regulation Work, O’DWYER’S
  (Jun. 4, 2018), https://www.odwyerpr.com/story/public/10754/2018-06-04/altria-taps-
  mercury-for-tobacco-regulation-work.html.
273
    See, e.g., INREJUUL_00262168; INREJUUL_00262226-INREJUUL_00262227.
274
    See INREJUUL_00262168; see also Kate Zernike, ‘I Can’t Stop’: Schools Struggle
  With Vaping Explosion, N.Y. Times (Apr. 2, 2018),
  https://www.nytimes.com/2018/04/02/health/vaping-ecigarettes-addiction-teen.html.



                                    116
story: it’s not a ‘cigarette’ of any kind; there’s no smoke and nothing medical science has

on the books says water and nicotine is more harmful than water, sugar and caffeine.”275

       242.   Defendant Valani and Cruise each separately forwarded the email to JLI

CEO Kevin Burns, with Cruise commenting, “Kevin, recent email from friend Erick—a

possible ‘campaign manager’” for us. His argument is in line with yours. We need to be

systematic, aggressive and relentless. Btw we are not tobacco—have [you] corrected

today’s NYT story?”276

       243.   In August 2018, Omnicom agency DDB Chicago277 sent JLI a proposal for

an estimated $11 million campaign “to more firmly establish the true intent of the

company,” noting that JLI was “moving very fast.”278 This campaign was “Make the

Switch.”

       5.     JLI, Altria, and Others in the E-Cigarette Industry Coordinated with
              Third-Party Groups to Mislead the Public About the Harms and
              Benefits of E-Cigarettes.

       244.   Through a collective and parallel effort of funding, leadership, and board

membership, JLI, the Altria Defendants and others in the e-cigarette industry leveraged

third-parties, ranging from industry-funded non-governmental organizations to online




275
    INREJUUL_00262168.
276
    INREJUUL_00262226-227.
277
    See INREJUUL_00066530-539 (Other Omnicom entities were involved in this
  campaign. For example, OMD, “sister company to DDB and part of the Omnicom
  Group,” sent JLI detailed Statements of Work for a U.S. Brand Campaign covering
  September 16, 2018 through February 28, 2019).
278
    See INREJUUL_00074841; see also INREJUUL_00074842-844 at 842.



                                    117
blogs more accessible to youth, to mislead the public about the impacts of consuming e-

cigarettes.

       245.   An assortment of lobbyists, trade associations, and online publications have

coordinated with the e-cigarette industry, including JLI and the Altria Defendants, to

promote a consistent message that consuming e-cigarettes is not harmful, that nicotine is

not harmful, and that the impacts of e-cigarettes are greatly exaggerated. These

organizations receive funding from the e-cigarette industry, feature executives on those

companies’ boards of directors, and in return, promote industry products, industry views,

or fund “independent” studies of their own that reach the same conclusions as e-cigarette

industry-funded research.

              a.     The American Vaping Association

       246.   The American Vaping Association (“AVA”) is a pro-e-cigarette lobby

group founded by Greg Conley, who notably publishes articles criticizing the CDC for its

stance on restricting e-cigarette use.279 Other executive members of the AVA possess

business interests in e-cigarettes; for example, Treasurer David J. Danzak Jr. is associated

with an e-cigarette business called Vapornine LLC.280 Vice-President Antoinette Lanza is

an owner of an exclusively e-cigarette shop in Hoboken, New Jersey called Smokeless




279
    Jeff Stier & George Conley, The War on E-Cigarettes, NATIONAL REVIEW (Sept. 19,
  2011), https://www.nationalreview.com/2011/09/war-e-cigarettes-jeff-stier-gregory-
  conley/.
280
    Vapornine LLC, BUZZFILE, http://www.buzzfile.com/business/Vapornine-LLC-904-
  372-3244 (business information page).



                                    118
Image.281 Half of the AVA’s functional expenses are for lobbying efforts.282 It lists several

sponsors, all of which are e-cigarette, e-liquid, or cigarette companies.283

       247.    Conley has a prolific social media presence and frequently appears on

television and radio to tout the benefits of consuming e-cigarettes and dispute negative

news. The AVA website lists “studies” which are uniformly authored by noted industry-

funded or industry-friendly authors, such as Polosa and Shahab.284 AVA lists CASAA,

Not Blowing Smoke, and the VTA, all established fronts for the e-cigarette industry, as

“Resources.”

       248.    The AVA receives its funding from sponsors, who are organized into tiers

such as Platinum, Gold, Silver, Bronze, and Green.285 Current advertised sponsors include

e-cigarette distributors and retailers such as E-Cigarette Empire, and VaporBeast.286 Prior

sponsors are a who’s who of e-cigarette retailers. In 2016, Platinum sponsors included




281
    Stacy Jones, Tobacco Regulators Mull More Oversight as E-cigarettes See Increased
  Popularity, NJ.com (Mar. 30, 2019),
  https://www.nj.com/business/2013/07/tobacco_regulators_mull_more_o.html.
282
    Form 990, American Vaping Association Inc.’s Return of Organization Exempt from
  Income Tax ( 2018),
  https://apps.irs.gov/pub/epostcard/cor/464203951_201812_990O_2019122716980021.p
  df.
283
    AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-
  sponsors/.
284
    Research Reports, American Vaping Association, https://vaping.org/research-report/.
285
    AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-
  sponsors/.
286
    Id.



                                    119
AltSmoke and Vapor Kings, while Gold sponsors included the now defunct Smokeless

Image.287

       249.   On social media, the AVA regularly downplays the risks of consuming e-

cigarettes, criticizes negative coverage as myths or exaggerations, and lauds efforts to curb

any regulation of the e-cigarette industry.288

       250.   JLI actively sought out the AVA to promote JUUL. In January 2016, e-mails

between employees at JLI (then known as PAX) discussed a “list of thought leaders [JLI]

can tap for stories for JUUL” which included Conley at the AVA and Satel.289

       251.   In 2018, JLI took advantage of its coordinated efforts with the AVA to

downplay the risks associated with JUUL. In an e-mail exchange between Christine Castro

of JLI and a “Stratcomms” internal mailing list, Castro lamented a “testy conversation”

with a USA Today reporter who pointed out that JLI’s marketing and advertising appeared

to feature and target minors and teenagers.290 Castro noted that “I hit back at [the reporter]

very aggressively but we can expect the usual B.S. Greg Conley is being allowed to write

a 300-word rebuttal. I will email him and copy you Ashley [JLI employee] just so we can

stay coordinated.”291




287
    AVA Sponsors, American Vaping Association, Wayback Machine – Internet Archive
  (Aug. 14, 2017), https://web.archive.org/web/20170814221226/http://vaping.org/about-
  us/ava-sponsors/.
288
    American Vaping Association (@AVABoard), Twitter, https://twitter.com/AVABoard.
289
    INREJUUL_00278889
290
    See INREJUUL_00173252 (Apr. 4, 2018 email).
291
    Id.



                                     120
       252.   The AVA also coordinated with JLI on pro-e-cigarette research. In March

2018, Conley facilitated a conversation between Dr. Konstantinos Farsalinos, a researcher

at the University of Patras, Greece, who regularly publishes e-cigarette industry-friendly

articles, and Gal Cohen, then Director of Scientific Affairs at JLI.292 In the e-mail, Conley

asks Farsalinos to send Cohen “some info on your flavor study” to which Farsalinos

responds by sending Conley and Cohen an attachment: “USA FLAVORS SURVEY.pptx”

and the note: “[A]ttached is a PowerPoint presentation about the study we proposed.”293

       253.   The proposed study was a survey aimed at determining what flavors

different demographic groups preferred as e-cigarette flavors, which flavors they use

frequently, and which flavors they used when they first started consuming e-cigarettes.

While the study was purportedly to determine the impact of e-cigarette flavors on e-

cigarette and smoking behavior, the data obtained from such a study would have allowed

JLI to understand which flavors were not only the most popular, but which flavors were

most popular by demographic.294

              b.     Vaping360

       254.   Vaping360 is a website dedicated to news regarding the e-cigarette industry.

The website boasts “40 million smokers and vaping enthusiasts reached since 2015.” This

entity has a big social media presence and huge publication strategy.




292
    Juul Labs, Inc., JUUL Labs Presents Findings at the Global Forum on Nicotine 2018,
  Cision PR Newswire (June 15, 2018), https://www.prnewswire.com/news-releases/juul-
  labs-presents-findings-at-the-global-forum-on-nicotine-2018-300666743.html.
293
    INREJUUL_0034128.
294
    Id.



                                    121
      255.      Vaping360’s main message misleads the public about the health impacts of

consuming e-cigarettes. Vaping360 has published various articles, including “10 Lies and

Myths About Juuling Exposed.”295 This article, published in May 9, 2018, claimed, among

other things, that JUUL was not as dangerous as smoking; JUUL did not cause cancer or

“popcorn lung”; JUUL was not popular among teenagers, nor did JLI sell kid-friendly

flavors or flavors aimed to entice young people; and the nicotine in JUUL is “a relatively

mild drug, [and] may cause dependence.”296

      256.      Vaping360 regularly published articles praising, promoting, or downplaying

the risks of JUUL, including, among others: “These Scientists Want to Kill Smokers’

Hope (For Vaping)”; “UK Scientists to WHO: Your Vape Report Is Junk”; “One Free

Pack JUUL Coupon Codes 2019”; and an article disparaging anti-smoking advocacy

group Truth Initiative by claiming that “Truth Initiative Promo Encourages Risky Teen

Behavior.”297

      257.      One of the main writers at Vaping360 is Jim McDonald who aggressively

attacks any negative science as fake news. For example, McDonald frequently posts on

social media platforms, including on Facebook and Twitter, but also comments on others

posts extensively disputing negative news about consuming e-cigarettes.298


295
    Jim McDonald, 10 Lies and Myths About Juuling Exposed, Vaping 360 (May 9, 2018),
  https://vaping360.com/lifestyle/juuling/.
296
    Id.
297
    Jim McDonald, Truth Initiative Promo Encourages Risky Teen Behavior, Vaping 360
  (Jan. 9, 2020), https://vaping360.com/vape-news/87705/truth-initiative-promo-
  encourages-risky-teen-behavior/.
298
    Jim McDonald, Mass. Senate Passes Worst Vaping Law in the Countr, Vaping 360
  (Nov. 21, 2019), https://vaping360.com/vape-news/86852/mass-senate-passes-worst-



                                     122
       258.   Vaping360 has taken funding from e-cigarette manufacturers, and in return

coordinates with e-cigarette manufacturers to promote their products, while publishing

favorable content. Vaping360 was paid by JLI for advertising and was given kickbacks

(referred to as commission) for every coupon used for JUUL that originated from Vaping

360’s website.

       259.   In March 2017, JLI (then PAX) communicated with Chris Kendell and

others at Vaping360 to discuss promoting JLI’s products with a 15% discount coupon on

Vaping360’s website.299 JLI representative Andy Martin also noted that JLI “figured out

the commission issue,” and expressed excitement at JLI’s new mango flavor JUUL pod.300

They also discussed a Facebook advertising link whereby Vaping360 could offer similar

discounts for JLI products on social media.301

       260.   In November 2017, Martin of JLI and Rawad Nassif of Vaping360

discussed a meeting agenda, with topics such as “new affiliate commission terms,” “JLI

funnelling [sic] project,” and “exploring further opportunities.”302

       261.   In 2018, McDonald continued to write articles specifically praising JLI,

such as “Coming Soon: A JUUL to Help You Quit JUULing” and “10 Lies and Myths




  vaping-law-in-the-country/; Jim McDonald, Meet the Rich Moms Who Want to Ban
  Vaping, Vaping 360 (Oct. 8, 2018), https://vaping360.com/vape-news/71696/meet-the-
  rich-moms-who-want-to-ban-vaping/.
299
    INREJUUL_00143870.
300
    Id.
301
    Id.
302
    INREJUUL_00139196



                                    123
About JUULing Exposed.”303 As of 2020, Vaping360 continues to offer discounts for

JUUL products.304

              c.     Foundation for a Smoke-Free World

       262.   The Foundation was founded in 2017, and presents itself as a public health

organization, purportedly “advancing global progress in smoking cessation and harm

reduction.”305 It is funded entirely by Philip Morris International, which in 2017

announced a $1 billion commitment to fund the Foundation.306 The Foundation’s 2018

Form 990 lists only one donor: PMI Global Services, Inc., or Philip Morris International,

with a contribution of $80 million.307

       263.   The Foundation is headed by Derek Yach, a noted advocate and promoter

of e-cigarettes and consuming e-cigarettes.308




303
    Jim McDonald, Coming Soon: A JUUL to Help You Quit Juuling, Vaping 360 (Sept. 7,
  2018), https://vaping360.com/vape-news/70262/coming-soon-a-juul-to-help-you-quit-
  juuling/.
304
    [One FREE Pack] JUUL Coupon Codes 2019, Vaping 360 (Aug. 24, 2018)
  https://vaping360.com/vape-coupons/juul-coupon-promo-code/.
305
    Foundation for a Smoke-Free World (2020), https://www.smokefreeworld.org/.
306
    David Meyer, Philip Morris Pledges Almost $1 Billion to Anti-Smoking Fight,
  FORTUNE (Sept. 13, 2017), https://www.webcitation.org/6tjyBv4dA.
307
    Return of Private Foundation, Foundation for a Smoke-Free World (2018),
  https://web.archive.org/web/20190828104138/https://www.smokefreeworld.org/sites/def
  ault/files/uploads/documents/fsfw_2018_form_990-pf_public_inspection.pdf.
308
    Derek Yach: Anti-smoking Advocates Should Embrace E-cigarettes, NATIONAL POST
  (Aug. 26, 2015), https://nationalpost.com/opinion/derek-yach-anti-smoking-advocates-
  should-embrace-e-cigarettes.



                                    124
       264.   In 2018, the Foundation announced that it would support Centers of

Excellence to conduct tobacco control research.309 This tactic is a well-known tool of the

cigarette industry, which has a history of funding “research” centers to promote industry-

friendly views, such as the Center for Indoor Air Research, which promulgated industry-

funded studies that sowed doubt about the addictiveness of nicotine, claimed that indoor

air quality was unaffected by cigarette smoke and downplayed the harms of cigarettes

broadly. Institutes such as the Center for Indoor Air Research were forced to dissolve as

part of the Master Settlement Agreement in 1998.

       265.   A 2017 report in The Verge detailed the e-cigarette industry’s apparently

coordinated efforts to use biased research to downplay the risks of consuming e-

cigarettes.310 For example, e-cigarette manufacturers routinely conduct studies focusing

on the “good news” about e-cigarettes, i.e. they release less harmful aerosolized chemicals

than combustible cigarettes, or that their aerosol lingers for less time indoors than

combustible cigarettes.311 Industry-funded authors then regularly cite to each other’s




309
    Support Global Research, Foundation for a Smoke-Free World (May 31, 2018),
  https://web.archive.org/web/20180531105105/https://www.smokefreeworld.org/our-
  areas-focus/support-global-research.
310
    Liza Gross, Vaping Companies are Using the Same Old Tricks as Big Tobacco, THE
  VERGE (Nov. 16, 2017), https://www.theverge.com/2017/11/16/16658358/vape-lobby-
  vaping-health-risks-nicotine-big-tobacco-marketing.
311
    See, e.g., J. Margham, et al., Chemical Composition of Aerosol from an E-Cigarette: A
  Quantitative Comparison with Cigarette Smoke, 29 CHEM. RES. TOXICOL. 1662 (2016);
  Tanvir Walele et al., Evaluation of the Safety Profile of an Electronic Vapour Product
  Used for Two Years by Smokers in a Real-life Setting, 92 REG. TOXICOL. PHARMACOL.
  226 (2018); D. Martuzevicius, et al., Characterization of the Spatial and Temporal
  Dispersion Differences Between Exhaled E-Cigarette Mist and Cigarette Smoke, 21
  NICOTINE & TOBACCO RES. 1371 (2019).



                                    125
studies in their own research.312 On information and belief, JLI and Altria, among others

in the e-cigarette industry, funnel their industry-funded studies to friendly pro-industry

groups knowing that those entities will misrepresent the results as evidence that e-

cigarettes are safe, or not harmful.

              d.     Vapor Technology Association

       266.   The Vapor Technology Association (VTA) bills itself as a trade association

and advocates for the e-cigarette industry. It was founded in January 2016, with the banner

tagline on its website reading “VAPE IS HOPE.”313

       267.   In 2018, JLI, SMOK, VMR, Turning Point Brands, and Joyetech were all

featured as “Platinum Members,” a level of membership that required a $100,000 annual

contribution. Thus, JLI paid VTA $100,000 in 2018 to become a Platinum Member, and

in return, VTA offered JLI a board seat; invitations to lobbying strategy meetings; access

to the FDA, other federal agencies, and members of Congress; and conference

participation.314



312
    See, e.g., Gene Gillman et al., Determining the Impact of Flavored E-liquids on
  Aldehyde Production During Vaping, 112 REG. TOXICOL. PHARMACOL. 1 (2020); Colin
  Mendelsohn & Alex Wodak, Legalising Vaping in Australia, The McKell Institute
  (March 2019),
  https://pdfs.semanticscholar.org/3e13/8e46419913a29f8fc9ddad52ec771f73fa76.pdf;
                             Impact of Using a Tobacco Heating System (THS) on Indoor
  Air Quality in a Nightclub, 19 AEROSOL AND AIR QUAL. RES. 1961 (2019); Maya
  Mitova et al., Human Chemical Signature: Investigation on the Influence of Human
  Presence and Selected Activities on Concentrations of Airborne Constituents, 257
  ENV’TL POLLUTION 1 (2020).
313
    Vape is Hope, Vapor Technology Association (Feb. 25, 2016),
  https://web.archive.org/web/20160225154600/http://www.vaportechnology.org:80/
314
    Some of Our Members, Vapor Technology Association (Nov. 28, 2018),
  https://web.archive.org/web/20181128162940/https://vaportechnology.org/membership/



                                       126
       268.   The VTA, like other lobbying and trade association groups in the industry,

advocates for less regulation of e-cigarettes, and testifies in opposition to flavor bans.315

              e.     Retailer Lobbying

       269.   Retailers have also taken to creating subsidiaries or wholly owned

companies whose purpose is to produce quasi-journalistic content to promote consuming

e-cigarettes, discredit health initiatives, and suggest that consuming e-cigarettes has no

harmful health impacts. The best example of this is the website SoupWire, which

publishes articles and editorials that promote consuming e-cigarettes and criticizes studies

that look at the negative impacts of consuming e-cigarettes.316 For example, when JLI

donated $7.5 million towards a study on the impacts of consuming e-cigarettes on teens,

a SoupWire report concluded that the study will likely find “nothing Earth-shattering.”317

       6.     Altria Falsely Stated That It Intended to Use Its Expertise in “Underage
              Prevention” Issues to JLI

       270.   Altria’s announcement that it intended to invest in JLI came less than two

months after it told the FDA that Altria “believe[s] that pod-based products significantly

contribute to the rise in youth use of e-vapor products” and that it accordingly would be




315
    Vapor Technology Association, https://vaportechnology.org/.
316
    Soupwire – The Truth About Vaping, https://soupwire.com/.
317
    Jeff Hawkins, JUUL Donates $7.5 Million to Teen Vaping Study, Soupwire – The
  Truth About Vaping (July 2, 2019), https://soupwire.com/juul-donates-7-5-million-to-
  teen-vaping-study/



                                     127
removing its own pod-based products from the market.318 Altria made the same

representations to its investors.319

       271.   Although Altria claimed its investment in JLI had an altruistic motive—“

When you add to JUUL's already substantial capabilities, our underage tobacco prevention

expertise and ability to directly connect with adult smokers, we see a compelling future

with long-term benefits for both adult tobacco consumers and our shareholders,” Altria

recently confirmed that JLI has not even availed itself of that experience.320 In Altria’s

October 2019 letter to Senator Richard Durbin, Altria CEO Howard Willard

acknowledged that while Altria “offered to JUUL services relating to underage prevention

efforts,” to date “JUUL has not accepted Altria’s offers of assistance in addressing

underage vaping relating issues.”321 Willard has stated that the deal would allow Altria to

“work[] with JUUL to accelerate its mission.”322 but as Altria knew, as reflected in its

letter to the FDA just two months prior, that mission involved had resulted in usage




318
    Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, 2 (October 25,
  2018)
319
    Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript, (October 25,
  2018) https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-
  q3-2018-earnings-conference-ca.aspx
320
    Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call
  for the period ending December 31, 2018. (Jan. 31, 2019),
  https://www.fool.com/earnings/call-transcripts/2019/02/01/altria-group-mo-q4-2018-
  earnings-conference-call-t.aspx
321
    Letter from Howard A. Willard III to Senator Richard J. Durbin (October 14, 2019)
  (emphasis added).
322
    Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm
  Reduction and Drive Growth, Business Wire (Dec. 20, 2018, 7:00 AM EST),
  https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-
  Minority-Investment-JUUL-Accelerate.



                                       128
throughout the youth market. Altria’s admission that pod-based products contributed to

underage use show that Altria knew its investment in JLI would “strengthen[] its financial

profile and enhance[] future growth prospects” specifically because JLI dominated the

youth market for e-cigarettes.323

       272.   Altria recognized that JLI’s market share dominance in the e-cigarette

market, a share that it knew was gained via youth targeting and false and misleading

advertising, was the path to Altria’s continued viability and profitability. In a January 31,

2019 earnings call, Altria explained that “[w]hen you add to JUUL’s already substantial

capabilities, our underage tobacco prevention expertise and ability to directly connect with

adult smokers, we see a compelling future with long-term benefits for both adult tobacco

users and our shareholders. We are excited about JUUL’s domestic growth and

international prospects and their potential impact on our investment.”324 JUUL’s growth

was, as Altria well knew, due to the product’s viral popularity among teens. Willard briefly

acknowledged the youth vaping crisis, stating, “Briefly touching on the regulatory

environment, the FDA and many others are concerned about an epidemic of youth e-vapor




323
    Press Release, Altria Makes $12.8 Billion Minority Investment In Juul To Accelerate
  Harm Reduction And Drive Growth, Altria (Dec. 20, 2018),
  https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex99
  1.htm.
324
    Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call
  for the period ending December 31, 2018 (Jan. 31, 2019),
  https://www.fool.com/earnings/call-transcripts/2019/02/01/altria-group-mo-q4-2018-
  earnings-conference-call-t.aspx.



                                    129
usage. We share those concerns. This is an issue that we and others in the industry must

continue to address aggressively and promptly.325

            273.   Altria’s representations that it intended to help JUUL curb the prevalence of

underage use was false and misleading. As discussed below, Altria coordinated with

JUUL to capture and maintain the youth market.

E.          Defendants Targeted the Youth Market

            274.   Having created a product, like combustible cigarettes, that sought to get

users addicted to nicotine, and while taking steps to ensure that users and regulators did

not appreciate the true nicotine content or potential harm from using JUULs, to

successfully sink their high-tech nicotine hook into American users, JLI, Bowen, and

Monsees needed investors willing to adopt the tactics of the cigarette industry as their

own. They found those investors in Pritzker, Huh, and Valani.

            275.   Under the leadership of the Management Defendants, JLI marketed nicotine

to kids. JLI and the Management Defendants deployed a sophisticated viral marketing

campaign that strategically laced social media with false and misleading messages to

ensure their uptake and distribution among young users. JLI and the Management

Defendants’ campaign was wildly successful—burying their hook into kids and initiating

a public health crisis.

            1.     JLI Emulated the Marketing of Cigarette Companies.

            276.   As Defendants know, nearly 9 out of 10 smokers start smoking by age 18,

and more than 80% of underage smokers choose brands from among the top three most


325
      Id.



                                        130
heavily advertised.326 The overwhelming consensus from public health authorities,

independent studies, and credible expert witnesses is that “marketing is a substantial

contributing factor to youth smoking initiation.”327

       277.   Struggling to define their own identities, teenagers are particularly

vulnerable to image-heavy advertisements that psychologically cue them on the “right”

way to look and behave amongst peers.328 Advertisements that map onto adolescent

aspirations and vulnerabilities drive adolescent tobacco product initiation.329

       278.   For decades, cigarette companies spun smoking as a signifier of adulthood.

This turned smoking into a way for teenagers to project independence and enhance their

image among their peers.330

       279.   Youth marketing was critical to the success of cigarette companies. In the

1950s, Philip Morris—now JUUL’s corporate affiliate—intentionally marketed cigarettes

to young people as a pool from which to “replace smokers” to ensure the economic future

of the cigarette industry.331




326
    U.S. Dep’t Health & Human Servs., Preventing Tobacco Use Among Youths, Surgeon
  General Fact Sheet,https://www.hhs.gov/surgeongeneral/reports-and-
  publications/tobacco/preventing-youth-tobacco-use-factsheet/index.html.
327
    United States v. Philip Morris, 449 F. Supp. 2d 1, 570 (D.D.C. 2006) (J. Kessler).
328
    Id. at 578.
329
    Id. at 570, 590
330
    Id. at 1072.
331
    United States. v. Philip Morris, No. 99- 2496 (D.D.C. Aug. 17, 2006), ECF No. 5750 at
  972 (Amended Final Opinion).



                                    131
       280.    Philip Morris’s documents set out their youth strategy, explaining: “Today’s

teenager is tomorrow’s potential regular customer, and the overwhelming majority of

smokers first begin to smoke while still in their teens”.332

       281.    It wasn’t just Philip Morris. The strategy of hooking kids was an open secret

in the cigarette industry.333

       282.    As detailed below, JLI and the Management Defendants sought to emulate

this approach. Indeed, Monsees admitted to using historical cigarette ads to inform JLI’s

own advertising campaign.334

       283.    The emulation is obvious. A side-by-side comparison of JUUL

advertisements with historical cigarette advertisements reveals the appropriated pattern of

focusing on imagery related to attractiveness, stylishness, sex appeal, fun, “belonging,”

relaxation, and sensory pleasure, including taste.335




332
    Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids
  (May 14, 2001), https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
333
    C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth
  Tobacco Industry Documents (Sept. 30, 1974),
  https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091 (RJ
  Reynolds executive explaining that the “young adult . . . market . . . represent[s]
  tomorrow’s cigarette business. As this 14-24 age group matures, they will account for a
  key share of the total cigarette volume—for at least the next 25 years.”).
334
    Matthew Perone & Richard Lardner, Juul exec: Never intended electronic cigarette for
  teens, AP News (July 26, 2019), https://apnews.com/4b615e5fc9a042498c619d674ed0d
  c33; Gabriel Montoya, Pax Labs: Origins with James Monsees, Social Underground,
  https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees (last
  visited Apr. 3, 2020).
335
    See Appendix A, Ads 9-50.



                                     132
       284.   JLI and the Management Defendants deployed this same strategy, but

adapted it to modern advertising tactics.




                                    133
       2.     The Management Defendants Intentionally Marketed JUUL to Young
              People.

       285.   The risk that children would use a new e-cigarette product was well known

and well publicized in the months leading up to the launch of the JUUL e-cigarette. For

example, in April 2015, the CDC published the results from its 2014 National Youth

Tobacco Survey.336 The CDC found that “[i]n 2014, e-cigarettes were the most commonly

used tobacco product among middle (3.9%) and high (13.4%) school students.”337

Moreover, “[b]etween 2011 and 2014, statistically significant increases were observed

among these students for current use of both e-cigarettes and hookahs (p<0.05), while

decreases were observed for current use of more traditional products, such as cigarettes

and cigars, resulting in no change in overall tobacco use.”338 The CDC blamed e-cigarette

marketing, the use of “a mixture of ‘sex, free samples, [and] flavors’—the same things

that were originally found to be problematic with cigarette ads.”339

       286.   Seeking to enter this nascent youth market for e-cigarettes, JLI intentionally

targeted youth from its inception. In March 2015, Management Defendants supervised the

advertising campaigns that would accompany the launch of JUUL.




336
    Centers for Disease Control and Prevention, Tobacco Use Among Middle and High
  School Students — United States, 2011–2014, Morbidity and Mortality Weekly Report
  (MMWR) 64(14);381-385 (Apr. 17, 2015),
  https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6414a3.htm.
337
    Id.
338
    Id.
339
    Jacob Kastrenakes, More teens are vaping instead of smoking, The Verge (Apr. 16,
  2015), https://www.theverge.com/2015/4/16/8429639/teen-ecigarette-use-triples-
  vaping-beats-smoking.



                                    134
         287.   JLI knew that its initial customer base would be the key to its growth. On

June 15, 2015, JLI’s COO Scott Dunlap wrote on article on Entrepreneur.com called “6

Ways to Get a Fanatical Customer Base,” #1 of which was “Seed your initial customer

base:”

         288.   Your first group of customers is the foundation of all future growth, so know

who they’ll be, why they’ll rave and help them tell your story. They’ll first act as role

models and then as advocates to help spread your mission, so make locating and engaging

those core customers a priority. This is especially important if you’re introducing

something completely new to a traditional industry.340 Despite this professed knowledge

that JLI’s “first group of customers is the foundation of all future growth” and consistent

with Monsees’ position that he has no “qualms” with marketing to people that were not

yet addicted to nicotine,341 JLI’s marketing strategy targeted people that were “flavor-

seeking, social ‘vapers,’” and those who “have very limited experience with traditional

tobacco cigarettes.”342

         289.   JLI’s first major marketing hire, Cult Collective Ltd. (“Cult Collective”),

presented a pitch deck to JLI in late 2014, which defined the “target consumer” as a person

“within a life stage or mindset where they are defining their own identity.”343 The study




340
    Scott Dunlap, 6 Ways to Get a Fanatical Customer Base, Entrepreneur (June 17, 2015)
  https://www.entrepreneur.com/article/247424.
341
    David H. Freedman, How do you Sell a Product When You Really Can’t Say What it
  Does?, Inc., https://www.inc.com/magazine/201405/david-freedman/james-monsees-
  ploom-ecigarette-company-marketing-dilemma.html (last visited Apr. 4, 2020).
342
    INREJUUL_00441209.
343
    INREJUUL_00057298-INREJUUL_00057487.



                                      135
described the “modern vaper” as “trendy, sophisticated image managers seeking to

balance their desire for originality against acceptance.”344 Put differently, their target

consumer was an adolescent.

       290.   JLI professedly wanted kids to think JUUL was cool. In an email dated

January 29, 2015, Sarah Richardson—then Director of Communications—sent a

document dated December 31, 2014, to Dima Martirosyan, Director of Digital Marketing,

who forwarded it to Rafael Burde, Director of Ecommerce.345 The document stated that

“[m]ost e-cigarettes to date are unsatisfying and seem ‘douche-y’. The JUUL product

delivers nicotine far more effectively, and the product design is elegant and cool. We need

to tell this story in a credible fashion through press, influencers and social media.”346 The

document repeatedly referred to Pax Labs’s plan to target the “cool kids[.]”347 For

example, it described as one of the “Key needs” to “Establish premium positioning to

entice the ‘masses’ to follow the trend setters; own the ‘early adopter’ / ‘cool kid’ equity

as we build out volume[.]”348 The document noted that “the voices of influencers can build

strong demand.”349 Messaging to media similarly focused on “coolness” and the message

that “JUUL singlehandedly made e-cigarettes cool.”350




344
    INREJUUL_00057298-INREJUUL_00057487.
345
    INREJUUL_00057289.
346
    INREJUUL_00057293.
347
    Id.
348
    Id.
349
    Id.
350
    INREJUUL 00441325-INREJUUL_00441326.



                                    136
       291.   This focus on “cool kids” continued up to and after launch. On May 18,

2015, Kate Morgan, field marketing manager, emailed Richard Mumby, Chief Marketing

Officer, and a variety of other marketing employees about “Some Music Options for

JUUL Party” and noted that one of the options was a pair who were both “cool kids.”351

On June 7, 2015, Rafael Burde emailed Scott Dunlap, then Chief Operating Officer,

stating that the JUUL launch party “was a resounding success (at least in my mind) in

terms of winning over the cool kids . . . .”352 Pax Labs employees used similar wording

regarding interest in targeting “cool kids” in an email from Sarah Richardson on August

12, 2015,353 and emails from Ashley Marand on September 15, 2015,354 and October 21,

2015.355 The consistency of the language around this target demographic confirms that

marketing to “cool kids” was a company policy set by the executives and the Board,

particularly because, before selling the Ploom assets to JTI, James Monsees said similar

things about Ploom.356

       292.   JLI identified its competitor in this space as cigarette companies,

complaining that “cigarettes continue to own the ‘cool’ equity,” and identifying a “key

pillar to go-to-market” as “win[ning] with the ‘cool crowd’” away from cigarettes.357




351
    JLI00218598.
352
    JLI00206206.
353
    JLI00222528.
354
    JLI00461564.
355
    JLI00235965.
356
    JLI00514343 (describing Ploom as “providing optionality for distribution growth and
  consumer outreach to a younger, opinion leading audience”).
357
    INREJUUL_00161703-INREJUUL_00161715.



                                   137
         293.   With this goal in mind, JLI hired the Grit Creative Group (“Grit”), which

billed itself as an agency whose marketing appealed to “cool kids.”358 Grit helped JLI to

“use external audiences to communicate nuanced messages around early adoption

‘coolness’ and product performance.”359

         294.   In short order, the phrase “it’s cool to JUUL” became an anthem among kids

while youth e-cigarette use skyrocketed.

         3.     JLI   Advertising      Exploited     Young      People’s    Psychological
                Vulnerabilities.

         295.   Informed by decades of tobacco marketing, JLI ran a consistent, simple

message: JUUL is used by young, popular, attractive, and stylish people.

         296.   This was not the only marketing scheme JLI could have adopted. JLI had

other options. In 2014, JLI engaged a Calgary-based advertising agency, Cult Collective,

to complete a “diagnostic” evaluation of the JUUL brand and to make recommendations

regarding the best advertising strategy to market the JUUL e-cigarette.

         297.   In keeping with typical e-cigarette marketing, which messaged to existing

smokers looking to quit, Cult Collective recommended that JUUL position its e-cigarette

technology as the focus of its advertisements. Cult Collective presented JUUL with

exemplar advertisements that used images of a boom box and a joy stick, juxtaposed

against the JUUL e-cigarette, with the tag line: “Everything changes. JUUL the evoluution

of smoking.”




358
      Id.
359
      INREJUUL_00277080-INREJUUL_00277104.



                                     138
       298.   This campaign expressly invokes combustible cigarettes and positions the

JUUL as a technological upgrade for the modern smoker.

       299.   JLI rejected this approach.

       300.   Instead, in June of 2015, JLI launched the “Vaporized” advertising

campaign.360 The express mission of the Vaporized campaign was to “own the ‘early

adopter’/’cool kid’ equity.”361

       301.   Applying the template for preying on teens established by the cigarette

industry, the Vaporized campaign used stylish models, bold colors, and highlighted

themes of sexual attractiveness, thinness, independence, rebelliousness and being

“cool.”362




360
    Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’,
  AdAge (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-
  cigarette-ads¬campaign/299142/.
361
    INREJUUL_00057291-INREJUUL_00057295.
362
    See Appendix A, Advertisement 1 (example of targeting of young people).



                                   139
       302.   The targeting of young users was evident in the design and implementation

of the Vaporized campaign, which featured models in their 20s whose “poses were often

evocative of behaviors more characteristic of underage teen than mature adults.”363




363
   Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
  (2019) (statement of Robert K Jackler, Professor, Stanford University).
  https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-
  Wstate-JacklerR-20190724.pdf.



                                   140
      303.   In the months leading up to the launch of JUUL e-cigarettes, Pax Labs

executives and directors discussed how to market the new product and the Board approved

specific marketing materials used in JUUL’s launch. On March 23, 2015,364 there was a

meeting of the Board of Directors where the upcoming advertising campaign was

discussed.365 The Board at that time had five members: Pritzker, Valani, Monsees, Bowen,

and Handelsman (occupying Valani’s second seat). According to Chelsea Kania, then

Brand Manager at Pax Labs, prior to this meeting, she had met with the Board to discuss

the models who would be used in the marketing collateral accompanying the JUUL

launch. At that meeting, “there was some commentary at the youthfulness of the

models[,]” but “nobody disliked them” and “everybody agreed they are pretty

‘effective[.]’”366 Ms. Kania also noted that she told the Board that “we have quite the

arsenal of model images to work with, and that they should let us know if the ones we



364
    INREJUUL_00371285.
365
    INREJUUL_00371314.
366
    INREJUUL_00174387.



                                  141
selected are going to be problematic. So just waiting on any further feedback if they do a

pass with the board.”367 The Management Defendants knew that the ads targeted youth

and had the authority to determine which models to use, but “Juul’s board of directors

signed off on the company’s launch plans[.]”368 In addition, “Monsees, who was CEO at

the time, personally reviewed images from the billboard photo shoot while it was in

session.”369 A senior manager later told the New York Times that “he and others in the

company were well aware” that the marketing campaign “could appeal to” teenagers.370

       304.   As part of the Vaporized campaign, JLI advertised on a 12-panel display

over Times Square.371 Billboard advertising of cigarettes has for years been unlawful

under the Master Settlement Agreement.




367
    Id.
368
    Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled
  startup of 2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s
  also hooking teens on nicotine and drawing scrutiny from the FDA. Can the company
  innovate its way out of a crisis it helped create?, Fast Company (Nov. 19, 2018),
  https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-
  became-the-most-embattled-startup-of-2018.
369
    Id.
370
    Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
  N.Y. Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-
  teen-marketing.html.
371
    See Appendix A, image 14; see also https://inrejuul.myportfolio.com (also available at
  http://tobacco.stanford.edu/tobacco_main/subtheme_pods.php?token=fm_pods_
  mt068.php) (last visited April 3, 2020) (additional images and videos).



                                   142
         305.   These ads, which ran for nearly a month, generated an estimated 1.5 million

impressions per day.372

         306.   In fact, JLI’s Vaporized campaign was so effective that it gained national

attention on an October 15th, 2015 episode of Late Night with Stephen Colbert, who

ridiculed the notion that the young, dancing models were consistent with a target market

of adult smokers. As Colbert joked after viewing the close-up video of young models

dancing in place, “[y]eah! There is something about vaping that just makes me want to

dance in a way that doesn’t require much lung strength. . . . And it’s not just ads featuring

hip young triangles that appeal to the youths. . . . There is no reason to worry about the




372
      INREJUUL_00093933-INREJUUL_00093934.



                                     143
long-term effects of vaping, because e-cigarettes are so new that their long-term effects

are still unknown.”373

         307.   The Vaporized campaign was not limited to the Times Square billboards

however. The ads were also placed in nationally-distributed magazines, and the videos

were displayed on screens at the top of point-of-sale JUUL kiosks provided by JUUL to

retailers across the country.

         308.   To the extent that the Vaporized advertisements disclosed that JUUL

contained nicotine, the warnings were in small print against low-contrast backgrounds,

making them easy to overlook. By way of comparison, cigarette advertisements, are

required to display a health warning in high contrast black and white, covering 20% of the

image.

         309.   Likewise, JLI’s social media ads did not disclose any health risks of using

JUUL until May of 2018, when they were required to warn of addiction. But even then,

JUUL placed these warnings in areas that were only viewable if the social media user

clicked on the “full version” of the JLI post, which is not how teens typically engage with

social media advertising.374 Notably, on Twitter, a social media platform that is geared

towards reading text, and on Facebook, where some users do read text, JLI typically did

not include the disclaimer in its advertisements at all.375




373
    The Late Show With Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7,
  2015), https://www.youtube.com/watch?v=PMtGca_7leM.
374
    See Appendix A, Advertisement 3.
375
    See Appendix A, Advertisement 65; see also Juul Image Galleries (2015-2018) SRITA
  Collection, https://inrejuul.myportfolio.com/twitter-1 (last visited Apr. 3, 2020).



                                     144
      4.     JLI Pushed the Vaporized Campaign Into Youth Targeted Channels.

             a.     JLI Placed Its Vaporized Ads on Youth Oriented Websites and
                    Media.

      310.   JLI engaged programmatic media buyers to place advertisements on

websites attractive to children, adolescents in middle school and high school, and

underage college students. These advertisements, which included the images of models

from the Vaporized campaign, began appearing on websites as early as June 2015. The

chosen websites included: nickjr.com (the website for a children’s television network run

by Nickelodeon Group); the Cartoon Network’s website at cartoonnetwork.com;

allfreekidscrafts.com; hellokids.com; and kidsgameheroes.com.

      311.   A picture of the homepage of nickjr.com is below:




                                   145
       312.   JLI also purchased banner advertisements on websites providing games

targeted to younger girls,376 educational websites for middle school and high school

students,377 and other teen-targeted websites.378

       313.   JLI knew what it was doing. In May 2015, Chelsea Kania contacted Cult

Collective to raise concerns about advertising on younghollywood.com. Kania explained

that the website’s demographics are “age 12-34 . . . and weighing the % who could actually

afford JUUL against the risk we’d run being flagged for advertising on that site – I don’t

think we should do it.”379 Nevertheless, JLI continued to push its campaign on websites

with young demographics.

       314.   JLI promoted the Vaporized campaign on Facebook, Instagram, and

Twitter.

       315.   JLI could have employed age-gating on its social media accounts to prevent

underage users from viewing its Vaporized advertisements, but chose not to do so.

       316.   The Vaporized campaign included the largest e-cigarette smartphone

campaign of 2015, which accounted for 74% of all such smartphone advertising that year.




376
    The sites included dailydressupgames.com, didigames.com, forhergames.com,
  games2girls.com, girlgames.com, and girlsgogames.com.
377
    E.g., coolmath-games.com. JUUL also purchased advertisements on basic-
  mathematics.com, coolmath.com, math-aids.com, mathplayground.com, mathway.com,
  onlinemathlearning.com, and purplemath.com.
378
    E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JUUL purchased
  advertisements on websites for high school students hoping to attend college such as
  collegeconfidential.com and collegeview.com.
379
    INREJUUL_00082179-INREJUUL_00082185.



                                    146
       317.   JLI promoted Vaporized through Vice Magazine, which bills itself as the

“#1 youth media brand” in the world.380




       318.   By 2016, an estimated 20.5 million U.S. middle and high school students

were exposed to advertisements for e-cigarettes, including JUUL.381

              b.    JLI Used Influencers and Affiliates to Amplify Its Message to a
                    Teenage Audience.

       319.   JLI used “influencers” to push their product to young people. Influencers

are “high-social net worth” individuals who have developed large social media




380
    Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns,
  Forbes (Nov. 16, 2018),
  https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
  juuls-early-marketing-campaigns/#3da1e11b14f9.
381
    Kristy Marynak et al., Exposure to Electronic Cigarette Advertising Among Middle and
  High School Students – United States, 2014-2016, CDC: Morbidity and Mortality
  Weekly Report (Mar. 16, 2018),
  https://www.cdc.gov/mmwr/volumes/67/wr/mm6710a3.htm.



                                  147
followings—i.e., the “cool kids” of the social media world.382 Influencers are prized

sources of brand promotion on social media networks.

       320.    Like its Vaporized campaign, JLI’s influencer strategy was youth-focused,

with the stated aim of “show[ing] that the tastemakers, cool kids and early adopters who

consume tobacco use JUUL.”383 In keeping with this strategy, JLI targeted influencers that

were young and popular with adolescents. One influencer JLI targeted was Tavi Gevinson,

who was nineteen years old in the summer of 2015. The year before, Rolling Stone

magazine described Gevinson as “possibly the most influential 18-year-old in

America.”384

       321.    JLI contracted with Grit to enlist influencers by sending them free JUUL e-

cigarettes. Documents obtained pursuant to a Congressional investigation show that in

July 2015, JLI’s contract with Grit was for services that included “Influencer Relations,”

in which Grit agreed to provide two “Social Buzzmakers” for six events within a four-

week period, with each Social Buzzmaker having a minimum of 30,000 followers and be

active on at least two social media channels, such as Instagram, Twitter, or Facebook. The

contract provided that JLI would determine or approve the timing of the Buzzmakers’




382
    See INREJUUL_00091138 (Aug. 26, 2015 “JLI Influencer Program” defining an
  influencer as “individuals who have strong influence over their audience. We are aiming
  for influencers in popular culture with large audiences in various sectors such as music,
  movies, social, pop media, etc.”).
383
    INREJUUL_00057293.
384
    Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14,
  2014), https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-
  teens-new-direction-232286/.



                                    148
posts. In addition, JLI engaged Grit to “develop influencer engagement efforts to establish

a network of creatives to leverage as loyalists for Juul/Pax brand activations.”385

       322.   Grit also provided free JUULs to Luka Sabbat, known as the “the Internet’s

Coolest Teenager,”386 who was 17 years old during the summer of 2015.

       323.   Grit targeted celebrities with large numbers of underage fans, including

Miley Cyrus, former star of “Hannah Montana,” a series that aired for four seasons on the

Disney Channel and won eight Teen Choice Awards.387

       324.    JLI paid these social media influencers to post photos of themselves with

JUUL devices and to use the hashtags that it was cultivating.388 One such influencer was

Christina Zayas, whom JLI paid $1,000 for just one blog post and one Instagram post in

the fall of 2017.




385
    Kenrick Cai, Juul Funded High Schools, Recruited Social Media Influencers To Reach
  Youth, House Panel Charges, Forbes (July 25, 2019),
  https://www.forbes.com/sites/kenrickcai/2019/07/25/juul-high-schools-influencers-
  reach-youth-house-investigation/#57735a4a33e2. See JLI-HOR-00042050-052 at 050.
386
    Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex
  (Aug. 17, 2015), https://www.complex.com/style/luka-sabbat-interview-on-youth-
  kanye-west-and-fashion.
387
    See, INREJUUL_00091141 (Aug. 26, 2015 “JLI Influencer Seeding Chart” provided
  by Grit listing various celebrities and influencers, including Miley Cyrus.).




                                    149
       325.   JLI encouraged its distributors, wholesalers, and other resellers—either

explicitly or implicitly— to hire affiliates and influencers to promote JLI’s brand and

products. Even if not paid directly by JLI, these influencers profited from the promotion

of JUUL products either because they were paid by JUUL resellers, JUUL accessory

sellers, or sellers of JUUL-compatible products.

       326.   For example, one YouTube user Donnysmokes (Donny Karle, age twenty-

one) created a JUUL promotional video in 2017 that garnered roughly 52,000 views, many

of which were from users under the age of eighteen.389 Since that time, Karle has made a

series of videos, including videos titled “How to hide your JUUL from your parents” and

“How to HIDE & HIT Your JUUL at SCHOOL WITHOUT Getting CAUGHT.”390 Karle

has admitted to earning approximately $1200 a month from unspecified sources simply


389
    Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
  (2019) (statement of Robert K Jackler, Professor, Stanford University).
  https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-
  Wstate-JacklerR-20190724.pdf.
390
    Id.



                                   150
from posting videos of himself consuming e-cigarettes, especially of JUUL products

online.391

       327.   Karle also created a YouTube sensation called the “JUUL Challenge,”

which is a play on the viral “Ice Bucket Challenge.” In the JUUL Challenge, the goal is to

suck down as much nicotine as possible within a predetermined amount of time. The

JUUL Challenge, which promotes nicotine abuse and adolescent use of JUUL products,

went viral like the Ice Bucket Challenge it mimicked. Soon, youth across the country were

posting their own JUUL Challenge videos, a practice that continues to this day on

YouTube, Instagram, Snapchat and other social media platforms. In one recent JUUL

Challenge on YouTube, which has received nearly 500,000 views, the two teenagers

filming themselves discussing the hundreds of thousands of views their prior JUUL

Challenge received and comment upon the “virality” of their JUUL Challenge content.392

       328.   In or around 2017, JLI began using a company called Impact Radius for the

management of JLI’s affiliate program. Impact Radius’s affiliate application stated that

JLI “auto-approve[d]” applications and did not ask for or confirm the affiliate’s age.393

JLI’s affiliates promoted JUUL on social media platforms including YouTube, Instagram,

Facebook, Snapchat, and Twitter and routinely failed to disclose that they were being paid

to promote JUUL products.


391
    Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube, Vice
  (Feb. 5, 2018), https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-
  thousands-a-month¬vaping-on-youtube.
392
    Nate420, JUUL Challenge (Apr. 22, 2018), https://youtu.be/gnM8hqW_2oo (last
  visited Mar. 30, 2020).
393
    INREJUUL_00113437-INREJUUL_00113441.



                                   151
       329.   JLI’s “affiliate program” recruited those who authored favorable reviews of

its products by providing such reviewers with a 20% discount of purchases of JUUL

products.394 It even recruited JUUL users to act as part of their marketing team by asking

users to “refer a friend and get a discount.”395

       330.   As with much of the marketing strategy for JUUL, the practices described

above are prohibited by the Master Settlement Agreement.

              c.     JLI Used Viral Marketing Techniques Known to Reach Young
                     People.

       331.   JLI deployed “viral marketing” techniques to great success. Viral marketing

is defined as “marketing techniques that seek to exploit pre-existing social networks to

produce exponential increases in brand awareness, through processes similar to the spread

of an epidemic.”396 Viral marketing effectively converts customers into salespeople, who,

by sharing their use of a product (on social media or otherwise), repeat a company’s

representations and endorse the product within their network. The success of viral

marketing depends on peer-to-peer transmission. Hence, a successful viral marketing




394
    Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
  (2019) (statement of Robert K Jackler, Professor, Stanford University),
  https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-
  Wstate-JacklerR-20190724.pdf.
395
    Id. at 9.
396
    N. Deepa et al., Viral Marketing as an On-Line Marketing Medium, IOSR J. of Bus. &
  Mgmt. 18, http://www.iosrjournals.org/iosr-jbm/papers/ncibppte-volume-2/1115.pdf
  (last visited Apr. 3, 2020); P. R. Datta et al., Viral Marketing: New Form of Word-of-
  Mouth Through Internet, 3 The Bus. Rev. 69 (2005).



                                     152
campaign looks like a series of unrelated, grassroots communications, when in fact they

are the result of carefully orchestrated corporate advertising campaigns.

       332.   As JLI boasted in a pitch deck to potential investors dated December 2016,

“Viral Marketing Wins.”397




       333.   Social media platforms are the most effective way to launch viral marketing

campaigns among young people. As of May 2018, among teenagers, 95% reported use of

a smart phone, 85% use YouTube, 72% use Instagram, and 45% reported being online

“constantly.”398

       334.   A key feature of JLI’s viral marketing campaign was inviting user-generated

content. This strategy revolves around prompting social media followers to provide their

own JUUL-related content—e.g., post a selfie in your favorite place to use JUUL. The

response provided by a user is then typically distributed—by the social media platform

employed—into the user’s personal network. In this way, brands can infiltrate online




397
   INREJUUL_00349529-560 at 541.
398
   Monica Anderson & Jingjing Jiang, Teens, Social Media & Technology 2018:
  Appendix A: Detailed Tables, Pew Research Center (May 31, 2018),
  https://www.pewresearch.org/internet/2018/05/31/teens-technology-appendix-a-
  detailed-tables/.



                                    153
communities with personalized content that promotes their product (e.g. a picture of a

friend using a JUUL e-cigarette ).399




       335.   Within a few months of the JLI’s commercial release in June 2015, a former

JLI executive reportedly told the New York Times that JLI “quickly realized that teenagers

were, in fact, using [JUULs] because they posted images of themselves vaping JUULs on

social media.”400




399
    The Rise in the Use of Juul Among Young People: The Power of Design and Social
  Media
  Marketing, Campaign for Tobacco Free Kids, https://www.tobaccofreekids.org/assets/im
  ages/content/JUUL_Presentation.pdf.
400
    Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
  N.Y. Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-
  teen-marketing.html.



                                    154
       336.   To drive consumer participation in its ad campaign, JLI peppered its

advertising and social media posts with hashtags, including those referencing JLI and

consuming e-cigarettes (e.g., #juul, #juulvapor, #switchtojuul, #vaporized, #juulnation,

#juullife, #juulmoment); and trending topics unrelated to JUUL, as well as topics

#mothersday, #goldenglobes, #nyc, etc. JLI’s hashtag marketing went beyond passive

posts to being “very proactive to find and reach out to people who are (or might be)

interested in JUUL. This means searching hashtags to engage, using widely used hashtags,

paying close attention to our followers, being responsive to posts, etc.”401




       337.   JLI’s hashtags attracted an enormous community of youthful posts on a wide

array of subjects. According to Dr. Jackler, #Juul contains literally thousands of juvenile

postings, and numerous Instagram hashtags contain the JUUL brand name.402




401
   INREJUUL_00093294.
402
   Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at
  2, STAN. RES. INTO THE IMPACT OF TOBACCO ADVERT. (2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.



                                    155
       338.   Just as JLI intended, JUUL users began taking photos of themselves using

JUUL devices and putting them on social media with the hashtag #juul. They were

creating JUUL content that looked and felt like real JUUL ads: featuring young people

having fun and using JUUL. The flavor-based hashtag campaigns #MangoMonday and

#coolmint generated hundreds of thousands of user-generated posts.

       339.   JLI could have stepped in and attempted to stop the use of its trademark in

posts directed to underage audiences, including the use of all the hashtags that contain the

word “JUUL.” It could have promptly sought to shut down infringing accounts such as

@doit4juul and @JUULgirls. It did not do so.

       5.     JLI Targeted Youth Retail Locations.

       340.   Studies show that tobacco use is associated with exposure to retail

advertising and relative ease of in-store access to tobacco products. Some studies have

shown that youth who were frequently exposed to point of sale tobacco marketing were

twice as likely to try or initiate smoking than those who were not as frequently exposed.

       341.   For years, JLI made it difficult for smoke shops and other age-restricted

stores to carry its products, instead directing its product to gas stations and convenience

stores, which historically make the most underage sales. JLI knows that nicotine-naïve

young people frequent gas stations and convenience stores rather than smoke shops. By

distributing in those kinds of stores, JUUL increased the likelihood that these people

would purchase its product.

       342.   JLI marketed its products extensively in convenience stores, employing

video and product displays with bright colors and young adults using and displaying the




                                    156
JUUL device. The retail marketing worked and, by late 2017, JUUL became the most

popular e-cigarette sold in convenience stores according to Nielsen data.403

       343.    Like all in-store cigarette advertising, JLI’s point–of–sale materials played

a major role in driving youth addiction. JLI actively encouraged youth to seek out these

laxly regulated retail locations, sending marketing e-mails to hundreds of thousands of

customers, referring them to the JUUL store locator and offering discounts. And JLI

actively encouraged its retailers to leniently regulate sales to youth by providing profit

margins that far exceeded any other tobacco product being sold.

       344.    Before JUUL’s launch in 2015, JLI and Cult Collective developed

packaging and in-store displays that looked similar to iPhone packaging, which JLI knew

would resonate with young people and further JLI’s campaign to be the “the iPhone of e-

cigarettes.”

       345.    As a 2015 marketing plan shows, JLI’s in-store promotional content “stands

out” from competing tobacco products by conveying that the “JUUL brand is colorful,

approachable, and fun—core elements of trade support assets.”404




403
    Laura Bach, JUUL and Youth: Rising E-Cigarette Popularity, Campaign for Tobacco-
  Free Kids (July 6, 2018),
  http://www.kdheks.gov/tobacco/download/Campaign_for_tobacco-
  free_kids_rising_popularity_of_e-cigarettes.pdf.
404
    INREJUUL_00370796-INREJUUL_00370806, 805.



                                    157
          6.     JLI Hosted Parties to Create a Youthful Brand and Gave Away Free
                 Products to Get New Users Hooked.

          346.   JLI also sponsored at least twenty-five live social events for its products in

California, Florida, New York, and Nevada. The invitations to JUUL’s events did not

indicate that the JUUL was intended for cigarette smokers, contained nicotine, or was

addictive.405 Instead, the invitations traded on PAX Lab, Inc.’s (PAX) reputation as a

manufacturer of marijuana vaporizers and promised attendees “free #JUUL starter kit[s],”

live music, or slumber parties.406 Photographs from these events indicate that they drew a

youthful crowd. Product promotion through sponsored events was a long-standing

practice for cigarette companies, but is now prohibited.




405
      See Appendix A, Advertisements 78-81.
406
      Id.



                                       158
159
      347.   At these live social events, JLI gave attendees free JUUL “Starter Kits,”

which contain a JUUL device and 4 JUUL pods of various flavors. JLI gave away samples

at music events without age restrictions, including Outside Lands in San Francisco’s

Golden Gate Park, and other events aimed at a youthful audience, such as the annual

Cinespia “Movies All Night Slumber Party” in Los Angeles. These events, in addition to

providing youthful crowds for handing out samples, were opportunities for JLI to cultivate

its brand image as youthful, hip, and trendy—but had nothing to do with smoking

cessation. For example, on August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15?

We got you. Follow us and tweet #JUULallnight and our faves will get a pair of tix!”

      348.   Giving away free samples is prohibited conduct for a cigarette company

under the Master Settlement Agreement.

      349.   As part of the Vaporized campaign, JLI also emulated trendy pop-up

restaurants and stores by using a shipping container “pop-up JUUL bar” at festivals and




                                   160
events in the Los Angeles and New York City metro areas. The firm BeCore designed and

created the container for JLI and managed it as a mobile JUUL product sampling

lounge.407




                                                                408


       350.   JLI also held sampling events in stores. By September 2015, JLI was on

schedule to host sampling events in more than 5,000 stores in twenty cities in twelve

states.409 Documents obtained by the New York Attorney General show that JLI recruited

young “brand ambassadors” to staff these events and required a dress code that included

skinny jeans, high-top sneakers or booties, and an iPhone in a JUUL-branded case.410




407
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
408
    Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’,
  AdAge (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-
  cigarette-ads¬campaign/299142/.
409
    INREJUUL_00160394.
410
    Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY
  AG Says, Gothamist (Nov. 19, 2019), https://gothamist.com/news/juul-hooked-teens-
  through-sick-parties-and-hip-ambassadors-ny-ag-says; Kathleen Chaykowski, The
  Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov. 16, 2018),
  https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
  juuls-early-marketing-campaigns/#3da1e11b14f9.



                                   161
       351.   JLI also engaged PUSH Agency, LLC (“PUSH”), a promotional model and

event staffing agency, to provide models and brand ambassadors to hand out coupons in

trendy areas of New York City popular with young people. In a September 2017 email

between PUSH and JLI, for example, PUSH offered suggestions “for the nightlife shifts”

of “places that are popular for nightlife” that “would be great to hit,” including the

Marquee nightclub in Chelsea, Provocateur, and Le Bain, a penthouse discotheque.411

       352.   Though JLI publicly acknowledged in October 2017 that it is unlawful to

distribute free samples of its products at live events,412 it continued to reach out to new

users by offering samples, sometimes at $1 “demo events.” Like so many of JLI’s




411
   INREJUUL_00158794-803 at 794.
412
   See Nik Davis (@bigbabynik), Twitter (Nov. 17, 2017 1:11 PM),
  https://twitter.com/JLIvapor/status/931630885887266816; The Role of the Company in
  the Juul Teen Epidemic, Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing
  Before the H. Comm. on Oversight and Reform, Subcomm. on Econ. and Consumer
  Policy, 116th Cong. (2019) (statement of Robert K Jackler, Professor, Stanford
  University). https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-
  GO05-Wstate-JacklerR-20190724.pdf.



                                    162
initiatives, promotions of this kind are prohibited for cigarette companies by the Master

Settlement Agreement.

       353.   The effect—and purpose—of JLI’s Vaporized giveaways was to flood

major cities with products that would hook thousands of new users, and to generate buzz

for the brand among urban trendsetters who would then spread JLI’s message to their

friends via word of mouth and social media.

       354.   According to BeCore, one of the firms responsible for designing and

implementing JLI’s live events, JLI distributed the nicotine-equivalent of approximately

500,000 packs of cigarettes at all twenty-five events.413 And this was just to get people

started.

       7.     The Management Defendants’ Direction of and Participation in JLI and
              in the Youth Marketing Schemes.

              a.    The Management Defendants, and in particular Pritzker, Valani,
                    and Huh, controlled JLI’s Board at relevant times.

       355.   During the relevant time frame, JLI’s operative Voting Agreements

provided for a maximum of seven board seats.414 By March 2013, Valani, through Ploom

Investments LLC, controlled two of JLI’s maximum seven board seats.415 Valani



413
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
414
    JLI01362389 (Fifth Amended and Restated Voting Agreement, March 2015);
  JLI01362388 (Fifth Amended and Restated Voting Agreement, Dec 2016);
  JLI01439393 (Sixth Amended and Restated Voting Agreement, March 2017);
  JLI01440777 (Seventh Amended and Restated Voting Agreement, Jun 2018).
415
    JLI01426710 (March 25, 2013 board minutes note V has seats, discuss a potential
  designee by Ploom Investments/aka V); JLI10268480 (“Ploom Investments is controlled
  by Riaz Valani”).



                                   163
continued to control two JLI board seats at all relevant times. Pritzker joined Monsees,

Bowen, and Valani on JLI’s board in August 2013.416

       356.   In March 2015, after JTI’s board appointees resigned, Hank Handelsman—

a lawyer who serves as general counsel for the Pritzker Organization, and was a senior

executive officer and general counsel for the Hyatt Corporation for several decades—

joined Monsees, Bowen, Pritzker, and Valani on JLI’s board.417 JLI documents indicate

that Handelsman occupied Valani’s second seat on the board.418 Thus, by March 2015,

Pritzker and Valani controlled three board seats, which comprised a majority of the board

at the time since only five of seven possible seats were filled then. And Defendants

Monsees and Bowen held the other two board seats.

       357.   JLI’s Fourth Amended and Restated Voting Agreement, dated March 2015,

provided for a maximum of seven board seats. Monsees and Bowen each occupied one

seat; Valani had two seats; Pritzker had one seat at that time; another investor would obtain

one board seat if enough shares were raised (but ultimately, they were not), and one seat

was to be filled by vote of a majority of the board.419 Sometime after that, Pritzker assumed

control of a second board seat.




416
    JLI01426164.
417
    JLI00216307; JLI01365707
418
    JLI01362388.
419
    JLI01365707



                                    164
      358.   By the summer of 2015, Hoyoung Huh and Alexander Asseily joined the

Board. At that time, the Board had seven members: Monsees, Bowen, Valani, Pritzker,

Handelsman, Huh, and Asseily.420 Handelsman continued to occupy Valani’s second seat.

      359.   Valani, Pritzker, and Huh continued to control JLI’s board through at least

2018. In June 2017, Altria was already contemplating a deal with Juul and asked its

financial advisor, Perella Weinberg Partners, to conduct diligence on JLI. Altria reported

Perella Weinberg’s findings while preparing for a meeting with JLI, noting that “Valani

and Pritzker control majority of voting power and 44% economic interests.”421

      360.   JLI’s December 2016 Fifth Amended and Restated Voting Agreement

provided that Monsees and Bowen controlled the two seats they occupied; Valani

controlled the two seats occupied at that time by himself and Handelsman; Pritzker

controlled the two seats occupied at that time by himself and Asseily; and Huh occupied

the seat appointed by a majority of board members.422 JLI’s March 2017 Sixth Amended

and Restated Voting Agreement provided the same board seat composition as the Fifth.423

      361.   Even after Huh resigned from JLI’s board in May 2018,424 Pritzker and

Valani continued to control the board, as they still controlled four of seven board seats.

JLI’s June 2018 Seventh Amended and Restated Voting Agreement provided that

Monsees and Bowen controlled the two seats they occupied; Valani controlled the two




420
    JLI00220992
421
    ALGAT0002834151.
422
    JLI01362388
423
    JLI01439394
424
    JLI01425021



                                   165
seats occupied at that time by himself and Handelsman; Pritzker controlled the two seats

occupied at that time by himself and Zach Frankel; and Kevin Burns occupied the seat

appointed by a majority of board members.425 Consistent with this distribution of board

seats, an internal Altria presentation from October 2017 reported on Altria’s “continued

dialogue with key [JLI] investors,” noting that Valani and Pritzker “indicate that they

control majority of voting power.”426 JLI also noted in 2017 and 2018 that Pritzker and

Valani “have two board seats” each, and they “are active on the board as well as providing

strategic advice to the company on a weekly basis.”427

       362.   The Bylaws of the JLI Board of Directors provide that “all questions and

business shall be determined by the vote of a majority of the directors present, unless a

different vote be required by law, the Certificate of Incorporation or these bylaws.”428 So,

by virtue of their control of four of the seven seats on the JLI Board of Directors,

Defendants Pritzker and Valani had the ability to approve or reject any matter considered

by the Board of Directors. This power included, among other things, the decision to

remove any officer of JLI (which only required an “affirmative vote of a majority of the

directors” – which, as stated above, rested with Pritzker and Valani during all relevant

times).429 In this way, Pritzker and Valani ensured JLI would be run as they saw fit.




425
    JLI01440776
426
    ALGAT0000280623
427
    JLI01356230; JLI01356237 (Nov. 2017); JLI00417815 (Feb. 2018)
428
    JLI01385478
429
    Id.



                                    166
              b.     Pritzker, Huh, and Valani were active, involved board members.

       363.   JLI’s board members, and especially Pritzker, Valani, and Huh, were “more

involved than most.”430 In June 2015, then-COO Scott Dunlap observed that “[o]ur board

members are more involved than most, and likely crazier than most, given the depth of

experience they have in this industry,” specifically referencing comments made by

Pritzker and Valani about JLI’s Vaporized marketing campaign.431 They were so involved,

in fact, that Dunlap worried that “the board [will] try and write copy” for future branding

changes, and he encouraged Richard Mumby to prepare branding materials in advance so

that “we could lead that discussion, should it happen.”432 (Dunlap’s efforts to wrestle

control over marketing from Pritzker, Valani, and Huh failed—he was the first person

fired when their Executive Committee began to clean house, as discussed below.) 433

       364.   JLI’s board met far more frequently than is typical: they had weekly board

calls in addition to monthly meetings.434 Hoyoung Huh began joining these weekly board

calls starting in May 2015, before he formally took a seat on the board.435 In the months

following JUUL’s June 2015 launch, the youth appeal of JUUL’s marketing became a

“common conversation” at weekly board calls.436 Weekly meetings continued into at least

2018. JLI told investors in 2017 and 2018 that Pritzker and Valani “are active on the board




430
    JLI00206239
431
    Id.
432
    Id.
433
    JLI01369470
434
    See, e.g., JLI00210436; JLI00380098
435
    JLI00206172.
436
    INREJUUL_00174498



                                    167
as well as providing strategic advice to the company on a weekly basis.”437 Then-CEO

Tyler Goldman told an investor in June 2017 that “Nick [Pritzker] has been a driving force

in the building the [JLI] business.”438

              c.     The Management Defendants, and in particular Bowen, Monsees,
                     Pritzker, Valani, and Huh, oversaw and directed the youth
                     marketing scheme.

       365.   The Management Defendants were well aware that JUUL branding was

oriented toward teens and duplicated earlier efforts by the cigarette industry to hook

children on nicotine. The Management Defendants directed and approved JUUL branding

to be oriented toward teenagers. The Management Defendants directed and participated

in every marketing campaign pushing the JUUL e-cigarette, as they had “final say” over

all marketing campaigns (including the Vaporized campaign and the other formal and

informal marketing efforts described above),439 and Monsees provided specific direction

on the content of the website to JLI employees.

       366.   James Monsees testified to Congress in 2019 that the Board of Directors had

“final say” over marketing campaigns, and he was not speaking to only the current state

of affairs at the time. As noted above, from 2015 on, JLI’s own documents establish that

the Board of Directors closely reviewed and approved marketing plans and specific

marketing materials, and set the marketing strategy for the company.




437
    JLI01356230; JLI01356237 (Nov. 2017); JLI00417815 (Feb. 2018)
438
    JLI02272904
439
    Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the
  Subcomm. on Econ. & Consumer Policy of the Comm. on Oversight & Reform, H.R.,
  116th Cong. 70 (2019) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).



                                     168
         367.   As early as November 2014, Monsees, Pritzker, and Valani discussed “the

addiction issue” with JUUL, working on “defining our strategy” for how to frame and

market their nicotine product.440

         368.   In January 2015, JLI’s Board of Directors, including Monsees, Bowen,

Valani, Pritzker, met and discussed JLI’s marketing.441 At this meeting, the “key pillars”

identified included “win[ing] with the ‘cool crowd’ in critical markets,” “build[ing]

demand among the masses,” “lead[ing] with digital and ecommerce foundation,” and

“us[ing] external audiences to communicate nuanced messages around early adoption

‘coolness.’” The presentation for this meeting also included “how” to market JUUL,

including “PR & influencer coverage with regarded national media in targeted markets,

including LA & NYC at launch,” and “build[ing] loyal consumer community via social

media.” The Board recognized that JLI had to act quickly because “[o]nline regulatory

restrictions may affect [its] future e-commerce strategy.” In short, the entire marketing

strategy, including the planned partnership with the #1 youth media magazine, Vice, was

presented to the Board for approval before its launch.

         369.   The Board, including Pritzker and Valani, also controlled JLI’s messaging

on nicotine even before JUUL launched. In January 2015, the Board directed the

marketing team on several key topics related to JLI’s marketing approach regarding

nicotine. Sarah Richardson noted that “[a]fter yesterday’s board meeting conversation,”

she and Gal Cohen sought to clarify in a follow-up meeting with Adam Bowen “direction


440
      JLI01259728
441
      JLI00212009.



                                    169
from the board on their comfort level with” aspects of the marketing approach. She noted

that sales materials reference JUUL’s “cigarette-level nicotine satisfaction,” “nicotine

delivery akin to a cigarette,” and “nicotine absorption rates.” The marketing team planned

to ask the Board to clarify its “comfort level with ‘satisfying’ messaging,” and “Is our goal

still that we are champions of transparency, public health, and consumer interests? If so –

at what level are we comfortable being proactive in achieving this?”442

         370.   On March 23, 2015, JLI’s Board of Directors—at that time composed of

Monsees, Bowen, Valani, Pritzker, and Handelsman (occupying Valani’s second seat)—

met and discussed, among other things, their plan for JUUL, including summaries for the

launch, what was next, and “ROI opportunities.”443 The presentation for the meeting noted

that “to build a company worth $500B+ you need INNOVATION that fundamentally

disrupts MANY $100B+ industries . . . and creates entirely new $B industries along the

way.” The meeting included a “JUUL launch update,” which noted that “Influencer

Marketing has begun.”

         371.   The Board also approved specific marketing materials used in JUUL’s

launch. In March 2015, the Board approved of the Vaporized marketing campaign despite

its obvious youth appeal. The Board reviewed Vaporized marketing images and made

“some commentary at the youthfulness of the models[,]” but “nobody disliked them” and




442
      JLI01121750
443
      JLI00216307.



                                    170
“everybody agreed they are pretty ‘effective[.]’”444 The Board knew that the ads targeted

youth, but “Juul’s board of directors signed off on the company’s launch plans[.]”445

       372.   Because the Board of Directors—which in March 2015 included only

Bowen, Monsees, Pritzker, Valani, and Handelsman (in Valani’s second seat)—reviewed

and approved these marketing campaigns, Defendants Bowen, Monsees, Pritzker, and

Valani caused the Vaporized campaign, including its omission of any reference to nicotine

content, to be distributed via the mails and wires. Notably, Pritzker and Valani, who

controlled three of the five Board seats filled at that time, had veto power over the launch

plans which included this youthful advertising with no representations of nicotine content,

yet they approved the marketing to go forward.

       373.   After launch, executives and directors discussed whether to rein in the

advertising to teenagers. According to Scott Dunlap, then Chief Operating Officer, in June

2015, Nicholas Pritzker commented that the branding “feels too young[.]”446 At the June

17, 2015 Board meeting, the Board heard “an update on the rollout of JUUL. . . . Mr.

Mumby then provided the board with his perspective on the JUUL launch and customer

feedback. The Board discussed the Company’s approach to advertising and marketing and




444
    INREJUUL_00174387.
445
    Ainsley Harris, How Juul, founded on a life-saving mission, became the most
  embattled startup of 2018: E-cigarette startup Juul Labs is valued at more than $16
  billion. It’s also hooking teens on nicotine and drawing scrutiny from the FDA. Can the
  company innovate its way out of a crisis it helped create?, Fast Company (Nov. 19,
  2018), https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-
  mission-became-the-most-embattled-startup-of-2018.
446
    JLI00206239.



                                    171
portrayal of the product, which led to a discussion of the Company’s longer term strategy

led by Mr. Monsees.”447

       374.      According to an anonymous former company manager: “Inside the

company, the first signs that Juul had a strong appeal to young people came almost

immediately after the sleek device went on sale in 2015.”448 “[E]arly signs of teenage use

kicked off an internal debate . . . Some company leaders . . . argued for immediate action

to curb youth sales. . . . The counter-argument came from other company directors,

including healthcare entrepreneur Hoyoung Huh and other early investors”—that is,

Pritzker and Valani—who “argued the company couldn’t be blamed for youth nicotine

addiction.”449

       375.      In early July 2015, Alexander Asseily “spoke to James [Monsees] at length”

on the “JUUL approach.”450 Asseily also spoke “at length” with Valani and Pritzker,

following up with a lengthy email advocating against continued youth marketing. He

began by noting that “our fears around tobacco / nicotine are not going away. We will

continue to have plenty of agitation if we don’t come to terms with the fact that these

substances are almost irretrievably connected to the shittiest companies and practices in

the history of business.”451 He stated that “an approach needs to be taken that actively, if

implicitly, distances us from [Big Tobacco]: what we say, the way we sell, the way we


447
    JLI01426553.
448
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS
  (Nov. 5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
449
    Id.
450
    JLI00214617.
451
    Id.



                                      172
run the company, what we emphasi[z]e, who we hire, etc.”452 Referring to JLI’s strategy

to use the same marketing techniques as major tobacco companies used to market to

youths, Asseily added that “[t]he trouble with just doing ‘what the others do’ is that we’ll

end up as Nick [Pritzker] rightly points out in the same ethical barrel as them, something

none of us want no matter the payoff (I think).”453 He continued that “the world is

transparent and increasingly intolerant of bullshit. It’s not about faking it - it’s about doing

it correctly....which could mean not doing a lot of things we thought we would do like

putting young people in our poster ads or drafting in the wake of big players in the

market.”454 He pushed for an alternative marketing plan targeting only “existing

smokers” and laid out a vision for the company “making products based in science and

with a state goal of doing right by our customer.”455

       376.   Pritzker, Valani, and Huh rejected this approach, opposing any actions to

curb youth sales. Youth sales were a large potential source of revenue.456 As one manager

explained, perhaps “people internally had an issue” with sales of JUULs to teenagers,

“[b]ut a lot of people had no problem with 500 percent year-over-year growth.”457 And

company leaders understood that teenagers who were hooked on nicotine were the most




452
    Id.
453
    Id.
454
    Id. (emphasis added).
455
    Id.
456
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov.
  5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
457
    Id.



                                      173
likely segment to become lifelong addicts and thus were the most profitable customers to

target.458

       377.   In October 2015, the debate was resolved in favor of selling to teens.

Although JLI’s highly sanitized Board minutes do not reflect whether this debate was put

to a vote, Huh, Pritzker, and Valani were the driving force behind this decision. They were

aligned in favor of continuing youth marketing, and Valani’s second board seat (occupied

by Handelsman) would have given them a majority if a vote was necessary (regardless of

Bowen’s vote). Pritzker, Valani and Huh’s position ultimately prevailed—JLI continued

marketing JUUL to youths, Monsees was removed as CEO, and Pritzker, Valani, and Huh

appointed themselves the newly formed Executive Committee. Even though the directors

and executives of JLI knew—and explicitly stated—that what they were doing was wrong,

they pressed ahead with JUUL’s youth-oriented Vaporized ad campaign through early

2016.459

       378.   The company also implemented the Board’s decision to target and sell to

minors in many other ways. For example, in early October 2015, sales and marketing

employees of Pax Labs noted that only 74% of users were able to pass the age gate on the

website, “which is a steep decline in sales for us.”460 In mid-January 2016, a similar group

of employees estimated that about 11% of those reaching the JUUL Purchase


458
    Id.
459
    The Vaporized advertising campaign continued at least into early 2016. Robert K.
  Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
  Research Into the Impact of Tobacco Advertising 7 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
460
    INREJUUL_00276445.



                                    174
Confirmation Page on Pax Labs’s own website were under 18 years old.461 But, rather

than strengthen JUUL’s age verification system, Pax Labs worked to weaken it. In

February 2016,462 Pax Labs modified the age verification system so that 92% of users

were able to pass the age gate.463 By changing the age verification process so that users

were more likely to pass—while knowing that some minors had already been able to pass

before the change—Pax Labs deliberately chose to continue selling to underage

purchasers.

       379.   In July 2015, Asseily suggested “a cheeky campaign that asks existing

smokers to return their unused cigarette packets (or other vaping products) to us in return

for a discount on JUUL” because that would “send the only message that’s needed: JUUL

is a superior alternative to conventional smoking and mediocre vaping products.”464 But

JLI did not run this campaign then and in fact did not begin focusing its advertising on

switching from combustible cigarettes until 2018.465

       380.   By March 2016, however, JLI employees internally recognized that JLI’s

efforts to market to children were too obvious. On March 2, 2016, Richard Mumby, the

Chief Marketing Officer, sent a document related to JLI’s branding to Hoyoung Huh and




461
    Native attachment to INREJUUL_00078494.
462
    JLI00068428.
463
    Kate Horowitz’s LinkedIn profile,
https://www.linkedin.com/in/k8horowitz (last visited Mar. 9, 2020).
464
    JLI00214617.
465
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 16 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.



                                    175
a number of other marketing employees of JLI.466 According to Mumby, he was sending

the document because Hoyoung Huh “indicated that [he] would review [JLI’s] brand and

collateral positioning on behalf of the board.”467 The attached document noted that “[t]he

models that we used for the #Vaporized campaign appeared to be too youthful for many

consumers (and the media)[.]”468 Under a header that listed as one of JLI’s “Objectives”

to “Be Different & Have Integrity[,]” the document stated that “[w]e need to be sensitive

to the subjectivity of youthfulness by positioning the brand to be mature and relatable.”469

On March 11, 2016, Mumby sent another version of this document to Hoyoung Huh and

Zach Frankel (who was then an observer on the Board and would later become a director),

and Mumby thanked them “for the support on this.”470 Around this time, Pax Labs

reoriented its JUUL advertising from the explicitly youth-oriented Vaporized campaign

to a more subtle approach to appeal to the young. The advertising’s key themes continued

to include pleasure/relaxation, socialization/romance, and flavors471—all of which still

appealed to teenagers, as was made clear in the previous litigation against the cigarette

industry and Altria and Philip Morris in particular.

       381.   Pritzker, Valani, and Huh, along with Bowen and Monsees continued to

direct and approve misleading marketing campaigns long after launch. For example, JLI


466
    INREJUUL_00178377.
467
    INREJUUL_00061469.
468
    INREJUUL_00178379.
469
    INREJUUL_00178384.
470
    INREJUUL_00061274.
471
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.



                                    176
deceptively marketed mint to youth, through flavor-driven advertising, hashtag

campaigns, and ads cross-promoting mango and mint.

       382.   Notably, none of JLI’s early advertisements, including those of the

“Vaporized” campaign and others targeted to youths, disclosed that JUUL contains high

amounts of nicotine; indeed, many of those advertisements did not advertise JUUL’s

nicotine content whatsoever.

       383.   Likewise, none of JLI’s advertisements, including those of the “Vaporized”

campaign and others targeted to youths, disclosed the health risks from consuming JUUL

products.

       384.   JLI and the Management Defendants knew of course that JUUL contained

an ultra-high concentration of nicotine, and that ultra-high concentration of nicotine was

designed to addict. They also knew that e-cigarette products, including JUUL, would

expose users to increased health risks, including risks to their lungs and cardiovascular

system. Despite that knowledge, JLI and the Management Defendants took affirmative

actions, the natural consequence of which was the approval and transmission of these false

and misleading advertisements that did not include a disclosure of JUUL’s high nicotine

content and concentration, nor any health risks at all.

              d.     Pritzker, Huh, and Valani Were Able to Direct and Participate in
                     the Youth Marketing Because They Seized Control of the JLI
                     Board of Directors.

       385.   Although Defendants Bowen and Monsees were the visionaries behind JLI

and the most hands-on in its early stages, by the time JLI was pushing its marketing

campaigns in early-to mid-2015, JLI (through the individuals running the company),




                                    177
Bowen, Monsees, Pritzker, Valani, and Huh were each intimately involved in the planning

and execution of activities.

          386.   For example, JLI stopped interacting with the press in the summer of 2015

while its Board of Directors, controlled by Bowen, Monsees, Pritzker, Huh, and Valani,

was finalizing a “messaging framework.”472 A legitimate business enterprise would

typically ramp up, rather than shut down, press outreach at the very time the company is

supposed to be building awareness for its recently launched product.

          387.   But the Management Defendants at this point were taking actions that went

beyond the regular and legitimate business operations of JLI. At the same time JLI stopped

traditional press engagement, the Board of Directors was directing and monitoring the

launch plans that they had set in motion – including the launch of sponsored content on

social media in July 2015 (which content did not include any warnings about JUUL’s

nicotine content or health risks).473

          388.   And at the same time the Management Defendants had approved the early

JLI marketing campaigns that were intentionally targeting youth, there was a fundamental

shift in roles when Defendants Pritzker, Valani, and Huh took charge of the

instrumentalities of JLI, including its employees and resources.

          389.   Specifically, in October 2015, Monsees stepped down from his role as Chief

Executive Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker,

Valani, and Huh formed an Executive Committee of the JLI Board of Directors that would


472
      INREJUUL_00056077 [Confidential].
473
      Id.



                                        178
take charge of fraudulently marketing JUUL products, including to youth. The

Management Defendants, and in particular Huh, wanted to continue their fraudulent

marketing, knowing that these ads were also targeted to youth, “argu[ing] that the

company couldn’t be blamed for youth nicotine addiction[.]”474

       390.   Keeping the company’s youth marketing on track was critical to and

consistent with Pritzker, Valani, and Huh’s objective of accelerating JUUL’s growth and

expanding its customer base—and increasing profitability. Monsees reported to investors

that the Executive Committee was “formed to provide more consistent and focused

direction to the company,” and Monsees stepped down as CEO so that the Executive

Committee could “usher in the next phase of growth for the business.”475 Hoyoung Huh

served as the Executive Chairman and Pritzker as Co-Chairman.

       391.   On October 6, 2015, the day after Pritzker, Valani, and Huh ousted Monsees

as CEO and rejected suggestions to abandon the current youth-oriented marketing,

Richard Mumby acknowledged in an email to Huh, Pritzker, and Valani that their seizing

power would facilitate JUUL’s growth: “Many thanks for the candid conversation

yesterday. Not an easy moment for PAX Labs, but I’m excited about the future that these

changes will afford. . . . Clearly, improving our sales strategy and integrating

sales/marketing better is crucial to our growth.”476




474
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov.
  5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
475
    JLI01369470
476
    JLI00214159



                                    179
          392.   JLI’s organizational charts later reflected the executive committee in the

place of a CEO. Before late 2015, the company’s organizational charts showed the CEO

at the head of the company, reporting to the Board.477




          393.   After Monsees was removed as CEO, the Executive Committee appeared in

the place of the CEO.478




477
      See INREJUUL_00016456 (July 9, 2014).
478
      INREJUUL_00278332 (Dec. 7, 2015); INREJUUL_00061420 (Apr.21, 2016).



                                      180
       394.   Board minutes also illustrate how the Executive Committee of Pritzker,

Valani and Huh, acted as CEO of JLI during this time period, taking direct control of the

company and making critical decisions about how to market JUUL. Until late October

2015, Monsees (then the CEO) ran Board meetings.479 In late October 2015 and thereafter,

however, Huh (then Executive Chairman and member of the Executive Board) began

running Board meetings.480 Also, the late October minutes report that the “Board discussed

. . . the additional responsibilities that would be assigned to Bryan White” (who was a

Vice President of Engineering and Product Design at the time), and furthermore that “[a]

discussion followed regarding who Bryan should report to, and it was agreed that the

executive committee that had been formed since the last Board meeting, consisting of

Messrs. Huh, Pritzker and Valani, would address this issue.”481 Additionally, the Board

“discussed how these new roles and responsibilities would be communicated

internally.”482 Over time, the list of direct reports to the board grew. By early 2018, every

senior JUUL executive officer was reporting to the board directly.483


479
    See INREJUUL_00278406 et seq. (Oct. 5, 2015); INREJUUL_00278410 et seq. (Sept.
  24, 2015).
480
    See INREJUUL_00278404 et seq. (October 26, 2015); INREJUUL_00278402 et seq.
  (Nov. 10, 2015).
481
    INREJUUL_00278405 (Oct. 26, 2015).
482
    Id.
483
    JLI01115999. Direct reports attending board meetings included Piotr Breziznski, VP
  International; Christine Castro, VP, Public Relations; Gal Cohen, Senior Director
  Scientific and Regulatory Affairs; Tim Danaher, CFO; Joanna Engelke, CQO; Ashley
  Gould, Chief Administrative Officer; Jacob Honig, Head of E-commerce; Mark Jones,
  Associate General Counsel; Vittal Kadapakkam, Senior Director Strategic Finance;
  Sonia Kastner, VP Global Supply; Vincent Lim, VP, Human Resources; Danna McKay,
  General Manager; Isaac Pritzer, Advisor to Executive Team; Bob Robbins, Chief Sales
  Officer; Wayne Sobon, VP, Intellectual Property; Tevi Troy, VP, Public Policy; Jacob



                                    181
       395.   By December 2015, it was confirmed that “Hoyoung [Huh] will make

decisions on behalf of the BOD [Board of Directors] Exec[utive] Comm[ittee]” and “3-4

days/week Nick [Pritzker] and/or Hoyoung [Huh] will be in the office” to “help us manage

our people[.]”484

       396.   Consistent with his role as Executive Chairman, Huh delivered the “Vision

for the company” agenda item at the December 2015 Board meeting.485 Huh laid out JLI’s

action plans going forward, and the explicit goal was to grow JUUL for sale to or joint

venture with “Big Tobacco.”486 To this end and as part of the discussion about how to

“grow and sell Juul,” Defendants Huh, Pritzker, and Valani wanted even “more aggressive

rollout and [marketing].”487

       397.   Huh served as the Executive Chairman of the Board from October 2015 until

at least May 2016, and others, particularly Monsees, deferred heavily to Huh as the

decision-maker during that period. For example, a JLI executive emailed Huh, Valani,

Pritzker, and Handelsman to organize a Board call with Fidelity on December 16, 2015,

and added “let me know if you think we should invite James [Monsees].”488 Pritzker

deferred that decision to Huh, who decided that Monsees was allowed, responding, “Am

fine w[ith] James joining.”489



  Turner, Director of Finance; William Ward, Senior IP Counsel; Bryan White, VP
  Product Design; Rasmus Wissmann, VP Data.
484
     INREJUUL_00061856.
485
     JLI01346296
486
     INREJUUL_00278352 – 00278359
487
     Id.
488
     JLI01363643
 489
      JLI01363649



                                  182
       398.   In December 2015, Monsees expressed concerns about JLI’s marketing

budget to Huh in an extremely deferential way, concluding, “As I’ve said, I'm highly

sensitive right now to not overstepping my mandate and risk deteriorating the management

committee dynamic. I request your assistance in helping me find the right time and place

(if any) to present and discuss these concerns. I’m at your service.”490

       399.   Again expressing concerns about JLI’s leadership and management,

Monsees sent Huh an email in December 2015, discussing what he perceived as needed

changes, including Board restructuring, the appointment of an interim CEO, and

restructuring of Executive Committee. Monsees communicated these concerns in the form

of a draft letter written on Huh’s behalf to Pritzker, Valani, and Hank Handelsman.491

These suggestions ultimately were not implemented.

       400.   In May 2016, Monsees responded to an inquiry from potential investors,

saying that “Hoyoung Huh (our Executive Chairman)” should be involved in any

discussions.492 Monsees separately sought Huh’s advice and guidance on how to respond

to unsolicited investor inquiries like this, adding “if there’s something else you’d like me

to do (pass along to you or someone else?) I’ll be happy to do so.”493

       401.   Over the next year, until the installation of a new CEO in August 2016,

Defendants Pritzker, Valani, and Huh used their newly formed Executive Committee to

expand the number of e-cigarette users through fraudulent advertising and representations


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    JLI01363612
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    JLI01363610
492
    JLI01369376
493
    JLI01369407



                                    183
to the public. They cleaned house at JLI by “dismiss[ing] other senior leaders and

effectively tak[ing] over the company.”494 Despite any potential internal misgivings about

their fraudulent conduct, notably, none of Management Defendants terminated their

relationship with JLI during this time period.

       8.     Pritzker, Valani, and Huh continued to exercise control over and direct
              the affairs of JLI even after a new CEO was appointed.

       402.   Although JLI hired a new CEO in August 2016, Pritzker, Valani, and Huh’s

Executive Committee does not appear to have been dissolved, and these three Defendants

continued to exercise control over and direct the affairs of JLI.

       403.   In 2017, the Board—controlled at that time by Pritzker, Valani, and Huh—

continued to make decisions on the details of the media plans for marketing. For example,

a JLI marketing employee reported to JLI’s media vendor, Mediasmith, that JLI’s chief

marketing officer “presented the entire media plan to the board,” but “we need to put the

plan on hold” because the Board did not approve. She also acknowledged that JUUL’s

board was aware their message was reaching a youth audience, noting that “What we need

to do now is educate the board” on “the ways we can ensure [the] message is NOT

reaching an unintended, young audience.”495




494
    Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y.
  Times (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-
  crisis.html.
495
    INREJUUL_00100719



                                    184
       404.     In December 2017, Valani directed aspects of JLI’s distribution and

dissemination. For example, he initiated a conversation checking the progress on plans to

sell JUUL devices in vending machines, asking for early design images and constructs.496

       405.     Pritzker also controlled several aspects of JLI’s branding. He was directly

involved in creating JUUL’s corporate website in May 2017. Pritzker dictated specific

changes to the content on the site in a conversation with Ashley Gould (Chief

Administrative Officer).497

       406.     Also in May 2017, Ashley Gould asked the Board for their feedback on a

proposed name for JUUL’s parent company, and Pritzker weighed in by saying “I’d like

to discuss,” and also evaluated potential names, and sought to ensure that if the new name

were to appear on any packaging, the JUUL brand name would still be the most

prominent.498

       407.     In October 2017, the Board reviewed sample marketing campaign materials,

and Pritzker rejected a specific proposal, noting that he “didn’t like ‘smokers deserve

better alternatives.’”499

       408.     Pritzker even got involved in customer service issues. In July 2017, Dave

Schools, a JUUL customer, member of a famous band, and influencer, complained about




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    JLI00308379
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    JLI01345258
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    JLI01345255
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    JLI00322485



                                     185
bad customer service and defective devices. Schools’ email to JLI begins, “Please note I

have copied Nick Pritzker on this email only because he asked me to do so.”500

       409.   Pritzker and Valani were also in close control of JLI’s public relations and

media strategies. For example, Pritzker received an email from a teacher addressing youth

use of Juul in schools, forwarded it to the team and directed a specific and personal

response to the teacher.501 In January 2018, Ashley Gould reported directly to Valani,

Monsees, and Kevin Burns about a study linking teen e-cigarette use to an increased

likelihood of trying cigarettes. Valani responded with a detailed messaging strategy and

action items to respond to this negative press, including running “strategic media analysis

[to] see where these articles are coming from,” “debunk[ing] the studies, . . . ideally in

coordination with independent researchers,” financially supporting efforts to raise the

tobacco minimum legal sales age to twenty-one years old, hiring a “credible head” of

youth policy, and estimating “the number of adult smokers that have switched.” Valani

directed Gould to give a “week-by-week progress” report on these tasks.502

       410.   Valani sent Gould another unfavorable news article about e-cigarettes in

April 2018, and she responded that her teams were already working on “next steps” in

response. Valani asked Gould for an update later the same day. 503

       411.   After Kevin Burns replaced Tyler Goldman as JLI’s CEO, Burns worked

closely with Pritzker and Valani in particular, seeking their approval regularly. For


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    JLI11015358
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    JLI00024566
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    JLI00147328
503
    JLI1053533



                                    186
example, in April 2018, Kevin Burns suggested making several key hires to Valani and

Pritzker, seeking their input; he also noted that he would seek Pritzker and Valani’s

approval on a draft response to an inquiry by U.S. Senators and a press release regarding

youth prevention efforts.504 Also in April 2018, Valani edited a press release about JUUL’s

“Comprehensive Strategy to Prevent Underage Use” and sent his redline to the CEO.505

In December 2018, CEO Kevin Burns sought approval from Valani and Pritzker on a

specific advertising campaign, saying, “I suggest we proceed” with specified television,

print, and radio spots.506 Valani, copying Pritzker, approved only certain videos, deciding

“[w]e shouldn’t air the short form ones.”507

       412.    Also in December 2018, JLI’s marketing team prepared slides for Burns to

give a marketing overview presentation to the board,508 and Burns sent the slides to

Pritzker and Valani in advance, inviting their feedback.509 Likewise, in January 2019

Burns sent Valani and Pritzker a news article characterizing the Make the Switch campaign

as aimed at adult smokers, noting that the article said “this campaign and positioning is

starkly different from 2015.” Valani responded, copying Pritzker, “Really good. Happy to

see this reaction.”510




504
    JLI10529705
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    JLI00151297; JLI00151298
506
    JLI10071280
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    JLI10071228
508
    JLI1007754
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    JLI10071922
510
    JLI0070326



                                    187
       413.   In March 2019, Burns sent a copy of his op-ed in the Washington Post,

called “Vape Makers Must Do More to Stop Kids from Using E-Cigarettes,” to Pritzker

and Valani, saying, “We just got word that our youth survey has been accepted for peer

review and will be published in 2-3 weeks by a well regarded journal.” Pritzker responded

“Awesome. And I like the timing and wording of the op ed.”511 Valani also responded,

saying “This is really great. Nicely written.” Pritzker and Burns then discussed making a

“strategic decision” about the availability of flavors in retail stores.512

       9.     Pritzker and Valani directed and controlled JLI’s negotiations with
              Altria

       414.   Pritzker and Valani, along with Kevin Burns, were the lead negotiators for

JLI on the Altria deal.

       415.   Altria knew that when it was negotiating with JLI, Pritzker and Valani were

the company. In June 2017, Altria, preparing for a meeting with JLI, noted that “Per

Perella Weinberg Partners, Valani and Pritzker control majority of voting power and 44%

economic interests.”513 A later internal Altria presentation reported on Altria’s “continued

dialogue with key [JLI] investors,” noting that Valani and Pritzker “indicate that they

control majority of voting power.”514

       416.   On paper, negotiations were between Howard Willard (Altria’s then-CEO),

and Pritzker, Valani, and Kevin Burns for JLI. In April 2018, Willard sent confidential




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    JLI10064121
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    JLI01144202
513
    ALGAT0002834151
514
    ALGAT0000280623



                                      188
“Exchange of Volume Information” to Pritzker, copying Valani and Burns.515 Willard also

sent a detailed email to Pritzker and Valani, along with Burns, regarding Altria’s proposed

“collaboration … [that] creates a plan to manage that [antitrust] risk,” and “productive

partnership that can create substantial value above what is achievable under a standalone

scenario in a dynamic tobacco category environment.”516 Many other email exchanges

related to the deal are between Altria’s team, Pritzker, Valani, and Kevin Burns.517

       417.   But some key discussions involved only Pritzker and Valani as the real

power brokers for JLI. For example, an April 2018 email string discussing how to resolve

a standstill and restart the Altria deal negotiation included only Willard, Pritzker, and

Valani.518 Pritzker told Willard what he and Altria’s lawyers needed to work out to have

“the continuing right to talk to Riaz [Valani] and me.”519

       418.   Pritzker and Valani worked to build a partnership with Altria. After

attending a closing dinner, Hank Handelsman, JLI Board member and proxy for Pritzker

and Valani, emailed Willard and stated, “More importantly to me was the camaraderie

shown after a bruising negotiation! In 45 years of doing deals, some in the tobacco

industry, I have not seen the ‘we are at peace, let’s move on’ attitude that I witnessed that

lovely evening!” In response, Pritzker added KC Crosthwaite to the email chain and




515
    JLI10530188
516
    JLI10530232
517
    See, e.g., JLI01389789; JLI10523767; JLI01389792; JLI10518886.
518
    ALGAT0000113109
519
    Id.



                                    189
thanked Willard and the Altria personnel for the dinner, and stated, “We truly appreciate

our partnership, and look forward to an even deeper collaboration in the future.”520

       419.   Pritzker and Valani continued to communicate with Altria’s CEO on behalf

of JLI after the negotiations ended. On May 26, 2019, Pritzker asked Willard whether he

was planning to attend “the youth/PMTA meeting in DC,” and “if so, do you think we can

find time for you, Riaz [Valani] and I to get together separately?”521

       420.   Pritzker, Valani, Willard, and Crosthwaite coordinated a response to the

Youth Vaping Prevention Plan in July 2019. Willard offered his “reaction to the [Youth

Vaping Prevention] Plan” and advised JLI, based on his experience as a cigarette company

CEO, not to publicly commit to using the plan or otherwise make an announcement

addressing it.522

       10.    JLI and the Management Defendants Knew Their Efforts Were Wildly
              Successful in Building a Youth Market and Took Coordinated Action to
              Ensure That Youth Could Purchase JUUL Products.

              a.     JLI’s Strategy Worked.

       421.   The Management Defendants knew that the JUUL marketing campaigns

they directed and approved were successful in targeting youth. As Reuters has reported,

“the first signs that JUUL had a strong appeal to young people came almost immediately

after the sleek device went on sale in 2015 . . . . Employees started fielding calls from

teenagers asking where they could buy more JUULs, along with the cartridge-like




520
    ALGAT0003889812
521
    ALGAT0003285214
522
    ALGAT0003279064



                                    190
disposable ‘pods’ that contain the liquid nicotine.”523 A former senior manager told the

New York Times that “[s]ome people bought more JLI kits on the company’s website than

they could individually use—sometimes 10 or more devices.” He added that “[f]irst, they

just knew it was being bought for resale,” but later “when they saw the social media, in

fall and winter of 2015, they suspected it was teens.”524 Adam Bowen admitted that “he

was aware early on of the risks e-cigarettes posed to teenagers[.]”525 On January 5, 2016,

Gal Cohen forwarded a presentation dated December 16, 2015, which asked the question:

“If large numbers of youth are initiating tobacco use with flavored e-cigarettes, but adults

[sic] smokers may benefit from completely switching to an e-cigarette, what should the

market look like?”526 It was common knowledge within JLI that JUULs were being sold

to children.

       422.    After the Vaporized campaign, retail stores began selling out of JUUL

products, and JLI had a difficult time trying to meet demand coming from its online

ordering platform.

       423.    Furthermore, it was obvious to those outside the company that JLI was

selling JUUL products to children. In June 2015, reporting on the “Vaporized” campaign




523
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov.
  5, 2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
524
    Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?:
  The e-cigarette company says it never sought teenage users, but the F.D.A. is
  investigating whether Juul intentionally marketed its devices to youth, NY Times (Aug.
  27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
  marketing.html.
525
    Id.
526
    INREJUUL_00339938 (emphasis added).



                                    191
that accompanied the JUUL launch, AdAge reported that John Schachter, director of state

communications for Campaign for Tobacco-Free Kids, “expressed concern about the

JUUL campaign because of the youth of the men and women depicted in the campaign,

especially when adjoined with the design” and added that there had been “obvious trends

that appeal to adolescents in e-cigarette campaigns[.]”527 Robert Jackler, a Stanford

physician who investigated JLI’s launch campaign, concluded that “JLI’s launch

campaign was patently youth-oriented.”528 JLI’s commercials’ attempts to appeal to

teenagers were so obvious that, by October 2015, Stephen Colbert ran a satirical segment

on it that noted, among other things: “And it’s not just ads featuring hip young triangles

that appeal to the youths; so do vape flavors like cotton candy, gummi bear, and

skittles.”529

       424.     Moreover, the Management Defendants knew that kids were marketing JLI

products on social media, and some even sought to take advantage of that to build the JLI

brand. For example, on July 16, 2016, Adam Bowen emailed Tyler Goldman about social

media posts by children about JUUL e-cigarettes, stating, “I’m astounded by this ‘ad




527
    Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’,
  AdAge (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-
  cigarette-ads¬campaign/299142/.
528
    Erin Brodwin, See how Juul turned teens into influencers and threw buzzy parties to
  fuel its rise as Silicon Valley's favorite e-cig company, Bus. Insider (Nov 26, 2018),
https://www.businessinsider.com/stanford-juul-ads-photos-teens-e-cig-vaping-2018-11.
529
    The Late Show with Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7,
  2015), https://www.youtube.com/watch?v=PMtGca_7leM. The “triangles” ad was a
  JUUL ad; the listed flavors were not, but JUUL also had flavors that appealed to
  children.



                                   192
campaign’ that apparently some rich east coast boarding school kids are putting on.”530

Bowen added that “Riaz [Valani] was thinking maybe we can leverage user generated

content.”531

               b.    JLI Closely Tracked Its Progress in Reaching Young Customers
                     through Social Media and Online Marketing

       425.    Tracking the behaviors and preferences of youth that are under twenty-one,

and especially those under eighteen, has long been essential to the successful marketing

of tobacco products. Whether the activity is called “tracking” or “targeting,” the purpose

has always been the same: getting young people to start smoking and keeping them as

customers.

       426.    As early as 1953, Philip Morris was gathering survey data on the smoking

habits of “a cross section of men and women 15 years of age and over.”532 Commenting

on these data, George Weissman, then-Vice President of Philip Morris, observed that “we

have our greatest strength in the 15-24 age group.”533

       427.    Traditional approaches to youth tracking (e.g., interviews conducted face-

to-face or over the telephone) were limited, however, in that they often failed to capture

data from certain subsets of the target market. As a Philip Morris employee noted in a

June 12, 1970 memorandum, Marlboro smokers were “among the types of young people




530
    JLI00382271.
531
    Id.
532
    Philip Morris Vice President for Research and Development, Why One Smokes, First
  Draft, 1969, Autumn (Minnesota Trial)
533
    United States v. Philip Morris, 449 F. Supp. 2d 1, 581 (D.D.C. 2006).



                                    193
our survey misses of necessity (on campus college students, those in the military and those

under 18 years of age).”534

       428.   However, modern technology has removed many of the hurdles that made

youth tracking difficult in decades past. With industry connections, e-mail, social media

and online forums, JLI can track, and has consistently tracked and monitored its target

youth market, including those below the minimum legal age to purchase or use JUUL

products.

       429.   First, JLI knew from its sales data that the large majority of its customers

were under the age of 21. In December 2017, JLI employees discussed potentially

supporting raising the legal age to purchase e-cigarettes to 21 and started that based on the

data collected by Avail Vapor, “this would be a devastating mistake” because “70% + of

sales would be eliminated.” 535 According to Avail’s data, 70% of purchasers of JUUL

were between 18 and 21 years old, 15% of customers were 22 to 29 years old, 7% of

customers were 30 to 44 years old, 6% of customers were 45 to 64 years old, and just 1%

of customers were 65 years old or older. JLI employees only noted that “Retailers know

well that younger adults buy in greater quantities than mature adults” and supporting a

raise of the legal age to 21 “would show we simply do not understand our product success”

and “would alienate a large portion of our existing consumers and advocates.”536 The JLI

employee also noted that “we need to understand (at least at the senior decision maker




534
    Id.
535
     JLI10344468.
536
     Id.



                                    194
level) that our current success is fuel primarily by younger adult users” and not by “mass

market adult combustion smokers.”537

       430.   Second, using the tools available to it, JLI would have known that its viral

marketing program was a resounding success, and in particular with young people.

       431.   Between 2015 and 2017, JUUL-related posts on Twitter increased

quadratically, which is the exact result to be expected from an effective viral marketing

campaign.538 Its growth on Instagram was likely even more rapid.

       432.   A 2018 study of JLI’s sales and presence on social media platforms found

that JLI grew nearly 700%, yet spent “no recorded money” in the first half of 2017 on

major advertising channels, and spent only $20,000 on business-to-business

advertising.539 Despite JLI’s apparently minimal advertising spend in 2017, the study

found a significant increase in JUUL-related tweets in 2017.540

       433.   On Instagram, the study found seven JUUL-related accounts, including

DoIt4JUUL and JUULgirls, which accounted for 4,230 total JUUL-related posts and had

more than 270,000 followers.541

       434.   In addition to JUUL’s explosive growth on individual social media

platforms, the study found JUUL products being marketed across platforms in an


537
     Id.
538
    See Brittany Emelle, et al., Mobile Marketing of Electronic Cigarettes in the U.S., (May
  2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.
539
    Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and
  marketing of JUUL transformed the US retail e-cigarette market, Tobacco Control (May
  31, 2018), https://tobaccocontrol.bmj.com/content/28/2/146.full.
540
    Id.
541
    Id.



                                    195
apparently coordinated fashion, including smaller targeted campaigns and affiliate

marketing, all of which caused the authors to question whether JLI was paying for positive

reviews and JUUL-related social media content.

       435.   The lead author of the study concluded that JLI was “taking advantage” of

the reach and accessibility of multiple social media platforms to “target the youth and

young adults . . . because there are no restrictions,” on social media advertising.542

       436.   Similarly, an account named @JUULnation was established on Instagram

and posted tips on how to conceal JUUL devices in school supplies. The account also

ridiculed efforts to combat JUUL use in schools, promoted videos of JUUL influencers,

and promoted videos like the “JUUL Challenge,” in which users inhale as much JUUL

nicotine vapor as possible in a fixed period of time. JLI repeatedly used the hashtag

“#JUULnation” on posts on its own Instagram account, for example when advertising its

“Cool Mint” JUULpods, JUUL’s portability, or party mode.543




542
    Laura Kelly, JUUL Sales Among Young People Fueled by Social Media, Says Study,
  The Wash. Times (June 4, 2018),
  https://www.washingtontimes.com/news/2018/jun/4/juul-sales-among-young-people-
  fueled-by-social-med/.
543
    JLI00682401-484 at 428, 444, 451; see also Stanford University, Research into the
  Impact of Tobacco Advertising, http://tobacco.stanford.edu/tobacco_web/images/pod/juu
  l/instagram/large/ig_11.jpg; Stanford University, Research into the Impact of Tobacco
  Advertising,
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/instagram/large/ig_12.jpg.



                                    196
       437.   A separate study of e-cigarette advertising on mobile devices, where young

people spend most of their day consuming media, found that 74% of total advertising

impressions were for JUUL products.544

       438.   A 2019 study found that as much as half of JUUL’s Twitter followers were

aged thirteen to seventeen.545

       439.   A 2019 study characterizing JUUL-related Instagram posts between March

and May 2018 found that among nearly 15,000 relevant posts from over 5,000 unique

Instagram accounts, more than half were related to youth or youth lifestyle.546

       440.   Some Twitter users have reported what appear to be JUUL bots.547 Other

Twitter users appear to either be bot accounts or native advertisers, in that they have a

small number of followers, follow few other users, and post exclusively about JUUL

content.548




544
    See Brittany Emelle et al., Mobile Marketing of Electronic Cigarettes in the U.S., Truth
  Initiative (May 2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-
  electronic-cigarettes.
545
    Steven Reinberg, Study: Half of Juul's Twitter followers are teens, young adults,
  HealthDay News, (May 20, 2019)
  https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-Twitter-followers-
  are-teens-young-adults/1981558384957/.
546
    Lauren Czaplicki et al., Characterising JUUL-related posts on Instagram, Truth
  Initiative (Aug. 1, 2019),
  https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-054824.
547
    One example of what appear to be JUUL bots in action on Twitter is available at:
  https://twitter.com/search?q=juul%20bot&src=typd (last visited Apr. 4, 2020).
548
    Hennrythejuul (@hennrythejuul), Twitter (Mar. 4, 2020, 9:35 am)
  https://twitter.com/hennrythejuul.



                                    197
       441.   By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with

forty-three videos having over 100,000 views.549 Of these, a huge number were plainly

related to underage use, including: 1,730 videos on “hiding JUUL in school,” 789 on

“JUUL in school bathroom,” 992 on “hiding JUUL at home,” and 241 on “hiding JUUL

in Sharpie.”550

       442.   In 2018, JLI was internally collecting hundreds of social media posts—

directed at JLI—informing it of JUUL’s wild popularity with young people and in many

cases requesting that JLI do something to stop it.551

       11.    JLI Worked with Veratad Technologies To Expand Youth Access to
              JUUL Products.

       443.   At the same time JLI and the Management Defendants were taking

coordinated actions to maintain and expand the number of nicotine-addicted e-cigarette

users in order to ensure a steady and growing customer base through unlawful marketing

and distribution activities, they worked with an outside entity—Veratad Technologies

LLC—to get JUULs into the hands of the largest number of users possible.

       444.   In furtherance of JLI and the Management Defendants’ efforts to secure

youth sales so crucial to expanding JUUL’s market share (and JLI’s profits), and as

detailed below, from approximately 2015 to 2018, JLI and Veratad worked together to try




549
    Divya Ramamurthi et al., JUUL and Other Stealth Vaporizers: Hiding the Habit from
  Parents and Teachers, Tobacco Control 2019, Stanford Univ. (Sept. 15, 2018),
  https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/6/610.full.pdf.
550
    Id.
551
    Complaint at 60, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov.
  18, 2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=.



                                    198
to pass as many people as possible through an on-line “age verification” system that users

had to pass to be able to order JUUL products.

         445.   JLI’s website, including its online store, was pivotal to these efforts. Early

marketing documents show that JLI planned a “consumer journey” that started with a

consumer being exposed to misleading JUUL marketing in stores, where JUUL’s “fun”

and “approachable” in-store marketing would lead users to JLI’s website for additional

misrepresentations and omissions about JUUL products, an email subscription sign-up,

and purchases through JLI’s ecommerce platform:552




         446.   JLI worked with Veratad to provide age verification services for its website

from 2015 to 2018. Veratad has also provided age verification services to other e-cigarette




552
      INREJUUL_00329660



                                      199
sellers, including Lorillard553 and Altria.554 Consistent with the claim on Veratad’s website

that “You can create your own verification rules,” the company encouraged sellers like

JLI to set the desired compliance level for age verification. As a member of a major e-

cigarette trade organization, Veratad also offered insight into what competitors were

doing, and offered to “guide your setup to follow industry best practices for age

verification.”

       447.      Though it is illegal to sell and ship e-cigarettes to minors under both state

and federal law, JLI and Veratad designed and implemented an age verification system

designed to maximize the number of prospective purchasers who “pass” the process, rather

than to minimize the number of underage sales.555 As a result of these intentionally

permissive age verification practices, JLI and Veratad used online payment systems and

the US mails to ship tens of millions of dollars of JUULpods to unverified customers,

many of whom were minors.

       448.      From June 2015 through the end of 2018, the age verification process on

JLI’s website typically prompted prospective purchasers to submit their name, address,

and date of birth, which JLI forwarded to Veratad. Veratad then attempted to match all or

some limited part of the consumer’s information to a person of the minimum legal sales

age in its database. If Veratad was able to locate a sufficient match of the prospective


553
    Staff of Sen. Richard Durbin et al., 113th Cong., Gateway to Addiction? (Apr. 14,
  2014), https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
  Cigarettes%20with%20Cover.pdf.
554
    INREJUUL_00174362.
555
    Complaint at 165, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal.
  Nov. 18, 2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=.



                                      200
purchaser to a person of the minimum legal sales age in its database, then it would return

a “pass” result to JLI. If Veratad was unable to make such a match, Veratad returned a

“fail” result to JLI.

       449.     If Veratad returned a “fail” result to JLI, rather than decline the prospective

purchaser, JLI would prompt the person to enter an “alternate” address. If Veratad still

could not find a match based on this alternate address, JLI would prompt the consumer to

enter the last four digits of his or her social security number.

       450.    If Veratad, supplied with the last four digits of a consumer’s social security

number, still could not match the consumer to a person of the minimum legal sales age in

its database, JLI would prompt the consumer to upload an image or photograph of his or

her driver’s license or another governmental identification document. A JLI employee

would then conduct a personal review of the image and decide whether the consumer was

of the minimum legal sales age.

       451.    Crucially, Veratad’s age verification system was purposefully flexible, so

JLI and Veratad could work together to decide just how closely a prospective purchaser’s

personal information had to match records in Veratad’s database in order to “pass” the age

verification process. JLI and Veratad could also set, or modify, the applicable minimum

legal sales age to be used for verification.

       452.    By the fall of 2015, JLI and Veratad knew that bulk purchases were being

made for resale on JLI’s website by minors and for resale to minors.556 For example, on


556
   Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?:
  The e-cigarette company says it never sought teenage users, but the F.D.A. is



                                      201
May 25, 2016, JLI employees discussed an online purchase of JUUL products made by a

fifteen-year-old boy. A JLI employee wrote that “[t]his order had failed age verification

a few times with the person’s information as below. The person even uploaded an ID,

which was obviously fake and rejected by us. Then, the user entered a different email

address and passed from Veratad, and the order was sent.” The employee discussed a

communication with Veratad that confirmed that Veratad did not review the date of birth

entered by the user when determining whether a person passed age verification for JUUL.

JLI recognized that “[t]his situation can potentially happen again.”557

       453.   Internal JLI documents confirm that JLI discussed underage purchases with

Veratad. For example, on May 27, 2016, JLI’s Head of Compliance & Brand Protection

wrote that an “underage purchaser changed his email address; which, allowed the order to

be passed by Veratad. . . . I believe that Nick and his team are still looking into the matter

with Veratad to see if they can get a better understanding of what happened.” A JLI

employee replied “hmmm. Probably impossible to put up an age gate that thwarts a

committed teenager from penetrating it :)”558

       454.   Nevertheless, the two companies worked together to find ways to “bump up

[JLI’s] rate of people who get through age verification.”559 JLI repeatedly sought, and

Veratad repeatedly recommended and directed, changes to the age verification process so



  investigating whether Juul intentionally marketed its devices to youth, NY Times (Aug.
  27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
  marketing.html.
557
    INREJUUL_00300253-258
558
    INREJUUL_00209176-180
559
    INREJUUL_00276489-INREJUUL_00276490



                                     202
that more prospective JUUL purchasers would “pass.” Both did so in an effort to increase

direct sales of JLI’s e-cigarettes without regard to whether its less stringent age

verification process would permit more underage users to purchase them.

        455.   Between June 2015 and August 2017 (and perhaps even through early

2018), JLI and Veratad tailored the age verification system to “pass” prospective

purchasers even if certain portions of the purchaser’s personal information—e.g., the

purchaser’s street address or date of birth—did not match the information corresponding

to a person of the minimum legal sales age in Veratad’s database.560

        456.   Similarly, between June 2015 and August 2017, JLI and Veratad tailored

the system to “pass” a prospective purchaser under certain circumstances even when the

prospective purchaser’s year of birth did not match the information corresponding to a

person of the minimum legal sales age in Veratad’s database.

        457.   JLI and Veratad sought to increase “pass” rates by modifying the age

verification system to allow users multiple opportunities to change their personal

information if a match was not initially found in an appropriate government database. A

Veratad Performance Report from August 5, 2017 shows that, for 1,963 users Veratad


560
   Complaint at 43, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov.
  18, 2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf. A
  January 29, 2018 email exchange between Tom Canfarotta, Director of Strategic
  Accounts & Client Quality Services at Veratad, and Annie Kennedy, JUUL’s
  Compliance Manager, reveals this to have been the case. Kennedy asked Canfarotta why
  a particular customer had “passed via the address step (public record check)…but we’ve
  since learned that is not a correct address—so we’re curious as to how it passed.” In
  response, Canfarotta wrote, “Your current rule set does not require a full address match.”
  He went on to explain that approval of the customer was not an anomaly or a mistake;
  instead, Veratad’s age verification system was working exactly the way it was designed.



                                    203
recorded 3,794 transactions—an average of 1.93 attempts per consumer.561 Only 966

users—less than half—passed age verification on the first attempt.562 By allowing users

to alter their personal information and attempt age verification up to three times, JLI was

able to increase its database match pass rate from 49.2% to 61.2%.563

       458.    By design, these lax requirements ensured underage users could “pass” JLI’s

age verification process and purchase JUUL e-cigarettes directly from JLI’s website by

using their parent’s name, home address, and an approximate date of birth. JLI was aware

of this fact, as evidenced by the multiple complaints it received from parents who alleged

their children did just that.564

       459.    JLI directed and approved the system it had implemented with Veratad that

caused accounts with “bad info” to be “AV approved” but, as a Senior Business Systems

Manager at JLI commented, “if [v]eratad passed it [then] it’s not on us.”

       460.    JLI customer service representatives even encouraged those who failed age

verification to “make multiple accounts in order to pass AV [age verification].”565

Customer service representatives would go so far as to alter identifying information for

them; a Slack chat among customer service representatives confirmed that representatives




561
    Id.
562
    Id.
563
    Id.
564
    INREJUUL_00184119.
565
    INREJUUL_00215324-INREJUUL_00215325.



                                    204
were authorized to “adjust the street address, apartment number, or zip code” associated

with shipment.566

       461.   The age verification procedures designed by JLI and Veratad have allowed

hundreds of thousands of e-cigarette products to be sold and/or delivered to fictitious

individuals at fictitious addresses.567 Many of these improper sales may have been made

to underage purchasers or to resellers who sold the products to underage users on the grey

market.568

       462.   By divorcing the address from the other customer data in the age verification

process, JLI and Veratad allowed users to request that tobacco products be sent to

locations other than their permanent legal residences.569 For example, JLI sent thousands

of orders to commercial high rises and office parks.570 It is unlikely these orders would

have been approved had JUUL and Veratad required that addresses provided by users

match information in an appropriate government database and followed the requirement

that the shipping address and billing address be the same.571

       463.   The failure of the JLI/Veratad age verification procedure was intentional.572

And despite JLI’s concerted effort to enable the sale of federally regulated tobacco

products to minors, JLI nevertheless publicly touted Veratad as the “gold standard” of age


566
    Complaint at 168, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal.
  Nov. 18, 2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.
567
    Id. at 138.
568
    Id.
569
    Id. at 146
570
    Id. at 147.
571
    Id.
572
    Id. at 173.



                                    205
verification services. For example, JLI told a reporter with CBS, Pam Tighe, that “[t]here

is an extensive age verification process in place to purchase JUUL online” and that JLI

“work[s] with Veratad Technologies, the state-of-the-art, gold-standard for age

verification. . . . Veratad uses billions of records from multiple trusted data sources to

verify the information customers provide and to ensure customers qualify to access and

purchase products from JUULvapor.com.”573 JLI later planned on sending this same,

canned false language to a student journalist at Georgetown University.574 Similarly, a JLI

spokesperson told a reporter at a New York newspaper, ANMY, that JLI uses “industry-

leading ID match and age verification technology to ensure that customers” are over

twenty-one years of age and that the “information is verified against multiple

databases.”575

       464.      In August 2017, JLI responded to public scrutiny by publicly stating that it

would increase the purchase age on its website to 21+ by August 23, 2017. In the weeks

leading up to that date, it emailed the approximately 500,000 or more potential customers

to report that customers who signed up for JLI’s “auto-ship” subscription service before

August 23, 2017 would not have to prove that they were 21+ for as long as they maintained

the subscription to receive JUULpods. As discussed herein, JLI knew that these marketing

emails were being sent to underage individuals, including those who failed age




573
    INREJUUL00178123-24.
574
    INREJUUL_00264882-84.
575
    Alison Fox, ‘Juul’ e-cigarettes require stronger FDA regulation, Schmuer Says,
  AMNY, (Oct. 15, 2017), https://www.amny.com/news/juul-e-cigarettes-fda-regulation-
  1-14485385/.



                                      206
verification. And at the same time, JLI advertised that the most popular flavor among

youth, Mango, was now available on its “auto-ship” subscription service. As a result of

this scheme, JLI’s subscription gains more than offset any losses from the site’s

heightened age verification requirements.




                                  207
       465.   Further underscoring JLI’s purpose of growing the e-cigarette market, even

if that meant selling to youth, JLI and Veratad did not require that the year of birth and

last four digits of the social security number match exactly the information corresponding

to a person of the minimum legal sales age in Veratad’s database until August 2018.

       466.   Tellingly, after JLI and Veratad implemented industry-standard age

verification practices, JLI boasted to the FDA that approval rate for sales on its website

had dropped to 27%.

       467.   While on one hand JLI continued working with Veratad to ensure minors

could purchase JUUL products online, on the other JLI continued to make false and

fraudulent statements about the strength of its age verification system. For example, on

June 5, 2018, JLI tweeted about its relationship with Veratad, claiming that “We’ve

partnered with Veratad Technologies to complete a public records search, only reporting

back whether or not you are 21 years of age or older.”576 In addition, on November 13,




576
   JUUL Labs, Inc. (@JUULvapor), Twitter (June 5, 2018),
  https://twitter.com/juulvapor/status/1004055352692752386.



                                   208
2018, JLI and the Managements Defendants caused a post to appear on JLI’s website

stating that JLI was “Restricting Flavors to Adults 21+ On Our Secure Website” and that

JLI’s age-verification system was “an already industry-leading online sales system that is

restricted to 21+ and utilizes third party verification.”577 A video accompanying this

message stated “At JUUL labs we’re committed to leading the industry in online age

verification security to ensure that our products don’t end up in the hands of underage

users” and included an image of a computer with a chain wrapped around it and locked in

place.578 These statements were fraudulent because JLI and the Management Defendants

were and had been coordinating with Veratad to ensure that their age verification system

did not actually prevent youth from purchasing JUUL products.

       468.   Not only did JLI’s efforts result in more sales to minors, JLI was also able

to build a marketing email list that included minors—a data set that would prove highly

valuable to Altria.

       469.   In the summer of 2017, JLI engaged a company called Tower Data to

determine the ages of the persons associated with email addresses on its email marketing

list. According to this analysis, approximately 269,000 email addresses on JLI’s email

marketing list were not associated with a record of an individual who had “passed” JLI’s

age verification process.579 Additionally, approximately 40,000 email addresses on JLI’s


577
    JUUL Labs Action Plan (“November 2018 Action Plan”), JUUL Labs, Inc. (Nov. 12,
  2018), https://newsroom.juul.com/juul-labs-action-plan/ (last visited Apr. 30, 2020).
578
    Id.
579
    Complaint at 121, Commonwealth of Massachusetts v. JUUL, et al., No. 20-00402
  (Super. Ct. of Mass. Feb. 12, 2020) https://www.mass.gov/doc/juul-complaint/download
  Janice Tan, E-cigarette firm JUUL sued for using programmatic buying to target



                                   209
email marketing list were associated with records of individuals who had “failed” JLI’s

own age verification process.580 Tower Data informed JLI that 83% of the approximately

420,000 email addresses on JLI’s marketing list could not be matched with the record of

an individual at least eighteen years of age.581

       470.    Despite knowing that their marketing list included minors, JLI continued to

use that marketing list to sell JUUL products, and then shared that list with Altria to use

for its marketing purposes.

       471.    JLI and the Management Defendants knew, however, that it was not enough

to disseminate advertisements and marketing materials that promote JLI to youth or to

open online sales to youth, while omitting mention of JUUL’s nicotine content and

manipulated potency. To truly expand the nicotine market, they needed to deceive those

purchasing a JUUL device and JUULpods as to how much nicotine they were actually

consuming. And, through Pritzker, Huh, and Valani’s control of JLI’s Board of Directors,

they did just that.

       12.     JLI Engaged in a Sham “Youth Prevention” Campaign

       472.    By April 2017, JLI had determined that the publicity around its marketing

to children was a problem. Ashley Gould, the company’s General Counsel and Chief

Regulatory and Communications Officer, thus sought to “hire a crisis communication firm




  adolescents, Marketing (Feb. 14, 2020), https://www.marketing-interactive.com/e-
  cigarette-firm-juul-sued-for-using-programmatic-buying-to-target-adolescents.
580
    Id.
581
    Id.



                                     210
to help manage the youth interest JUUL has received[.]”582 By June 2017, JLI began

developing a “youth prevention program[.]”583 While ostensibly aimed at reducing youth

sales, JLI’s youth prevention program actually served to increase, not reduce, sales to

children.

       473.   By December 2017, JLI’s youth prevention program included extensive

work with schools.584 JLI paid schools for access to their students during school time, in

summer school, and during a Saturday School Program that was billed as “an alternative

to ‘traditional discipline’ for children caught using e-cigarettes in school.”585 JLI created

the curriculum for these programs, and, like the “Think Don’t Smoke” campaign by Philip

Morris, which “insidiously encourage[d] kids to use tobacco and become addicted Philip

Morris customers[.]”586 JLI’s programs were shams intended to encourage youth e-

cigarette use, not curb it. According to testimony before Congress, during at least one

presentation, “[n]o parents or teachers were in the room, and JUUL’s messaging was that

the product was ‘totally safe.’ The presenter even demonstrated to the kids how to use a




582
    INREJUUL_00264878; see also INREJUUL_00265042 (retaining Sard Verbinnen, a
  strategic communications firm).
583
    See, e.g., INREJUUL_00211242.
584
    INREJUUL_00173409.
585
    Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20
  Memo.pdf.
586
    William V. Corr, American Legacy Foundation Study Shows Philip Morris 'Think
  Don't Smoke' Youth Anti-Smoking Campaign is a Sham, Campaign for Tobacco Free
  Kids (May 29, 2002), https://www.tobaccofreekids.org/press-releases/id_0499.



                                    211
JUUL.”587 Furthermore, JLI “provided the children snacks” and “collect[ed] student

information from the sessions.”588

       474.   The problems with JLI’s youth prevention programs were widespread.

According to outside analyses, “the JUUL Curriculum is not portraying the harmful details

of their product, similar to how past tobacco industry curricula left out details of the health

risks of cigarette use.”589 Although it is well-known that teaching children to deconstruct

ads is one of the most effective prevention techniques, JLI programs entirely omitted this

skill, and JLI’s curriculum barely mentioned JUUL products as among the potentially

harmful products to avoid.590 As one expert pointed out, “we know, more from anecdotal

research, that [teens] may consider [JUULs] to be a vaping device, but they don’t call it

that. So when you say to a young person, ‘Vapes or e-cigarettes are harmful,’ they say,

‘Oh I know, but I’m using a JUUL.’”591

       475.   Internal emails confirm both that JLI employees knew about the similarities

of JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by

the cigarette industry and that JLI management at the highest levels was personally

involved in these efforts. In April 2018, Julie Henderson, the Youth Prevention Director,




587
    Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20
  Memo.pdf.
588
    Id.
589
    Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert
  Says, The Daily Beast (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-
  program-didnt-school-kids-on-dangers-expert-says.
590
    Id.
591
    Id.



                                     212
emailed school officials about “the optics of us attending a student health fair” because of

“how much our efforts seem to duplicate those of big tobacco (Philip Morris attended fairs

and carnivals where they distributed various branded items under the guise of ‘youth

prevention’).”592 She later wrote that she would “confirm our participation w[ith] Ashley

& Kevin”593—an apparent reference to Kevin Burns, at the time the CEO of JLI, who

would later personally approve JLI’s involvement in school programs. In May 2018, Julie

Henderson spoke with former members of Philip Morris’s “youth education” team,594 and

Ashley Gould received and forwarded what was described as “the paper that ended the

Think Don’t Smoke campaign undertaken by Philip Morris.”595 The paper concluded that

“the Philip Morris campaign had a counterproductive influence.”596

       476.   JLI also bought access to teenagers at programs outside of school. For

example, JLI paid $89,000 to the Police Activities League of Richmond, California, so

that all youth in the Richmond Diversion Program—which targeted “youth, aged 12-17,

who face suspension from school for using e-cigarettes and/or marijuana” and “juveniles

who have committed misdemeanor (lesser category) offenses”—would “participate in the

JUUL labs developed program, Moving Beyond” for as long as ten weeks.597 Similarly,

JLI paid $134,000 to set up a summer program for 80 students from a charter school in




592
    INREJUUL_00197608.
593
    INREJUUL_00197607.
594
    INREJUUL_00196624.
595
    INREJUUL_00265202.
596
    Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
  Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002).
597
    JLI-HOR-00002181 – 00002182.



                                    213
Baltimore, Maryland.598 Participants were “recruited from grades 3 through 12”599 and

worked closely with teachers to develop personal health plans. JLI paid nearly 70% of the

cost of hiring eight teachers, eight instructional aides, and three other support personnel

for the program.600

       477.    JLI was aware that these out-of-school programs were, in the words of Julie

Henderson, “eerily similar” to the tactics of the tobacco industry.601 In June 2018, Ms.

Henderson described “current executive concerns & discussion re: discontinuing our work

w[ith] schools[.]”602 Eventually, JLI ended this version of the youth prevention program,

but the damage had been done: following the playbook of the tobacco industry, JLI had

hooked more kids on nicotine.

       478.    The Board was intimately involved in these “youth prevention” activities.

For example, in April 2018, Riaz Valani and Nicholas Pritzker edited a youth prevention

press release, noting that they “don’t want to get these small items wrong” and “think it’s

critical to get this right.”603




598
    INREJUUL_00194247; Invoice to JUUL Labs from The Freedom & Democracy
  Schools, Inc. for $134,000, dated June 21, 2018,
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-
  00003711.pdf.
599
    INREJUUL_0019428.
600
    The Freedom & Democracy Schools, Inc., Proposal to JUUL Labs for Funding the
  Healthy Life Adventures Summer Pilot (June 9, 2018),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-
  00002789_Redacted.pdf.
601
    INREJUUL_00194646.
602
    INREJUUL_00194646.
603
    JLI00151300.



                                    214
       13.       The FDA Warned JUUL and Others That Their Conduct is Unlawful

       479.      Throughout 2018, the FDA put JLI and others in the e-cigarette industry on

notice that their practices of marketing to minors needed to stop. It issued a series of

warnings letters and enforcement actions:

       480.      On February 24, 2018, the FDA sent a letter to JLI expressing concern about

the popularity of its products among youth and demanding that JLI produce documents

regarding its marketing practices.604

       481.      In April 2018, the FDA conducted an undercover enforcement effort, which

resulted in fifty-six warning letters issued to online retailers, and six civil money

complaints to retail establishments, all of which were related to the illegal sale of e-

cigarettes to minors.605 Manufacturers such as JLI were also sent letters requesting

documents regarding their marketing and sales methods.606

       482.      In May 2018, the FDA again issued more warning letters to manufacturers,

distributors, and retailers of e-liquids for labeling and advertising violations; these labels

and advertisements targeted children and resembled children’s food items such as candy

or cookies.607




604
    Matthew Holman, Letter from Director of Office of Science, Center for Tobacco
  Products, to Zaid Rouag, at JUUL Labs, Inc., U.S. FDA (Apr. 24, 2018),
  https://www.fda.gov/media/112339/download.
605
    Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other
  Deemed Products on the Market Without Premarket Authorization, U.S. FDA (Jan.
  2020), https://www.fda.gov/media/133880/download.
606
    Id.
607
    Id.



                                      215
       483.   In September 2018, the FDA engaged in several other regulatory

enforcement actions, issuing over 1300 warning letters and civil money complaints to e-

cigarette and e-liquid retailers and distributors.608

       484.   On September 12, 2018, the FDA sent letters to JLI and other e-cigarette

manufacturers putting them on notice that their products were being used by youth at

disturbing rates.609 The FDA additionally requested manufacturers to enhance their

compliance monitoring mechanisms, implement stricter age verification methods, and

limit quantities and volume of e-cigarette products that could be purchased at a time.610

       485.   Finally, in October 2018, the FDA raided JLI’s headquarters and seized

more than a thousand documents relating to JLI’s sales and marketing practices.611 Since

then, the FDA, the Federal Trade Commission, multiple state attorneys general and the

U.S. House of Representatives Committee on Oversight and Reform have all commenced

investigations into JLI’s role in the youth e-cigarette epidemic and whether JLI’s

marketing practices purposefully targeted youth.




608
    Id.
609
    Letter from US FDA to Kevin Burns, U.S. FDA (Sept. 12, 2018),
  https://www.fda.gov/media/119669/download.
610
    Press Release, FDA takes new steps to address epidemic of youth e-cigarette use,
  including a historic action against more than 1,300 retailers and 5 major manufacturers
  for their roles perpetuating youth access, US FDA (Sept. 11, 2018),
  https://www.fda.gov/news-events/press-announcements/fda-takes-new-steps-address-
  epidemic-youth-e-cigarette-use-including-historic-action-against-more.
611
    Laurie McGinley, FDA Seizes Juul E-Cigarette Documents in Surprise Inspection of
  Headquarters, Wash. Post (Oct. 2, 2018),
  https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-cigarette-
  documents-surprise-inspection-headquarters/.



                                      216
       486.   Siddharth Breja, who was senior vice president for global finance at JLI,

“claims that after the F.D.A. raided Juul headquarters in October 2018, seeking internal

documents, Mr. Burns instructed Mr. Breja and other executives not to put anything

relating to regulatory or safety issues in writing, so that the F.D.A. could not get them in

the future.”612

       14.    In Response to Regulatory Scrutiny, Defendants Misled the Public,
              Regulators, and Congress that JLI Did Not Target Youth

       487.   To shield their youth-driven success from scrutiny, Altria, JLI, and the

Management Defendants’ had a long-running strategy to feign ignorance over JLI and the

Management Defendants’ youth marketing efforts and youth access to JLI’s products.

They were well aware that JLI’s conduct in targeting underage users was reprehensible

and unlawful, and that if it became widely known that this was how JLI obtained its

massive market share, there would be a public outcry and calls for stricter regulation or a

ban on JLI’s products. Given the increasing public and regulatory scrutiny of JLI’s market

share and marketing tactics, a dis-information campaign was urgently needed to protect

the Defendants’ bottom line. For this reason, JLI, the Management Defendants, and Altria

all hid JLI’s conduct by vociferously denying that JLI had marketed to and targeted youth

and instead falsely claimed that JLI engaged in youth prevention. Defendants continued

to make these statements while and after actively and successfully marketing to and




612
   Sheila Kaplan & Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former
  Executive Say, N.Y. Times (Nov. 20, 2019),
  https://www.nytimes.com/2019/10/30/health/juul-pods-contaminated.html.



                                    217
recruiting youth non-smokers. These false statements were designed to protect JLI’s

market share, and Altria’s investment, by concealing JLI’s misconduct.

       488.   For example, after 11 senators sent a letter to JLI questioning its marketing

approach and kid-friendly e-cigarette flavors like Fruit Medley, Creme Brulee and mango,

JLI visited Capitol Hill and told senators that it never intended its products to appeal to

kids and did not realize youth were using its products, according to a staffer for Sen. Dick

Durbin (D-Ill.). JLI’s statements to Congress—which parallel similar protests of

innocence by tobacco company executives—were false.

       489.   Defendants also caused JLI to make public statements seeking to disavow

the notion that it had targeted and sought to addict teens:

              “It’s a really, really important issue. We don’t want kids using our
              products.” (CNBC Interview of JLI’s Chief Administrative Officer,
              December 14, 2017)613
              “We market our products responsibly, following strict guidelines to have
              material directly exclusively toward adult smokers and never to youth
              audiences.” (JLI Social Media Post, March 14, 2018)614
               “Our company’s mission is to eliminate cigarettes and help the more than
               one billion smokers worldwide switch to a better alternative,” said
               JUUL Labs Chief Executive Officer Kevin Burns. “We are already seeing
               success in our efforts to enable adult smokers to transition away from
               cigarettes and believe our products have the potential over the long-term to
               contribute meaningfully to public health in the U.S. and around the world.
               At the same time, we are committed to deterring young people, as well as
               adults who do not currently smoke, from using our products. We cannot

613
    Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
  https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-
  teens-according-to-study.html (Interview with Ashely Gould, JUUL Chief
  Administrative Officer) (emphasis added).
614
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market,
  Stanford Research Into the Impact of Tobacco Advertising 15 (Jan. 31, 2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf
  (citing a JUUL social media post from March 14, 2018) (emphasis added).



                                    218
              be more emphatic on this point: No young person or non-nicotine user
              should ever try JUUL.” (JLI Press Release, April 25, 2018);615
             “Our objective is to provide the 38 million American adult smokers with
             meaningful alternatives to cigarettes while also ensuring that
             individuals who are not already smokers, particularly young people,
             are not attracted to nicotine products such as JUUL,” said JUUL Labs
             Chief Administrative Officer Ashley Gould, who heads the company's
             regulatory, scientific and youth education and prevention programs. “We
             want to be a leader in seeking solutions, and are actively engaged with, and
             listening to, community leaders, educators and lawmakers on how best to
             effectively keep young people away from JUUL.” (JLI Press Release, April
             25, 2018);616
             “Of course, we understand that parents and lawmakers are concerned
             about underage use of JUUL. As are we. We can’t restate this enough. As
             an independent company that is not big tobacco, we are driven by our
             mission and commitment to adult smokers.” (JLI CEO Kevin Burns Letter
             to JUUL Community on Reddit, July 18, 2018)617
              “We welcome the opportunity to work with the Massachusetts Attorney
             General because, we too, are committed to preventing underage use of
             JUUL. We utilize stringent online tools to block attempts by those under
             the age of 21 from purchasing our products, including unique ID match and
             age verification technology. Furthermore, we have never marketed to
             anyone underage. Like many Silicon Valley technology startups, our
             growth is not the result of marketing but rather a superior product
             disrupting an archaic industry. When adult smokers find an effective
             alternative to cigarettes, they tell other adult smokers. That’s how we’ve
             gained 70% of the market share. . . Our ecommerce platform utilizes unique
             ID match and age verification technology to make sure minors are not able
             to access and purchase our products online.” (Statement from Matt David,
             JLI Chief Communications Officer, July 24, 2018);618


615
     JUUL Labs, Inc., JUUL Labs Announces Comprehensive Strategy to Combat
   Underage Use, MarketWatch (Apr. 25, 2018), https://www.marketwatch.com/press-
   release/juul-labs-announces-comprehensive-strategy-to-combat-underage-use-2018-04-
   25 (emphasis added).
 616
     Id (emphasis added).
 617
     A Letter to the JUUL Community from CEO Kevin Burns, Reddit (July 18, 2018),
   https://www.reddit.com/r/juul/comments/8zvlbh/a_letter_to_the_juul_community_from
   _ceo_kevin/ (emphasis added).
618
     Statement Regarding The Press Conference Held By The Massachusetts Attorney
  General, JUUL Labs, Inc. (July 24, 2018), https://newsroom.juul.com/statement-



                                  219
             “We did not create JUUL to undermine years of effective tobacco
             control, and we do not want to see a new generation of smokers. . . . We
             want to be part of the solution to end combustible smoking, not part of a
             problem to attract youth, never smokers, or former smokers to nicotine
             products. . . .We adhere to strict guidelines to ensure that our marketing is
             directed towards existing adult smokers.”.” (JLI’s website as of July 26,
             2018);619
             “We don’t want anyone who doesn’t smoke, or already use nicotine, to use
             JUUL products. We certainly don’t want youth using the product. It is bad
             for public health, and it is bad for our mission. JUUL Labs and FDA share
             a common goal – preventing youth from initiating on nicotine. . . . Our
             intent was never to have youth use JUUL products.” (JLI Website,
             November 12, 2018)620
             “To paraphrase Commissioner Gottlieb, we want to be the offramp for
             adult smokers to switch from cigarettes, not an on-ramp for America’s
             youth to initiate on nicotine.” (JLI Website, November 13, 2018)621
             “Any underage consumers using this product are absolutely a negative for
             our business. We don’t want them. We will never market to them. We
             never have.” (James Monsees, quoted in Forbes, November 16, 2018);622
             “First of all, I’d tell them that I’m sorry that their child’s using the product.
             It’s not intended for them. I hope there was nothing that we did that made
             it appealing to them. As a parent of a 16-year-old, I’m sorry for them, and I
             have empathy for them, in terms of what the challenges they’re going
             through.” (CNBC Interview of JLI CEO, July 13, 2019)623


  regarding-the-press-conference-held-by-the-massachusetts-attorney-general/ (emphasis
  added).
619
    Our Responsibility, JUUL Labs, Inc. (July 26, 2018),
  https://web.archive.org/web/20180726021743/https://www.juul.com/our-responsibility
  (last visited Mar. 29, 2020) (emphasis added).
620
    JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018),
  https://newsroom.juul.com/juul-labs-action-plan/ (statement of Ken Burns, former CEO
  of JUUL) (emphasis added).
621
    Id. (emphasis added).
622
    Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns,
  Forbes (Nov. 16, 2018 2:38 PM),
  https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
  juuls-early-marketing-campaigns/#3da1e11b14f9 (emphasis added) (statement of James
  Monsees).
623
    Angelica LaVito, As JLI grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m
  sorry’, CNBC (July 13, 2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-
  teen-vaping-epidemic-ceo-tells-parents-im-sorry.html (emphasis added).



                                    220
               “We have no higher priority than to prevent youth usage of our
              products which is why we have taken aggressive, industry leading actions
              to combat youth usage.” (JLI Website, August 29, 2019)624
              James Monsees, one of the company’s co-founders, said selling JUUL
              products to youth was “antithetical to the company’s mission.”(James
              Monsees’ Statement to New York Times, August 27, 2019)625
              Adam Bowen, one of the company’s co-founders, said he was aware early
              on of the risks e-cigarettes posed to teenagers, and the company had tried
              to make JUUL “as adult-oriented as possible.”(Adam Bowen’s
              Statement to the New York Times, August 27, 2019);626
              “We have never marketed to youth and we never will.”(JLI Statement to
              Los Angeles Times, September 24, 2019);627
              “I have long believed in a future where adult smokers overwhelmingly
              choose alternative products like JUUL. That has been this company’s
              mission since it was founded, and it has taken great strides in that
              direction.” (JLI’s CEO K.C. Crosthwaite, September 25, 2019);628
              “As scientists, product designers and engineers, we believe that vaping can
              have a positive impact when used by adult smokers, and can have a
              negative impact when used by nonsmokers. Our goal is to maximize the
              positive and reduce the negative.” (JLI Website, March 6, 2020);629
              “JUUL was designed with adult smokers in mind.” (JLI Website, last
              visited March 29, 2020).630


624
     Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019),
   https://newsroom.juul.com/our-actions-to-combat-underage-use/ (JUUL statement in
   response to lawsuits) (emphasis added).
 625
     Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?,
   N.Y. Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-
   teen-marketing.html (emphasis added).
 626
     Id (emphasis added).
 627
     Michael Hiltzik, Column: Studies show how JLI exploited social media to get teens to
   start vaping, L.A. Times (Sept. 24, 2019),
   https://www.latimes.com/business/story/2019-09-24/hiltzik-juul-target-teens (statement
   made on behalf of JUUL) (emphasis added).
 628
     Juul Labs Names New Leadership, Outlines Changes to Policy and Marketing Efforts,
   JUUL Labs, Inc. (Sept. 25, 2019), https://newsroom.juul.com/juul-labs-names-new-
   leadership-outlines-changes-to-policy-and-marketing-efforts/ (emphasis added)
   (statement by K.C. Crosthwaite).
 629
     Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values (last visited
   Apr. 4, 2020) (emphasis added).
630
     JUUL Labs, Inc., https://www.juul.com/ (last visited Mar. 29, 2020) (emphasis added).



                                   221
        490.    Defendants either made these statements directly or caused them to be

 transmitted as a part of their schemes to defraud the public about what they were selling

 and to whom.

        491.    Altria also engaged in wire fraud when it made public statements seeking to

 disavow the notion that JLI had targeted and sought to addict teens:

                “Altria and JUUL are committed to preventing kids from using any tobacco
                products. As recent studies have made clear, youth vaping is a serious problem,
                which both Altria and JUUL are committed to solve. As JUUL previously said,
                ‘Our intent was never to have youth use JUUL products.’” (Altria News
                Release, December 20, 2018).631

        492.    However, JLI, the Management Defendants, and Altria realized that

 attempting to shift public opinion through fraudulent statements was not enough to

 achieve their goal of staving off regulation. To accomplish this goal, they would also need

 to deceive the FDA and Congress. And so they set out to do just that through statements

 and testimony by JLI representatives. These include, but are not limited to, the following:

 Statements by JLI to the FDA:
              “JUUL was not designed for youth, nor has any marketing or research
              effort since the product’s inception been targeted to youth.” (Letter to
              FDA, June 15, 2018).632
              “With this response, the Company hopes FDA comes to appreciate why the
              product was developed and how JUUL has been marketed — to provide
              a viable alternative to cigarettes for adult smokers.” (Letter to FDA,
              June 15, 2018).633


631
     Altria Group, Inc., Altria Makes $12.8 Billion Minority Investment to Accelerate Harm
   Reduction and Drive Growth (“Altria Minority Investment”) (Form 8-K), Ex. 99.1 (Dec.
   20, 2018),
   https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex99
   1.htm (emphasis added).
632
     Letter from JUUL's Counsel at Sidley Austin to Dr. Matthew Holman, FDA at 2 (June
   15, 2018) (emphasis added).
 633
     Id. at 3 (emphasis added).



                                      222
Statements by Altria to the FDA:
             “[W]e do not believe we have a current issue with youth access to or use
             of our pod-based products, we do not want to risk contributing to the
             issue.” (Letter from Altria CEO to FDA Commissioner Scott Gottlieb,
             October 25, 2018).634
             “We believe e-vapor products present an important opportunity to adult
             smokers to switch from combustible cigarettes.” (Letter to FDA
             Commissioner Gottlieb, 10/25/18)

Statements by JLI to Congress:
             “We never wanted any non-nicotine user, and certainly nobody under
             the legal age of purchase, to ever use JLI products. . . .That is a serious
             problem. Our company has no higher priority than combatting underage
             use.” (Testimony of James Monsees, July 25, 2019).635
             “Our product is intended to help smokers stop smoking combustible
             cigarettes.” (Ashley Gould, JLI Chief Administrative Officer, Testimony
             before House Committee on Oversight and Reform, July 25, 2019).636

Statements by Altria to Congress:
             “In late 2017 and into early 2018, we saw that the previously flat e-vapor
             category had begun to grow rapidly. JUUL was responsible for much of the
             category growth and had quickly become a very compelling product
             among adult vapers. We decided to pursue an economic interest in JUUL,
             believing that an investment would significantly improve our ability to
             bring adult smokers a leading portfolio of non-combustible products
             and strengthen our competitive position with regards to potentially reduced




634
    Letter from Altria CEO Howard Willard to Dr. Scott Gottlieb, FDA at 2 (October 25,
  2018) (emphasis added).
635
    Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 1
  (2019) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).,
  https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-GO05-
  Wstate-MONSEESJ-20190725.pdf.
636
    Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
  (2019) (statement of Ashley Gould, Chief Administrative Officer, JUUL Labs, Inc.).,
  https://www.c-span.org/video/?462992-1/hearing-cigarettes-teen-usage-day-
  2&start=6431 at 01:53:25 (emphasis added).



                                   223
              risk products.” (Letter from Altria CEO to Senator Durbin, October 14,
              2019).637

       493.   Each of the foregoing statements constitutes an act of wire fraud. JLI,

Monsees, and Altria made these statements, knowing they would be transmitted via wire,

with the intent to deceive the public, the FDA, and Congress as to the Defendants’ true

intentions of hooking underage users.

       494.   Their disinformation scheme was successful. While certain groups such as

the American Medical Association were calling for a “sweeping ban on vaping

products,”638 no such ban has been implemented to date. Accordingly, JLI’s highly

addictive products remain on the market and available to underage users.

F.     Altria Provided Services to JLI to Expand JUUL Sales and Maintain JUUL’s
       Position as the Dominant E-Cigarette.

       1.     Before Altria’s Investment in JLI, Altria Knew JLI Was Targeting
              Youth.

       495.   As stated above, according to Howard Willard, Altria first contacted JLI

about a commercial relationship in early 2017, with “confidential discussions”

spearheaded by Pritzker and Valani, on the one hand, and senior executives of Altria and

Altria Client Services on the other, beginning in the Spring of 2017.639 These continued

for eighteen months, culminating in Altria’s December 2018 equity investment in JLI.



637
    Letter from Howard A. Willard III, Altria to Senator Richard J. Durbin, 6 (October 14,
  2019) (emphasis added).
638
    Karen Zraick, A.M.A. Urges Ban on Vaping Products as JLI is Sued by More States,
  N.Y. Times (Nov. 19, 2019), https://www.nytimes.com/2019/11/19/health/juul-lawsuit-
  ny-california.html.
639
    Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III
  (2019).



                                    224
         496.   While at first blush, these meetings between Altria and Altria Client

Services and Pritzker and Valani about potential investment—described in detail below—

might seem like ordinary business activity, they were anything but. For nearly 18 months,

Altria and Altria Client Services dangled the carrot of a multi-billion dollar payout in front

of Pritzker and Valani—months in which Pritzker, Valani, and the other Management

Defendants committed numerous acts of fraud to grow the business of JLI in order to

satisfy Altria’s expectations. And at the same time, Altria and Altria Client Services were

actively courting Pritzker and Valani with that promised payout, they were gathering

information on JLI that confirmed Altria would be purchasing a company with a proven

track-record of sales to youths.

         497.   Even before 2017, Altria and Altria Client Services—as with anyone paying

attention to the e-vapor industry at the time—were well aware that JLI had been targeting

kids with its youthful marketing. As noted above, JLI’s “Vaporized” campaign had made

its way into the national zeitgeist, with Stephen Colbert noting that the advertising

appealed “to the youths.” So, not only did Altria and Altria Client Services know JLI was

targeting kids at the time it reached out to begin negotiations, it also knew that such

targeting was highly successful. A May 23, 2017 presentation by Altria Client Services

observed that “[l]ines outside of vape shops and/or calls to vape shops regarding stock [of

JUUL] are common” and that JLI’s sales revenue was growing at an exponential rate.640




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       498.   And beginning no later than January 2018, Altria received explicit warnings

about the youth appeal of the JUUL product. During a January 3, 2018 meeting between

David Wise, Steven Schroeder, and Zane Underwood of Altria (Underwood was in

communication with KC Crosthwaite at the time) and Avail Vapor641 CEO James Xu and

Avail Vapor scientists at Altria’s Headquarters—specifically, in the “Library” conference

room—the Altria representatives requested granular data that Avail had on the sale of

JUUL and JUUL pods. The Altria representatives asked for, and Avail’s representatives

provided, data on the number of sales of certain flavor pods, purchasing patterns, and the

demographics of JUUL users. With regard to the demographics of JUUL users, the Avail

representatives showed the Altria representatives a ski slope diagram indicating that the

vast majority of JUUL purchasers at Avail stores were 18 or 19 years old.

       499.   James Xu of Avail Vapor, who was intimately familiar with JUUL sales and

tracked data related to such sales closely, repeatedly warned Altria executives of the youth

appeal of JUUL. And in November 2018, Xu presented the demographics data on JUUL

directly to KC Crosthwaite (and David Wise), thus providing further evidence that Altria

and Altria Client Services knew of JLI’s role in the youth vaping epidemic prior to Altria’s

investment in JLI.

       500.   Notwithstanding their own observations about JUUL’s success with a young

demographic, the data Altria received from Avail which concerned the same, and Xu’s




641
   As discussed below, JLI had a partnership with Avail Vapor in which Avail gathered
  detailed data on the sale of JUUL products. Also discussed below, Altria was a minority
  owner of Avail at the time.



                                    226
repeated warnings, Altria and Altria Client Services aggressively pursued a deal with

Pritzker and Valani throughout 2018. Thus, for Altria and Altria Client Services, the large

youth make-up of JLI’s market share was a feature—not a flaw—of the company that it

sought to acquire. It is no surprise then that, even in the face of these warnings and

knowledge, Altria continued to aggressively pursue an investment or potential acquisition

of JLI.

          2.     Altria Worked with Pritzker and Valani to Secure Control of JLI and to
                 Exploit JLI for Their Mutual Benefit.

          501.   The initial discussions between Altria (and Altria Client Services) and JLI’s

leadership began no later than the week of April 16, 2017 when JLI’s then-CEO Tyler

Goldman and Defendant James Monsees met with Steven Schroder, David Wise, and K.C.

Crosthwaite of Altria Client Services in San Francisco. Crosthwaite, who would later

become CEO of JLI, was at the time the Vice President of Strategy and Business

Development for Altria Client Services. Goldman spoke again with Schroeder,

Crosthwaite and Wise on April 27, 2017 to discuss “preliminary thoughts on potential

ways to work together.”642

          502.   Internal documents from the time show that Altria was eyeing JLI as an

acquisition target. A May 23, 2017 presentation prepared by Altria Client Services for

Altria Group, Inc. titled “Project Mule: Review of E-vapor Closed-System Opportunities”

identified JLI (then PAX Labs) as one of two “Potentially Attractive Options.”643 Among




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the attractive features of JLI was that JUUL had “early market success,” had “projected

sales to reach ~$300 million at year-end 2017.” But Altria knew that aggressive growth

would be necessary, writing that “[g]enerating an attractive return would require

consistently strong EBITDA growth.” The presentation also viewed as attractive features

that JLI offered “mint, berry, tobacco, and cream varieties” with “[i]ndications of

additional flavor pods in potential pipeline,” and that there “[l]ines outside of vape shops

and/or calls to vape shops regarding stock are common.” The presentation also revealed

that Altria (through an unidentified subsidiary, though likely Altria Client Services) had

tested “all five flavors” of JUUL pods and was aware of the amount of “[n]icotine per

puff” in a JUUL pod. Altria Client Services’ conclusions about the popularity of JUUL

were consistent with the narrative JLI was presenting to potential investors. JLI’s pitch

deck to investors at the time boasted that “Viral Marketing Wins,” and that JUUL’s super

potent nicotine formulation was “cornering” the consumables market with the highest

customer retention rate of any e-cigarette.644

         503.   In a May 31, 2017 presentation prepared by Altria Client Services titled

“Closed Tank for AS Analysis,” Altria Client Services stated that “Nu Mark [a subsidiary

of Altria Group, Inc.] and S&BD [a division of Altria Client Services] have engaged in

discussions with Pax Labs (Juul) . . . regarding a potential transaction.”645 Altria Client

Services noted that it was seeking “a meeting of senior management of both firms in the

next few weeks to explore potential interest in a transaction.” Notably, to Altria Client


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Services, the “senior management” of JLI was interchangeable with Defendants Pritzker

and Valani, as later in the same presentation Altria Client Services stated that it was

“[s]eeking a meeting between Altria management and Pax lead investors to discuss deal

interest.”

            504.   From the very beginning of their negotiations, it was clear to Altria and

Altria Client Services that they were operating within a closing window in which JLI’s

sales to youths could continue unabated. In this same May 23, 2017 presentation, Altria

Client Services focused on the “significant risk” of unfavorable regulations to “this rapidly

growing product segment” given that no PMTAs had been granted for closed-pod

products.646 And as set forth below, Altria and Altria Client Services were well aware of

the public scrutiny of JLI’s youth marketing efforts, which could only lead to unfavorable

regulatory action. Altria and Altria Client Services had to convince Pritzker and Valani to

let Altria acquire or buy into JLI before it was too late.

            505.   In a June 2017 internal presentation prepared by Altria Client Services in

anticipation of the meeting with Pritzker and Valani on a potential deal involving a

minority stake in JLI with a call option (i.e., the ability to acquire JLI at a later date), which

Altria had codenamed “Project Tree,” Altria Client Services identified Valani and Pritzker

as “control[ling] majority of voting power [of JLI] and 44% of economic interests.” Altria

Client Services’ stated goal was to “build relationship/rapport” with Valani and Pritzker

at their first meeting and to convey “Altria’s strengths and potential strategic




646
      Id.



                                        229
contributions,” which included “[e]xpertise building premium and iconic brands,” a

“[b]est in class distribution and sales force,” “[e]xperience and resources to navigate a

complex [regulatory] environment,” “[r]esources to navigate and respond to evolving

[government affairs] landscape,” and a “[s]trategic relationship with Philip Morris

international.”647 More important, though, is that the presentation made clear that Altria

and Altria Client Services sought to appeal to Pritzker and Valani’s personal interest as

investors, and not just the contributions that Altria and its subsidiaries could make for the

business of JLI, noting that its potential deal would “[p]rovide return on percentage of

equity invested to date; provide opportunity for upside on equity retained.”648

         506.   From the very beginning of their relationship, Altria and Altria Client

Services communicated to Pritzker and Valani—who, in turn, communicated to

Defendants Bowen, Monsees, and Huh—that they would profit handsomely by accepting

Altria’s investment and following its lead in growing the business of JLI. Of course, and

as set forth herein, this growth would be pursued through fraud and deceit to both the

public and regulators.

         507.   Beyond controlling the “majority of voting power” of JLI, Pritzker and

Valani were the perfect choice to liaise with Altria and Altria Client Services on behalf of

the Management Defendants. Pritzker has been long familiar with the tobacco industry

from his family's ownership of chewing-tobacco giant Conwood before selling it to

Reynolds American, Inc., a subsidiary of British American Tobacco. And Valani, for his


647
      ALGAT0002834151
648
      Id.



                                    230
part, was intimately familiar with the business of JLI. He was the company’s first “angel

investor” and was a regular presence within the halls of JLI (then Pax Labs) well before

the company even had a working product.649 Notably, Pritzker and Valani are the only

Defendants who have admitted to using non-discoverable messaging services to

communicate regarding JLI business. Pritzker and Valani both used the “Confide”

messaging application, which allows users to send encrypted, ephemeral and screenshot

proof messages.650 And Pritzker and Valani both used Signal, which provides state-of-the-

art end-to-end encryption for phone calls and messages.651

       508.   Altria was an ideal model for growing JLI. Altria, including through its

subsidiaries, has decades of experience targeting kids through youth-appealing marketing

images and themes.652 It also had decades of experience using flavors to hook kids, and

still does so in many international markets.653 And Altria has decades of experience

misleading and lying to the public about their efforts to target kids through marketing and

flavors, and making similar fraudulent representations to regulators in order to delay or




649
    Alex Norcia, JUUL Founders' First Marketing Boss Told Us the Vape Giant's Strange,
  Messy Origins, VICE (Nov. 5, 2019), https://www.vice.com/en/article/43kmwm/juul-
  founders-first-marketing-boss-told-us-the-vape-giants-strange-messy-origins.
650
    Riaz Valani’s Responses and Objections to Plaintiffs’ First Set of Interrogatories;
  Nicholas Pritzker’s Responses and Objections to Plaintiffs’ First Set of Interrogatories.
651
    Id.
652
    Hafez, N., & Ling, P. M. (2005). How Philip Morris built Marlboro into a global brand
  for young adults: implications for international tobacco control. Tobacco Control, 14(4),
  262-271. Retrieved from https://escholarship.org/uc/item/5tp828kn
653
    Campaign for Tobacco Free Kids, The Facts about Philip Morris International:
  Company Is Cause of the Tobacco Problem, Not the Solution (November 15, 2017),
  available at https://www.tobaccofreekids.org/assets/images/content/PMI_bad_acts.pdf.



                                    231
deter regulations.654 Yet, because it was a party to the Master Settlement Agreement, many

of the tactics used by JLI to target kids were unavailable to Altria. So Altria and Altria

Client Services found a new way, drawing on Altria’s storied history of unlawful activity

to partner to the Management Defendants in JLI’s fraud at every turn. The result was

bundles of cash for the Management Defendants, a new generation of youth customers for

Altria and its subsidiaries, and a public left reeling from a rapidly growing youth vaping

epidemic.

       509.   Following their early discussions with Nu Mark and Altria Client Services,

Defendant Valani met with Howard Willard (then-CEO of Altria Group, Inc.) and William

Gifford (then-CFO and now CEO of Altria Group, Inc.) on July 28, 2017. They discussed

Altria’s “perspective on the industry, the future of reduced risk products, and your

thoughts on possible collaboration between ourselves.”655 Valani followed up on this

meeting with an email on July 31, 2017 connecting Gifford with Defendant Pritzker,

“convey[ing] our warm regards to Howard,” and offering to “come to Richmond” in order

“to continue our discussion.”656

       510.   Defendants Pritzker and Valani traveled to Richmond less than a month later

for an August 25, 2017 meeting with Howard Willard and William Gifford.657 Altria

Client Services, in an internal presentation dated September 2017, would report that either

at this meeting or the July 2017 meeting, Pritzker and Valani “asked Altria to consider


654
    See, e.g., United States v. Philip Morris USA, Inc., 449 F. Supp. 2d 1 (D.D.C. 2006).
655
    ALGAT0000082947
656
    Id.
657
    Id.



                                    232
three questions to be addressed at the next meeting being scheduled for mid-late

September.” Those questions focused on the transaction structure and how Altria would

assign a value to JLI, including its international prospects.658

         511.   This presentation also reveals that Pritzker and Valani were open to a deal,

and that they had “high value expectations,” even though the presentation later notes that

Pritzker and Valani conveyed that JLI “does not need capital.”659 Taken together, these

observations make clear that Pritzker and Valani sought a massive payday for themselves

and were not looking out for the strategic interests of JLI as a corporation. JLI did “not

need” the massive capital infusion that Altria’s investment would ultimately provide. It

was the investors—i.e., Pritzker, Huh, Valani, Bowen, and Monsees—who stood to

benefit. It was that promise of an impending personal payout that incentivized and

motivated the Management Defendants to accept Altria’s and Altria Client Services’

influence and control. If their fraudulent schemes were successful, they would reap

billions of dollars for themselves, regardless of what ended up happening to JLI itself. In

this way, Altria and Altria Client Services were able to influence JLI well before Altria

formalized its investment in December 2018.

         512.   Communications between Altria, Altria Client Services, Pritzker, and

Valani were frequent and their meetings continued at a regular pace over the next year and

a half. For example, on December 15, 2017, Howard Willard, William Gifford, and Jay

Moore (Senior Vice President of Business Development, Altria Client Services) met with


658
      ALGAT0000112523
659
      Id.



                                     233
the Project Tree investors (Defendants Pritzker and Valani) again, this time in White

Plains, New York at the Andaz 5th Avenue Hotel.660

      513.   By no later than January 25, 2018, Howard Willard directly involved K.C.

Crosthwaite, who had transitioned from Altria Client Services to become President and

CEO of Defendant Philip Morris USA, in the negotiations with JLI. For example, on

January 25, 2018, Howard Willard sent a presentation about “Project Tree” (Altria’s

investment in JLI) to K.C. Crosthwaite and the two men agreed to discuss the matter the

next morning.661 By June 2018, Crosthwaite would be rewarded through a promotion to

Senior Vice President, Chief Strategy & Growth Officer for both Altria Client Services

and Altria Group, Inc. and would assist Willard in quarterbacking the JLI deal.

      514.   Altria and Altria Client Services and Pritzker and Valani continued their

correspondence between December 2017 and July 2018. An internal Altria Client Services

presentation references a letter Altria received regarding the proposed deal in April

2018.662 On April 13, 2018, Howard Willard sent an email to Nicholas Pritzker, Riaz

Valani, and JLI’s then-CEO Kevin Burns, “getting back to you” and requesting a call

“early next week” in which Altria would share its plans for a “win/win partnership that

enables us to fully collaborate” and to “deliver maximum value in the long run.” Altria

also wanted to discuss the “critical item[]” of “strategy alignment and chemistry between

our respective operating teams in supportive [sic] of a productive partnership that can




660
    ALGAT0000025589; ALGAT0000041165.
661
    ALGAT0000036407; ALGAT0000111921
662
    ALGAT0002817348



                                   234
create substantial value.”663 Prior to this call, Pritzker, Valani, and Burns on the one hand

and Altria (and/or Altria Client Services) on the other shared “volume forecast for [JLI’s]

business.”664 The call between Willard, Pritzker, Valani, and Burns took place on April

16, 2018, prior to which Willard sent the JLI parties a “Payment Structure Proposal” and

noted that legal counsel need to “connect to assess antitrust risk.”665 The Payment

Structure Proposal provided various scenarios for a potential 50.1% investment by Altria

in JLI, each of which contemplated billions of dollars in “Investor Value” for JLI’s

investors (i.e., the Management Defendants).666 Valani forwarded this document to

attorney Jorge A. del Calvo at Pillsbury Winthrop Shaw Pittman LLP who then forwarded

the document to Defendants Adam Bowen and James Monsees.667

       515.   Willard followed up on this call with a May 3, 2018 Proposal Letter to

Pritzker, Valani, and Burns.668 The Proposal Letter also contemplated a 50.1% investment

that contemplated majority of payment to be made after antitrust approval and a separate

“earn-out payment” of “up to $3.5 billion” to the “selling JUUL shareholders”; Willard

described the valuation as “compelling to your investors, particularly taking into account

the substantial regulatory and legal contingencies relating to eVapor generally and JUUL

products specifically.”669 Notably, Willard wrote that Altria was “open to discussing the




663
    JLIFTC00639178
664
    JLIFTC00638936; ALGAT0005452943
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    ALGAT0004031391
666
    JLIFTC01082372
667
    JLIFTC01082370
668
    ALGAT0004030132
669
    ALGAT0004031645-46



                                    235
exact terms of [the earn-out] payment but prefer to discuss it in person.”670 The letter

goes on to further state that Altria was “prepared to discuss offering a series of liquidity

events for the current JUUL investors with respect to their residual 49.9% ownership

interest.”671 This letter is yet another example of the ways in which Altria sought to

influence Pritzker and Valani and indirectly control JLI, with the promise of a multi-

billion dollar payment if they were to get JLI to go along with an Altria investment.

Willard emphasized that they were aligned on a “strategic vision as to how to grow the

JUUL business rapidly.” Altria sought to control the JLI business, with Willard writing

that “we would require that, following the first two payments outlined above, Altria (a)

owns a majority of the JUUL equity and voting rights and (b) has the right to control

generally the JUUL business.”672

       516.   Altria and Altria Client Services viewed these meetings, and Valani in

particular, as a “back-channel” to communicate with the decision-makers behind JLI—

i.e., the Management Defendants. In a presentation by Altria Client Services in June 2018

to Altria Management regarding preparations for a July 13, 2018 meeting with Pritzker

and Valani, Altria Client Services considered a “[b]ack-channel with Riaz and / or

[Goldman Sachs] in advance of meeting.”673

       517.   Altria and Altria Client Services were pursuing this “back-channel” even

though the lawyers for JLI and Altria had grown concerned over Pritzker and Valani’s


670
    Id. (emphasis added)
671
    Id.
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    Id. (emphasis added)
673
    ALGAT0002817356



                                    236
roles in the negotiations. On April 26, 2018, Pritzker sent an email to Howard Willard,

copying Valani, regarding a “standstill” in the negotiations. Pritzker wrote: “[O]ur lawyers

are apparently at a standstill over the standstill (in the NDA). I understand that you want

the continuing right to talk to Riaz and me. That’s just fine, and we are both happy to talk

to y’all any time, but it needs to be limited to in our capacity as directors: we need to avoid

any appearance of conflict. I can’t imagine this makes a difference. If not, can you

intercede so we can get this going, and if so perhaps you could give us a call to explain.”

This email makes clear that Willard wanted unfettered access to his back-channel of

Pritzker and Valani, and that Altria and Altria Client Services had not been

communicating with Pritzker and Valani “in [their] capacity as directors.”674 Again, Altria

and Altria Client Services were appealing to Pritzker and Valani’s personal financial

interest, which inevitably affected the actions they took as directors of JLI.

       518.     Howard Willard responded that he conveyed “our joint view” to Altria’s

counsel and then suggested a meeting on May 6, 2018 involving lawyers for both sides.

Willard also set up a separate dinner or breakfast for himself and Pritzker.675 Valani was

not available on this date, so the meeting was rescheduled, and the back-channeling

continued.676

       519.     The parties met again in July 2018. According to the June 2018 presentation

by Altria Client Services, at the July 13, 2018 meeting with Pritzker and Valani, Altria




674
    ALGAT0000113109
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    Id.
676
    ALGAT0000113121



                                     237
and Altria Client Services planned to push for a deal in which Altria would be able to

“appoint[] majority of board” of JLI and have control of “board decisions by majority vote

(including hiring/removal of CEO).” Altria was planning on structuring part of its payment

for its ownership in JLI to include a separate “PMTA payment” of “$1 - $3 Billion” which

Altria Client Services conceded was, in part “to compensate Tree [JLI] investors for

potential upside in the business.”677

          520.   The same presentation revealed that Altria or Altria Client Services was

planning on engaging with JLI regarding its “Youth vaping prevention plan” by August

10, 2018, with Altria or Altria Client Services preparing its own plan for JLI.678

          521.   The July 13, 2018 meeting was attended by Howard Willard, Billy Gifford,

and K.C. Crosthwaite.679

          522.   At some point after negotiations had been ongoing between Altria, Altria

Client Services, Pritzker, and Valani, Kevin Burns, then-CEO of JLI, joined the

negotiations. By this point, Pritzker and Valani had already pushed Altria and Altria Client

Services to offer terms highly favorable to the individual investors in JLI, regardless of

the true benefit to the company. And by virtue of their control of JLI, the Management

Defendants ensured that Kevin Burns went along with the deal.

          523.   On August 1, 2018, Pritzker, Valani and Burns met with Howard Willard

and William Gifford at the Park Hyatt Hotel in Washington, D.C., to further discuss the




677
    Id.
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    Id.
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    Id.



                                     238
terms of an impending deal.680 Following this meeting, Valani and Pritzker were working

the machinery of JLI to obtain the information that Altria needed to consummate their

deal. On August 7, 2018, Tim Danaher (CFO of JLI) sent Burns, Valani, and Pritzker a

“Summary Cap Table,” which Burns forwarded to Howard Willard with a comment that

he would “call you tomorrow.” Howard Willard forwarded this email to K.C. Crosthwaite,

who at this point was intimately involved at the negotiations between Altria, Pritzker and

Valani.681

       524.   Around this time, K.C. Crosthwaite also made explicit Altria’s goal to

influence and control JLI. In a presentation by Crosthwaite to Altria Group, Inc. at the

Board of Directors’ Strategy Session on August 22, 2018, Crosthwaite indicated that

Altria should keep pursuing their “strategic investment in JUUL” because it would give

Altria “[s]ignificant ownership and influence in U.S. e-vapor leader.”682 This presentation

reveals that Altria sought to require JLI to seek “Altria approval” of its “Youth vaping

prevention plan.”

       525.   The negotiations between JLI, Altria, and Altria Client Services continued

full steam from August 2018 through the announcement of the investment in December

2018. In an August 14, 2018 email from Nicholas Pritzker to Howard Willard and Billy

Gifford, copying Kevin Burns and Valani, Pritzker wrote that “Riaz [Valani] met with

Dinny [Devitre, Altria Group Board of Directors, Chair of Finance Committee] and that




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    ALGAT0003443977
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    ALGAT0003352121; ALGAT0003352122
682
    ALGAT0003327931.



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the two of you and maybe Dinny as well may be interested in meeting with us in San

Francisco this Saturday.”683 Willard responded that he, Billy Gifford, K.C. Crosthwaite

and Dinny Devitre would attend the meeting. Pritzker responded that lawyers should

attend, though Kevin Burns emailed him separately that he “wouldn’t add lawyers to the

meeting but would put them in back rooms for support,” and that it “[l]ooks like we are a

go pending Riaz’s meeting today.” In advance of the Saturday meeting, Willard set up a

separate call with Nicholas Pritzker to discuss the remaining negotiating points. Burns and

Valani were aware of, and possibly included in, this call.684 So, in August 2018,

information was being exchanged between Altria and Altria Client Services and JLI at a

rapid pace, and numerous meetings between Valani, Pritzker, and Altria and/or Altria

Client Services were taking place.

       526.   On October 25, 2018, Howard Willard, Billy Gifford, KC Crosthwaite, and

Murray Garnick participated in a call with Pritzker, and possibly Valani and Kevin Burns,

to discuss the ongoing negotiations.685 Pritzker, Valani, and Burns also met privately with

Howard Willard and other Altria (and Altria Client Services) executives on October 28,

2018 for a dinner at Dinny Devitre’s home to discuss the deal, while sending their lawyers

to a separate meeting that same night.686

       527.   Also on October 25, 2018, the day Altria and Pritzker, Valani and Burns

held a call to discuss the deal, Howard Willard shared with Pritzker and Valani the letter


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    JLI01389789
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    JLI01389792
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    JLI10518738
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    Id.



                                     240
that Altria had sent to the FDA, which was a key part of the Management Defendant’s and

Altria’s scheme to deceive regulators and the public and keep youth-appealing Mint Juul

pods on the market long after other flavors were removed, as set forth below.687

       528.   Over the following six weeks prior to the announcement of Altria’s

investment in JLI, K.C. Crosthwaite became even more hands on, leading the aggressive

diligence efforts on behalf of Altria and Altria Client Services. October 30, 2018, K.C.

Crosthwaite sent JLI a preliminary diligence list which requested a list of all material

intellectual property, including all patents (which, notably, would have included the ‘895

patent revealing that JLI’s nicotine content was misrepresented to the public; of course,

Altria already knew this because it had undertaken its own testing of the nicotine strength

of JUUL pods, as set forth above). It also included requests for “materials related to

underage use prevention, underage product appeal, and underage use.” JLI agreed to

produce this information by November 9, 2018.688 Crosthwaite and Kevin Burns, as well

as others from Altria, Altria Client Services, and JLI, held a call to discuss these diligence

requests on November 2, 2018.689

       529.   By this point, Pritzker and Valani had brought in other senior leadership of

JLI to get the deal across the finish line. Kevin Burns, Tim Danaher, Bob Robbins

(President, JUUL Americas), Jerry Masoudi (Chief Legal Officer), Mark Jones (Associate

General Counsel), Ashley Gould, and Defendants Bowen and Monsees attended meetings




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    JLIFTC00653389
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    JLI01374739; JLI01374736
689
    JLI01374736



                                     241
with Altria and Altria Client Services from November 15, 2018 through November 17,

2018.690 As set forth below, the deal was finally consummated—and Pritzker, Valani,

Huh, Bowen and Monsees handsomely rewarded—in December 2018.

        3.     Altria Participated in and Directed the Fraudulent Acts of JLI Designed
               to Protect the Youth Market for JUUL

               a.     Altria Participated in and Directed JLI’s Make the Switch
                      Campaign.

        530.   Altria did not simply take in information regarding JLI’s youth sales

passively while it pursued ownership of JLI. It also worked to ensure that the Management

Defendants would take steps to continue JUUL’s exponential sales growth and to stave

off any regulation that might hinder that growth.

        531.   Specifically, Altria worked behind the scenes to bolster JLI’s public

narrative claiming that JUUL was a cessation device intended for adult smokers. Well

before JLI launched the “Make the Switch” campaign in January 2019, Altria was pushing

the narrative that e-vapor products could help adult smokers “switch” off of combustible

cigarettes. In an October 25, 2018 letter from Howard Willard to the FDA—sent while

Altria was finalizing the terms of its deal with Pritzker, Valani, and Burns—Willard touted

that “We believe e-vapor products present an important opportunity to adult smokers

to switch from combustible cigarettes.”691 As noted below, Howard Willard shared this

letter with Pritzker and Valani the same day he sent it to the FDA.




690
   ALGAT0003776795
691
   Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, at 1 (Oct. 25,
  2018) (emphasis added).



                                    242
       532.   Moreover, Altria’s partners within JLI—Valani and Pritzker—were

involved in reviewing and approving the Make the Switch Campaign, allowing Altria to

influence the marketing efforts of JLI. For example, on December 27, 2018, Kevin Burns

forwarded an email from Chelsea Kania to Pritzker and Valani with “assets for the [Make

the Switch] campaign including 20/60 radio spots and 30/60 tv spots,” and the next day

Valani directed which videos should be aired as part of the campaign.692

              b.     Altria Participated in and Directed JLI’s Fraudulent Scheme to
                     Keep Mint on the Market.

       533.   Altria and Altria Client Services also came to the bargaining table with

Pritzker and Valani armed with important knowledge – that flavors would be crucial to

JLI’s continued ability to target and sell to youth users and wanting to ensure JLI

proactively and fraudulently protect those flavors.

       534.   Within weeks of the FDA’s July 2017 notice of proposed rulemaking

(“ANPR”) regarding ENDS flavor regulations, Gal Cohen proposed that JLI and others

“build a coalition and common agenda to influence or challenge FDA’s approach” to

regulating flavors.693 Foreshadowing their joint effort to portray Mint as a traditional

tobacco or menthol flavor (as opposed to a flavor that appealed to kids), Cohen asked

whether Altria and JLI might respond to the FDA with “a common approach and

understanding,” and asked if the companies might find “a damage limitation option”

concerning the regulation of ENDS flavors.694



692
    JLI10071280; JLI10071228
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    JLI10678579
694
    Id.



                                    243
       535.   Ashley Gould, copying Adam Bowen, responded that the “Consensus seems

to be there is a value in participating in a discussion. Less sure that participating in a joint

effort to influence FDA makes sense, so please don't commit to that at the meeting.” In the

same email, Gould seemingly reversed course and gave Cohen the go-ahead to meet with

Altria (or Altria Client Services) in pursuit of a damage limitation option “(but maybe best

if the group is smaller).”695

       536.   Cohen attended a September 15, 2017 Global Tobacco Networking Forum

(“GTNF”) industry event with James Xu, CEO of Avail Vapor, and Altria Client Services’

Phil Park. The small group Gould recommended seems to have materialized, as a

September 27, 2017 email from Cohen notes that “Clive Bates organized a group that met

on Friday with reps from Altria etc. . . they want to help drive standards definitions.”696

       537.   Through this meeting, Altria knew that JLI would be a good partner because

it shared a similar vision of preserving flavors. Indeed, Altria (or Altria Client Services)

went into this meeting with Cohen expecting to find a willing partner on flavors. As noted

above, a May 2017 presentation from Altria Client Services touted that JLI offered “mint,

berry, tobacco, and cream varieties” with “[i]ndications of additional flavor pods in

potential pipeline.”697

       538.   The following year, 2018, when it became clear that the FDA was increasing

scrutiny of the e-vapor industry, JLI, the Management Defendants, and Altria publicly




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    Id.
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    JLI10679070
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    ALGAT0002412177



                                      244
defended mint flavoring as a substitute for menthol cigarette smokers, when in fact JLI’s

studies—which had been made available to Altria and Altria Client Services as part of due

diligence for its ultimate investment in JLI—indicated that mint users are not former

menthol smokers and that mint pods were as popular with teens as Mango pods. By

fighting to keep mint as the last flavor on the market, the cigarette industry could continue

to appeal to non-smokers, including youth. JLI and the Management Defendants

coordinated with Altria to pursue a fraudulent scheme to persuade the FDA into leaving

the mint flavor on the market, willingly sacrificing other flavors in the process as a

purported show of commitment to youth prevention.

       539.   Altria’s specific fraudulent acts with regard to this fraudulent scheme are

detailed further below.

       4.     JLI, the Management Defendants and Altria Coordinated to Market
              JUUL in Highly-Visible Retail Locations

       540.   JLI, the Management Defendants, and Altria’s coordination continued in

other ways throughout 2018 as they prepared for Altria’s equity investment in JLI.

       541.   A key aspect of this early coordination was Altria’s acquisition of shelf-

space that it would later provide to JLI to sustain the exponential growth of underage users

of JUUL products. By acquiring shelf space, Altria took steps to ensure that JUUL

products would be placed in premium shelf space next to Marlboro brand cigarettes, the

best-selling cigarette overall and by far the most popular brand among youth.

       542.   Altria’s investment was not for its own e-cigarette products. Altria spent

approximately $100 million in 2018 to secure shelf-space at retailers for e-cigarette




                                    245
products—purportedly for the MarkTen e-cigarette that Altria stopped manufacturing in

2018, and its pod-based MarkTen Elite, which it launched on a small scale in only 25,000

stores. By comparison, the 2014 launch of the original MarkTen resulted in product

placement in 60,000 stores in the first month in the western United States alone. Yet

Altria’s payments for shelf space were a mixture of “cash and display fixtures in exchange

for a commitment that its e-cigarettes would occupy prime shelf space for at least two

years.”

         543.   In reality, Altria spent approximately $100 million on shelf-space in

furtherance of expanding the e-cigarette market, including JLI’s massive, ill-gotten market

share.

         544.   When Altria later announced its $12.8 billion investment in JLI, part of the

agreement between the two companies was that Altria would provide JLI with this

premium shelf space.

         545.   Altria’s purchase of shelf space in 2018 and its subsequent provision of that

space to JLI shows how Altria, JLI, and the Management Defendants were coordinating

even before Altria announced its investment in JLI. Altria’s actions ensured that, even

after public and regulatory scrutiny forced JLI to stop its youth-oriented advertising, JUUL

products would still be placed where kids are most likely to see them—next to Marlboros,

the most iconic, popular brand of cigarettes among underage users—in a location they are

most likely to buy them—retail establishments.




                                      246
       5.     Altria Works with the Management Defendants to Direct JLI’s Affairs
              and Commit Fraud.

       546.   In December 2018, Altria formalized its relationship with JLI’s leadership

by making a $12.8 billion equity investment in JLI through Altria Group and its wholly-

owned subsidiary, Altria Enterprises698, the largest equity investment in United States

history. This arrangement was profitable for both Altria as well as Defendants Monsees,

Bowen, Pritzker, Huh, and Valani.




                 699
                       In turn, Altria and its subsidiaries received millions of loyal teen

customers, customers Altria was no longer able to get through the sale of its own cigarette

products. The Management Defendants’ payout reflects their active role in JLI’s growth,

not just a return on their investment.

       547.   In July 2018, JLI’s valuation was approximately $15 billion.700 But, in

December 2018, Altria’s investment of $12.8 billion for a 35% stake in the company

reflected a valuation of approximately $38 billion—more than two and a half times the

valuation just five months earlier. Defendants Monsees, Bowen, Pritzker, Huh, and Valani




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    Archive00760162
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    JLI11387060.
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    https://www.theverge.com/2018/7/3/17529442/juul-vapes-nicotine-electronic-
  cigarettes-addiction-funding



                                     247
thus saw the value of their investments in JLI skyrocket as a result of the Altria agreement,

allowing them to cash out via a special dividend and bonus, as well as through stock sales

that were not available to other of JLI’s minority shareholders.701 This investment further

intertwined JLI and the Altria Defendants.

       548.   While Pritzker, Valani, and Altria carefully structured the deal to avoid the

appearance of Altria’s control of JLI, for fear of drawing regulatory and public scrutiny,

the structure does not tell the whole story. Altria and Altria Client Services had been

involved in directing the affairs of JLI indirectly long before its investment, and the Altria

Defendants’ involvement was even more direct following the investment. And although

Altria took only a 35% share initially, it retained the option to buy JLI outright in 2022.

This promise of a future purchase gave it significant influence over the actions of JLI’s

leadership—i.e., the Management Defendants who stood to profit even more handsomely

from an ultimate acquisition by Altria.

       549.   While JLI and Altria remain separate corporate entities in name, following

its equity investment in JLI, the Altria Defendants worked with the Management

Defendants, and Pritzker and Valani in particular, to forge Altria and JLI forged even

greater significant, systemic links, i.e., shared leadership, contractual relationships,

financial ties, and continuing coordination of activities with JLI’s leadership. Because

Altria and its subsidiaries could no longer market Altria’s products to children or lie to




701
   Tiffany Kary, JUUL Founders Sued for Self-Dealing Over Altria's $12.8 Billion,
  Bloomberg (Jan. 13, 2020), https://www.bloomberg.com/news/articles/2020-01-13/juul-
  founders-sued-for-self-dealing-over-altria-s-12-8-billion.



                                     248
adults about the safety, addictiveness, or health effects of its own cigarettes as result of

prior tobacco litigation and regulation, Altria took even greater control of JLI in order to

accomplish both of these goals through that company.

              a.     Altria Installs Its Own Executives into Leadership Positions to
                     Direct the Affairs of JLI.

       550.   To exercise its influence and control of JLI, Altria worked with Pritzker and

Valani to install two key Altria executives into leadership positions at JLI: K.C.

Crosthwaite and Joe Murillo:

              a.     K.C. Crosthwaite, who was Vice President of Altria Client Services
                     when the company carried out a study that would later be used by
                     Altria to shield JUUL’s Mint pods from federal regulation, is now
                     JLI’s CEO. Before joining JLI, Crosthwaite was Altria’s and Altria
                     Client Services’ Chief Growth Officer and played a major role in
                     Altria’s investment in JLI, and had experience in the marketing of
                     tobacco products from his time as president of Philip Morris USA.

              b.     Joe Murillo, who launched the MarkTen e-cigarette line at Altria (as
                     President and General Manager of Nu Mark LLC) and more recently
                     headed regulatory affairs for Altria (as Senior Vice President of
                     Regulatory Affairs of Altria Client Services), is now JLI’s chief
                     regulatory officer.702 A 24-year career Altria executive, Murillo
                     previously ran Altria’s e-cigarette business, Nu Mark, “before Altria
                     pulled its e-cigarettes off the market as part of its deal with
                     J[UUL].”703

       551.   As mentioned above, K.C. Crosthwaite played a major role in Altria’s

investment in JLI. Crosthwaite frequently communicated with Altria Group’s senior

management about Altria’s investment. For example, on January 25, 2018, Altria Group’s

CEO, Howard Willard sent a presentation about “Project Tree” (Altria’s investment in



702
    Jennifer Maloney, JLI Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019),
  https://www.wsj.com/articles/juul-hires-another-top-altria-executive-11569971306.
703
    Id.



                                     249
JLI) to K.C. Crosthwaite (who was, at the time, President of Defendant Philip Morris

USA) and the two men agreed to discuss the matter the next morning.704 Then in July

2018, Crosthwaite (who, at the time, had transitioned to his role as Senior Vice President

and Chief Growth Officer of Altria Client Services and Altria Group) was also listed as

one of three “meeting participants,” along with Willard and Altria Group’s CFO, Gifford,

for a July 13, 2018 meeting with JLI’s leadership about the deal between Altria and JLI.705

In addition, Crosthwaite led Altria Group’s due diligence efforts,706 signed the investment

exclusivity agreement on behalf of Altria Group shortly before the deal was publicly

announced,707 and was listed as the Altria point of contact for any “notices, requests and

other communications” regarding the Services Agreement between Altria Group and

JLI.708

          552.   While working on this investment, Altria, and Crosthwaite himself,

discussed their goal to influence and control JLI. For example, in a presentation by

Crosthwaite to Altria Group, Inc. at the Board of Directors’ Strategy Session on August

22, 2018, Crosthwaite indicated that Altria should keep pursuing their “strategic

investment in JUUL” because it would give Altria “[s]ignificant ownership and influence

in U.S. e-vapor leader.”709




704
    ALGAT0000036407; ALGAT0000111921.
705
    ALGAT0002817348.
706
    JLI01374736; JLI01416851.
707
    JLI01392046.
708
    Archive00760280.
709
    ALGAT0003327931-33.



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       553.   After the deal was official, in January 2019, Altria appointed Crosthwaite to

the JLI Board of Directors.710 Crosthwaite was required to be a non-voting observer until

the FTC gave the Altria investment in JLI clearance, which has yet to occur. Altria planned

to use this role to help guide JLI. According to Crosthwaite, Altria was focusing on

“ensur[ing] JUUL maintains long-term leadership in global E-vapor by leveraging Altria’s

best-in-class infrastructure and providing guidance through board participation.”711

       554.   However, despite his now official role, Crosthwaite continued to meet

privately with Pritzker and Valani. For example, on January 16, 2019, Pritzker asked

Crosthwaite if he would meet with Valani and Pritzker after the JUUL Board meeting later

that month. Crosthwaite promptly reported back to Willard that he “agreed to have dinner

with Nick and Riaz on the 31st after the JUUL BOD meeting.”712

       555.   Crosthwaite continue to be involved in meetings between Altria and the

Management Defendants as his time as an “observer” on the JLI Board went on. On March

26, 2019, Willard, Gifford, and Crosthwaite and a few other Altria employees flew to San

Francisco to attend a dinner with the JLI leadership, including Bowen, Monsees, Pritzker,

Valani, and others.713 After the dinner, Pritzker emailed Willard, Gifford, and Crosthwaite,

telling them that “[w]e truly appreciate our partnership, and look forward to an even

deeper collaboration in the future.”714




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    JLI01416851.
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    ALGAT0002856951.
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    ALGAT0000114034.
713
    ALGAT0000080766.
714
    ALGAT0003889812.



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       556.   To facilitate that “deeper collaboration” and its control of JLI, Altria decided

to install one of its own career executives, Crosthwaite, as the head of JLI. In furtherance

of that goal, in April 2019, Howard Willard told Pritzker that he believed JLI would

benefit from “a new direction.”715 That same month, Pritzker invited Crosthwaite to

Pritzker’s house in San Francisco for a weekend visit.716 During this visit, according to

JLI, Crosthwaite expressed concerns about JLI’s leadership’s ability to guide JLI, and

Pritzker and Crosthwaite discussed Crosthwaite potentially joining JLI in some capacity.

       557.   As the summer approached, JLI admits that “various Board members”

continued to communicate with Crosthwaite and that “the Board valued his perspective

on JLI’s business,” in other words, Altria’s perspective on JLI’s business.717 In his

discussions with the Board, Crosthwaite continued to express a view that JLI would

benefit from a change in leadership. 718

       558.   While Altria had not yet officially installed Crosthwaite as JLI’s CEO, that

did not prevent them from giving JLI’s leadership, and specifically Pritzker and Valani,

advice and direction about how to run the company. On May 26, 2019, Pritzker emailed

Willard asked whether he was “coming to the youth/PMTA meeting in DC June 14” and

“[i]f so, do you think we can find a time for you, Riaz, and I to get together separately?”

Willard responded “Yes and yes. We can arrange the plan next week.”719




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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    ALGAT0003285214.



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       559.   Similarly, on July 9, 2019, Willard emailed Valani, Pritzker, JLI’s then-

CEO Kevin Burns and cc’d Crosthwaite giving JLI advice and feedback on their “Youth

Vaping Prevention Plan.” Willard stated that the “plan represents a modest improvement

rather than an impressive ‘new day.’” Willard also gave them advice and direction, telling

them to “[k]eep working on it, but do not make a big announcement at this time” but that

their proposed “internal changes sound reasonable and appropriate.”720

       560.   In June 2019, Howard Willard spoke to Pritzker and Valani again, along

with Frankel (who “[s]erves as Mr. Valani’s second board seat”721). Willard reiterated that

he believed JLI would be benefit from a new direction.722 Willard conveyed explicitly that

“JLI could benefit from Mr. Crosthwaite’s leadership.”723 Willard “expressed his view

that Mr. Crosthwaite’s unique experience would make him a strong leader for JLI.” 724

       561.   After this conversation, on July 22, 2019, a draft press release was created

and sent to Crosthwaite announcing Crosthwaite as JLI’s new CEO.725 The draft press

release states that Crosthwaite was “most recently a JUUL Board Advisor” and includes

a quote from Defendant Monsees, explaining that “Adam [Bowen] and [Monsees] . . .

have had the pleasure of getting to know K.C. through our partnership with Altria and

have already benefitted tremendously from his strategic insights as a Board observer.”726




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    ALGAT0003279064.
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    JLI00417815.
722
    JLI01416851.
723
    JLI01416851.
724
    JLI01416851.
725
    ALGAT0005389689.
726
    ALGAT0005389689.



                                    253
This document was sent to Crosthwaite by Carina Davidson, the President of

communications firm Abernathy MacGregor, with whom Altria works regularly.727

Crosthwaite reviewed the documents and discussed it with Davidson, including asking her

to “tone down the language re: Kevin” Burns, JLI’s then-CEO, who Crosthwaite would

be replacing.728

       562.   On August 23, 2019, Valani met with Crosthwaite again to discuss “business

and non-business topics.”729

       563.   Throughout the month of September, Defendant Valani and Defendant

Pritzker continued to meet with Altria about Crosthwaite taking over leadership of JLI.

For example, on September 11, 2019, Valani and Pritzker spoke with Willard, about “the

challenges facing JLI” and Willard “expressed concern about Mr. Burns’ [JLI’s then-

CEO] leadership” and “expressed his opinion that JLI would benefit from a new

direction.” 730 As mentioned above, Willard had previously suggested Crosthwaite be

installed in a leadership role. Four days later, on September 15, 2019, Crosthwaite met

with Valani and Frankel “to further discuss the possibility of Mr. Crosthwaite joining

JLI.”731 During this meeting Crosthwaite told Valani and Frankel that he also wanted them




727
    ALGAT0005389689; ALGAT0005389687; see also, e.g., ALGAT0003360382,
  ALGAT0003778898.
728
    ALGAT0005410667.
729
    JLI01416851.
730
    JLI01416851.
731
    JLI01416851.



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to consider hiring Joe Murillo, then the head of regulatory affairs for Altria, as Chief

Regulatory Officer for JLI. 732

       564.   On September 17, 2019, Valani met with Crosthwaite in New York to

further discuss Crosthwaite taking over as the formal leader of JLI.733 Valani and Frankel

met with Crosthwaite again on September 18, 2019, in New York. 734 On September 19,

2019, Bowen, Monsees, Pritzker, and Valani met with Crosthwaite for dinner in San

Francisco. 735 On September 20, 2019, Pritzker and Valani met with Crosthwaite again in

San Francisco to discuss the details of Crosthwaite’s leadership role.736

       565.   On September 22, 2019, Pritzker, Valani, and Frankel spoke to Crosthwaite

over the phone about taking over leadership at JLI.737 Crosthwaite continued to express

the view that JLI would benefit from leadership changes and reiterated his view that JLI

should hire Murillo, should Crosthwaite join JLI. While Crosthwaite expressed some

doubts about his position, the parties agreed to continue to discuss the matter.738

Ultimately, the Board met that day and resolved to offer Crosthwaite a leadership position

at JLI.739

       566.   On September 24, 2019, JLI’s Board of Directors voted to accept the

resignation of current JLI CEO Kevin Burns, approve Crosthwaite’s appointment as CEO


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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.



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of JLI and appoint him to the Board.740 That same day, Crosthwaite told “JLI to begin

preparations on an offer of employment for Murillo.”741

       567.   Crosthwaite formally took over as CEO of JLI on September 25, 2019.742

Murillo accepted a position as JLI’s Chief Regulatory Officer on September 29, 2019 and

began work on October 7, 2019.743 Altria’s plan was a success.

              b.     Altria Furthered the JLI Enterprise by Participating in and
                     Directing the Marketing and Distribution of JUUL Products.

       568.   In addition to installing its own executives as senior leadership at JLI, after

its investment, the Altria Defendants worked with JLI’s leadership to assist JUUL’s

growth through marketing and distribution, despite its knowledge that JUUL’s growth was

based on selling to minors and lying to adults about JUUL products. The Altria Defendants

helped JUUL thrive in the areas of “direct marketing; sales, distribution and fixture

services; and regulatory affairs.”744 This included, among other things:

              c.     “Piloting a distribution program to provide long haul freight,
                     warehouse storage and last mile freight services.”

              d.     “Making available [Altria’s] previously contracted shelf space with
                     certain retailers,” thus allowing JUUL products to receive prominent
                     placement alongside a top-rated brand of combustible cigarettes,
                     Marlboro, favored by youth.

              e.     “Executing direct mail and email campaigns and related activities. .
                     . .”

              f.     “Leveraging Altria’s field sales force to . . . provide services such as
                     limited initiative selling, hanging signs, light product

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    JLI01416851. Pursuant to JLI’s by-laws, the Company’s CEO is automatically
  appointed to the Board.
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    JLI01416851.
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    JLI01416851.
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    JLI01416851.
744
    Letter from Howard Willard III, Altria Senator Durbin, et. al., at 11 (Oct. 14, 2019).



                                     256
                      merchandising, and surveys of a subset of the retail stores that Altria
                      calls upon.”

              g.      “Providing regulatory affairs consulting and related services to
                      [JUUL] as it prepares its PMTA application.”745

       569.   In an attempt to legitimize its support of JUUL’s growth and despite public

and regulatory concern, the Altria Defendants entered into a number of formal agreements

with JLI. These agreements included collaboration with Defendants Altria Group

Distribution Company, Altria Client Services, and Philip Morris USA, each known in the

agreement as “the Altria Company.” Each agreement listed Altria Group, Inc. as the

“Provider” and was managed by Theodore J. Edlich IV of Altria Client Services as the

“Provider Manager.”746

       570.   In each agreement, JLI agreed to “cooperate fully with the Altria Company

in its performance of the Services, including without limitation, by timely providing all

information, materials, resources, decisions, and access to personnel and facilities

necessary for the proper performance of the Services by the Altria Company.”747

       571.   In exchange, Altria Group Distribution Company agreed to distribute and

sell JUUL products across the country greatly expanding JUUL’s retail footprint. While

JUUL products have typically been sold in 90,000 U.S. retail outlets, Altria’s products

reach 230,000 U.S. outlets. Altria Group Distribution Company also brings its logistics

and distribution experience (although, after increasing public scrutiny, Altria announced




745
    Id. at 13.
746
    See, e.g., JLI10490204.
747
    See, e.g., JLI10490204.



                                      257
on January 30, 2020 that it would limit its support to regulatory efforts beginning in March

2020748).

       572.   Specifically, AGDC agreed to:

              a.     Market JUUL products in 1,073 Speedway stores initially, followed
                     by a second wave of 1,937 stores, provide key account assistance
                     and field sales force management, and install Point of Sale materials
                     for JUUL products;749

              b.     Sell and execute pre-books/pre-orders for JUUL products for 83
                     Chain accounts and up to 51 distributors;750

              c.     Provide territory sales managements, key retail account assistance,
                     and field sales force management to perform a “full reset”
                     (including merchandising JUUL products to replace Nu Mark
                     products and installing JUUL graphics and other marketing
                     materials) in up to 40,399 stores, including Circle K, 7-Eleven,
                     Chevron, Sheetz, Speedway, Wawa, Giant Eagle, Walmart, and
                     many more;751

              d.     Provide sales support at 77,806 stores by improving out of stock
                     and distribution gaps, providing labor and Field Sales Force
                     services to handle merchandising, account management, tracking
                     insights, and conduct inventory management;752

              e.     Conduct supply chain management for distribution of JUUL
                     products, as well as line haul freight, public warehouse storage in
                     San Bernardino, CA, last mile fright to customers, and shipping to
                     distributions (including Circle K, Core Mark, and McLane) in
                     Nevada, Arizona, and California;753



748
    Nathan Bomey, Marlboro maker Altria distances itself from vaping giant JLI amid
  legal scrutiny, USA Today (Jan. 31, 2020),
  https://www.usatoday.com/story/money/2020/01/31/juul-altria-distances-itself-e-
  cigarette-maker-amid-scrutiny/4618993002/.
749
    JLI10490204.
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    JLI01339886.
751
    JLI01339886.
752
    JLI01339878.
753
    JLI01339918.



                                    258
             f.     Provide distribution assistance, including freight from DCL to
                    Richmond, Virginia and warehouse storage and handling of JUUL
                    products;754

             g.     Provide sales support for JUUL products including working in tens
                    of thousands of stores number of stores to provide insights and
                    conduct surveys, update and install point of sale marketing, address
                    “inventory opportunities,” including out of stock issues and
                    distribution gaps, check prices and advertising the price in the store,
                    and selling in new initiatives at the headquarters or store level,
                    including new product launches, fixture merchandising, and training
                    store personnel, and store and ship JUUL point-of-sale materials to
                    support JUUL sales;755

             h.     Bring JLI into Altria Group Distribution Company’s Retail Council
                    in June 2019, including giving opening remarks, three breakout
                    group sessions, and a trade show booth;756 and

             i.     Distribute JUUL products and provide supply chain management
                    for distribution to Arizona, California, Hawaii, Nevada, Texas,
                    Louisiana, and Oklahoma (including line haul freight, public
                    warehouse storage and handling in San Bernardino, California and
                    Fort Worth, Texas, and last mile freight to customers);757

      573.   Through these distribution services, Altria Group Distribution Services, and

Altria Client Services (as the “Provider Manager”) used the mail and wires to transmit

JUUL collateral and packaging that contained the false representation that a single JUUL

pod was equivalent to a pack of cigarettes. A representation which, as discussed above,

Altria and Altria Client Services knew was false.




754
    JLI01339903.
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    JLI01339937; JLI01339930; JLI01339980. The November to December 2019
  agreement also included AGDC’s assistance in removing the companies’ “Make the
  Switch” campaign materials, which were the subject of a warning letter by the FDA.
756
    JLI01339973.
757
    JLI01339955.



                                   259
       574.   Altria Group Distribution Company also worked to sell Mint JUUL products

in particular. For example, Altria Group Distribution Company led a “market blitz” for

JUUL products starting in February 2019. 758 As part of this blitz effort, JLI employees

recognized that “Mint growth is huge – may need double space for certain SKUs to avoid

out of stock situations,” but that “sales are low” for Classic Tobacco.759

       575.   Similarly, a March 18, 2019 AGDC presentation of its work to sell JUUL

showed that it was pushing Mint more than Menthol and Virginia Tobacco combined. The

re-order form for 7-Eleven included seven choices, four of which were for Mint JUUL

pods.760 In the presentation, AGDC also indicated that Mint was flying off the shelves and

that the Mint 5% 4-pack in particular was out of stock 25% of the time. 761

       576.   Crosthwaite, when he was still formally working for Altria and Altria Client

Services, was directly involved in supervising the distribution of JUUL products,

including Mint. For example, a senior director at Altria Group Distribution Company

notified Crosthwaite that certain JUUL products, including Mint 5% JUULpods, were

experiencing “inventory constraints” which “may be relevant to [Crosthwaite’s]

conversation with Kevin Burns,” JLI’s then-CEO.762 Crosthwaite forwarded the email to

Burns, asking him “Assume your guys are all over this?”763




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    JLI01010641.
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    JLI01010641.
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    ALGAT0000772561.
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    ALGAT0000772561.
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    JLI01392499.
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    JLI01392499.



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      577.   AGDC’s work was effective. When listing JUUL Performance Results in

March 2019, AGDC included a quote from “Alex Cantwel, VP JUUL Strategy” reporting

“We just had our largest refill kit order in history. Thank you and your team for all the

work.”764

      578.   Altria Client Services, for its part, not only served as the “provider manager”

for each of the formal agreements between JLI and various “Altria Compan[ies]”, but also

agreed to work with JLI’s regulatory affairs employees on the PMTA application for

JUUL and directly market JUUL to millions of customers.

      579.   For example, to assist with PMTA, ACS agreed to:

             h.     Study JUUL products, including conducting pre-clinical (chemistry,
                    toxicology and biological sciences), clinical, aerosol, modeling and
                    simulation, sensory and population research (perception, behavior,
                    population modeling, consumer research and post-market
                    surveillance) and assist with JLI’s regulatory affairs problems by
                    providing with strategy and engagement, regulatory intelligence and
                    insight, advocacy and regulatory narrative writing and
                    submissions;765
             i.     Study and consult with JLI for examination of consumer perception,
                    behavior, and intentions relating to JUUL products, such as whether
                    consumers comprehend JUUL’s e-vapor communications
                    (instructions for use, labeling and safety warning) and the impact of
                    exposure to JUUL promotional materials among users and on users
                    on, the likelihood of switching, dual use, initiation, and cessation of
                    tobacco products, appeal of JUUL, absolute risk perceptions
                    associated with use of JUUL, risk perceptions relative to other
                    tobacco products, NRTs and quitting, and general harm perceptions
                    associated with the use of JUUL;766
             j.     Study and consult with JLI on preclinical in vivo inhalation
                    exposure of JLI’s 1.7% Glacial Mint flavor product and its effect on
                    rats;767

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    ALGAT0002940950.
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    JLI01339882; JLI013398976.
766
    JLI01426119
767
    JLI01426125



                                    261
             k.    Study and consult with JLI on chemical profiling analysis of Golden
                   Tobacco, Virginia Tobacco, Mango, Mint, and Menthol JUUL
                   products in 1.7, 3, and 5 nicotine strength;768 and
             l.    Study and consult with JLI on population modeling, including on
                   assessing the population health impact to the U.S. population with
                   the introduction of JUUL products, focusing on tobacco use
                   prevalence and all-cause mortality;769
             m.    Conduct JUUL topical literature reviews relating to e-vapor
                   products, including collecting and summarizing these articles into a
                   literature review summaries and create evidence tables on
                   information about initiation, cessation, relapse, patterns of use,
                   abuse liability, gateway, perceptions, chemistry, and health effects
                   topics;770
             n.    Develop, execute, and document exposure characterization for
                   JUUL’s classic tobacco product;771
             o.    Study and consult with JLI on passive vaping modeling, including
                   modeling of second and third hand exposures to e-vapor and
                   cigarette smoke aerosols;772 and
             p.    Provide access to and use of Altria’s product testing services,
                   including its Smoking Machine Vitrocell 1/7, Vitrocell 24/28
                   system, and Vitrocell Ames 48 System.773
      580.   Altria Client Services also market JUUL products by sending out mailers,

emails, and coupons to millions of people across the United States. For example, ACS

agreed to:

             q.    Work with JLI to develop the final creative design for direct mail
                   campaigns, execute the plans, and mail the JUUL advertisements
                   and coupons to 1.5 million people in March 2019, 1 million people
                   in May 2019, 2.5 million people in September 2019, and 3.8 million
                   people in December 2019;774



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    JLI01426135.
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    JLI01426141.
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    JLI01339943.
771
    JLI01426146.
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    JLI01426130.
773
    JLI01339988.
774
    JLI01339912; JLI01339915; JLI01339967; JLI01339970. In the December 2019
  agreement, but not the March, May, or September agreement, ACS claimed to “reserve



                                  262
             r.     Work with JLI to develop the final creative design for an email
                    campaign and send out direct marketing via email, including three
                    email campaigns with a combined total audience of 515,000,
                    including coupons of JUUL;775
      581.   Altria also worked with JLI to cross-market JUUL and Marlboro cigarettes.

As memorialized in an agreement between Philip Morris USA, Inc. and JLI, “the Altria

Company” worked with JLI to design inserts to put in Altria’s cigarettes and eventually

distributed coupons for JUUL starter kits in 20 million packs of L&M and Parliament

brand cigarettes and 30 million packs of Marlboro cigarettes:776




      582.   Both the inserts distributed by Philip Morris and the mail and email

advertisements sent by Altria Client Services were advertisements for JLI’s fraudulent

“Make the Switch” campaign described above.




  the right not to send any mailing of portion thereof where all [JUUL] vapor products
  cannot be legally sold.” JLI013339970.
775
    JLI01339927.
776
    Points for us!, Reddit (Sept. 16, 2019),
  https://www.reddit.com/r/juul/comments/d50jku/points_for_us/ (depicting an image of a
  Marlboro carton with a JUUL starter kit coupon inside); JLI01339874.



                                   263
      583.    In order to help JUUL expand and be able to keep selling to kids and lying

to adults, Altria and Altria Client Services also directed JLI in combatting legal and

regulatory challenges, helping with patent infringement battles and consumer health

claims and helping to navigate the regulatory waters and FDA pressure. For example, in

2019, internal documents from Altria Client Services confirm that the Altria Defendants

were engaged in ongoing efforts to provide “services and insight to accelerate JUUL’s

U.S. performance” and “actively engage FDA and other stakeholders to address youth

vaping.”777

      584.    Altria also brings lobbying muscle to the table, which worked to prevent

new federal or state legislation targeting JUUL or the e-cigarette category more broadly.

Altria “has a potent lobbying network in Washington [D.C.] and around the country.”778

Vince Willmore, a spokesman for the Campaign for Tobacco-Free Kids, which has been

involved in many state lobbying battles, said, “It’s hard to say where Altria ends and JLI

begins.”779 While an Altria spokesman has denied that there was any contractual services

agreement for lobbying between JLI and Altria, he admitted that he did not know what

informal advice and conversations Altria has had with JLI about lobbying efforts.

Crosthwaite admitted internally that Altria would be “collaborat[ing] on regulatory

matters” with JLI (likely through Altria Client Services).780 And Altria installed Joe


777
    ALGAT0002856956.
778
    Shelia Kaplan, In Washington, JLI Vows to Curb Youth Vaping. Its Lobbying in States
  Runs Counter to That Pledge., N.Y. Times (Apr. 28, 2019),
  https://www.nytimes.com/2019/04/28/health/juul-lobbying-states-ecigarettes.html.
779
    Id.
780
    ALGAT0002856953.



                                   264
Murillo, then the head of regulatory affairs for Altria and a 24-year Altria veteran with

extensive experience in e-cigarette regulations, as Chief Regulatory Officer for JLI.

Indeed, since Altria worked with the Management Defendants to assume some control

over JLI, JLI’s spending on lobbying has risen significantly. JLI spent $4.28 million on

lobbying in 2019, compared to $1.64 million in 2018.781

       585.   Contrary to public statements, Altria’s investment in JLI was not only a

financial contribution nor were these agreements about just “services”; rather, they were

manifestations of Altria’s and the Management Defendants’ plan to continue selling JUUL

to kids and lying to adults about JUUL products, all while staving off regulation and public

outcry. Internal documents show that Altria did not consider itself a mere non-voting

minority investor or service provider. Instead, it viewed itself as JLI’s “valued partner”

and wanted to ensure it could “completely unlock partnership benefits,” “guide [JLI’s]

strategic direction through board engagement,” including “providing strategic advice and

expertise,” and “collaborate on youth vaping.”782 According to an Altria Group

Distribution Company presentation, AGDC should be “viewed as more than a vendor but

as a strategic partner in supporting JUUL’s mission.”783

       586.   The Altria Defendants’ services agreements with JLI obscured Altria’s

takeover of large portions of JUUL’s distribution and marketing. Altria’s goal was always




781
    Client Profile: JUUL Labs, Center for Responsive Politics,
  https://www.opensecrets.org/federal-
  lobbying/clients/summary?cycle=2019&id=D000070920 (last visited Apr. 4, 2020).
782
    ALGAT0002856956.
783
    ALGAT0000772561.



                                    265
to expand the reach and sales of JUUL products, despite the knowledge of their lies and

youth targeting. According to the Altria Client Services employees working with KC

Crosthwaite on summarizing Altria Group’s 2019 “Strategic Initiatives”, Altria Group’s

CEO Howard Willard “investment thesis from the beginning” was that Altria could

accelerate JUUL growth “as it gains more prominent shelf space” and “category

management.”784 And importantly, as noted above, Altria gives JLI access to shelf space

that it had obtained under fraudulent pretenses. This is not just any shelf space; it is space

near Altria’s (Philip Morris USA’s) blockbuster Marlboro cigarettes, and other premium

products and retail displays. The arrangement allows JLI’s tobacco and menthol-based

products to receive prominent placement alongside a top-rated brand of combustible

cigarettes.

       587.   Altria’s investment and the Altria Defendants’ collaboration with the

Management Defendants was not just about investing in a legitimate business or selling

to adult smokers. Instead, Altria used its relationship with the Management Defendant and

with JLI to continue selling to youth and lying to the public, just as it had done in the past.

Despite its knowledge of JUUL’s youth targeting, when announcing its investment, Altria

explained that its investment in JLI “enhances future growth prospects” and committed to

applying “its logistics and distribution experience to help JLI expand its reach and

efficiency.”785 Altria sought to achieve this goal through “strategic guidance,” “board




784
   ALGAT0002856953.
785
   Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm
  Reduction and Drive Growth, BusinessWire (Dec. 20, 2018),



                                     266
influence,” and marketing and distribution assistance.786 And with the help of the

Management Defendants, and Pritzker and Valani in particular, the Altria Defendants have

successfully ensured that JUUL would maintain and expand its market share—a market

share that, based on Altria’s own October 25, 2018 letter to the FDA, it believes was

gained by employing marketing and advertising practices that contributed to youth

e-cigarette use.

G.     JLI, Altria, and Others Have Successfully Caused More Young People to Start
       Using E-Cigarettes, Creating a Youth E-Cigarette Epidemic and Public Health
       Crisis.

       588.   Defendants’ tactics have misled the public regarding the addictiveness and

safety of e-cigarettes generally, and JUUL products specifically, resulting in an epidemic

of e-cigarette use among youth in particular.

       589.   Defendants’ advertising and third-party strategy, as discussed above,

ensured that everyone from adults to young children, would believe JUULing was a cool,

fun, and safe activity.

       590.   To this day, JLI has not fully disclosed the health risks associated with its

products, has not recalled or modified its products despite the known risks, and continues

to foster a public health crisis, placing millions of people in harm’s way.




  https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-
  Minority-Investment-JUUL-Accelerate.
786
    ALGAT0004641801.



                                    267
       1.     Defendants’ Scheme Caused Users, Including Minors, to be Misled into
              Believing that JUUL was Safe and Healthy.

       591.   In 2016, the National Institute on Drug Abuse issued findings regarding

“Teens and Cigarettes,” reporting that 66% of teens believed that e-cigarettes contained

only flavoring, rather than nicotine.787

       592.   Two years later, despite the ongoing efforts of public health advocates, a

2018 study of JUUL users between the ages of fifteen and twenty-four revealed that 63%

remained unaware that JUUL products contain nicotine.788 Further, the study found that

respondents using e-cigarettes were less likely to report that e-cigarettes were harmful to

their health, that people can get addicted to e-cigarettes, or that smoke from others’ e-

cigarettes was harmful.789
       593.
              Similarly, in 2018, a literature review of seventy-two articles published in

the International Journal of Environmental Research and Public Health found that e-

cigarettes were perceived by adults and youth as being healthier, safer, less addictive, safer

for one’s social environment, and safer to use during pregnancy than combustible

cigarettes.790 Further, researchers found that specific flavors (including dessert and fruit

flavors) were perceived to be less harmful than tobacco flavors among adult and youth e-




787
    Teens and E-cigarettes, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
  topics/trends-statistics/infographics/teens-e-cigarettes (last visited Apr. 4, 2020).
788
    Jeffrey G. Willett et al. Recognition, Use and Perceptions of Juul Among Youth and
  Young Adults, 28 Tobacco Control 054273 (2019).
789
    Id.
790
    Id.



                                     268
cigarette users.791 In addition, researchers found that youth e-cigarette users perceived e-

cigarettes as safe to use and fashionable.792

       594.      In 2019, a study published in Pediatrics found that 40% of participants

reported using nicotine-free e-cigarette products, when in fact the products they were

using contained significant levels of nicotine.793

       595.      In 2019, a study published in the British Medical Journal Open

systematically reviewed all peer-reviewed scientific literature published on e-cigarette

perceptions through March 2018 which included fifty-one articles.794 Researchers found

consistent evidence showing that flavors attract both youth and young adults to use e-

cigarettes.795 In addition, among this same group, fruit and dessert flavors decrease the

perception that e-cigarettes are harmful, while increasing the willingness to try e-

cigarettes.796

       2.        Use of JUUL by Minors Has Skyrocketed

       596.      On December 28, 2018, the University of Michigan’s National Adolescent

Drug Trends for 2018 reported that increases in adolescent e-cigarette use from 2017 to



791
    Kim A. G. J. Romijnders et al., Perceptions and Reasons Regarding E-Cigarette Use
  Among Users and Non-Users: A Narrative Literature Review, 15 Int’l J. of Envtl.
  Research & Public Health 1190 (2018), https://doi: 10.3390/ijerph15061190.
792
    Id.
793
    Rachel Boykan et al., Self-Reported Use of Tobacco, E-Cigarettes, and Marijuana
  versus Urinary Biomarkers, 143 Pediatrics (2019), https://doi.org/10.1542/peds.2018-
  3531.
794
    Meernik, et al, Impact of Non-Menthol Flavours in E-Cigarettes on Perceptions and
  Use: An Updated Systematic Review, BMJ Open, 9:e031598 (2019),
  https://bmjopen.bmj.com/content/9/10/e031598.
795
    Id.
796
    Id.



                                     269
2018 were the “largest ever recorded in the past 43 years for any adolescent substance use

outcome in the U.S.”797

       597.   The percentage of 12th grade students who reported consuming nicotine

almost doubled between 2017 and 2018, rising from 11% to 20.9%.798 This increase was

“twice as large as the previous record for largest-ever increase among past 30-day

outcomes in 12th grade.”

       598.   By 2018 approximately 3.6 million middle and high school students were

consuming e-cigarettes regularly,799 and one in five 12th graders reported using an e-

cigarette containing nicotine in the last 30 days.800 As of late 2019, 5 million students

reported active use of e-cigarettes, with 27.5% of high school students and 10.5% of

middle school students using them within the last thirty days and with most youth

reporting JUUL as their usual brand.801




797
    National Adolescent Drug Trends in 2018, Univ. of Mich. Inst. for Social Research
  (Dec. 17, 2018), http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
798
    News Release, Teens Using Vaping Devices in Record Numbers, Nat’l Insts. of Health
  (Dec. 17, 2018) https://www.nih.gov/news-events/news-releases/teens-using-vaping-
  devices-record-numbers.
799
    See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to
  Quitting, N.Y. Times (Dec. 18, 2018),
  https://www.nytimes.com/2018/12/18/health/vaping-nicotine-teenagers.html.
800
    Id.
801
    National Youth Tobacco Survey, U.S. FDA (2019), https://www.fda.gov/tobacco-
  products/youth-and-tobacco/youth-tobacco-use-results-national-youth-tobacco-survey;
  Karen Cullen et al., e-Cigarette Use Among Youth in the United States, 2019, 322
  JAMA 2095 (2019).



                                   270
       599.   The Secretary of the U.S. Department of Health and Human Services

declared that “[w]e have never seen use of any substance by America’s young people rise

as rapidly as e-cigarette use [is rising].”802 Then FDA Commissioner Dr. Gottlieb

described the increase in e-cigarette consumption as an “almost ubiquitous—and

dangerous—trend” that is responsible for an “epidemic” of nicotine use among

teenagers.803 The rapid—indeed infectious—adoption of e-cigarettes “reverse[s] years of

favorable trends in our nation’s fight to prevent youth addiction to tobacco products.”804

CDC Director Robert Redfield agreed, “The skyrocketing growth of young people’s e-

cigarette use over the past year threatens to erase progress made in reducing tobacco use.

It’s putting a new generation at risk for nicotine addiction.”805 Then-Commissioner


802
    Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17,
  2018), https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html;
  Rajiv Bahl, Teen Use of Flavored Tobacco was Down, But E-Cigarettes Are Bringing It
  Back Up, Healthline (Jan. 9, 2019), https://www.healthline.com/health-news/flavored-
  tobacco-use-rising-again-among-teens#An-unhealthy-habit.
803
    News Release, FDA Launches New, Comprehensive Campaign to Warn Kids About the
  Dangers of E-Cigarette Use as Part of Agency’s Youth Tobacco Prevention Plan, Amid
  Evidence of Sharply Rising Use Among Kids, U.S. FDA (Sept. 18, 2018),
  https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm620788.htm.
804
    Id.
805
    Amir Vera, Texas Governor Signs Law Increasing the Age to Buy Tobacco Products to
  21, CNN (June 8, 2019), https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-
  law/index.html.



                                   271
Gottlieb identified the two primary forces driving the epidemic as “youth appeal and youth

access to flavored tobacco products.”806

       600.    Within days of the FDA’s declaration of an epidemic, Surgeon General Dr.

Jerome Adams also warned that the “epidemic of youth e-cigarette use” could condemn a

generation to “a lifetime of nicotine addiction and associated health risks.”807 The Surgeon

General’s 2018 Advisory states that JUUL, with its combination of non-irritating vapor

and potent nicotine hit, “is of particular concern for young people, because it could make

it easier for them to initiate the use of nicotine . . . and also could make it easier to progress

to regular e-cigarette use and nicotine dependence.”808

       601.    Kids are consuming so much nicotine that they are experiencing symptoms

of nicotine toxicity, including headaches, nausea, sweating, and dizziness, and they have

even coined a term for it: “nic sick.” As one high school student explained to CBS News,

it “kinda seems like a really bad flu, like, just out of nowhere. Your face goes pale, you

start throwing up and stuff, and you just feel horrible.”809

       602.    The JUUL youth addiction epidemic spread rapidly across high schools in

the United States. JUUL surged in popularity, largely through social media networks, and




806
    Id.
807
    Surgeon General’s Advisory on E-cigarette Use Among Youth (2018), https://e-
  cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-cigarette-use-
  among-youth-2018.pdf.
808
    Id. a 2.
809
    High school students say about 20% of their peers are vaping, some as young as 8th
  grade, CBS News (Aug. 30, 2019), https://www.cbsnews.com/news/high-school-
  students-say-about-20-of-their-peers-are-vaping-some-as-young-as-8th-grade/.



                                      272
created patterns of youth usage, illegal youth transactions, and addiction, that are

consistent with this account from Reddit in 2017:

       Between classes the big bathroom in my school averages 20-25 kids, and 5-
       10 JUULs. Kids usually will give you a dollar for a JUUL rip if you don’t
       know them, if you want to buy a pod for 5$ you just head into the bathroom
       after lunch. We call the kids in there between every class begging for rips
       ‘JUUL fiends.’ Pod boys are the freshman that say ‘can I put my pod in ur
       juul?’ and are in there every block. I myself spent about 180$ on mango pods
       and bought out a store, and sold these pods for 10$ a pod, making myself an
       absolutely massive profit in literally 9 days. Given because I’m 18 with a car
       and that’s the tobacco age around here, I always get offers to get pod runs or
       juuls for kids. people even understand the best system to get a head rush in
       your 2 minutes between classes, is all the juuls at once. So someone yells
       “GIVE ME ALL THE JUULS” and 3-7 are passed around, two hits each.
       This saves us all juice, and gives you a massive head rush. Kids also scratch
       logos and words onto their juuls to make i[t] their own, every day you can
       find the pod covers in my student parking lot. I know this sounds
       exaggerated, but with a school with 1400 kids near the city and JUULs being
       perceived as popular, it’s truly fascinating what can happen.810

       603.   In response to the post above, several others reported similar experiences:

              a.     “[T]his is the exact same thing that happens at my school, we call
                     [JUUL fiends] the same thing, kind of scary how similar it is.”811

              b.     “Same thing at my school. JUUL fiend is a term too.”812

              c.     “Yeah nicotine addiction has become a huge problem in my high
                     school because of juuls even the teachers know what they are.”813

              d.     “[S]ame [expletive] at my school except more secretive because it’s
                     a private school. It’s crazy. Kids hit in class, we hit 3-5 at once, and
                     everyone calls each other a juul fiend or just a fiend. Funny how
                     similar it all is.”814


810
    What’s Juul in School,
  https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/ (last visited Apr.
  4, 2020).
811
    Id.
812
    Id.
813
    Id.
814
    Id.



                                     273
              e.     “[T]he same [expletive] is happening in my school. kids that vaped
                     were called [expletive] for the longest time, that all changed
                     now.”815

              f.     “Made an account to say that it’s exactly the same way in my school!
                     LOL. I’m from California and I think I know over 40 kids that have
                     it here just in my school. We do it in the bathrooms, at lunch etc.
                     LMAO. ‘Do you have a pod man?’”816

              g.     “It’s the same at my school and just about every other school in
                     Colorado.”817

              h.     “2 months into this school year, my high school made a newspaper
                     article about the ‘JUUL epidemic.’”818

              i.     “Wow do you go to high school in Kansas because this sounds
                     EXACTLY like my school. I’ll go into a different bathroom 4 times
                     a day and there will be kids in there ripping JUUL’s in every single
                     one.”819.

              j.     “At my high school towards the end of lunch everyone goes to the
                     bathroom for what we call a ‘juul party.’ People bring juuls, phixes,
                     etc. It’s actually a great bonding experience because freshman can
                     actually relate to some upperclassmen and talk about vaping.”820

              k.     “To everyone thinking that this is just in certain states, it’s not. This
                     is a nationwide trend right now. I’ve seen it myself. If you have one
                     you’re instantly insanely popular. Everyone from the high-achievers
                     to the kids who use to say ‘e-cigs are for [expletives]’ are using the
                     juul. It’s a craze. I love it, I’ve made an insane amount of money.
                     It’s something that has swept through our age group and has truly
                     taken over. And it happened almost overnight.”821

       604.   The following graph illustrates JLI’s responsibility for the nationwide youth

e-cigarette epidemic. While the rest of the e-cigarette industry stagnated from 2017



815
    Id.
816
    Id.
817
    Id.
818
    Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016),
  https://imgur.com/a/BKepw).
819
    Id.
820
    Id.
821
    Id. (emphasis added).



                                      274
through 2018, JLI experienced meteoric growth. Through that same timeframe, youth e-

cigarette rates nearly doubled from more than 11% in 2017 to more than 20% in 2018.

Through October 5, 2019 (the last date for which data was available), rates of youth e-

cigarette use continued to increase, tracking the growth of JUUL.




                                                                                822


        605.   The unique features of the JUUL e-cigarette—high nicotine delivery, low

harshness, and easy-to-conceal design—have caused patterns of addiction with no

historical precedent. It is not uncommon for fifteen-year-old students, even those who live

at home with their parents, to consume two or more JUUL pods a day.




822
   The area graph depicts e-cigarette unit sale volumes in retail outlets tracked by Nielsen
  by manufacturer and month from 2013 through October 5, 2019; the line graph depicts
  national high school and middle school e-cigarette past-30-day usage rates as
  percentages from 2013 through 2019, with each data point representing a year. See
  Nielsen: Tobacco All Channel Data; National Youth Tobacco Survey (2019),
  https://www.fda.gov/tobacco-products/youth-and-tobacco/youth-tobacco-use-results-
  national-youth-tobacco-survey; see also Compl. at 2 (Figure 1), Commonwealth of Penn.
  v. Juul Labs, Inc., (Ct. Common Pleas, Feb. 10, 2020).



                                    275
       606.   The downwards trend in youth smoking that public health departments and

school anti-tobacco programs worked so hard to create has completely reversed. In 2018,

more than one in four high school students in the United States reported using a tobacco

product in the past thirty days, a dramatic increase from just one year before.823 But there

was no increase in the use of cigarettes, cigars, or hookahs during that same time period.824

There was only increased use in a single tobacco product: e-cigarettes. While use of all

other tobacco products continued to decrease as it had been for decades, e-cigarette use

increased 78% in just one year.825 This drastic reversal caused the CDC to describe youth

e-cigarette use as an “epidemic.”826

H.     JLI Thrived Due to Extensive Efforts to Delay Meaningful Regulation of its
       Products

       1.     E-Cigarette Manufacturers Successfully Blocked the Types of
              Regulations that Reduced Cigarette Sales, Creating the Perfect
              Opportunity for JLI.

       607.   One of the main reasons e-cigarettes like JUUL were so appealing from an

investment and business development perspective is that, unlike combustible cigarettes,



823
    Progress Erased: Youth Tobacco Use Increased During 2017-2018, CDC (Feb. 11,
  2019), https://www.cdc.gov/media/releases/2019/p0211-youth-tobacco-use-
  increased.html.
824
    Tobacco Use By Youth Is Rising: E-Cigarettes are the Main Reason, CDC (Feb. 2019),
  https://www.cdc.gov/vitalsigns/youth-tobacco-use/index.html.
825
    Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on proposed
  new steps to protect youth by preventing access to flavored tobacco products and
  banning menthol in cigarettes, FDA (Nov. 15, 2018), https://www.fda.gov/news-
  events/press-announcements/statement-fda-commissioner-scott-gottlieb-md-proposed-
  new-steps-protect-youth-preventing-access.
826
    Jerome Adams, Surgeon General’s Advisory on E-cigarette Use Among Youth, CDC
  (Dec. 2018), https://e-cigarettes.surgeongeneral.gov/documents/surgeon-generals-
  advisory-on-e-cigarette-use-among-youth-2018.pdf.



                                       276
e-cigarettes were relatively unregulated. This regulatory void was not an accident; the

cigarette industry, and then the e-cigarette industry, spent significant resources blocking,

frustrating, and delaying government action. A 1996 article in the Yale Law & Policy

Review detailed how cigarette companies vehemently opposed the FDA mid-1990s rules

on tobacco products, using lawsuits, notice-and-comment, and arguments related to the

FDA’s jurisdiction to delay or undo any regulatory efforts.827

       608.   In 2009, Congress enacted the Family Smoking Prevention and Tobacco

Control Act (“TCA”). The TCA amended the Federal Food, Drug, and Cosmetic Act to

allow the FDA to regulate tobacco products.

       609.   Although the TCA granted the FDA immediate authority to regulate

combustible cigarettes, it did not give the FDA explicit authority over all types of tobacco

products—including those that had not yet been invented or were not yet popular. To

“deem” a product for regulation, the FDA must issue a “deeming rule” that specifically

designates a tobacco product, such as e-cigarettes, as falling within the purview of the

FDA’s authority under the TCA.

       610.   The TCA also mandated that all “new” tobacco products (i.e., any product

not on the market as of February 15, 2007) undergo a premarket authorization process

before they could be sold in the United States.

       611.   Four years later, on April 25, 2014, the FDA finally issued a proposed rule

deeming e-cigarettes for regulation under the Tobacco Act (“2014 Proposed Rule”).


827
   Melvin Davis, Developments in Policy: The FDA's Tobacco Regulations, 15 Yale L. &
  Policy Rev. 399 (1996).



                                    277
       612.    Once issued, the e-cigarette industry, together with its newfound allies,

parent companies, and investors—the cigarette industry and pro-e-cigarette lobbyists—

set to work to dilute the rule’s effectiveness. For example, in comments to the 2014

Proposed Rule, companies such as Johnson Creek Enterprises (one of the first e-liquid

manufacturers) stated that the “FDA [] blatantly ignored evidence that our products

improve people’s lives.”828

       613.    The New York Times reported that Altria was leading the effort to dilute,

diminish, or remove e-cigarette regulations. Notwithstanding Altria’s professed concern

about flavors attracting youth customers, Altria submitted comments in August 2014 in

response to the proposed rule opposing the regulation of flavors. Altria asserted that

restrictions could result in more illicit sales, and that adults also liked fruity and sweet e-

cigarette flavors.829

       614.    In 2015, Altria lobbied Capitol Hill with its own draft legislation to

eliminate the new requirement that most e-cigarettes already on sale in the United States

be evaluated retroactively to determine if they are “appropriate for the protection of public

health.” In effect, Altria lobbied to “grandfather” all existing e-cigarette brands, including

JUUL, into a lax regulatory regime. That proposed legislation was endorsed by R.J.


828
    Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette
 Fight?, N.Y. Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-
 cigarettes-vaping-cigars-fda-altria.html.
829
    Altria Client Services Inc., Comment Letter on Proposed Rule Deeming Tobacco
  Products to be Subject to the Federal Food, Drug, and Cosmetic Act 47-48 (Aug. 8,
  2014), https://www.altria.com/-/media/Project/Altria/Altria/about-altria/federal-
  regulation-of-tobacco/regulatory-filings/documents/ALCS-NuMark-Comments-FDA-
  2014-N-0189.pdf.



                                     278
Reynolds. Altria delivered its proposal, entitled “F.D.A. Deeming Clarification Act of

2015,” to Representative Tom Cole of Oklahoma, who introduced the bill two weeks later

using Altria’s draft verbatim.830 Seventy other representatives signed on to Altria’s

legislation.831

       615.       The e-cigarette industry, along with the intertwined cigarette industry, was

able to leverage support among Members of Congress such as Representative Cole and

Representative Sanford Bishop of Georgia, who advocated for cigarette industry interests

and opposed retroactive evaluation of e-cigarette products. Both Cole and Bishop echoed

a common cigarette and e-cigarette industry refrain, that any regulations proposed by the

FDA would bankrupt small businesses, even though the overwhelming majority of e-

cigarettes were manufactured and distributed by large cigarette companies.

       616.       Representatives Cole and Bishop received some of the largest cigarette

industry contributions of any member of the U.S. House of Representatives, with

Representative Bishop receiving $13,000 from Altria, and Representative Cole $10,000

from Altria in the 2015-2016 cycle.832

       617.       By thwarting and delaying regulation, or by ensuring what regulation did

pass was laced with industry-friendly components, the e-cigarette industry, including




830
     Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette
  Fight?, N.Y. Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-
  cigarettes-vaping-cigars-fda-altria.html.
 831
      Id.
832
     Id.; Rep. Tom Cole - Oklahoma District 04, Contributors 2015-16, OpenSecrets (2017),
  https://www.opensecrets.org/members-of-
  congress/contributors?cid=N00025726&cycle=2016.



                                       279
Defendants, hobbled the FDA—and by extension—Congress’s efforts to regulate e-

cigarettes. Simultaneously, the e-cigarette industry continued to market their products to

youth, and it coordinated to sow doubt and confusion about the addictiveness and health

impacts of e-cigarettes.

       618.   Even after the FDA issued its final deeming rule in 2016, e-cigarette

industry lobbying continued to pay dividends to companies like JLI. In 2017, when Dr.

Scott Gottlieb took over as the FDA Commissioner, one of his first major acts was to grant

e-cigarette companies a four-year extension to comply with the deeming rule, even as data

indicated sharp increases in teen e-cigarette use.833 Gottlieb had previously served on the

board of Kure, a chain of e-cigarette lounges in the United States, though he fully divested

before taking the helm at the FDA.834

       619.   The four-year extension was celebrated by e-cigarette lobbyists. Greg

Conley, president of the American Vaping Association (“AVA”), stated that but for the

extension, “over 99 percent of vaper products available on the market today would be

banned next year.”835 Despite the minimal research publicly available on the health effect

of e-cigarettes, Ray Story, who had since become commissioner of the Tobacco Vapor




833
    Katie Thomas & Sheila Kaplan, E-Cigarettes Went Unchecked in 10 Years of Federal
  Inaction, N.Y. Times (Oct. 14, 2019),
  https://www.nytimes.com/2019/10/14/health/vaping-e-cigarettes-fda.html.
834
    Zeke Faux et al., Vaping Venture Poses Potential Conflict for Trump’s FDA Nominee,
  Bloomberg, (Apr. 19, 2017), https://www.bloomberg.com/news/articles/2017-04-
  19/vaping-venture-poses-potential-conflict-for-trump-s-fda-nominee.
835
    Sheila Kaplan, F.D.A. Delays Rules That Would Have Limited E-Cigarettes on Market,
  N.Y. Times (July 28, 2017), https://www.nytimes.com/2017/07/28/health/electronic-
  cigarette-tobacco-nicotine-fda.html.



                                    280
Electronic Cigarette Association, lauded the decision: “Absolutely, it’s a good thing . . .

[w]hen you look at harm reduction, it’s a no brainer.”836

            2.     JLI, the Management Defendants, and Altria Defendants Successfully
                   Shielded the Popular Mint Flavor from Regulation.

            620.   JLI, the Management Defendants, and Altria Defendants had a two-fold plan

for staving off regulation: (1) ensure the FDA allowed certain flavors, namely mint, to

remain on the market; and (2) stave off a total prohibition on JUUL that was being

contemplated in light of JLI’s role in the youth e-cigarette epidemic. These schemes

involved acts of mail and wire fraud, with the intent to deceive the FDA, Congress, and

the public at large.

            621.   First, JLI, the Management Defendants, and Altria publicly defended mint

flavoring as a substitute for menthol cigarette smokers, when in fact JLI’s studies indicated

that mint users are not former menthol smokers. Second, by fighting to keep mint as the

last flavor on the market, the cigarette industry could continue to appeal to non-smokers,

including youth. JLI and the Management Defendants coordinated with Altria to pursue a

fraudulent scheme to convince the FDA to leavethe mint flavor on the market, sacrificing

other flavors in the process.

            622.   On August 2, 2018, JLI met with the FDA to discuss a proposed youth-

behavioral study regarding the prevalence of use, perceptions of use, and intentions to use




836
      Id.



                                       281
JUUL and other tobacco products among adolescents aged 13-17 years (the “Youth

Prevalence Study”).837

       623.   On November 5, 2018, JLI transmitted the results of the Youth Prevalence

Study to the FDA and reported that a study of over 1,000 youth had found that only 1.5%

of youth had ever used a JUUL, and that only 0.8% of youth had used a JUUL in the last

30 days. And in stark contrast to the McKinsey and DB Research studies discussed above,

the Youth Prevalence Study suggested that mango was four times as popular as mint.838

Specifically, the study found that 47% of youth who reported use of a JUUL device in the

last 30-days professed to using mango most often, with only about 12% reporting the same

for mint.

       624.   JLI’s study was a sham. JLI, the Management Defendants, and Altria knew

their reported data was inconsistent with the McKinsey and DB Research studies

conducted just a few months earlier. JLI’s report featured responses to a carefully selected

survey question—which single flavor youth used most often?—that obscured the

widespread use of mint JUUL pods among youth.

       625.   Ironically, just a few days after JLI submitted the misleading Youth

Prevalence Study to the FDA, the National Youth Tobacco Survey was released.

Revealing the depths of the deception of JLI’s Youth Prevalence Study, which found that

only 1.5% of youth were current users of e-cigarettes, the National Youth Tobacco Survey




837
    Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA
  Center for Tobacco Products (Nov. 5, 2018).
838
    Id. at 3.



                                    282
found that 20.8% of high school student were current users (i.e., consumed e-cigarettes

within the last 30 days).

       626.   The Youth Prevalence Study that JLI submitted to the FDA, either via U.S.

mail or by electronic transmission, was false and misleading. JLI, the Management

Defendants, and Altria knew as much. Indeed, they counted on it.

       627.   As the e-cigarette crisis grew, on September 25, 2018, then-FDA

Commissioner Scott Gottlieb sent letters to Altria, JLI and other e-cigarette manufacturers,

requesting a “detailed plan, including specific timeframes, to address and mitigate

widespread use by minors.”839

       628.   As evidenced by Altria’s recent admission that negotiations with JLI were

ongoing in late 2017,840 Altria and JLI’s responses to the FDA reflect a coordinated effort

to mislead the FDA with the intention that regulators, in reliance on their statements, allow

JLI to continue marketing mint JUUL pods.841

       629.   Defendants’ plan centered on efforts to deceive the FDA that (1) mint was

more akin to Tobacco and Menthol than other flavors; and (2) kids did not prefer mint.

       630.   JLI took the first step in this coordinated effort to deceive the FDA. In

response to then-Commissioner Gottlieb’s September 12, 2018 letter, JLI prepared an

“Action Plan,” which it presented to the FDA at an October 16, 2018 meeting, and


839
    Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 12, 2018); Letter from Scott
  Gottlieb, M.D. to Altria Group Inc. (Sept. 12, 2018).
840
    Letter from Howard Willard III, Altria to Senator Durbin, et. al. ( Oct. 14, 2019).
841
    See United States v. Jones, 712 F.2d 1316, 1320-21 (9th Cir. 1983) (“It is enough that
  the mails be used as part of a ‘lulling’ scheme by reassuring the victim that all is well
  and discouraging him from investigating and uncovering the fraud.”).



                                    283
presented to the public on November 12, 2018. The substance of JLI’s presentation to the

FDA and its public-facing Action Plan were largely identical.842 JLI purported to “share a

common goal- preventing youth from initiating on nicotine.”843 As part of this plan, JLI

stated that it would be “stopping flavored JUUL pod sales to all 90,000+ retail stores.”

       631.   But this statement was not true. JLI was continuing retail sales of its mint

JUUL pods, which JLI categorized as a non-flavored “tobacco and menthol product.”844

In JLI’s Action Plan, then-CEO Burns stated that only products that “mirror what is

currently available for combustible cigarettes—tobacco and menthol-based products

(menthol and mint pods)—will be sold to retail stores.”845

       632.   In both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan

that was shared with the public, JLI and its CEO fraudulently characterized mint as a non-

flavored cigarette product, akin to tobacco and menthol cigarettes, suggesting that it was

a product for adult smokers. The image below was included in both the public-facing

Action Plan and JLI’s presentation to the FDA.




842
    JUUL did not include in its Action Plan a proposal for Bluetooth or Wi-Fi equipped
  devices that was included in JLI’s October presentation.
843
    JUUL Labs, Inc. FDA Presentation, 2 (Oct. 16, 2018); INREJUUL_00182989.
844
    Id.
845
    JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018),
  https://newsroom.juul.com/juul-labs-action-plan/.



                                   284
      633.   JLI knew that non-smoking youth liked mint as much as any flavor.

      634.   Numerous internal studies had informed JLI that mint’s success was “not

because it’s a menthol/a familiar tobacco flavor but because it is the best JUUL flavor

profile on multiple levels.”846 Indeed, despite JLI’s attempts to explicitly link mint to

menthol, JLI knew there was “No Implied Relationship Between Mint & Menthol,”847 and

“menthol smokers are not the only driver behind the popularity of mint flavored

JUULpods.”848

      635.   Most importantly, JLI knew that mint was the most popular JUUL pod.

Though other flavors might draw new customers, JLI’s most addictive “flavor”

predictably became its most popular.

      636.   The characterization of mint as an adult tobacco product was also fraudulent

because JLI knew first hand from the McKinsey and DB Research studies that teens


846
    INREJUUL_00265069.
847
    INREJUUL_00079307-INREJUUL_00079409, at 395.
848
    Id.



                                   285
viewed mint as favorably as mango, which implies that mango and mint were fungible

goods for JLI’s underage users. The McKinsey and DB Research studies also showed that

youth preferred mint over the more stereotypically youth-oriented flavors like fruit

medley, crème brule, and cucumber. As alleged in a Whistleblower Complaint, JLI’s then-

CEO told his employees: “You need to have an IQ of 5 to know that when customers don’t

find mango they buy mint.”849

       637.   On October 25, 2018, less than ten days after JLI presented its fraudulent,

misleading Action Plan to the FDA, Altria’s CEO Howard Willard submitted a letter in

response to the FDA’s call to combat the youth epidemic. Willard’s letter was a clear

indication of Altria’s willingness to continue the fraudulent scheme and deception of the

FDA. While Willard’s letter confirmed that Altria understood that JLI’s conduct and

product was addicting many children to nicotine, this letter repeated the misleading

statement that mint was a “traditional tobacco flavor” despite Altria and JLI knowing it

was no such thing. Willard then claimed that the youth epidemic was caused, in part, by

“flavors that go beyond traditional tobacco flavors”—which, according to JLI and Altria,

did not include mint—and announced that Altria would discontinue all MarkTen flavors

except for “traditional tobacco, menthol and mint flavors.” Willard asserted that these




849
   Angelica LaVito, Former JLI executive sues over retaliation, claims company
  knowingly sold tainted nicotine pods, CNBC (Oct. 30, 2019),
  https://www.cnbc.com/2019/10/30/former-juul-executive-sues-over-retaliation-claims-
  company-knowingly-sold-tainted-pods.html.



                                   286
three flavors were essential for transitioning smokers. But Willard, and Altria, knew this

was not true.850

       638.   That same day—October 25, 2018—Altria continued its deception on an

earnings call with investors. Altria fraudulently described its decision to remove its pod-

based products from the market as one intended to address the dramatic increase in youth

e-cigarette use, while it was only weeks away from publicly announcing its 35% stake in

JLI:

       We recently met with Commissioner Gottlieb to discuss steps that could be
       taken to address underage access and use. Consistent with our discussion
       with the FDA and because we believe in the long-term promise of e-vapor
       products and harm reduction, we’re taking immediate action to address this
       complex situation.

       First, Nu Mark will remove from the market MarkTen Elite and Apex by
       MarkTen pod-based products until these products receive a market order
       from the FDA or the youth issue is otherwise addressed. Second, for our
       remaining MarkTen and Green Smoke cig-a-like products, Nu Mark will sell
       only tobacco, menthol and mint varieties. Nu Mark will discontinue the sale
       of all other flavor variants of our cig-a-like products until these products
       receive a market order from the FDA or the youth issue is otherwise
       addressed. Although we don't believe we have a current issue with youth
       access or use of our e-vapor products, we are taking this action, because we
       don't want to risk contributing to the issue.

       After removing Nu Mark’s pod-based products and cig-a-like flavor variants,
       approximately 80% of Nu Mark's e-vapor volume in the third quarter of 2018
       will remain on the market. 851




  Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
850

851
   Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript
MO earnings call for the period ending September 30, 2018 (Oct. 25, 2018),
https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-
 earnings-conference-ca.aspx.



                                    287
          639.   Willard reiterated that “pod-based products and flavored products” were

behind the increase in youth use of e-cigarettes:

          I mean, I think the way we thought about this was that we believe e-vapor
          has a lot of opportunity to convert adult cigarette smokers in the short,
          medium and long-term, but clearly, this significant increase in youth usage
          of the products puts that at risk and we think rapid and significant action is
          necessary. And I think as we looked at the data that is available in some of
          the remarks from the FDA, I think we concluded that the driver of the recent
          increase we think is pod-based products and flavored products and so we
          thought that the two actions that we took addressed the drivers of the
          increased youth usage here in the short run.852

          640.   Willard emphasized that Altria’s withdrawal of its own pod-based products

was intended to address youth use: “[W]e really feel like in light of this dramatic increase

in youth usage, withdrawing those products until the PMTA is filed is one path forward.”

He later said: “And frankly, the actions we took were the actions that we thought we could

take that would have the biggest impact on addressing the increased use of e-vapor

products by youth . . . we wanted to make a significant contribution to addressing the

issue.”853 As noted above, however, it has since been reported that Altria “pulled its e-

cigarettes off the market” not out of concern for the epidemic of youth nicotine addiction

that JLI created, but because a non-compete clause was a “part of its deal with J[LI].”854

          641.   Thus, while Altria publicly announced that it would pull its pod-based

products to combat youth usage, and publicly seemed to support removal of youth-friendly

flavors, its defense of mint as a tobacco-analog was actually part of the scheme to protect




852
    Id.
853
    Id.
854
    Id.



                                       288
the profits associated with JLI’s mint JUUL pods, one of JLI’s strongest products with the

highest nicotine content and highest popularity among non-smokers and youth.

       642.   In support of his arguments to the FDA that mint was a flavor for adult

smokers, Willard cited to a study that Altria Client Services had conducted and presented

at a conference that JLI attended.855 But Willard did not disclose that Altria Client

Services’ “study” was merely a “quasi-experimental online survey” and not a true

scientific study.856 Notably, JLI’s current CEO, K.C. Crosthwaite, was the Vice President

of Strategy and Business Development of Altria Client Services when it conducted

Altria’s mint “study” in Spring 2017, the same time that the Management Defendants and

Altria and Altria Client Services began their “confidential negotiations.”857 Willard did

not disclose that this study was contradicted by the “youth prevention” data provided by

JLI during its acquisition due-diligence showing that mint was popular among teens.

       643.   Through these letters, Altria sought to prevent the FDA—which was

actively considering regulating flavors858—from banning JLI’s mint JUULpods.




855
     Jessica Parker Zdinak, Ph.D., E-vapor Product Appeal Among Tobacco Users and
   Non-users and the Role of Flavor in Tobacco Harm Reduction, 72nd Tobacco Science
   Research Conference (Sept. 18, 2018), https://sciences.altria.com/library/-
   /media/Project/Altria/Sciences/library/conferences/2018%20TSRC%20J%20Zdniak%2
   0Presentation.pdf.
 856
     Id.
 857
     Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
858
     Alex Lardieri, FDA Considers Ban on E-Cigarette Flavors Amid 'Epidemic' Use By
  Teens, U.S. News & World Report (Sept. 12, 2018),
  https://www.usnews.com/news/health-care-news/articles/2018-09-12/fda-considers-ban-
  on-e-cigarette-flavors-amid-epidemic-use-by-teens.



                                   289
         644.   Acting in concert, JLI and Altria committed acts of mail or wire fraud when

(1) JLI transmitted its Action Plan to the FDA and the public; and (2) Altria transmitted

Willard’s letter to the FDA.

         645.   On October 25, 2018, the same day Howard Willard sent the FDA his letter

fraudulently misrepresenting the Mint flavor and Altria’s view on pod-based products,

Willard provided Pritzker and Valani with a copy of the very same letter. 859

         646.   It is no surprise that Altria was coordinating with Pritzker and Valani on the

scheme to protect flavors. It knew a potential ban on flavors would have a material impact

on the ability of JLI to continue its youth sales, and on the value of those sales. For

example, in November 2018, Crosthwaite asked Brian Blaylock at Altria Client Services

to model a scenario for Altria’s investment in JLI where the FDA enacts a flavor ban.860

         647.   At the heart of these acts of fraud was Defendants’ characterization of mint

as a tobacco product that was targeted to adult smokers. This characterization was

fraudulent because Defendants knew kids prefer mint flavor and that JLI designed mint to

be one of JLI’s most potent products. Altria supported this plan and helped execute it.

Together, these actions by JLI and Altria ensured that mint would remain available to

youths for many months, furthering their efforts to maintain and expand the number of

nicotine-addicted e-cigarette users in order to ensure a steady and growing customer base.




859
      JLIFTC00653389
860
      ALGAT0000389729.



                                      290
       648.   The deceptive scheme worked—the FDA did not protest JLI and Altria’s

plan. And on December 20, 2018, one month after JLI announced its Action Plan to keep

selling mint, Altria made a $12.8 billion equity investment in JLI.

       649.   By February of 2019, the FDA became aware that it had been deceived by

JLI and Altria. On February 6, 2019, then-FDA commissioner Gottlieb wrote JLI and

Altria demanding in-person meetings, excoriating Altria for its “newly announced plans

with JUUL [that] contradict the commitments you made to the FDA” in a prior meeting

and Willard’s October 25, 2018 letter to the FDA.861 Gottlieb’s letter to JLI alleged that

JLI’s conduct was “inconsistent with its previous representations to the FDA.”862

       650.   The FDA demanded Altria be prepared to explain itself regarding its “plans

to stop marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-

Commissioner Gottlieb told Altria that “deeply concerning data” shows that “youth use of

JUUL represents a significant proportion of overall use of e-cigarette products by

children” and despite any alleged steps the companies had taken to address the issue he

“ha[d] no reason to believe these youth patterns of use are abating in the near term, and

they certainly do not appear to be reversing.”

       651.   JLI and Altria met with Gottlieb in March 2019 in a meeting the then-

Commissioner described as “difficult.”863 Gottlieb “did not come away with any evidence


861
    Letter from Scott Gottlieb, FDA to Howard Willard, Altria (Feb. 9, 2019).
862
    Letter from Scott Gottlieb, FDA to Kevin Burns, JUUL Labs, Inc. (Feb. 9, 2019).
863
    Kate Rooney & Angelica LaVito, Altria Shares Fall After FDA’s Gottlieb Describes
  ‘Difficult’ Meeting on Juul, CNBC (Mar. 19, 2019),
  https://www.cnbc.com/2019/03/19/altria-shares-fall-after-fdas-gottlieb-describes-
  difficult-meeting-on-juul.html.



                                    291
that public health concerns drove Altria’s decision to invest in JLI, and instead said it

looked like a business decision. According to reporting by the New York Times, Gottlieb

angrily criticized JLI’s lobbying of Congress and the White House, stating:

       We have taken your meetings, returned your calls and I had personally met
       with you more times than I met with any other regulated company, and yet
       you still tried to go around us to the Hill and White House and undermine
       our public health efforts. I was trying to curb the illegal use by kids of your
       product and you are fighting me on it.864

       652.   But just a week after the “difficult” meeting with JLI and Altria, Gottlieb

posted a statement about the FDA’s new e-cigarette policy, proposing to ban all flavors

except “tobacco-, mint- and menthol-flavored products.”865 He cited the strong support of

President Trump (whose administration JLI had aggressively lobbied866), and also cited

“recent evidence indicat[ing] that mint- and menthol-flavored ENDS products are

preferred more by adults than minors.”867 Just a few weeks later, Gottlieb resigned from

his position as commissioner of the FDA.




864
    Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y.
  Times (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-
  crisis.html.
865
    News Release, Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing
  new policies aimed at preventing youth access to, and appeal of, flavored tobacco
  products, including e-cigarettes and cigars, U.S. FDA (Mar. 13, 2019),
  https://www.fda.gov/news-events/press-announcements/statement-fda-commissioner-
  scott-gottlieb-md-advancing-new-policies-aimed-preventing-youth-access.
866
    Evan Sully & Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators
  Stepped Up, Wash. Post (Oct. 22, 2019), https://www.washingtonpost.com/business/on-
  small-business/juul-spent-record-12-million-lobbying-as-regulators-stepped-
  up/2019/10/22/2a0dbc52-f4de-11e9-b2d2-1f37c9d82dbb_story.html.
867
    Id.



                                    292
       653.   The scheme had succeeded in saving mint JUUL pods, as well as each

Defendant’s bottom line. JLI’s sale of mint JUUL pods rose from one third of its sales in

September 2018 to approximately two thirds in February 2019. JLI’s 2019 revenues were

estimated to be between $2.36 billion and $3.4 billion, and mint JUUL pods accounted for

approximately 75% of JLI’s total 2019 sales. And because mint remained on the market

until JLI withdrew it in November 2019 in the face of growing scrutiny,868 thousands, if

not millions, of underage JUUL users suffered the consequences.

       654.   As former New York City Mayor Mike Bloomberg stated: “JUUL’s

decision to keep mint- and menthol-flavored e-cigarettes on the shelves is a page right out

of the tobacco industry’s playbook.”869

       655.   JLI continues to sell menthol-flavored products.870

       3.     In Response to the Public Health Crisis Created by JUUL, the FDA
              Belatedly Tried to Slow the Epidemic.

       656.   In 2017, the FDA announced that it would be taking steps to regulate e-

cigarette devices such as JUUL. In late 2017, the FDA initiated its investigation of e-

cigarette companies’ advertising and sales practices. But, as noted above, the FDA’s 2017

Compliance Policy issued a four-year extension for compliance with the 2016 deeming

rule, apparently to “balance between regulation and encouraging development of



868
    Ellen Huet, JLI Pulls Mint-Flavor Vaping Products, but Menthol Remains, Bloomberg
  (Nov. 7, 2019), https://www.bloomberg.com/news/articles/2019-11-07/juul-stops-
  selling-mint-flavored-vaping-products.
869
    Id.
870
    Sheila Kaplan, Juul Halts Sales of Mint, Its Top-Selling e-Cigarette Flavor, N.Y. Times
  (Nov. 7, 2019), https://www.nytimes.com/2019/11/07/health/vaping-juul-mint-
  flavors.html.



                                    293
innovative tobacco products that may be less harmful than cigarettes.”871 In March 2018,

the 2017 Compliance Policy was challenged by the American Academy of Pediatrics,

along with other public health organizations concerned that a compliance extension for

the e-cigarette industry would allow more e-cigarette products into the market and

continue to addict thousands of youth.872

       657.   In March 2019, the FDA drafted guidance that modified the 2017

Compliance Policy, but it did not go into full effect. However, on May 15, 2019, the

lawsuit filed by the American Academy of Pediatrics was successful—the U.S. District

Court for the District of Maryland vacated the 2017 Compliance Policy, and directed the

FDA to “require that premarket authorization applications for all new deemed products”

(“new” referred to any product launched after February 15, 2007 and thus would include

JUUL) be submitted within ten months, by May 2020.873

       658.   In January 2020, the FDA issued: Enforcement Priorities for Electronic

Nicotine Delivery Systems (ENDS) and Other Deemed Products on the Market Without

Premarket Authorization: Guidance for Industry (2020 FDA Guidance), directed at the e-

cigarette industry, which detailed the FDA’s plan to prioritize enforcement of regulations

prohibiting the sale of flavored e-cigarette products and prohibiting the targeting of youth

and minors.874 The 2020 FDA Guidance focused on flavored e-cigarettes that appeal to


871
    Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other
  Deemed Products on the Market Without Premarket Authorization, U.S. FDA (Jan.
  2020), https://www.fda.gov/media/133880/download.
872
    Id.
873
    Id.; Am. Academy of Pediatrics v. FDA , 379 F. Supp. 3d 461, 496 (D. Md. 2019).
874
    Id.



                                    294
children, including fruit and mint: “[C]ompanies that do not cease manufacture,

distribution and sale of unauthorized flavored cartridge-based e-cigarettes . . . within 30

days risk FDA enforcement actions.”875

       4.      The Government’s Efforts to Address the JUUL Crisis Were Too Late
               and the Damage Has Already Been Done

       659.    By the time the FDA acted, youth consumption of e-cigarettes had already

reached an all-time high, and the e-cigarette industry’s presence on social media became

an unstoppable force. The 2020 FDA Guidance acknowledges that two of the largest 2019

surveys of youth cigarette use found that e-cigarette use had reached the highest levels

ever recorded.876 By December 2019, there were over 2,500 reported cases of e-cigarette

related hospitalization for lung injury, including over fifty confirmed deaths.877 Despite

the FDA’s efforts between 2017 and 2019, youth consumption of e-cigarettes doubled

among middle and high school students over the same period.878 In 2019, the total number

of middle and high school students reporting current use of e-cigarettes surpassed five

million for the first time in history.879




875
    News Release, FDA Finalizes Enforcement Policy on Unauthorized Flavored
  Cartridge-Based E-Cigarettes That Appeal to Children, Including Fruit and Mint, U.S.
  FDA (Jan. 2, 2020), https://www.fda.gov/news-events/press-announcements/fda-
  finalizes-enforcement-policy-unauthorized-flavored-cartridge-based-e-cigarettes-appeal-
  children.
876
    Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other
  Deemed Products on the Market Without Premarket Authorization, U.S. FDA (Jan.
  2020), https://www.fda.gov/media/133880/download.
877
    Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322
  JAMA 2095 (2019).
878
    Id.
879
    Id.



                                      295
       660.   JLI’s presence on social media has also persisted, even without further

initiation by JLI—the hallmark of a successful viral marketing campaign. When the

“#juul” hashtag was first used on social media, it was a series of thirteen tweets on Twitter.

By the time JLI announced it would shut down its Instagram account, “#juul” had been

featured in over 250,000 posts on Instagram. A study by Stanford University found that

in the eight months after JLI ceased all promotional postings, community posting

accelerated, to nearly half a million posts. Whereas before JLI exited Instagram, “#juul”

appeared on average in 315 posts per day, that number tripled to 1084 posts per day after

JLI shut down its Instagram account.880

       661.   The FDA’s anti-e-cigarette campaign on social media was aimed at youth

and middle and high school students. The campaign used the slogan “The Real Cost” to

educate youth on social media platforms about the health impacts of e-cigarette

consumption—the real cost of using e-cigarettes. A recent study from the University of

California Berkeley found that since September 2018, when the FDA’s social media

campaign began, the hashtag “#TheRealCost” was used about fifty times per month on

Instagram. By comparison, e-cigarette related hashtags were used as many as 10,000 times

more often. Despite the FDA’s social media intervention, the number of e-cigarette related




880
   Robert K. Jackler et al., Rapid Growth of JUUL Hashtags After the Company Ceased
  Social Media Promotion, Stanford Research Into the Impact of Tobacco Advertising
  (July 22, 2019), http://tobacco.stanford.edu/tobacco_main/publications/Hashtag JUUL
  Project_7-22-19F.pdf.



                                     296
posts, and the median number of likes (a strong metric of viewer engagement) the posts

received, increased three-fold and six-fold, respectively.881

         662.        In short, by the time the FDA reacted to the epidemic created by Defendants,

millions of youth were addicted to e-cigarettes and nicotine, and were sharing e-cigarette

related posts on social media on their own.

                V.       GOVERNMENT ENTITY FACTUAL ALLEGATIONS

A.       E-cigarette Use in Schools

         663.        In addition to severe health consequences, widespread e-cigarette use, and

particularly JUUL use, has placed severe burdens on society and schools in particular. It

is not an overstatement to say that JUUL has changed the high school and even middle

school experience of students across the nation. As one e-cigarette shop manager told

KOMO News, “It’s the new high school thing. Everyone’s got the JUUL.”882

         664.        The JUUL youth addiction epidemic spread rapidly across high schools in

the United States. JUUL surged in popularity, largely through social media networks, and

created patterns of youth usage, illegal youth transactions, and addiction, that are

consistent with the account from Reddit that described widespread JUUL use discussed

above.




881
    Julia Vassey, #Vape: Measuring E-cigarette Influence on Instagram With Deep
  Learning and Text Analysis, 4 Frontiers in Commc’n 75 (2020),
  https://www.frontiersin.org/articles/10.3389/fcomm.2019.00075/full.
882
    Juuling at School, KOMO News (2019),
  https://komonews.com/news/healthworks/dangerous-teen-trend-juuling-at-school.



                                          297
       665.   E-cigarette use has completely changed school bathrooms—now known as

“the Juul room.”883 As one high school student explained, “it’s just a cloud.”884

       666.   As another high school student explained, “You can pull it out, you can have

it anywhere. To smoke a cigarette you have to hit the bus stop. You want a Juul you hit

the bathroom, it’s easy.”885 He added that JLI “market[s] it as an alternative to cigarettes

but really it’s a bunch of kids who have never picked up a pack and they’re starting their

nicotine addiction there.”886 Students at another high school stated that classmates had “set

off the fire alarm four times last year from vaping in the bathrooms [at school],” adding

that it is commonplace to see students using e-cigarettes in school bathrooms or in the

parking lot.887

       667.   An April 20, 2018 article in The Wall Street Journal described the problems

parents and schools are facing with the meteoric rise of nicotine use by America’s youth:




883
    Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that
  worries doctors, parents and schools, Wash. Post (July 26, 2019),
  https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-
  doctors-parents-and-schools-grapple-with-teens-addicted-to-e-
  cigarettes/2019/07/25/e1e8ac9c-830a-11e9-933d-7501070ee669_story.html.
884
    Greta Jochem, Juuling in School: e-Cigarette Use Prevalent Among Local Youth,
  Daily Hampshire Gazette (Nov. 13, 2018), https://www.gazettenet.com/Juuling-in-
  Schools-21439655.
885
    Alison Grande, ‘Juuling': Vaping device that looks like USB drive popular with teens,
  KIRO 7 (Dec. 8, 2017), https://www.kiro7.com/news/local/juuling-vaping-device-that-
  looks-like-usb-drive-popular-with-teens/660965605/.
886
    Id.
887
    Manisha Jha, ‘You need to stop vaping right now’: Students and faculty react to
  Washington vape ban, The Daily, U. of Wash. (Sept. 30, 2019),
  http://www.dailyuw.com/news/article_960d8692-e324-11e9-870c-9f9d571115d6.html.



                                    298
       At Northern High School in Dillsburg, Pa., Principal Steve Lehman’s locked
       safe, which once contained the occasional pack of confiscated cigarettes, is
       now filled with around 40 devices that look like flash drives.

       The device is called a Juul and it is a type of e-cigarette that delivers a
       powerful dose of nicotine, derived from tobacco, in a patented salt solution
       that smokers say closely mimics the feeling of inhaling cigarettes. It has
       become a coveted teen status symbol and a growing problem in high schools
       and middle schools, spreading with a speed that has taken teachers, parents
       and school administrators by surprise.
       *      *      *
       After two decades of declining teen cigarette use, “JUULing” is exploding.
       The JUUL liquid’s 5% nicotine concentration is significantly higher than that
       of most other commercially available e-cigarettes. JUUL Labs Inc., maker
       of the device, says one liquid pod delivers nicotine comparable to that
       delivered by a pack of cigarettes, or 200 puffs—important for adult smokers
       trying to switch to an e-cigarette. It is also part of what attracts teens to the
       product, which some experts say is potentially as addictive as cigarettes and
       has schools and parents scrambling to get a grip on the problem.888

       668.   This impact was only made worse by JLI intentionally targeting schools, as

described above.

       669.   Such rampant e-cigarette use has effectively added another category to

teachers’ and school administrators’ job descriptions; many now receive special training

to respond to the various problems that youth e-cigarette use presents, both in and out of

the classroom. A national survey of middle schools and high schools found that 44.4% of

schools have had to implement policies to address JUUL use.889 Participants in the survey


888
    Anne Marie Chaker, Schools and Parents Fight a Juul E-Cigarette Epidemic, Wall St.
  J. (Apr. 4, 2018), https://www.wsj.com/articles/schools-parents-fight-a-juul-e-cigarette-
  epidemic-1522677246.
889
    Barbara A. Schillo, PhD et al., JUUL in School: Teacher and Administrator Awareness
  and Policies of E-Cigarettes and JUUL in U.S. Middle and High Schools, Truth
  Initiative Vol. 21(1) Health Promotion Practice 20-24 (Sept. 18, 2019),
  https://journals.sagepub.com/doi/full/10.1177/1524839919868222?url_ver=Z39.88-
  2003&rfr_id=ori:rid:crossref.org&rfr_dat=cr_pub%3dpubmed.



                                     299
reported multiple barriers to enforcing these policies, including the discreet appearance of

the product, difficulty pinpointing the vapor or scent, and the addictive nature of the

product.

       670.   Across the United States, schools have had to divert resources and

administrators have had to go to extreme lengths to respond to the ever-growing number

of students using e-cigarettes on school grounds, including in restrooms. According to the

Truth Initiative, more than 40% of all teachers and administrators reported responding to

the JUUL crisis through camera surveillance near the school’s restroom; almost half

(46%) reported camera surveillance elsewhere in the school; and 23% reported using

assigned teachers for restroom surveillance.890 Some schools have responded by removing

bathroom doors or even shutting bathrooms down, and schools have banned flash drives

to avoid any confusion between flash drives and JUULs. Schools have also paid thousands

of dollars to install special monitors to detect e-cigarette use, which they say is a small

price to pay compared to the plumbing repairs otherwise spent as a result of students

flushing e-cigarette paraphernalia down toilets. Other school districts have sought state

grant money to create new positions for tobacco prevention supervisors, who get phone

alerts when e-cigarette smoke is detected in bathrooms.

       671.   Many schools have also shifted their disciplinary policies in order to

effectively address the youth e-cigarette epidemic. Rather than immediately suspending




890
   How are schools responding to JUUL and the youth e-cigarette epidemic?, Truth
  Initiative (Jan. 18, 2019), https://truthinitiative.org/research-resources/emerging-
  tobacco-products/how-are-schools-responding-juul-and-youth-e-cigarette.



                                    300
students for a first offense, school districts have created anti-e-cigarette curricula which

students are required to follow in sessions held outside of normal school hours, including

on Saturdays. Teachers prepare lessons and study materials for these sessions with

information on the marketing and health dangers of e-cigarettes—extra work which

requires teachers to work atypical hours early in the mornings and on weekends. Some

schools will increase their drug testing budget to include random nicotine tests for students

before they join extracurricular activities. Under this drug-testing protocol, first offenders

will undergo drug and alcohol educational programming; second and third offenders will

be forced to sit out from extra-curricular activities and attend substance abuse counseling.

       672.   A July 26, 2019 article in The Washington Post noted the measures some

schools were taking to combat “JUULing” by students:

       Many schools are at a loss for how to deal with Juuls and other e-cigarettes.
       Some educators report increases in the number of students being suspended
       after they’re caught with e-cigarettes.

       Desperate school administrators have banned USB drives because they’re
       indistinguishable from Juuls. Others removed bathroom doors because teens
       were regularly gathering there to vape, and some have even started searching
       students.

       Jonathon Bryant, chief administrator of Lincoln Charter School in North
       Carolina, estimated that three-quarters of suspensions in the just-completed
       academic year were related to vaping, and some students were suspended
       more than once.891




891
   Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that
  worries doctors, parents and schools, Wash. Post (July 26, 2019),
  https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-
  doctors-parents-and-schools-grapple-with-teens-addicted-to-e-
  cigarettes/2019/07/25/e1e8ac9c-830a-11e9-933d-7501070ee669_story.html.



                                     301
       673.   JUUL’s prevalence in schools is not a coincidence; JLI actively sought to

enter school campuses. By June 2017, JLI began developing what they claimed to be a

“youth prevention program[.]”892 By December 2017, JLI’s venture included extensive

work with schools.893

       674.   As discussed above, the U.S. House Subcommittee on Economic and

Consumer Policy (“Subcommittee”) conducted a months-long investigation of JLI,

including reviewing tens of thousands of internal documents, and concluded that JLI

“deliberately targeted children in order to become the nation’s largest seller of e-

cigarettes.”894 The Subcommittee found that “(1) JUUL deployed a sophisticated program

to enter schools and convey its messaging directly to teenage children; (2) JUUL also

targeted teenagers and children, as young as eight years-old, in summer camps and public

out-of-school programs; and (3) JUUL recruited thousands of online ‘influencers’ to

market to teens.”895

       675.   According to the Subcommittee, JLI was willing to pay schools and

organizations hundreds of thousands of dollars to have more direct access to kids. For

example, JLI paid a Baltimore charter school organization $134,000 to start a summer




892
    See, e.g., INREJUUL_00211242-243 at 242.
893
    INREJUUL_00173409.
894
    Memorandum, U.S. House Subcommittee on Econ. & Consumer Policy (July 25,
  2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20
  Memo.pdf.
895
    Id.



                                  302
camp to teach kids healthy lifestyles, for which JLI itself would provide the curriculum.896

Participants were “recruited from grades 3 through 12.”897 JLI also offered schools

$10,000 to talk to students on campus and gave the Police Activities League in Richmond,

California, almost $90,000 to provide JLI’s own e-cigarette education program, “Moving

On,” to teenage students suspended for using cigarettes. The Richmond Diversion

Program targeted “youth, aged 12-17, who face suspension from school for using e-

cigarettes and/or marijuana” and “juveniles who have committed misdemeanour (lesser

category) offenses” and required students to “participate in the JUUL labs developed

program, Moving Beyond,” for as long as ten weeks.898

       676.   Community members testified before the Subcommittee as to the content of

one of JLI’s presentations in school. During JLI’s presentation to students, “[n]o parents

or teachers were in the room, and JUUL’s messaging was that the product was ‘totally

safe.’ The presenter even demonstrated to the kids how to use a JUUL.”899

       677.   In 2018, a representative from JLI spoke at a high school during a

presentation for ninth graders, stating that JUUL “was much safer than cigarettes,” that

the “FDA would approve it any day,” that JUUL was “totally safe,” that JUUL was a




896
    See INREJUUL_00194247-251; see also JLI-HOR-00003711-712 (invoice to JLI from
  The Freedom & Democracy Schools, Inc. for $134,000 dated June 21, 2018).
897
    INREJUUL_0019427-251 at 428.
898
    JLI-HOR-00002180-184 at 181-182.
899
    Committee Staff, Memorandum re: Supplemental Memo for Hearing on “Examining
  JUUL’s Role in the Youth Nicotine Epidemic: Parts 1 & II (“Supplemental Memo for
  Hearing”) at 1, Subcommittee on Econ. & Consumer Policy (July 25, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20
  Memo.pdf.



                                    303
“safer alternative than smoking cigarettes, and it would be better for the kid to use,” and

that the “FDA was about to come out and say it [JUUL] was 99% safer than cigarettes . .

. and that . . . would happen very soon[.]”900 “The presenter even demonstrated to the kids

how to use a JUUL.”901

       678.   In the FDA’s September 9, 2019 Warning Letter, which discussed this

presentation to ninth graders, the agency noted its “concern is amplified by the epidemic

rate of increase in youth use of ENDS products, including JUUL’s products, and evidence

that ENDS products contribute to youth use of, and addiction to, nicotine, to which youth

are especially vulnerable.”902

       679.   The FDA’s Center for Tobacco Products issued a separate letter to JUUL

CEO Kevin Burns, requesting “documents and information from JUUL Labs, Inc. (JUUL)

regarding JUUL’s marketing, advertising, promotional, and educational campaigns, as

well as certain product development activity.”903 The FDA also issued a news release on

September 9, 2019, in which it chided JUUL for its role in the youth e-cigarette epidemic,

noting “[s]ome of this youth use appears to have been a direct result of JUUL’s product




900
    Juul Labs, Inc. Warning Letter, FDA (Sept. 9, 2019), https://www.fda.gov/inspections-
  compliance-enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-
  590950-09092019.
901
    Subcommittee on Economic and Consumer Policy Memo (July 25, 2019).
902
    Id.
903
    Letter from Mitchell Zeller, Director, Center for Tobacco Products, to Kevin Burns,
  CEO of JUUL Labs, Inc. at 1 (Sept. 9, 2019),
  https://www.fda.gov/media/130859/download.



                                    304
design and promotional activities and outreach efforts,” in particular, its outreach efforts

to students.904

       680.   The Center for Tobacco Products letter requested documents and

explanations on multiple topics, including, but not limited to:

       Ms. Meredith Berkman, Co-founder, Parents Against Vaping e-cigarettes
       (PAVe), testified that, “In California, a retired school superintendent was
       offering schools in his state and in Massachusetts money if they would
       implement the anti-JUUL curriculum that…a man named Bruce Harder was
       offering on JUUL’s behalf.”

                                   *      *      *
       On July 25, 2019, in response to questions from Chairman Krishnamoorthi
       about JUUL’s program to pay schools $10,000 or more to use a JUUL “youth
       prevention” curriculum, Ms. Ashley Gould, Chief Administrative Officer,
       JUUL Labs, Inc., testified: “That is not currently the case. We ended that
       program in the fall of 2018,” and that, “…there were six schools that received
       funding from JUUL to implement programming to prevent teen vaping….”

       In addition, in response to questions from Chairman Krishnamoorthi about
       internal JUUL correspondence in 2018 about setting up a booth at a school
       health fair, Ms. Gould testified that JUUL ended its youth prevention
       program.905

       681.   JLI also sponsored a “Saturday School Program” in which students caught

using e-cigarettes in school were presented with JLI-sponsored curriculum and snacks,




904
    FDA warns JUUL Labs for marketing unauthorized modified risk tobacco products,
  including in outreach to youth, FDA (Sept. 9, 2019), https://www.fda.gov/news-
  events/press-announcements/fda-warns-juul-labs-marketing-unauthorized-modified-
  risk-tobacco-products-including-outreach-youth (emphasis added)Letter from Center for
  Tobacco Products, to Kevin Burns, CEO of JUUL Labs, Inc. (Sept. 9, 2019),
  https://www.fda.gov/media/130859/download.
905
    Letter from Mitchell Zeller, Director, Center for Tobacco Products, to Kevin Burns,
  CEO of JUUL Labs, Inc. at 2 (Sept. 9, 2019),
  https://www.fda.gov/media/130859/download.



                                    305
and JLI “established the right to collect student information from the sessions.”906 A JLI

spokesman said the company is no longer funding such programs.

       682.   As mentioned above, the problems with JLI’s youth prevention programs

were widespread. According to outside analyses, “the JUUL Curriculum is not portraying

the harmful details of their product, similar to how past tobacco industry curricula left out

details of the health risks of cigarette use.”907 Although it is well-known that teaching

children to deconstruct ads is one of the most effective prevention techniques, JLI

programs entirely omitted this skill, and JLI’s curriculum barely mentioned JUUL

products as among the potentially harmful products to avoid.908 As one expert pointed out,

“we know, more from anecdotal research, that [teens] may consider [JUULs] to be a

vaping device, but they don’t call it that. So when you say to a young person, ‘Vapes or

e-cigarettes are harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”909

       683.   Internal emails confirm both that JLI employees knew about the similarities

of JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by

the cigarette industry and that JLI management at the highest levels was personally


906
    Committee Staff, Memorandum re: Supplemental Memo for Hearing on “Examining
  JUUL’s Role in the Youth Nicotine Epidemic: Parts 1 & II (“Supplemental Memo for
  Hearing”) at 2, Subcommittee on Econ. & Consumer Policy (July 25, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20
  Memo.pdf.
907
    Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert
  Says: SMOKE AND MIRRORS. JUUL—which made up 68 percent of the e-cigarette
  market as of mid-June—seems to have taken a page from the playbook of Big Tobacco,
  The Daily Beast (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-
  program-didnt-school-kids-on-dangers-expert-says.
908
    Id.
909
    Id.



                                    306
involved in these efforts. In April 2018, Julie Henderson, the Youth Prevention Director,

emailed school officials about “the optics of us attending a student health fair” because of

“how much our efforts seem to duplicate those of big tobacco (Philip Morris attended fairs

and carnivals where they distributed various branded items under the guise of ‘youth

prevention’).”910 She later wrote that she would “confirm our participation w[ith] Ashley

& Kevin”911—an apparent reference to Kevin Burns, at the time the CEO of JLI, who

would later personally approve JLI’s involvement in school programs. In May 2018,

Henderson spoke with former members of Philip Morris’s “youth education” team,912 and

Ashley Gould received and forwarded what was described as “the paper that ended the

Think Don’t Smoke campaign undertaken by Philip Morris.”913 The paper concluded that

“the Philip Morris’s [‘youth prevention’] campaign had a counterproductive influence.”914

       684.   The Management Defendants were intimately involved in these “youth

prevention” activities. For example, in April 2018, Defendants Valani and Pritzker edited

a “youth prevention” press release, noting that they “don’t want to get these small items

wrong” and that they “think it’s critical to get this right.”915




910
    INREJUUL_00197607-608 at 608.
911
    Id. at 607.
912
    INREJUUL_00196624-625.
913
    INREJUUL_00265202.
914
    Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
  Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002),
  https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=nxhb0024.
915
    JLI00151300.



                                      307
         685.   JLI was aware that these out-of-school programs were, in the words of

Henderson, “eerily similar” to the tactics of the tobacco industry.916 Eventually, JLI ended

this version of its youth prevention program, but the damage had been done: following the

cigarette industry playbook, JLI had hooked more youth on nicotine.

         686.   As the sales of JUUL continued to mushroom, it was readily apparent, and

widely reported, that the rapid growth in sales was due to the surging popularity of e-

cigarette use among teenagers. By March 2018, multiple national news outlets including

National Public Radio, USA Today, and Business Insider reported youth were using JUUL

with alarming frequency, posting about using JUUL in school restrooms on social media,

and bragging about being able to use the device in the classroom due to JUUL’s discreet

design.

         687.   One of the priorities for JLI, Altria, and the Management Defendants was

therefore to control the messaging and narrative around youth e-cigarette use. Faced with

an urgent, growing public health crisis, national media attention, and the ire of the public,

the FDA and members of Congress, the Defendants realized that disinformation campaign

was urgently needed to protect its bottom line. This campaign was the “Make the Switch”

campaign discussed above.

         688.   The “Make the Switch” campaign was a cover-up, and its goal was to

convince the public, including schools and public health departments, that JUUL had

never marketed to youth and was instead intended to be a smoking cessation device. This




916
      INREJUUL_00194646.



                                    308
campaign was false. As mentioned above, one of JLI’s engineers admitted, “we’re not

trying to design a cessation product at all . . . anything about health is not on our mind.”917

And as described elsewhere herein, JLI and the Management Defendants directly targeted

underage nonsmokers. Indeed, JLI did not mention the term “adult” or “adult smoker” on

its Twitter feed until July 5, 2017. JLI, the Management Defendants, and Altria were all

well aware that such users made up a significant percentage of JLI’s customer base in

2018—in fact, they counted on this customer base to grow and preserve JUUL’s market

share—and that the statements they disseminated regarding “Make the Switch” from

smoking being JLI’s mission from the start were fraudulent, to the detriment of schools

and public health departments.

       689.    As JUUL sales skyrocketed in 2017 and 2018 and schools quickly became

overwhelmed by this public health crisis, everyone from tobacco industry giants to e-

cigarette start-ups launched their own products to take advantage of the illicit youth e-

cigarette market Defendants created, using the key elements of JUUL’s design: flavor

pods, nicotine salts, and a tech-like appearance.

       690.    The cigarette industry, which already marketed e-cigarettes, launched

“JUULalike” versions of their products in 2018, in flavors such as Mango Apricot and

Green Apple, and with nicotine salt formulations and higher nicotine content than their

earlier e-cigarettes.918


917
    Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. Times (Jan. 11, 2019),
  https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.
918
    Rachel Becker, Juul’s Nicotine Salts Are Dominating the Market – And Other
  Companies Want In, The Verge (Nov. 21, 2018),



                                     309
       691.   The launch of “JUULalike” products concerned Vince Willmore, Vice

President of Communications for the Campaign for Tobacco-Free Kids. According to

Willmore, “Juul is our biggest concern right as it is being widely used by kids across the

country . . . [b]ut we are also concerned that the introduction of a growing number of Juul-

like products could make the problem even worse.”919 Willmore was not the only one

worried. Then FDA Commissioner Gottlieb expressed concern about products copying

JUUL’s features, stating that such products “closely resemble a USB flash drive, have

high levels of nicotine and emissions that are hard to see. These characteristics may

facilitate youth use, by making the products more attractive to children and teens.”920

       692.   Researchers from SRITA called it “a nicotine arms race,” writing that

“JUUL’s success in the e-cigarette marketplace has spurred a variety of new pod-based




  https://www.theverge.com/2018/11/21/18105969/juul-vaping-nicotine-salts-electronic-
  cigarettes-myblu-vuse-markten; blu Launches myblu E-Vapor Device, CStore Decisions
  (Feb. 21, 2018), https://cstoredecisions.com/2018/02/21/blu-launches-myblu-e-vapor-
  device/; Angelica LaVito, Juul’s momentum slips as NJOY woos customers with dollar
  e-cigarettes, CNBC (Aug. 20, 2019), https://www.cnbc.com/2019/08/20/juuls-
  momentum-slips-as-njoy-woos-customers-with-dollar-e-cigarettes.html.
919
    Ben Tobin, FDA targets e-cigarettes like Juul as teachers fear ‘epidemic’ use by
  students, USA Today (Aug. 16, 2018),
  https://www.usatoday.com/story/money/2018/08/16/juul-labs-back-school-teachers-e-
  cigarettes/917531002/.
920
    Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on new
  enforcement actions and a Youth Tobacco Prevention Plan to stop youth use of, and
  access to, JUUL and other e-cigarettes, FDA (Apr. 23, 2018),
  https://www.fda.gov/news-events/press-announcements/statement-fda-commissioner-
  scott-gottlieb-md-new-enforcement-actions-and-youth-tobacco-
  prevention?utm_campaign=04242018_Statement_Youth%20Tobacco%20Prevention&u
  tm_medium=email&utm_source=Eloqua.



                                    310
products with exceptionally high nicotine.”921 “As of September 2018,” the researchers

wrote, “there were at least 39 JUUL knock off devices on the market”—none of which

were sold prior to the introduction of JUUL.922

       693.   The rapid proliferation of e-cigarette products in JUUL’s wake and the

speed with which the e-cigarette market evolves make it difficult to enact effective

legislative and regulatory measures.

       694.   The Secretary of HHS recognized, “The United States has never seen an

epidemic of substance use arise as quickly as our current epidemic of youth use of

e-cigarettes.”923 FDA Commissioner Stephen Hahn, M.D. added, “As we work to combat

the troubling epidemic of youth e-cigarette use, the enforcement policy we’re issuing

today confirms our commitment to dramatically limit children’s access to certain flavored

e-cigarette products we know are so appealing to them—so-called cartridge-based

products that are both easy to use and easily concealable.”924

       695.   Enterprising companies recognized loopholes in a policy aimed only at

cartridge-based products and the opportunity to fill the demand for fruit-flavored nicotine

created by JLI. Disposable e-cigarettes have become increasingly popular with youth due


921
    Robert K. Jackler & Divya Ramamurthi, Nicotine arms race: JUUL and the high-
  nicotine product market. 28 Tobacco Control 623-28 (2019),
  https://tobaccocontrol.bmj.com/content/28/6/623.
922
    Id.
923
    U.S. Food & Drug Administration, FDA finalizes enforcement policy on unauthorized
  flavored cartridge-based e-cigarettes that appeal to children, including fruit and mint
  (“FDA News Release”), FDA (Jan. 2, 2020), https://www.fda.gov/news-events/press-
  announcements/fda-finalizes-enforcement-policy-unauthorized-flavored-cartridge-
  based-e-cigarettes-appeal-children.
924
    Id.



                                    311
to the youth e-cigarette market Defendant JLI created. The use of disposable e-cigarettes

is now “rampant” in schools, further intensifying this public health crisis.925

       696.   For every company inspired by JLI to sell candy-flavored e-cigarette

products that exits the market, more materialize to take its place, driven by the knowledge

that there is a large market of nicotine-addicted youth eager for their products, a market

created by JLI.

       697.   The rise in disposable products demonstrates why additional measures are

necessary to halt the spread of youth e-cigarette use.926

B.     Impact of the Youth E-Cigarette Crisis on Plaintiff Maricopa County

       698.   Plaintiff Maricopa County is the largest county in Arizona, the fastest

growing county in the country, and the fourth most populous county in the United States,

with approximately 4.4 million residents. Approximately 23.5% of the county’s population

is below 18 years of age.

       699.   Maricopa County has been hit hard by the youth vaping epidemic. In 2018,

the Arizona Youth Survey State Report found that 45.3% of 12th graders in Maricopa

County reported having tried e-cigarettes. That same year, 20.2% of all students grades




925
    Sheila Kaplan, Teens Find a Big Loophole in the New Flavored Vaping Ban, N.Y.
  Times (Jan. 31, 2020) https://www.nytimes.com/2020/01/31/health/vaping-flavors-
  disposable.html.
926
    Press Release: Raising the Tobacco Age to 21 Won’t Stop the Youth E-Cigarette
  Epidemic and Is Not a Substitute for Eliminating the Flavored Products that Lure Kids,
  Tobacco Free Kids (Dec. 16, 2019), https://www.tobaccofreekids.org/press-
  releases/2019_12_16_tobacco21_flavor.



                                    312
8-12 reported having used electronic cigarettes within the past thirty days.927 Following a

similar trend alongside school districts across the East Valley region, the number of

students in Arizona’s largest school district, Mesa Public Schools, caught and disciplined

for vaping more than doubled every year between 2016 and 2019.928 In 2018, the county

saw an 800% increase in underage vaping citations occur within a single year.

       700.   The youth vaping epidemic is occurring alongside a downward trend in

youth use of traditional cigarettes. Compared to the 17.9% of Arizona students who

reported current e-cigarette use in 2019, only 5.3% of high schoolers reported smoking

traditional cigarettes.929 Many Maricopa County youth also do not understand the dangers

of vaping. A local pediatrician expressed his frustrations, “We are fighting the same

people, the same big tobacco companies, that we were 25 years ago when I started this…

This stuff smells good, smells fun, but it is dangerous for you. Your brain is going to

change. If you attack that brain with something while it is still developing, it changes your

whole life.”930

       701.   Defendants’ conduct has created a public health crisis in Plaintiff’s

community, and as a result Plaintiff has spent significant and unexpected levels of time and


927
     2018 Arizona Youth Survey: Maricopa County, Ariz. Crim. Just. Commission (2018),
  https://www.azcjc.gov/Portals/0/Documents/pubs/AYSReports/2018/2018_Arizona_Yo
  uth_Survey_State_Report.pdf.
928
    Philip Haldiman, Underage Vaping Citations up 800% Countywide, hot spots in NW,
  SE Valley, Daily Independent (May 13, 2019 10:38 AM),
  https://www.yourvalley.net/stories/underage-vaping-citations-up-800-countywide-hot-
  spots-in-nw-se-valley,11651.
929
    High School Youth Risk Behavioral Survey (YRBS): Arizona 2019 Results, C.D.C.
  (2019), https://nccd.cdc.gov/youthonline/app/Results.aspx?LID=AZB.
930
    Supra note 932.



                                    313
resources on addressing the pervasiveness of youth e-cigarette use. Maricopa County has

been proactive in trying to combat the youth vaping epidemic, investing significant time

and resources. Staff at the Maricopa County Public Health Department have developed

educational resources to help the community understand the risks of vaping. Maricopa

County also supports and participates in youth tobacco prevention programs with the State

of Arizona, such as Students Taking a New Direction (STAND) Youth Coalition. STAND

is a statewide anti-tobacco youth coalition “working to provide a safe environment for

high-school-aged students” that provides support for various activities and programs,

including assisting students with coordinating events and educational awareness.931

Maricopa County also partners with the Arizona Attorney General’s office to implement

Counter Strike, a program in which teenagers work with local law enforcement to identify

stores that sell tobacco products to minors.932

       702.   Maricopa County school districts have asked the Maricopa County Public

Health Department for training, presentations on vaping, and materials to share with

parents and students. Schools have also requested that the Public Health Department help

them organize parent nights and speak to students in high schools. The Public Health

Department is also responding to requests for information about vaping from other service

providers in the area. There is an urgent need for information, training, and support about

this issue, and the Maricopa County community relies on the Public Health Department for


931
    Youth Tobacco Prevention, Maricopa Cty. (2019),
  https://www.maricopa.gov/2448/Youth-Tobacco-Prevention.
932
    About Counter Strike, Counter Strike (2019), http://www.counterstrikeaz.com/about-
  counterstrike/.



                                    314
information. As a result, Plaintiff Maricopa County spends substantial time and resources

providing training on vapor products, working with schools to assess, develop, and update

their vaping policies and discipline procedures, and tracking data about youth vaping.

       703.    Not only have Defendants’ e-cigarette products addicted a new generation

to nicotine, Defendants are also creating a hazardous waste problem in Plaintiff’s

community. JUUL e-cigarette products contain chemicals that can be toxic or fatal if

ingested in their concentrated forms,933 as well as lithium-ion batteries,934 which cannot be

safely disposed of in the normal stream of trash. Defendants’ products also contain

nicotine, which is an acutely hazardous waste. Nicotine is a toxic substance which can be

absorbed dermally and can be fatal to humans in high doses, and therefore nicotine-

contaminated waste requires additional safe-handling procedures.935 Even “empty” e-

cigarette products like used JUULpods contain some trace amounts of nicotine. JLI


933
     See, e.g., How do I dispose of a JUULpod?, JUUL Labs, Inc.,
  https://support.juul.com/hc/en-us/articles/360023529793-How-do-I-dispose-of-a-
  JUULpod- (last visited Mar. 3, 2020) (“JUULpods should be recycled along with other
  e-waste.”); American Acad. of Pediatrics, Liquid Nicotine Used in E-Cigarettes Can
  Kill Children, healthychildren.org, https://www.healthychildren.org/english/safety-
  prevention/at-home/pages/liquid-nicotine-used-in-e-cigarettes-can-kill-children.aspx
  (last visited Mar. 3, 2020).
934
     See, e.g., JUUL Labs, Inc. (2020), https://support.juul.com/hc/en-
  us/articles/360023319614-What-kind-of-battery-is-in-the-device- (last visited Feb. 3,
  2020) (“JUUL uses a lithium-ion polymer battery. All portable electronics containing
  lithium-ion batteries present rare, but potentially serious safety hazards.”); JUUL Labs,
  Inc. (2020), https://support.juul.com/hc/en-us/articles/ 360023366194-How-do-I-
  dispose-of-a-JUUL-device- (last visited Mar. 13, 2020) (“Unlike other e-cigarettes,
  JUUL isn’t disposable and should be treated as a consumer electronic device. Follow
  your city's local recommendations for disposing of a lithium-polymer rechargeable
  battery.”).
935
     Management Standards for Hazardous Waste Pharmaceuticals and Amendment to the
  P075 Listing for Nicotine, 84 Fed. Reg. 5816, 5822 (Feb. 22, 2019).



                                    315
contributed to the improper disposal of JUULpods by telling customers to throw JUULpods

away in the “regular trash” until at least April 27, 2019.936 In addition, even “disposable”

e-cigarettes, which have proliferated in the youth vaping market created by Defendants,

should not be simply tossed in the trash, as they contain the same chemical residues and

lithium batteries. The youth e-cigarette epidemic has led to hazardous waste from these e-

cigarette products throughout Plaintiff’s community, from youth improperly disposing of

them by littering or throwing them in the trash or from confiscation. Plaintiff has struggled

to determine how best to respond to this problem.

       704.   The work Plaintiff Maricopa County has done to combat the youth vaping

epidemic are important steps, but these measures cannot fully address the existing

widespread use of vapor products and resulting nicotine addiction among youth. Because

of the potency of the nicotine salt solution popularized by JUUL and the ease of delivery

with the new generation of vape devices—allowing kids to take a puff as often as every

few minutes—widespread vaping has created a problem of addiction much greater than

that caused by youth cigarette smoking. This in turn creates behavioral as well as health

issues that are affecting communities and youth in Maricopa County. Treatment options




936
   JUUL Labs, Inc. (@JUULvapor), Twitter (Jul. 16, 2018),
 https://twitter.com/juulvapor/status/1018976775676792834?lang=en; (“JUULpods can
 be thrown away in a regular trash receptacle”) see also JUULpod Basics, JUUL Labs,
 Inc (Apr. 27, 2019),
 https://web.archive.org/web/20190427023811/https://support.juul.com/home/learn/faqs/
 juulpod-basics (“How do I dispose of a JUULpod?” “JUULpods are closed systems and
 are not intended to be refilled. They can be thrown away in a regular trash can.”).



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are lacking. In addition, as mentioned above, youth nicotine use is associated with

addiction to other substances.

         705.   As the researchers conducting the national Monitoring the Future survey

wrote in a letter to the New England Journal of Medicine in October 2019, current efforts

are insufficient to address youth nicotine addiction from vaping:

         Current efforts by the vaping industry, government agencies, and schools
         have thus far proved insufficient to stop the rapid spread of nicotine vaping
         among adolescents. Of particular concern are the accompanying increases in
         the proportions of youth who are physically addicted to nicotine, an addiction
         that is very difficult to overcome once established. The substantial levels of
         daily vaping suggest the development of nicotine addiction. New efforts are
         needed to protect youth from using nicotine during adolescence, when the
         developing brain is particularly susceptible to permanent changes from
         nicotine use and when almost all nicotine addiction is established.937

         706.   While Plaintiff has been working to address the youth vaping crisis, there is

much more that is needed to fully counter Defendants’ conduct. For example, with

additional resources, the Maricopa County Public Health Department could develop and

implement a major youth-targeted education campaign about vaping and its harmful

effects. Carrying out such a campaign effectively and countering Defendants’ extensive

marketing will require significant funding.as well as staff time. A comprehensive anti-

vaping campaign could require subcontracting with a design firm, conducting focus groups

with youth, and paid media including bus ads, movie theater ads, billboards, and social

media.




937
      Miech et al., supra note 4.Error! Hyperlink reference not valid.



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       707.   Importantly, funding is also needed to create a cohort of trained youth

educators. Work is needed to develop a nicotine-specific, peer-based program to address

the harms and widespread use of vaping nicotine. Peer-to-peer messaging is crucial because

it is necessary to change the social norms around vaping, just as previous efforts ultimately

changed social norms around cigarette smoking. Defendants were adept at using peer-to-

peer messaging to promote their addictive products to kids, through social media

campaigns and paid influencers. Countering their conduct will require training and

supporting youth to educate their peers.

       708.   In addition, resources are needed to train professionals who work with youth,

including teachers and service providers, and to develop treatment options specific to youth

vaping. Currently, staff are spending significant amounts of time on prevention and

intervention, reducing the amount of time they can devote to other public health issues.

This will continue until the youth vaping epidemic is abated and effective treatment options

are developed.

       709.   Fully addressing the harms to Maricopa County caused by Defendants’

conduct will require a comprehensive approach. Without the resources to fund measures

such as those described herein, Maricopa County will continue to be harmed by the ongoing

consequences of Defendants’ conduct.




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C.     No Federal Agency Action, Including by the FDA, Can Provide the Relief
       Plaintiff Seeks Here

       710.   The injuries Plaintiff has suffered and will continue to suffer cannot be

addressed by agency or regulatory action. There are no rules the FDA could make or actions

the agency could take that would provide Plaintiff the relief it seeks in this litigation.

       711.   Even if e-cigarettes were entirely banned today or only used by adults,

millions of youth, including Plaintiff’s students, would remain addicted to nicotine.

       712.   Regulatory action would do nothing to compensate Plaintiff for the money

and resources it has already expended addressing the impacts of the youth e-cigarette

epidemic and the resources it will need in the future. Only this litigation has the ability to

provide Plaintiff with the relief it seeks.

       713.   Furthermore, the costs Plaintiff has incurred in responding to the public

health crisis caused by youth e-cigarette and taking the actions described above are

recoverable pursuant to the causes of actions raised by Plaintiff. Defendants’ misconduct

alleged herein is not a series of isolated incidents, but instead the result of a sophisticated

and complex marketing scheme and related cover-up scheme that has caused a continuing,

substantial, and long-term burden on the services provided by Plaintiff. In addition, the

public nuisance created by Defendants and Plaintiff’s requested relief in seeking

abatement further compels Defendants to reimburse and compensate Plaintiff for the

substantial resources it has expended and will need to continue to expend to address the

youth e-cigarette epidemic.




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                              VI.    CAUSES OF ACTION

                             COUNT ONE --
              VIOLATIONS OF ARIZONA PUBLIC NUISANCE LAW

       714.   Plaintiff incorporates by reference all preceding paragraphs.

       715.   Plaintiff brings this claim under Arizona public nuisance law as to all

Defendants.

       716.   Under Arizona law, a public nuisance is an unreasonable interference with a

right common to the general public that affects a considerable number of people or an entire

community or neighborhood.

       717.   Plaintiff and its students have a right to be free from conduct that endangers

their health and safety. Yet Defendants have engaged in conduct and omissions which

unreasonably and injuriously interfered with the public health and safety in Plaintiff’s

community and created substantial and unreasonable annoyance, inconvenience, and injury

to the public by their production, promotion, distribution, and marketing of e-cigarette

products, including, but not limited to JUUL, for use by youth in Plaintiff’s school district.

Defendants’ actions and omissions have substantially, unreasonably, and injuriously

interfered with Plaintiff’s functions and operations and affected the public health, safety,

and welfare of Plaintiff’s community.

       718.   Each Defendant has created or assisted in the creation of a condition that is

injurious to the health and safety of Plaintiff and its students and interferes with the

comfortable enjoyment of life and property of Plaintiff’s community.




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       719.   Defendants’ conduct has directly caused a severe disruption of the public

health, order, and safety. Defendants’ conduct is ongoing and continues to produce

permanent and long-lasting damage.

       720.   This harm to Plaintiff and the public is substantial, unreasonable, widespread,

and ongoing. It outweighs any potential offsetting benefit of the Defendants’ wrongful

conduct because Defendants’ conduct violates Arizona’s public policy against marketing

e-cigarette products to minors. This policy is expressed through statutes and regulations,

including but not limited to:

              1.     A.R.S. § 13-3622(a), which prohibits the sale or furnishing of vapor
                     products, instruments, or paraphernalia, to a minor; and

              2.     A.R.S. § 13-3622(b), which prohibits minors from buying,
                     possessing, or knowingly accepting vapor products, instruments, or
                     paraphernalia.

       721.   Defendants’ conduct violated these state laws and the public policy they

enforce, including by:

              1.     Actively seeking to enter school campuses, targeting children as
                     young as eight through summer camps and school programs,
                     extensively targeting youth through social media campaigns, and
                     recruiting “influencers” to market to teens;

              2.     Engaging in marketing tactics specifically designed to mislead
                     children and youth and to ensnare minors into nicotine addiction,
                     including by explicitly adopting tactics prohibited from Big
                     Tobacco, with the knowledge that those tactics were likely to
                     ensnare children and youth into nicotine addiction, including using
                     billboards and outdoor advertising, sponsoring events, giving free
                     samples, paying affiliates and “influencers” to push e-cigarette
                     products, and by selling e-cigarette products in flavors designed to
                     appeal to youth;




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              3.       Engaging in advertising modeled on cigarette ads and featuring
                       youthful-appearing models and designing advertising in a patently
                       youth-oriented fashion;

              4.       Directing advertising to youth media outlets and media designed to
                       appeal to children and youth, such as Instagram and other social
                       media channels;

              5.       Hosting youth-focused parties across the United States, at which free
                       samples were dispensed and in which e-cigarette use was featured
                       prominently across social media;

              6.       Formulating e-cigarette products with flavors with the knowledge
                       that such flavors appealed to youth and with the intent that youth
                       become addicted or dependent upon e-cigarette products; and

              7.       Promoting and assisting the growth of the e-cigarette product market
                       and its availability with knowledge that e-cigarette products were
                       being purchased and used by large numbers of youth.

       722.   Defendants’ conduct described in the preceding paragraph and throughout

the Complaint also violated, and thereby created or maintained a public nuisance, the

following state law:

              a.       A.R.S. § 44-1521 et seq., which prohibits deceptive or unfair acts or
                       practices, fraud, false pretenses, false promises, misrepresentations,
                       or concealment, suppression or omission of material facts with an
                       intent that others rely on such concealment, suppression or omission,
                       in connection with the sale or advertisement of merchandise.

       723.   Defendants’ conduct substantially and unreasonably interfered with public

health, safety and the right to a public education in a safe and healthy environment. In that

regard, and in other ways discussed herein, the public nuisance created or maintained by

Defendants was connected to Plaintiff’s property, including but not limited to school

buildings.




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       724.    The health and safety of the youth of Plaintiff’s school district, including

those who use, have used, or will use e-cigarette products, as well as those affected by

others’ use of e-cigarette products, are matters of substantial public interest and of

legitimate concern to Plaintiff, as well as to Plaintiff’s community.

       725.    Defendants’ conduct has affected and continues to affect a substantial

number of people within Plaintiff’s school district and is likely to continue causing

significant harm.

       726.    But for Defendants’ actions, e-cigarette products, including, but not limited

to JUUL, used by youth would not be as widespread as they are today, and the youth e-

cigarette public health crisis that currently exists as a result of Defendants’ conduct would

have been averted.

       727.    Defendants knew or should have known that their conduct would create a

public nuisance. Defendants knew or reasonably should have known that their statements

regarding the risks and benefits of e-cigarette use were false and misleading, that their

marketing methods were designed to appeal to minors, and that their false and misleading

statements, marketing to minors, and active efforts to increase the accessibility of e-

cigarette products and grow JUUL’s market share, or the market share of Defendants’

products, were causing harm to youth and to municipalities, schools, and counties,

including youth in Plaintiff’s school district and to Plaintiff itself.

       728.    Thus, the public nuisance caused by Defendants was reasonably foreseeable,

including the financial and economic losses incurred by Plaintiff.




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       729.   Alternatively, Defendants’ conduct was a substantial factor in bringing about

the public nuisance even if a similar result would have occurred without it. By directly

marketing to youth and continuing these marketing practices after it was evident that

children were using JUUL products in large numbers and were specifically using these

products in schools, JLI and the Management Defendants directly facilitated the spread of

the youth e-cigarette crisis and the public nuisance affecting Plaintiff.

       730.   Altria, by investing billions of dollars in JLI and actively working to promote

the sale and spread of JUUL products with the knowledge of JLI’s practice of marketing

JUUL products to youth and its failure to control youth access to JUUL products, directly

facilitated the spread of the youth e-cigarette crisis and the public nuisance affecting

Plaintiff.

       731.   Plaintiff has taken steps to address the harm caused by Defendants’ conduct,

including, but not limited to, those listed in Section V.B above.

       732.   Fully abating the epidemic of youth e-cigarette use resulting from

Defendants’ conduct will require much more than these steps.

       733.   As detailed herein, Plaintiff has suffered special damage different in kind or

quality from that suffered by the public in common. The damages suffered by Plaintiff

have been greater in degree and different in kind than those suffered by the general public

including, but not limited to, those arising from: expending, diverting and increasing staff

time to confiscate product; expending, diverting and increasing staff time to communicate

and engage with parents; expending, diverting and increasing the time that teachers must

be out of class to prepare witness statements and assist in investigations; expending,



                                     324
diverting and increasing staff time associated with discipline and suspension of students;

expending, diverting and increasing staff time associated with routing students to social

workers to develop and convene support groups for suspended students; expending,

diverting and increasing staff time associated with routing students to social workers to

develop and conduct prevention programing; expending, diverting and increasing

resources for modifications to the health curriculum; expending, diverting and increasing

resources to make physical changes to schools and/or address property damage in schools.

       734.   Plaintiff therefore requests all the relief to which it is entitled in its own right

and relating to the special damage or injury it has suffered, and not in any representative

or parens patriae capacity on behalf of students, including damages in an amount to be

determined at trial and an order providing for the abatement of the public nuisance that

Defendants have created or assisted in the creation of, and enjoining Defendants from

future conduct contributing to the public nuisance described above.

       735.   Defendants’ conduct, as described above, was intended to cause injury

and/or was motivated by spite or ill will and/or Defendants acted to serve their own

interests, having reason to know and consciously disregarding a substantial risk that their

conduct might significantly injure the rights of others, including Plaintiff, and/or

Defendants consciously pursued a course of conduct knowing that it created a substantial

risk of significant harm to others, including Plaintiff. Defendants regularly risks the lives

and health of consumers and users of its products with full knowledge of the dangers of

its products. Defendants made conscious decisions not to redesign, re-label, warn, or

inform the unsuspecting public, including Plaintiff’s students or Plaintiff.



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Defendants’ willful, knowing and reckless conduct therefore warrants an award of

aggravated or punitive damages.

                          COUNT TWO —
      VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                   ORGANIZATIONS ACT (“RICO”)

          1.     Violation of 18 U.S.C. § 1962(c)

          736.   Plaintiff incorporates the allegations set forth above as if fully set forth

herein.

          737.   This claim is brought by Plaintiff against Defendants Monsees, Bowen,

Pritzker, Huh, Valani, and Altria (the “RICO Defendants”) for actual damages, treble

damages, and equitable relief under 18 U.S.C. § 1964, for violations of 18 U.S.C. § 1961,

et seq.

          738.   Section 1962(c) makes it “unlawful for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or

foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such

enterprise’s affairs through a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

          739.   At all relevant times, each RICO Defendant is and has been a “person”

within the meaning of 18 U.S.C. § 1961(3), because they are capable of holding, and do

hold, “a legal or beneficial interest in property.”

          740.   Each RICO Defendant conducted the affairs of an enterprise through a

pattern of racketeering activity, in violation of 18 U.S.C. § 1962(c), as described herein.




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         741.   Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and

have standing to sue under 18 U.S.C. § 1964(c) as they were and are injured in their

business and/or property “by reason of” the RICO Act violations described herein.

         742.   Plaintiff demands the applicable relief set forth in the Prayer for Relief

below.

                a.    JLI is an Enterprise Engaged in, or its Activities Affect, Interstate
                      or Foreign Commerce

         743.   Section 1961(4) defines an enterprise as “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals

associated in fact although not a legal entity.” 18 U.S.C. § 1961(4).

         744.   JUUL Labs, Inc. (“JLI”) is a corporation and therefore meets the definition

of “enterprise” under the RICO Act. Specifically, JLI is registered as a corporate entity in

the State of Delaware.

         745.   Each of Defendants Pritzker, Huh, Valani, Bowen, and Monsees controlled

the JLI Enterprise—that is, they used JLI as the vehicle through which an unlawful pattern

of racketeering activity was committed—through their roles as officers and directors of

JLI. As set forth below, their roles allowed them to control the resources and

instrumentalities of JLI and use that control to perpetrate a number of fraudulent schemes

involving the use of mail and wires, including sales to youth and fraudulently

misrepresenting or omitting the truth about JUUL products to adult users and the public

at large. For its part, Altria and Altria Client Services began conspiring with Defendants

Pritzker and Valani to direct the affairs of JLI as early as Spring 2017, messaging that if




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JLI continued its massive growth—which they knew was achieved through youth

marketing and fraudulent misrepresentations and omissions—they would receive a

massive personal pay-off. The Altria Defendants started personally transmitting

statements over the mail and wires in furtherance of the fraudulent schemes even before

Altria’s December 2018 investment in JLI. After that point, Altria gained even further

influence over the JLI Board of Directors and installed its own personnel in key roles at

JLI, cementing its direction of the Enterprise.

       746.   JLI is an enterprise that is engaged in and affects interstate commerce

because the company has sold and continues to sell products across the United States, as

alleged herein.

              b.     “Conduct or Participate, Directly or Indirectly, in the Conduct of
                     Such Enterprise’s Affairs”

       747.   “[T]o conduct or participate, directly or indirectly, in the conduct” of an

enterprise, “one must participate in the operation or management of the enterprise

itself.” Reves v. Ernst & Young, 507 U.S. 170, 185 (1993).

       748.   As described herein, each RICO Defendant participated in the operation or

management of the JLI Enterprise, and directed the affairs of the JLI Enterprise through a

pattern of racketeering activity, including masterminding schemes to defraud that were

carried out by and through JLI using the mail and wires in furtherance of plans that were

designed with specific intent to defraud.

       Bowen and Monsees Founded the JLI Enterprise and Started its Mission of
       Hooking Kids and Lying to the Public and Regulators




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       749.   Plaintiff incorporates by reference, as if fully set forth herein, the factual

allegations stated against Defendants Bowen and Monsees above.

       750.   As described above in more detail, Defendants Bowen and Monsees were

the visionaries behind JUUL, led JLI in its infancy to develop a highly addictive product,

and formed JLI with the aim of creating a growing base of loyal users, including an illicit

youth market of nicotine users, by following the same tactics that the cigarette industry

has used for decades: selling to kids and lying to adults about their products. Together,

Bowen and Monsees set out to “deliver solutions that refresh the magic and luxury of the

tobacco category.”938

       751.   Monsees admitted that when creating JLI, he and Bowen carefully studied

the marketing strategies, advertisements, and product design revealed in cigarette industry

documents that were uncovered through litigation and made public under the November

1998 Master Settlement Agreement between the state Attorneys General of forty-six

states, five U.S. territories, the District of Columbia, and the four largest cigarette

manufacturers in the United States. “[Cigarette industry documents] became a very

intriguing space for us to investigate because we had so much information that you

wouldn’t normally be able to get in most industries. And we were able to catch up, right,

to a huge, huge industry in no time. And then we started building prototypes.”939




938
    Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco
  Pods, SOLID SMACK (Apr. 23, 2014), www.solidsmack.com/ design/ploom-modeltwo-
  slick-design-tobacco-pods.
939
    Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
  https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.



                                    329
       752.   Seizing on the decline in cigarette consumption and the lax regulatory

environment for e-cigarettes, Bowen, Monsees, and investors in their company sought to

introduce nicotine to a whole new generation of youth users, with JLI as the dominant

supplier, by concealing the nicotine content and addictiveness of the products, and

promoting these products to youth users. To achieve that goal, they knew they would need

to create and market a product that would make nicotine cool to kids again, without the

stigma associated with cigarettes, deceive the public about what they were doing, and

prevent and delay regulation that would hinder their efforts to expand JUUL sales.

       753.   Bowen led the design of the JUUL product, including by participating as a

subject in many of the company’s human studies. Bowen was instrumental in making the

JUUL product appealing to youth, even though “he was aware early on of the risks e-

cigarettes posed to teenagers.” He drew on his experience as a design engineer at Apple

to make JUUL resonate with Apple’s popular aesthetics. This high-tech style made JUULs

look “more like a cool gadget and less like a drug delivery device. This wasn’t smoking

or vaping, this was JUULing.”940 The evocation of technology makes JUUL familiar and

desirable to the younger tech-savvy generation, particularly teenagers. According to a 19-

year-old interviewed for the Vox series By Design, “our grandmas have iPhones now,

normal kids have JUULs now. Because it looks so modern, we kind of trust modern stuff




940
   How JUUL Made Nicotine Go Viral, VOX (Aug. 10, 2018),
  https://www.youtube.com/watch?v=AFOpoKBUyok.



                                   330
a little bit more so we’re like, we can use it, we’re not going to have any trouble with it

because you can trust it.”941

            754.   Bowen designed JUUL products to foster and sustain addiction, not break

it. JLI and Bowen were the first to design an e-cigarette that could compete with

combustible cigarettes on the speed and strength of nicotine delivery. Indeed, JUUL

products use nicotine formulas and delivery methods much stronger than combustible

cigarettes, confirming that what Bowen created an initiation product, not a cessation or

cigarette replacement product. Bowen also innovated by making an e-cigarette that was

smooth and easy to inhale, practically eliminating the harsh “throat hit,” which otherwise

deters nicotine consumption, especially among nicotine “learners,” as R.J. Reynolds’

chemist Claude Teague called new addicts, primarily young people.

            755.   Bowen worked to minimize “throat hit” and maximize “buzz” of the JUUL

e-cigarette. Dramatically reducing the throat hit is not necessary for a product that is aimed

at smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively

appeals to nonsmokers, especially youth.

            756.   The “buzz” testing results demonstrate that Bowen’s goal was not to match

the nicotine delivery profile of a cigarette, but to surpass it by designing a maximally

addictive product, which could only be marketed as a cigarette substitute through a

sophisticated fraud campaign.




941
      Id.



                                       331
         757.   Bowen designed the JUUL product to deliver nicotine in larger amounts and

at a faster rate than traditional cigarettes. This feature made the product more likely to

capture users with the first hit.

         758.   Bowen was also heavily involved with JLI’s marketing strategy, which

primarily targeted youth users.

         759.   Bowen personally developed JLI’s strategy to market to youth and make JLI

as profitable as possible, so that it would be an attractive investment for a major

manufacturer of traditional cigarettes. In a 2016 e-mail exchange with JLI employees

regarding potential partnerships with e-cigarette juice manufacturers, Bowen reminded

the employees that “big tobacco is used to paying high multiples for brands and market

share.”942 Bowen knew that to achieve the ultimate goal of acquisition, JLI would have to

grow the market share of nicotine-addicted e-cigarette users, regardless of the human cost.

         760.   Bowen’s role in marketing included changing the name of “Crisp Mint” to

“Cool Mint” in 2015. Bowen also oversaw JLI’s formation of a commercial relationship

with Avail Vapor, LLC, an Altria subsidiary, which Altria and JLI used to coordinate the

flavor preservation schemes described below.

         761.   Like Bowen, Monsees was instrumental to founding JLI with the aim of

expanding the market of nicotine addicted e-cigarette users to include those “who aren’t

perfectly aligned with traditional tobacco products.”943




942
      INREJUUL_00294198.
943
      Id.



                                    332
        762.   Monsees personally helped to market JLI to the “cool kids,” using a

sophisticated viral marketing campaign that strategically laced social media with false and

misleading messages, to ensure their uptake and distribution among young users. Then,

he subsequently and personally denied to the public and regulators that JLI had done just

that.

        763.   With help from their early investors and board members, who include

Nicholas Pritzker, Hoyoung Huh, and Riaz Valani, Bowen and Monsees succeeded in

hooking millions of youth, intercepting millions of adults trying to overcome their nicotine

addictions, delaying regulation that would have stopped their unlawful activities, and, of

course, earning billions of dollars in profits.

        Pritzker, Huh, and Valani Exercised Control and Direction Over the JLI
        Enterprise

        764.   Plaintiff incorporates by reference, as if fully set forth herein, the factual

allegations stated against Pritzker, Huh, and Valani above. As described above, Pritzker,

Huh, and Valani were early investors in JLI who worked closely with Monsees and

Bowen, and took control of the JLI Board of Directors in 2015. Working in close

collaboration with Monsees and Bowen, Pritzker, Huh, and Valani directed JLI’s affairs

and used the corporation to effectuate and continue fraudulent schemes for their own

personal profits and financial benefits. Pritzker, Huh, and Valani were “more active than

most” board members and, unlike most corporate board members, had active involvement

in directing the company’s actions week-to-week, including JLI’s marketing efforts.

        765.   Pritzker, Huh, and Valani exercised an intimate level of control over JLI

during a key period—from October 2015 through at least May 2016—when the three



                                     333
Defendants (Pritzker, Huh, and Valani) served as the Executive Committee of the JLI

Board of Directors.

       766.   As detailed above, in 2015, there was a power struggle within JLI about

whether to grow JLI’s consumer base by targeting young people. Pritzker, Huh, and

Valani favored aggressive marketing of JUUL products to young people. By October

2015, the power struggle was over, with the debate resolved in favor of selling to teens.

At that time, Monsees stepped down as CEO to be replaced by the three-member

“Executive Committee” comprised of Pritzker, Huh, and Valani. Huh served as the

Executive Committee Chairman, and Pritzker served as Co-Chairman. The Executive

Committee had the final say over all day-to-day operations of the JLI business. Huh, as

Chairman, and Pritzker, as Co-Chairman of JLI, were involved in the management of the

company on a weekly basis. By December 2015, for example, the Executive Committee

gave Pritzker and Huh supervisory responsibility for JLI employees. Valani, for his part,

was also an active Board member, involved in the management of the company on a

weekly basis. Dating back to 2011, Valani was a regular presence in JLI’s offices,

appearing in person at JLI’s offices “a couple times a week.”944

       Bowen, Monsees, Pritzker, Huh and Valani Exercised a Firm Grip over JLI

       767.   By the summer of 2015, and at all times prior to Altria’s investment in JLI,

JLI was controlled by a Board of Directors with a maximum of seven seats. JLI co-founder

Bowen has occupied a seat on JLI’s Board from its inception. Likewise, Defendant



944
   https://www.vice.com/en/article/43kmwm/juul-founders-first-marketing-boss-told-us-
  the-vape-giants-strange-messy-origins



                                   334
Monsees was a member of the Board of Directors of JLI until he stepped down in March

2020. Defendant Pritzker has been on the Board of Directors of JLI since at least August

2013. He controlled two of JLI’s seven maximum Board seats. Defendant Valani has been

on JLI’s Board of Directors since at least 2007. He also controlled two of JLI’s maximum

seven Board seats. Beginning around March 2015, Hank Handelsman occupied Valani’s

second seat. Notably, Handelsman has a close relationship with Pritzker, as he serves as

general counsel for the Pritzker Organization. He also was a senior executive officer and

general counsel for the Pritzker’s Hyatt Corporation for several decades.

       768.   Collectively, and prior to Altria’s investment, Pritzker, Valani, Huh, Bowen,

and Monsees controlled at least six of the seven seats on the JLI Board of Directors, which

in turn allowed them to appoint the seventh member of the JLI Board of Directors. Thus,

the Management Defendants had total control of the decisions of the Board of Directors.

Pritzker and Valani, each holding two Board seats (and thus a majority of the seven-seat

Board), had the ability to control the outcome of all decisions of the Board of Directors,

as Board decisions were decided by a majority vote. It also follows that, by controlling

the majority of the JLI Board of Directors at all relevant times, Pritzker and Valani had an

effective “veto” over any decisions made by the JLI Board of Directors. And, Pritzker,

Huh, and Valani exercised even more close control during the time period in which they

served on the Executive Committee.

       769.   Through the Board of Directors’ control over all aspects of JLI’s business,

Bowen, Monsees, Pritzker, Huh, and Valani used JLI as a vehicle to further fraudulent

schemes of targeting youth, misrepresenting and omitting to users of all ages what JLI was



                                    335
really selling and to whom, and seeking to delay or prevent regulation that would impede

the exponential growth of JUUL’s massive youth market share. They achieved their

ultimate goal of self-enrichment through fraud when Altria made an equity investment in

JLI in December 2018.

       In 2017, Altria Conspired with Pritzker and Valani to Influence and Indirectly
       Exercise Control Over JLI.

       770.   Plaintiff incorporates by reference, as if fully set forth herein, the factual

allegations stated against the Altria Defendants above. As set forth above, Altria (through

its subsidiary, Defendant Philip Morris) has been manufacturing and selling

“combustible” cigarettes for more than a century, but, recognizing that regulation and

litigation had resulted in declining cigarette sales, Altria was looking to enter the e-

cigarette space. It formed a subsidiary, Nu Mark LLC, to develop and market an e-

cigarette product, the Mark Ten. The Mark Ten was not a success, so Altria began eyeing

an acquisition of the biggest player in the youth addiction game, JLI.

       771.   Altria’s pursuit led to eighteen months of negotiations with Altria and Altria

Client Services on the one hand, and Defendants Pritzker and Valani on the other,

regarding a potential acquisition or equity investment in JLI. They conspired to achieve

the best outcome for Pritzker and Valani personally, and for Altria as an entity. During

these eighteen months, Altria, and Altria Client Services specifically, enticed Pritzker and

Valani with a potential multi-billion-dollar payout. During that time, Pritzker, Valani, and

the other Management Defendants committed numerous acts of fraud to grow the business

of JLI to satisfy Altria’s expectations. Meanwhile, Altria and Altria Client Services

actively conspired with Pritzker and Valani to continue growing JLI’s youth market by



                                    336
continuing JLI’s fraudulent activities, their compliance ensured by that promised payout.

Altria was gathering information on JLI to confirm Altria would be purchasing a company

with a proven track record of sales to youths.

       Altria Directly Exercises Control and Participates in of the JLI Enterprise

       772.   By October 2018, Altria was directly transmitting statements over the mail

and wires to support the JLI enterprise’s efforts to fraudulently market JUUL products and

to prevent or delay regulation.

       773.   In December 2018, Altria publicly announced its ties to the JLI enterprise

by making a $12.8 billion equity investment in JLI, the largest private equity investment

in United States history. This investment led to massive personal financial benefit for each

of the Management Defendants and gave Altria three seats on the JLI Board of Directors,

allowing it to assert greater management and control over the JLI Enterprise, which used

the instrumentalities of JLI to effectuate many of its fraudulent schemes.

       774.   Following the investment, Altria also directly distributed fraudulent

statements that JLI was a cessation device, that JLI did not target youth, and that the

nicotine in a single JUUL pod was equivalent to a pack of cigarettes.

       775.   Moreover, to further bolster its influence and control of JLI, Altria worked

with Pritzker and Valani to install two key Altria executives into leadership positions at

JLI: K.C. Crosthwaite and Joe Murillo.

The Fraudulent Schemes

       776.   As detailed above, the operation of the JLI Enterprise, as directed by the five

individual Defendants and Altria, included several schemes to defraud that helped to




                                    337
further the goals of the RICO Defendants—i.e., to expand the e-cigarette market,

particularly among youth, for the five individual Defendants to reap huge personal profits,

and for Altria to regain the market share that it was losing in the traditional cigarette arena

and could no longer openly pursue through the same tactics used by JLI and the five

individual Defendants.

Fraudulent Marketing Scheme

       777.   As described above and in Sections IV.D, IV.E, JLI, and Defendants Bowen,

Monsees, Pritzker, Huh, and Valani directed and caused JLI to make false and misleading

advertisements that omitted references to JUUL’s nicotine content and potency to be

transmitted via the mail and wires, including the Vaporized campaign.

       778.   As early as 2014, Pritzker participated in planning discussions with Monsees

and Valani about how to expand JUUL’s market share through marketing.

       779.   In 2015, Bowen helped to finalize the messaging framework for JUUL’s

launch plan, including sponsored content on social media. This messaging was patently

youth oriented and intentionally targeted children.

       780.   Monsees studied the marketing techniques of the traditional cigarette

industry, and he personally reviewed the photographs that were used in the youth-oriented

advertisements that accompanied JUUL’s launch. The “Vaporized” campaign featured

bright colors and young models who were in “poses were often evocative of behaviors

more characteristic of underage teen than mature adults.”945



945
   Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm.
  on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.



                                     338
      781.   Monsees also provided specific direction as to the content of the JUUL

website to JLI employees, and that content include false, misleading, and deceptive

statements designed to induce users, and particularly young people, to purchase the JUUL

product.

      782.   Pritzker, Valani, Monsees, and Bowen—individually and collectively—

approved images from the JUUL “Vaporized” ad campaign in 2015. While they noted the

youthfulness of the models, they expressed no concerns about the direction of the

campaign, which was clearly directed to young users, they all supported launching the

campaign—which then proved to be a great “success” in expanding vaping among

underage users. And even though Pritzker, Huh, and Valani knew—and explicitly stated—

that what they were doing was wrong, JLI pressed ahead with its youth-oriented marketing

through early 2016.

      783.   Before the launch of new JUUL advertising campaigns in 2015, Pritzker,

Valani, and Bowen advised the JLI marketing team to allay their concerns about the

messaging regarding the nicotine content of the JUUL product.

      784.   Along with Valani, Pritzker was so directly involved in the “Vaporized”

advertising campaign—which, as described above, marketed the JUUL product to teens—

that JLI’s COO in 2015 remarked that he was concerned that the Board would try to write

copy for future branding changes.




 (2019) (statement of Robert K Jackler, Professor, Stanford University).
 https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-
 Wstate-JacklerR-20190724.pdf.



                                    339
       785.   Huh was also instrumental in these early marketing campaigns, which were

targeted to youth and omitted references to JUUL’s nicotine content. In debates about

whether to continue marketing JUUL aggressively to youth, Huh supported that action

and asserted that the company could not be blamed for youth nicotine addiction.

       786.   During his stint as Executive Committee chairman, which lasted at least

until May 2016, Huh approved specific branding changes in 2015 and 2016, as JLI

developed and implemented its plans for marketing to youth.

       787.   Various communications post-October 2015 demonstrate that Monsees

deferred to Huh with regard to the direction of the company.

       788.   Pritzker also personally controlled several aspects of JLI’s branding. For

instance, Pritzker was directly involved in creating JLI’s corporate website in May 2017.

JLI used this website as another means to market its products to youth.

       789.   Through the allegations above, Plaintiff has shown a direct connection

between the RICO Defendants and this fraudulent scheme, including personal

involvement in directing, in some part, the affairs of the JLI Enterprise.

Youth Access Scheme

       790.   As described above and in Section IV.E, the five Management Defendants

who controlled JLI acted individually and in concert to expand youth access to JUUL

products through schemes to mislead customers about the products.

       791.   As reflected in Section IV.E.11, JLI worked with Veratad to expand youth

access while giving the appearance the JLI was combating youth access to its products.




                                    340
       792.   Through the allegations above, Plaintiff has shown a direct connection

between the RICO Defendants and this fraudulent scheme, including personal

involvement in directing, in some part, the affairs of the JLI Enterprise.

Nicotine Content Misrepresentation Scheme

       793.   As described above and in Section IV.D, IV.G, the five Management

Defendants and Altria caused thousands, if not millions, of JUULpod packages to be

distributed to users with false and misleading information regarding the JUUL pods’

nicotine content. The five individual Defendants who controlled JLI also caused the same

false and misleading information to be distributed via JLI’s website.

       794.   Defendant Bowen participated in studies regarding the nicotine content of

JUUL pods, including by altering or re-engineering his own studies concerning nicotine

content to mask the true content and impact in the products he developed. He discussed

his engineering test results (the Phase 1 results), and how they differed from the Phase 0

results, with Monsees, Pritzker and Valani.       He helped to select the 4% benzoate

formulation that served as a model for all formulations used with the JUUL product. As

formulated, JUUL pods were foreseeably exceptionally addictive, particularly when used

by persons without prior exposure to nicotine.

       795.   As alleged above, Defendants Monsees, Pritzker, and Valani had personal

knowledge about JUUL product nicotine content through direct communications with

Bowen discussing engineered test results (the Phase 1 results), and how they differed from

the Phase 0 results.




                                    341
      796.    Defendants Bowen, Monsees, Pritzker and Valani thus caused the

distribution of numerous JUUL pod packages, and statements on the JLI website and

elsewhere, that fraudulently equated the nicotine content of one JUUL pod as equivalent

to one pack of cigarettes. These statements were false, as a JUUL pod had substantially

more nicotine than a standard pack of combustible cigarettes.

      797.    Defendant Bowen also directed, on May 4, 2018, that Ashley Gould convey

to the Washington Post that JLI’s studies “support that nic strength and pack equivalence

holds true,” even though he knew this statement was false. On May 10, 2018, the

Washington Post published an article, quoting a JUUL spokesperson extensively and

stating that JUUL “contains about the same amount of nicotine as a pack of cigarettes”—

the exact false statement Bowen instructed Gould to convey to the Post.

      798.    The following year, Monsees conveyed this same misinformation in

deposition testimony in a proceeding before the United States International Trade

Commission.

      799.    Defendant Monsees also required, by no later than July 2018, that JLI

employees obtain his personal approval for the artwork on all JUUL pod packaging.

      800.    Several Altria Defendants were involved in this scheme as well. With the

approval and consent of Altria Group and under the management of Altria Client Services

(the “Provider Manager” for the contracts), Altria Group Distribution Company

distributed millions of JUULpod packages to stores across the country. These packages

included the false and misleading information regarding JUUL pods’ nicotine content.




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       801.   Through the allegations above, Plaintiff has shown a direct connection

between the RICO Defendants and this fraudulent scheme, including personal

involvement in directing, in some part, the affairs of the JLI Enterprise.

Flavor Preservation Scheme

       802.   As described above and in Section IV.I, the RICO Defendants worked in

concert to defraud the public and deceive regulators to prevent regulation that would have

impeded their plan to keep selling to children. Specifically, they worked to ensure that the

FDA allowed JUUL’s mint flavor to remain on the market.

       803.   Altria and JLI had been working together on flavor strategy as early as

September 2017, when Tyler Goldman and Gal Cohen (Valani’s inside man within JLI)

met with representatives of Altria Client Services to plan a strategy for responding to the

FDA’s proposed regulation of flavors in e-cigarettes. This plan would be coordinated

through Avail Vapor, LLC, a company partially owned by Altria. Through Avail, the

RICO Defendants obtained evidence that confirmed that mint was so popular with non-

smoking teenagers that even with mint as its sole flavor option, JLI would remain a multi-

billion-dollar enterprise.

       804.   Weeks before Altria’s equity investment in December 2018, the regulatory

pressure ramped up significantly, and Altria and JLI engaged in active fraud to lull the

FDA that mint was simply a traditional cigarette flavor designed to help adult smokers

switch, rather than a flavor that appealed primarily to youth. With the scheme in place,

Altria and JLI finalized their deal.




                                       343
       805.    In September 25, 2018, then-FDA Commissioner Scott Gottlieb sent letters

to Altria, JLI and other e-cigarette manufacturers, requesting a “detailed plan, including

specific timeframes, to address and mitigate widespread use by minors.”946

       806.    Altria and JLI’s responses to the FDA reflect a coordinated effort to mislead

the FDA with the intention that regulators, in reliance on their statements, would allow

JLI to continue marketing mint JUUL pods.947

       807.    On October 25, 2018, Altria Group sent a letter to the FDA portraying mint

as a traditional tobacco flavor. Altria shared this letter with Pritzker and Valani. JLI, at the

direction of the five Management Defendants, subsequently sent a similar letter and false

youth study, fraudulently claiming that mint was a traditional tobacco flavor and was not

attractive to kids.

       808.    Altria Group Distribution Company and Altria Group (through K.C.

Crosthwaite) then distributed hundreds of thousands of mint pods in 2019. They focused

on selling this flavor in particular to take advantage of delayed regulation.

       809.    Through the allegations above, Plaintiff has shown a direct connection

between the RICO Defendants and this fraudulent scheme, including personal

involvement in directing, in some part, the affairs of the JLI Enterprise.

Cover-up Scheme




946
    Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 12, 2018); Letter from Scott
  Gottlieb, M.D. to Altria Group Inc. (Sept. 12, 2018).
947
    See United States v. Jones, 712 F.2d 1316, 1320-21 (9th Cir. 1983) (“It is enough that
  the mails be used as part of a ‘lulling’ scheme by reassuring the victim that all is well
  and discouraging him from investigating and uncovering the fraud.”).



                                      344
       810.   The RICO Defendants were not only concerned with protecting flavors,

however. In light of growing public scrutiny of JLI’s role in the youth vaping crisis, these

Defendants continued their scheme to prevent a complete ban on JLI’s product by

portraying JUUL as a smoking cessation device and denying that the company ever

marketed to youth.

       811.   As described above and in Sections IV.D, IV.E, JLI maintained website

pages that provided false information about the addictive potential of its products and

denied that JLI marketed to youth. Defendants Bowen, Monsees, Pritzker, Huh, and

Valani directed the content of the JLI website and had “final say” over JLI’s marketing

messaging.

       812.   Bowen understood that children were using the JUUL product and

intentionally continued the youth-appealing marketing strategy. For instance, in 2016,

upon seeing social media posts of teenagers using JUUL products, he remarked that he

was “astounded by this ‘ad campaign’ that apparently some rich east coast boarding school

kids are putting on,” and he added that Valani was plotting how JUUL could “leverage

user generated content” to increase sales.

       813.   Monsees knew before the JUUL launch that JUUL would be attractive to

youth. In October 2014, Monsees received results from a JUUL prototype, including

comments that while JUUL was “too much” for smokers, the “younger group” liked

JUUL, and JUUL “might manage to make smoking cool again.” Monsees saw this

information as an opportunity, not as a warning.




                                    345
       814.   Bowen and Monsees were well aware that JUUL branding was oriented

toward teens, and they mimicked the previous efforts of the tobacco industry to hook

children on nicotine, to increase JUUL sales.

       815.   In 2015, JLI’s Board—controlled by Bowen, Monsees, Pritzker, Huh, and

Valani—met frequently, and the appeal of JUUL to underage users was a constant topic

of discussion, as detailed above. Individually and collectively, Pritzker, Huh, and Valani

affirmed this course of action, taking steps to continue marketing efforts to youth and

rejecting efforts by other Board members to curtail them.

       816.   Also in 2018, when concern grew about youth vaping, Valani directed JLI’s

strategy in responding to such concerns. As directed by Valani, the goal was to debunk

studies linking the company with the youth vaping crisis and to try to focus attention on

youth smokers who allegedly had switched to JUUL—a misinformation campaign

designed to stave off regulation or the ban of JUUL products.

       817.   Likewise, in 2018, Pritzker and Valani were heavily involved in planning

sham “youth prevention” activities, whereby JLI would put on seminars for school

children that ostensibly were designed to prevent youth vaping, but which actually told

school children that vaping was safe and even taught children how to use the product.

       818.   Pritzker was heavily involved in JLI’s public relations activities, including

granular detail such as directing responses to particular inquiries from teachers. Along

with Valani, Pritzker also approved a press release in response to an inquiry by U.S.

Senators, falsely detailing JLI’s alleged youth vaping prevention efforts.




                                    346
      819.   Pritzker and Valani each edited and revised press releases about JLI’s youth

prevention activities and steps it claimed to be taking to prevent youth sales, and they

approved CEO Kevin Burn’s op-ed to the Washington Post claiming that the company did

not want to sell to youth and was only targeting adult smokers.

      820.   The five individual Defendants caused false and misleading advertising to

be distributed over television and the internet, to give the impression that JLI’s product

was a smoking cessation device and that JLI never marketed to youth.

      821.   Valani and Pritzker routinely approved the copy for JUUL advertising spots.

For example, Kevin Burns sought Pritzker and Valani’s approval of the fraudulent “Make

the Switch” advertising campaign, which was distributed over the mail and wires.

      822.   The Make the Switch campaign featured former smokers aged 37 to 54

discussing how JUUL helped them quit smoking. According to JLI’s Vice President of

Marketing, the “Make the Switch” campaign was “an honest, straight down the middle of

the fairway, very clear communication about what we’re trying to do as a company.” But

these statements were false, as JUUL was not intended to be a smoking cessation device.

      823.   Defendant Altria Group’s subsidiaries Philip Morris USA and AGDC

continued this scheme by transmitting the fraudulent “Make the Switch” advertisements

in packs of its combustible cigarettes. These advertisements falsely portrayed the JUUL

product as a smoking cessation device for adults. Defendant Altria Client Services did the

same by e-mailing and mailing out hundreds of thousands of “Make the Switch”

advertisements, with the approval and consent of Altria Group.




                                   347
            824.   Monsees perpetuated the myth that JUUL was designed as a smoking

cessation device, even though it was designed to appeal to young nonsmokers. Monsees

testified before congress that JUUL was an “alternative” to traditional “cessation

products” that “have extremely low efficacy.”

            825.   In response to a direct question about whether people buy JUUL to stop

smoking, Defendant Monsees responded: “Yes. I would say nearly everyone uses our

product as an alternative to traditional tobacco products.”948

            826.   These statements were false, and Monsees knew that they were false, as

JUUL was not intended as a smoking cessation device.

            827.   Monsees also committed mail or wire fraud by giving the following written

testimony to Congress, which was false: “We never wanted any non-nicotine user, and

certainly nobody under the legal age of purchase, to ever use JLI products. ... That is a

serious problem. Our company has no higher priority than combatting underage use.”

            828.   Monsees further committed mail or wire fraud with a false statement,

through JLI’s website, that: “We have no higher priority than to prevent youth usage of

our products which is why we have taken aggressive, industry leading actions to combat

youth usage.” In reality, the RICO Defendants, through JLI, knowingly and intentionally

marketed its product to youth users.




948
      Id.



                                       348
       829.     Beginning in October 2018, both Altria and JLI transmitted false and

misleading communications to the public and the federal government, including Congress

and the FDA, in an attempt to stave off regulation of the JUUL product.

       830.     As detailed above, each RICO Defendant directed and participated in these

fraudulent schemes, either directly or indirectly, with specific intent to defraud, and used

JLI as a vehicle to carry out this pattern of racketeering activity.

                c.    “Pattern of Racketeering Activity”

       831.     The RICO Defendants did willfully or knowingly conduct or participate in,

directly or indirectly, the affairs of the Enterprise through a pattern of racketeering activity

within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and employed the use

of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343

(wire fraud).

       832.     Specifically, the RICO Defendants—individually and collectively—have

committed, conspired to commit, and/or aided and abetted in the commission of, at least

two predicate acts of racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343),

within the past ten years, as described herein.

       833.     The multiple acts of racketeering activity that the RICO Defendants

committed, or aided or abetted in the commission of, were related to each other, pose a

threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.”




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       834.      The RICO Defendants used, directed the use of, and/or caused to be used,

thousands of interstate mail and wire communications in service of the Enterprise’s

objectives through common misrepresentations, concealments, and material omissions.

       835.      As described above, the RICO Defendants devised and knowingly carried

out material schemes and/or artifices to defraud the public and deceive regulators by (1)

transmitting advertisements that fraudulently and deceptively omitted any reference to

JUUL’s nicotine content or potency (or any meaningful reference, where one was made);

(2) causing false and misleading statements regarding the nicotine content of JUUL pods

to be posted on the JLI website; (3) causing thousands, if not millions, of JUUL pod

packages containing false and misleading statements regarding the nicotine content of

JUUL pods to be transmitted via U.S. mail; (4) representing to users and the public at-

large that JUUL was created and designed as a smoking cessation device; (5)

misrepresenting the nicotine content and addictive potential of its products; (6) making

fraudulent statements to the FDA to persuade the FDA to allow mint flavored JUUL pods

to remain on the market; and (7) making fraudulent statements to the public (including

through advertising), the FDA, and Congress to prevent prohibition of JUUL cigarettes,

as was being contemplated in light of JLI’s role in the youth vaping epidemic.

       836.      The RICO Defendants committed these racketeering acts intentionally and

knowingly, with the specific intent to defraud and to personally or directly profit from

these actions.

       837.      The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

include, but are not limited to:



                                     350
                A. Mail Fraud: the Enterprise violated 18 U.S.C. § 1341 by sending or
                   receiving, or by causing to be sent and/or received, fraudulent materials
                   via U.S. mail or commercial interstate carriers for the purpose of
                   deceiving the public, regulators, and Congress.

                B. Wire Fraud: the Enterprise violated 18 U.S.C. § 1343 by transmitting
                   and/or receiving, or by causing to be transmitted and/or received,
                   fraudulent materials by wire for the purpose of deceiving the public,
                   regulators, and Congress.

         838.   As explained above, the RICO Defendants conducted the affairs of the

Enterprise through a pattern of racketeering activity by falsely and misleadingly using the

mails and wires in violation of 18 U.S.C. § 1341 and § 1343. To the extent that JLI itself

or a JLI officer other than one or more of the RICO Defendants made a particular statement

listed below, the five individual Defendants who controlled JLI and Altria caused those

statements to be made through their control of JLI and through their control of the

communications that JLI was disseminating to the FDA, to Congress, and to the general

public in connection with directing the affairs of JLI. As detailed above, these statements

are alleged to be part of the fraudulent schemes masterminded by the RICO Defendants

who conducted the affairs of JLI.

         839.   Illustrative and non-exhaustive examples include the following:

  From                 To                   Date             Description

  Statements Omitting Reference to JUUL’s Nicotine Content (see Section IV.E)

  JLI                  Public        (via   2015             “Vaporized” Campaign, and other advertising
                       television,                           campaigns transmitted via the mails and wires
                       internet,     and                     which targeted under-age vapers and omitted
                       mail)                                 any reference to JUUL’s nicotine content.




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JLI   Members of the      June 2015 to      171 promotional emails were sent to members
      public on JLI’s     April 7, 2016     of the public with no mention of JUUL nicotine
      email                                 content. For example, on July 11, 2015, JLI,
      distribution list                     following the marketing plan directed and
                                            approved by the Management Defendants, sent
                                            an email via the wires in interstate commerce
                                            from JUUL’s email address to people who had
                                            signed up from JUUL emails, including youth.
                                            This email advertised JUUL’s promotion events
                                            and said “Music, Art, & JUUL. What could be
                                            better? Stop by and be gifted a free starter kit.”
                                            This email did not mention that JUUL contained
                                            nicotine nor that JUUL or the free starter kits
                                            were only for adults.

JLI   Public       (via   June 2015 to      JLI’s Twitter feed, @JUULvapor, and its 2,691
      internet        –   October 6, 2017   tweets, did not contain a nicotine warning. For
      Twitter)                              example, on August 7, 2015, the @JUULvapor
                                            Twitter account published a tweet advertising
                                            the Cinespia “Movies All Night Slumber Party”
                                            and captioned it “Need tix for @cinespia 8/15?
                                            We got you. Follow us and tweet #JUULallnight
                                            and our faves will get a pair of tix!” This tweet
                                            was delivered via the wires in interstate
                                            commerce to members of the public, including
                                            followers of JLI’s Twitter Feed, which included
                                            youth. This tweet did not mention that JUUL
                                            contained nicotine.

JLI   Public       (via   July 28, 2017     The @JUULvapor Twitter account published a
      internet        –                     tweet, showing an image of a Mango JUULpod
      Twitter)                              next to mangos, and captioned “#ICYMI:
                                            Mango is now in Auto-ship! Get the #JUULpod
                                            flavor you love delivered & save 15%. Sign up
                                            today.” This tweet was delivered via the wires
                                            in interstate commerce to members of the
                                            public, including followers of JLI’s Twitter
                                            Feed, which included youth. This tweet did not
                                            mention that JUUL contained nicotine.

JLI   Public       (via   August 4, 2017    The @JUULvapor Twitter account published a
      internet        –                     tweet promoting Mint JUULpods with an image
      Twitter)                              stating “Beat The August Heat with Cool Mint”
                                            and “Crisp peppermint flavor with a pleasant
                                            aftertaste,” captioned “A new month means you
                                            can stock up on as many as 15 #JUULpod packs.
                                            Shop now.” This tweet was delivered via the
                                            wires in interstate commerce to members of the
                                            public, including followers of JLI’s Twitter
                                            Feed, which included youth. This tweet did not
                                            mention that JUUL contained nicotine.




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JLI                   Public        (via   August 28, 2017      The @JUULvapor Twitter account published a
                      internet         –                        tweet comparing JUULpods to dessert with an
                      Twitter)                                  image and stating “Do you bruleé? RT if you
                                                                enjoy dessert without a spoon with our Crème
                                                                Brulee #JUULpods.” This tweet was delivered
                                                                via the wires in interstate commerce to members
                                                                of the public, including followers of JLI’s
                                                                Twitter Feed, which included youth. This tweet
                                                                did not mention that JUUL contained nicotine.

Statements that JUUL is a Cessation Device (see Section IV.D.4)

JLI                   Public        (via   July 5, 2017         The @JUULvapor Twitter account published a
                      internet         –                        tweet stating “Here at JUUL we are focused on
                      Twitter)                                  driving innovation to eliminate cigarettes, with
                                                                the corporate goal of improving the lives of the
                                                                world’s one billion adult smokers.”

JLI                   Public     (via      April 25, 2018       “JUUL Labs was founded by former smokers,
                      internet – JLI       (or earlier) to      James and Adam, with the goal of improving the
                      Website)             Present              lives of the world’s one billion adult smokers by
                                                                eliminating cigarettes. We envision a world
                                                                where fewer adults use cigarettes, and where
                                                                adults who smoke cigarettes have the tools to
                                                                reduce or eliminate their consumption entirely,
                                                                should they so desire.”

Kevin Burns (former   Public     (via      November       13,   “To paraphrase Commissioner Gottlieb, we
JLI CEO)              internet – JLI       2018                 want to be the offramp for adult smokers to
                      Website)                                  switch from cigarettes, not an on-ramp for
                                                                America’s youth to initiate on nicotine.”

JLI                   Public     (via      September      19,   “JUUL Labs, which exists to help adult smokers
                      internet – JLI       2019                 switch off of combustible cigarettes.”
                      Website)

Howard      Willard   Public      (via     December       20,   “We are taking significant action to prepare for
(Altria CEO)          internet – Altria    2018                 a future where adult smokers overwhelmingly
                      website)                                  choose non-combustible products over
                                                                cigarettes by investing $12.8 billion in JUUL, a
                                                                world leader in switching adult smokers. ... We
                                                                have long said that providing adult smokers with
                                                                superior, satisfying products with the potential
                                                                to reduce harm is the best way to achieve
                                                                tobacco harm reduction.”

Howard Willard        FDA (via U.S.        October 25, 2018     “We believe e-vapor products present an
                      mail or electronic                        important opportunity to adult smokers to
                      transmission of                           switch from combustible cigarettes.”
                      letter          to
                      Commissioner
                      Gottlieb)

Statements Regarding Nicotine Content in JUUL pods (see Section IV.D)




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JLI                    Public     (via      July 2, 2019 (or      “Each 5% JUUL pod is roughly equivalent to
                       internet – JLI       earlier)      to      one pack of cigarettes in nicotine delivery.”
                       website)             Present

JLI                    Public     (via      April 21, 2017        “JUUL pod is designed to contain
                       internet – JLI                             approximately 0.7mL with 5% nicotine by
                       website)                                   weight at time of manufacture which is
                                                                  approximately equivalent to 1 pack of cigarettes
                                                                  or 200 puffs.”

JLI; AGDC; Altria      Public (via U.S.     2015 to Present       JUUL pod packages (1) claiming a 5% nicotine
Client Services        mail distribution                          strength; (2) stating that a JUUL pod is
                       of JUUL pod                                “approximately equivalent to about 1 pack of
                       packaging)                                 cigarettes.”

Statements to Prevent Regulation of Mint Flavor (see Sections IV.C.6 and IV.I.2)

JLI                    FDA (via U.S.        October 16, 2018      JLI’s Action Plan that fraudulently characterizes
                       mail or electronic   (FDA)                 mint as a non-flavored tobacco and menthol
                       transmission);                             product, suggesting that it was a product for
                       Public        (via   November 12,          adult smokers.
                       internet – JLI       2018 (Public)
                       website)

Howard       Willard   FDA (via U.S.        October 25, 2018      Letter from H. Willard to FDA fraudulently
(Altria Group CEO)     mail or electronic                         representing mint as a non-flavored tobacco and
                       transmission of                            menthol product, suggesting that it was a
                       letter          to                         product for adult smokers.
                       Commissioner
                       Gottlieb)

JLI                    FDA (via U.S.        November         5,   Fraudulent youth prevalence study transmitted
                       mail or electronic   2018                  by JLI to the FDA.
                       transmission)

Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Sections IV.D.4 and
IV.E.14)

JLI                    Public      (via     January 2019          $10 million “Make the Switch” advertising
                       Television)                                campaign, which was designed to deceive the
                                                                  public and regulators into believing that JLI was
                                                                  only targeting adult smokers with its advertising
                                                                  and product, and that JUUL was a smoking
                                                                  cessation product.

AGDC;         Philip   Public        (via   December 2018 -       “Make the Switch” advertising campaign, for
Morris; JLI            inserts         in   Present               the purpose of deceiving smokers into believing
                       combustible                                that JUUL was a cessation product.
                       cigarette packs)

Altria        Client   Public (via direct   December 2018         “Make the Switch” advertising campaign, for
Services; JLI          mail and email       – Present             the purpose of deceiving smokers into believing
                       campaigns)                                 that JUUL was a cessation product.




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JLI            Chief   Public         (via   December        14,   “It’s a really, really important issue. We don’t
Administrative         interview     with    2017                  want kids using our products.”
Officer                CNBC,         later
                       posted          on
                       internet)

JLI                    Public         (via   March 14, 2018        “We market our products responsibly, following
                       internet    -social                         strict guidelines to have material directly
                       media)                                      exclusively toward adult smokers and never to
                                                                   youth audiences.”

JLI                    FDA (via U.S.         October 16, 2018      “We don’t want anyone who doesn’t smoke, or
                       mail or electronic    (FDA)                 already use nicotine, to use JUUL products. We
                       transmission);                              certainly don’t want youth using the product. It
                       Public        (via    November 12,          is bad for public health, and it is bad for our
                       internet – JLI        2018 (Public)         mission. JUUL Labs and FDA share a common
                       website)                                    goal – preventing youth from initiating on
                                                                   nicotine. ... Our intent was never to have youth
                                                                   use JUUL products.”




Then-CEO of JLI        Public    (via        July 13, 2019         “First of all, I’d tell them that I’m sorry that their
(Kevin Burns)          interview with                              child’s using the product. It’s not intended for
                       CNBC – later                                them. I hope there was nothing that we did that
                       posted     on                               made it appealing to them. As a parent of a 16-
                       internet)                                   year-old, I’m sorry for them, and I have
                                                                   empathy for them, in terms of what the
                                                                   challenges they’re going through.”

JLI                    Public     (via       August 29, 2019       “We have no higher priority than to prevent
                       internet - JLI                              youth usage of our products which is why we
                       website)                                    have taken aggressive, industry leading actions
                                                                   to combat youth usage.”

James Monsees          Public       (via     August 27, 2019       Monsees said selling JUUL products to youth
                       statement to New                            was “antithetical to the company’s mission.”
                       York Times –
                       later posted on
                       internet)

JLI                    Public       (via     September       24,   “We have never marketed to youth and we never
                       statement to Los      2019                  will.”
                       Angeles Times –
                       later posted on
                       internet)




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JLI (via counsel)   FDA (via U.S.        June 15, 2018      Letter from JLI's Counsel at Sidley Austin to Dr.
                    mail or electronic                      Matthew Holman, FDA, stating: “JUUL was not
                    transmission to                         designed for youth, nor has any marketing or
                    Dr.      Matthew                        research effort since the product’s inception
                    Holman)                                 been targeted to youth.” and “With this
                                                            response, the Company hopes FDA comes to
                                                            appreciate why the product was developed and
                                                            how JUUL has been marketed — to provide a
                                                            viable alternative to cigarettes for adult
                                                            smokers.”

James Monsees       Congress    (via     July 25, 2019      Written Testimony of J. Monsees provided to
                    U.S. mail or                            Congress, stating: “We never wanted any non-
                    electronic                              nicotine user, and certainly nobody under the
                    transmission of                         legal age of purchase, to ever use JLI products.
                    written                                 ... That is a serious problem. Our company has
                    testimony)                              no higher priority than combatting underage
                                                            use.”

Howard Willard      FDA (via U.S.        October 25, 2018   “[W]e do not believe we have a current issue
                    mail or electronic                      with youth access to or use of our pod-based
                    transmission of                         products, we do not want to risk contributing to
                    letter          to                      the issue.”
                    Commissioner
                    Gottlieb)

Howard Willard      Congress     (via    October 14, 2019   “In late 2017 and into early 2018, we saw that
                    U.S. mail or                            the previously flat e-vapor category had begun
                    electronic                              to grow rapidly. JUUL was responsible for
                    transmission of                         much of the category growth and had quickly
                    letter to Senator                       become a very compelling product among adult
                    Durbin)                                 vapers. We decided to pursue an economic
                                                            interest in JUUL, believing that an investment
                                                            would significantly improve our ability to bring
                                                            adult smokers a leading portfolio of non-
                                                            combustible products and strengthen our
                                                            competitive position with regards to potentially
                                                            reduced risk products.”

JLI                 Public (via Pam      October 17, 2016   “Our Marketing Efforts are Adult-targeted. . .
                    Tighe at CBS                            Any media is focused on 21+ adult smokers and
                    News)                                   we always adhere to or exceed all tobacco
                                                            guidelines for advertising in home, radio and
                                                            digital.”




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Kevin Burns, then-   Public (via JLI’s   April 25, 2018   “Our company’s mission is to eliminate
CEO of JLI           website)                             cigarettes and help the more than one billion
                                                          smokers worldwide switch to a better alternative
                                                          . . . . We are already seeing success in our efforts
                                                          to enable adult smokers to transition away from
                                                          cigarettes and believe our products have the
                                                          potential over the long-term to contribute
                                                          meaningfully to public health in the U.S. and
                                                          around the world. At the same time, we are
                                                          committed to deterring young people, as well as
                                                          adults who do not currently smoke, from using
                                                          our products. We cannot be more emphatic on
                                                          this point: No young person or non-nicotine user
                                                          should ever try JUUL.”

Ashely Gould, JLI    Public (via JLI’s   April 25, 2018   “Our objective is to provide the 38 million
Chief                website)                             American adult smokers with meaningful
Administrative                                            alternatives to cigarettes while also ensuring
Officer                                                   that individuals who are not already smokers,
                                                          particularly young people, are not attracted to
                                                          nicotine products such as JUUL . . . . We want
                                                          to be a leader in seeking solutions, and are
                                                          actively engaged with, and listening to,
                                                          community leaders, educators and lawmakers
                                                          on how best to effectively keep young people
                                                          away from JUUL.”

JLI                  Public (via JLI’s   July 24, 2018    “We welcome the opportunity to work with the
                     website)                             Massachusetts Attorney General because, we
                                                          too, are committed to preventing underage use
                                                          of JUUL. We utilize stringent online tools to
                                                          block attempts by those under the age of 21 from
                                                          purchasing our products, including unique ID
                                                          match and age verification technology.
                                                          Furthermore, we have never marketed to anyone
                                                          underage. Like many Silicon Valley technology
                                                          startups, our growth is not the result of
                                                          marketing but rather a superior product
                                                          disrupting an archaic industry. When adult
                                                          smokers find an effective alternative to
                                                          cigarettes, they tell other adult smokers. That’s
                                                          how we’ve gained 70% of the market share. . . .
                                                          Our ecommerce platform utilizes unique ID
                                                          match and age verification technology to make
                                                          sure minors are not able to access and purchase
                                                          our products online.”




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 JLI                  Public (via JLI’s   July 26, 2018         “We did not create JUUL to undermine years of
                      website)                                  effective tobacco control, and we do not want to
                                                                see a new generation of smokers. . . . We want
                                                                to be part of the solution to end combustible
                                                                smoking, not part of a problem to attract youth,
                                                                never smokers, or former smokers to nicotine
                                                                products. . . .We adhere to strict guidelines to
                                                                ensure that our marketing is directed towards
                                                                existing adult smokers.”

 Adam Bowen           Public       (via   August 27, 2018       Bowen said he was aware early on of the risks
                      statement to New                          e-cigarettes posed to teenagers, and the
                      York Times –                              company had tried to make the gadgets “as
                      later posted on                           adult-oriented as possible,” purposely choosing
                      internet)                                 not to use cartoon characters or candy names for
                                                                its flavors.

 James Monsees        Public       (via   November        16,   “Any underage consumers using this product
                      statement      to   2018                  are absolutely a negative for our business. We
                      Forbes,     later                         don’t want them. We will never market to them.
                      published     on                          We never have.”
                      internet)

 Altria Group         Public       (via   December        20,   Statement published in Altria news release
                      internet)           2018                  stating: “Altria and JUUL are committed to
                                                                preventing kids from using any tobacco
                                                                products. As recent studies have made clear,
                                                                youth vaping is a serious problem, which both
                                                                Altria and JUUL are committed to solve. As
                                                                JUUL previously said, ‘Our intent was never to
                                                                have youth use JUUL products.’”

 Altria Group         Public       (via   January 31, 2019      “Through JUUL, we have found a unique
                      Earnings Call)                            opportunity to not only participate meaningfully
                                                                in the e-vapor category but to also support and
                                                                even accelerate transition to noncombustible
                                                                alternative products by adult smokers.”

 K.C. Crosthwaite,    Public (via JLI’s   September       25,    “I have long believed in a future where adult
 JLI’s CEO            website)            2019                  smokers overwhelmingly choose alternative
                                                                products like JUUL. That has been this
                                                                company’s mission since it was founded, and it
                                                                has taken great strides in that direction.”

 JLI                  Public (via JLI’s   March 29, 2020        “JUUL was designed with adult smokers in
                      website)                                  mind.”


       840.     The mail and wire transmissions described herein were made in furtherance

of the RICO Defendants’ schemes and common course of conduct, thereby increasing or

maintaining JLI’s market share. The sections cross-referenced in the chart detail how the




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RICO Defendants caused such mailings or transmissions to be made. As described in those

detailed factual allegations, the RICO Defendants did so either by directly approving

certain fraudulent statements or by setting in motion a scheme to defraud that would

reasonably lead to such fraudulent statements being transmitted via the mail and wires.

       841.   As described above, the RICO Defendants used JLI to further schemes to

defraud the public and deceive regulators, to continue selling nicotine products to youth,

and to protect their market share by denying that JLI marketed to youth and claiming that

JUUL was created and designed as a smoking cessation device (or a mitigated risk

product).

       842.   The RICO Defendants used these mail and wire transmissions, directly or

indirectly, in furtherance of this scheme by transmitting deliberately false and misleading

statements to the public and to government regulators.

       843.   The RICO Defendants had a specific intent to deceive regulators and

defraud the public. For example, as alleged above, JLI made repeated and unequivocal

statements through the wires and mails that it was not marketing to children and that its

products were designed for adult smokers. These statements were false. Each of the RICO

Defendants knew these statements were false but caused these statements to be made

anyway. Similarly, the RICO Defendants caused to be transmitted through the wires and

mails false and misleading statements regarding the nicotine content in JUUL pods, which

JLI’s own internal data, and Altria’s own pharmacokinetic studies, showed were false.

Moreover, each of the Enterprise Defendants had direct involvement in marketing




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statements by JLI and thus caused such statements to be made, notwithstanding that they

knew they were false for the reasons detailed above.

       844.   The RICO Defendants intended the public and regulators to rely on these

false transmissions, and this scheme was therefore reasonably calculated to deceive

persons of ordinary prudence and comprehension.

       845.   The public and government regulators relied on the Enterprise’s mail and

wire fraud. For example, the regulators, including the FDA, relied on the Enterprise’s

statements that mint was not an appealing flavor for nonsmokers in allowing mint JUUL

pods to remain on the market. Regulators also relied on the Enterprise’s statements that it

did not market to youth in allowing the RICO Defendants to continue marketing and

selling JUUL. Congress likewise relied on the Enterprise’s statements in not bringing

legislation to recall or ban e-cigarettes, despite the calls of members of both parties to do

just that. And, the public relied on statements (or the absence thereof) that were transmitted

by the RICO Defendants regarding the nicotine content in and potency of JUUL pods in

deciding to purchase JUUL products.

       846.   Many of the precise dates of the fraudulent uses of the U.S. mail and

interstate wire facilities have been deliberately hidden and cannot be alleged without

access to the RICO Defendants’ books and records. Plaintiff has, however, described the

types of predicate acts of mail and/or wire fraud, including the specific types of fraudulent

statements upon which, through the mail and wires, the RICO Defendants engaged in

fraudulent activity in furtherance of their overlapping schemes.




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       847.   These were not isolated incidents. Instead, the RICO Defendants engaged in

a pattern of racketeering activity by committing thousands of related predicate acts in a

five-year period, in the form of mail and wire fraud, and there remains a threat that such

conduct will continue or recur in the future. That each RICO Defendant participated in a

variety of schemes involving thousands of predicate acts of mail and wire fraud establishes

that such fraudulent acts are part of the Enterprise’s regular way of doing business.

Moreover, Plaintiff expects to uncover even more coordinated, predicate acts of fraud as

discovery in this case continues.

              d.     Plaintiff Has Been Damaged by the Enterprise Defendants’ RICO
                     Violations

       848.   Plaintiff has been injured by the Enterprise Defendants’ conduct, and such

injury would not have occurred but for the predicate acts of those defendants which also

constitute the acts taken by the RICO Defendants in furtherance of their conspiracy

pursuant to Section 1962(d). By working to preserve and expand the market of underage

JUUL customers, fraudulently denying JLI’s youth-focused marketing, and deceiving

regulators and the public in order to allow JUUL products and mint-flavored JUULpods

to remain on the market, the Enterprise caused the expansion of an illicit e-cigarette market

for youth in Plaintiff’s schools and caused a large number of youth in Plaintiff’s schools

to become addicted to nicotine, thus forcing Plaintiff to expend time, money, and

resources to address the epidemic Defendants created through their conduct. Indeed, the

Enterprise Defendants intentionally sought to reach into schools and deceive public health

officials in order to continue growing JLI’s youth customer base. The repeated fraudulent




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misstatements by the Enterprise Defendants denying that JLI marketed to youth have

served to preserve JUUL’s market share—a market share that is based upon children

purchasing JLI’s tobacco products.

       849.   Plaintiff was a direct victim of Defendants’ misconduct. The Defendants

displayed a wanton disregard for public health and safety by intentionally addicting youth,

including youth in Plaintiff’s schools, to nicotine and then attempting to cover up their

scheme in order to maintain and expand JUUL’s market share. Defendants actively

concealed that they marketed to youth in order to avoid public condemnation and to keep

their products on the market and continue youth sales. This forced Plaintiff to shoulder

the responsibility for this youth e-cigarette crisis created by Defendants’ misconduct. The

harm from the illicit youth e-cigarette market created by Defendants required Plaintiff to

expend its limited financial and other resources to mitigate the health crisis of youth e-

cigarette use. The expansion of this youth e-cigarette market was the goal of the Enterprise

and is critical to its success. Therefore, the harm suffered by Plaintiff because it must

address and mitigate the youth e-cigarette crisis was directly foreseeable and, in fact, an

intentional result of Defendants’ misconduct.

       850.   The creation and maintenance of this youth e-cigarette market directly

harms Plaintiff by imposing costs on its business and property. Plaintiff’s injuries were

not solely the result of routine school district expenses. Instead, as a result of Defendants’

misconduct, Plaintiff has suffered property damage and has been and will be forced to go

far beyond what a school district might ordinarily be expected to pay to enforce the laws

and to promote the general welfare in order to combat the youth e-cigarette crisis. This



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includes providing new programs and new services as a direct result and in direct response

to Defendants’ misconduct. As a result of the conduct of the Enterprise Defendants,

Plaintiff has incurred and will incur costs that far exceed the norm.

       851.   There are no intervening acts or parties that could interrupt the causal chain

between the Defendants’ mail and wire fraud and Plaintiff’s injuries. Defendants, in

furtherance of the Enterprise’s common purpose, made false and misleading statements

directly to the public, including Plaintiff, its employees, and its students. And in the case

of fraud on third parties (i.e., FDA and Congress), causation is not defeated merely

because the RICO Defendants deceived a third party into not taking action where the

FDA’s and Congress’s failure to regulate directly allowed youth in Plaintiff’s schools to

purchase products that should not have been on the market and/or that should not have

been marketed to minors.

       852.   As to predicate acts occurring prior to April 2, 2016, Plaintiff did not

discover, and could not have been aware despite the exercise of reasonable diligence, until

shortly before the initiation of the instant litigation that Defendants transmitted fraudulent

statements via the mails and wires regarding the topics described above including, inter

alia, the true nicotine content in and delivered by JUUL products, such information the

Defendants concealed and failed to truthfully disclose.

       853.   The Enterprise’s violations of 18 U.S.C. § 1962(c) have directly and

proximately caused injuries and damages to Plaintiff and Plaintiff is entitled to bring this

action for three times its actual damages, as well as for injunctive/equitable relief, costs,

and reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).



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       2.     Violations of 18 U.S.C. § 1962(d)

       854.   Plaintiff hereby incorporate by reference the allegations contained in the

preceding paragraphs of this complaint.

       855.   Section 1962(d) makes it unlawful for “any person to conspire to violate”

Section 1962(c), among other provisions. See 18 U.S.C. § 1962(d).

       856.   The RICO Defendants have not undertaken the practices described herein in

isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C.

§ 1962(d), the RICO Defendants agreed to facilitate the operation of the Enterprise

through a pattern of racketeering in violation of 18 U.S.C. § 1962(c), as described herein.

The conspiracy is coterminous with the time period in which the Enterprise has existed,

beginning before JLI was officially formed in 2015 and continuing to this day (with

Defendant Altria joining the conspiracy by at least Spring 2017).

       857.   The RICO Defendants’ agreement is evidenced by their predicate acts and

direct participation in the control and operation of the Enterprise, as detailed above in

relation to the RICO Defendants’ substantive violation of Section 1962(c). In particular,

as described above, Altria’s agreement is shown by the fact that it was well aware of JLI’s

fraudulent activities in marketing its products to youth but claiming that it would not do

so, yet Altria nonetheless secretly collaborated with JLI to continue those unlawful

activities, and it eventually made a multi-billion dollar investment in JLI and continued

the deception by directing the affairs of JLI.

       858.   The acts in furtherance of the conspiracy attributable to the RICO

Defendants include each of the predicate acts underlying the RICO Defendants’ use of the




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JLI Enterprise to, directly or indirectly, engage in a pattern of racketeering activity in

violation of Section 1962(c), as described above. Various other persons, firms, and

corporations, including third-party entities and individuals not named as Defendants in

this Complaint, have participated as co-conspirators with the members of the Enterprise

in these offenses and have performed acts in furtherance of the conspiracy to increase or

maintain revenue, maintain or increase market share, and/or minimize losses for the

Defendants and their named and unnamed co-conspirators throughout the illegal scheme

and common course of conduct. Where a RICO Defendant did not commit a predicate act

itself, it agreed to the commission of the predicate act.

       859.   Plaintiff was a direct victim of Defendants’ misconduct. The Enterprise

Defendants’ acts in furtherance of their RICO conspiracy displayed a wanton disregard

for public health and safety by intentionally addicting youth, including youth in Plaintiff’s

schools, to nicotine and then attempting to cover up their scheme in order to maintain and

expand JUUL’s market share. Defendants actively concealed that they marketed to youth

in order to avoid public condemnation and to keep their products on the market and

continue youth sales. This forced Plaintiff to shoulder the responsibility for this youth e-

cigarette crisis created by Defendants’ misconduct. The harm from the illicit youth e-

cigarette market created by Defendants required Plaintiff to expend its limited financial

and other resources to mitigate the health crisis of youth e-cigarette. The expansion of this

youth e-cigarette market was the goal of the Enterprise and is critical to its success.

Therefore, the harm suffered by Plaintiff because it must address and mitigate the youth




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e-cigarette crisis was directly foreseeable and, in fact, an intentional result of Defendants’

misconduct.

       860.   The creation and maintenance of this youth e-cigarette market, and

Defendants actions in furtherance of their RICO conspiracy, directly harms Plaintiff by

imposing costs on its business and property. Plaintiff’s injuries were not solely the result

of routine school district expenses. Instead, as a result of Defendants’ misconduct, Plaintiff

has suffered property damage and has been and will be forced to go far beyond what a

school district might ordinarily be expected to pay to enforce the laws and to promote the

general welfare in order to combat the youth e-cigarette crisis. This includes providing

new programs and new services as a direct result and in direct response to Defendants’

misconduct. As a result of the conduct of the Enterprise Defendants, Plaintiff has incurred

and will incur costs that far exceed the norm.

       861.   There are no intervening acts or parties that could interrupt the causal chain

between the RICO Defendants’ mail and wire fraud acts in furtherance of their RICO

conspiracy and Plaintiff’s injuries. The RICO Defendants, in furtherance of their

conspiracy to form the Enterprise and advance its common purpose, made false and

misleading statements directly to the public, including Plaintiff, its employees, and its

students. And in the case of fraud on third parties (i.e., FDA and Congress), causation is

not defeated merely because the RICO Defendants deceived a third party into not taking

action where the FDA’s and Congress’s failure to regulate directly allowed youth in

Plaintiff’s schools to purchase products that should not have been on the market and/or

that should not have been marketed to minors.



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       862.    As to predicate acts undertaken in furtherance of the conspiracy which

occurred prior to April 2, 2016, Plaintiff did not discover, and could not have been aware

despite the exercise of reasonable diligence, until shortly before the initiation of the instant

litigation that the RICO Defendants transmitted fraudulent statements via the mails and

wires regarding the topics described above including, inter alia, the true nicotine content

in and delivered by JUUL products, such information the RICO Defendants concealed and

failed to truthfully disclose.

       863.    The Enterprise’s violations of 18 U.S.C. § 1962(d) have directly and

proximately caused injuries and damages to Plaintiff and Plaintiff is entitled to bring this

action for three times its actual damages, as well as for injunctive/equitable relief, costs,

and reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                    COUNT THREE —
                                     NEGLIGENCE

       864.    Plaintiff incorporates by reference all preceding paragraphs.

       865.    Defendants owed Plaintiff a duty to not expose Plaintiff to an unreasonable

risk of harm, and to act with reasonable care as a reasonably careful person and/or company

would act under the circumstances.

       866.    At all times relevant to this litigation, Defendants had a duty to exercise

reasonable care in the design, research, manufacture, marketing, advertisement,

supply,   promotion, packaging, sale, and distribution of              Defendants’ e-cigarette

products, including the duty to take all reasonable steps necessary to manufacture,




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promote, and/or sell a product that was not unreasonably dangerous to consumers,

users, and other persons coming into contact with the product.

       867.   At all times relevant to this litigation, Defendants had a duty to exercise

reasonable care in the marketing, advertisement, and sale of their e-cigarette products.

Defendants’ duty of care owed to consumers and the general public, including Plaintiff,

included providing accurate, true, and correct information concerning the risks of using

Defendants’ products and appropriate, complete, and accurate warnings concerning the

potential adverse effects of e-cigarette use and nicotine use and, in particular, JLI’s

patented nicotine salts and the chemical makeup of JUULpods liquids.

       868.   At all times relevant to this litigation, Defendants knew or, in the exercise

of reasonable care, should have known of the hazards and dangers of Defendants’

products and specifically, the health hazards posed by using JUULpods and other e-

cigarette products and continued use of nicotine, particularly among adolescents.

       869.   Accordingly, at all times relevant to this litigation, Defendants knew or,

in the exercise of reasonable care, should have known that use of Defendants’

products by students could cause Plaintiff’s injuries and thus created a dangerous and

unreasonable risk of injury to Plaintiff.

       870.   Defendants also knew or, in the exercise of reasonable care, should have

known that users and consumers of Defendants’ products were unaware of the risks and

the magnitude of the risks associated with the use of Defendants’ products including but

not limited to the risks of continued nicotine use and nicotine addiction.




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      871.   As such, Defendants, by action and inaction, representation and omission,

breached their duty of reasonable care, failed to exercise ordinary care, and failed to act

as a reasonably careful person and/or company would act under the circumstances in the

design, research, development, manufacture, testing, marketing, supply, promotion,

advertisement, packaging, sale, and distribution of their e-cigarette products, in that

Defendants manufactured and produced defective products containing nicotine and other

chemicals known to cause harm to consumers, knew or had reason to know of the defects

inherent in their products, knew or had reason to know that a consumer’s use of the

products created a significant risk of harm and unreasonably dangerous side effects,

and failed to prevent or adequately warn of these risks and injuries.

      872.   Despite their ability and means to investigate, study, and test their

products and to provide adequate warnings, Defendants have failed to do so. Indeed,

Defendants have wrongfully concealed information and have made false and/or

misleading statements concerning the safety and/or use of Defendants’ products and

nicotine vaping.

      873.   Defendants’ negligence included:

             a.     Researching, designing, manufacturing, assembling, inspecting,
                    testing, packaging, labeling, marketing, advertising, promoting,
                    supplying, distributing, and/or selling their products, without
                    thorough and adequate pre- and post-market testing;

             b.     Failing to undertake sufficient studies and conduct necessary tests to
                    determine whether or not their products were safe for their intended
                    use;

             c.     Failing to use reasonable and prudent care in the design, research,
                    manufacture, formulation, and development of their products so as to




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     avoid the risk of serious harm associated with the prevalent use of e-
     cigarettes and nicotine products;

d.   Designing and manufacturing their products to cause nicotine
     addiction, including by maximizing nicotine delivery while
     minimizing “throat hit” or “harshness”;

e.   Failing to utilize proper materials, ingredients, additives and
     components in the design of their products to ensure they would not
     deliver unsafe doses of nicotine;

f.   Designing and manufacturing their products to appeal to minors and
     young people, including through the use of flavors and an easily
     concealable, tech-inspired design;

g.   Advertising, marketing, and promoting their products to minors,
     including through the use of viral social media campaigns;

h.   Failing to take steps to prevent their products from being sold to,
     distributed to, or used by minors;

i.   Failing to provide adequate instructions, guidelines, and safety
     precautions to those persons who Defendants could reasonably
     foresee would use their products;

j.   Affirmatively encouraging new JUUL users through an instructional
     starter pack insert to disregard any initial discomfort and to continue
     e-cigarette use by instructing users to “keep trying even if the JUUL
     feels too harsh,” and telling them, “[d]on’t give up, you’ll find your
     perfect puff”;

k.   Failing to disclose to, or warn, Plaintiff, users, consumers, and the
     general public of negative health consequences associated with
     exposure to nicotine and other harmful and toxic ingredients
     contained in Defendants’ products;

l.   Misrepresenting to Plaintiff, users, consumers, and the general
     public the actual nicotine content of Defendants’ products;

m.   Failing to disclose to Plaintiff, users, consumers, and the general
     public that Defendants’ products deliver more nicotine than
     represented;




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              n.     Misrepresenting Defendants’ products as non-addictive, less
                     addictive, and/or safer nicotine delivery systems than traditional
                     cigarettes;

              o.     Representing that Defendants’ products were safe for their intended
                     use when, in fact, Defendants knew or should have known that the
                     products were not safe for their intended use;

              p.     Declining to make or propose any changes to the labeling or other
                     promotional materials for Defendants’ e-cigarette and nicotine
                     products that would alert consumers and the general public,
                     including minors in Plaintiffs’ schools of the true risks of using
                     Defendants’ products;

              q.     Advertising, marketing, and recommending Defendants’ products
                     while concealing and failing to disclose or warn of the dangers
                     known by Defendants to be associated with, or caused by, the use of
                     Defendants’ products;

              r.     Continuing to disseminate information to consumers, which
                     indicates or implies that Defendants’ products are not unsafe for
                     their intended use;

              s.     Continuing the manufacture and sale of Defendants’ products with
                     knowledge that the products were unreasonably unsafe, addictive,
                     and dangerous;

              t.     Failing to recall Defendants’ products; and

              u.     Committing other failures, acts, and omissions set forth herein.

       874.   Defendants knew and/or should have known that it was foreseeable that

Plaintiff would suffer injuries as a result of Defendants’ failure to exercise reasonable care

in the manufacturing, marketing, labeling, distribution, and sale of Defendants’ products,

particularly when Defendants’ products were made and marketed so as to be attractive and

addictive to youth who spend many hours each week on Plaintiff’s property and under

Plaintiff’s supervision.




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       875.   Plaintiff did not know the nature and extent of the injuries that could result

from the intended use of e-cigarette products including, but not limited to, JLI’s patented

JUULpods liquids, by Plaintiff’s students.

       876.   Defendants’ negligence helped to and did produce, and was the proximate

cause of, the injuries, harm, and economic losses that Plaintiff suffered, and will

continue to suffer, and such injuries, harm and economic losses would not have happened

without Defendants’ negligence as described herein.

       877.   E-cigarette use is the single most disruptive behavioral situation in Plaintiff’s

high schools and Plaintiff’s injuries, harm and economic losses include, but are not limited

to:

              A.     Expending, diverting and increasing staff time to confiscate product;

              B.     Expending, diverting and increasing staff time to communicate and
                     engage with parents;

              C.     Expending, diverting and increasing the time that teachers must be
                     out of class to prepare witness statements and assist in
                     investigations;

              D.     Expending, diverting and increasing staff time associated with
                     discipline and suspension of students;

              E.     Expending, diverting and increasing staff time associated with
                     routing students to social workers to develop and convene support
                     groups for suspended students;

              F.     Expending, diverting and increasing staff time associated with
                     routing students to social workers to develop and conduct prevention
                     programing;

              G.     Expending, diverting and increasing resources for modifications to
                     the health curriculum; and

              H.     Expending, diverting and increasing resources to make physical
                     changes to schools and/or address property damage in schools.



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       878.   Defendants’ conduct, as described above, was intended to cause injury

and/or was motivated by spite or ill will and/or Defendants acted to serve their own

interests, having reason to know and consciously disregarding a substantial risk that their

conduct might significantly injure the rights of others, including Plaintiff, and/or

Defendants consciously pursued a course of conduct knowing that it created a substantial

risk of significant harm to others, including Plaintiff. Defendants regularly risks the lives

and health of consumers and users of its products with full knowledge of the dangers of

its products. Defendants made conscious decisions not to redesign, re-label, warn, or

inform the unsuspecting public, including Plaintiff’s students or Plaintiff.

Defendants’ willful, knowing and reckless conduct therefore warrants an award of

aggravated or punitive damages.

                                   COUNT FOUR —
                                 GROSS NEGLIGENCE

       879.   Plaintiff incorporates by reference all preceding paragraphs.

       880.   Defendants owed a duty of care to Plaintiff to conduct their business of

manufacturing, promoting, marketing, and/or distributing e-cigarette products in

compliance with applicable state law and in an appropriate manner.

       881.   Specifically, Defendants had a duty and owed a duty to Plaintiff to exercise

a degree of reasonable care including, but not limited to: ensuring that Defendants’

marketing does not target minors; ensuring that Defendants’ products including, but not

limited to, JUUL e-cigarettes and JUULpods are not sold and/or distributed to minors and

are not designed in a manner that makes them unduly attractive to minors; designing a




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product that will not addict youth or other users to nicotine; and adequately warning of any

reasonably foreseeable adverse events with respect to using the product. Defendants

designed, produced, manufactured, assembled, packaged, labeled, advertised, promoted,

marketed, sold, supplied and/or otherwise placed Defendants’ products into the stream of

commerce, and therefore owed a duty of reasonable care to those, including Plaintiff, who

would be impacted by their use.

       882.   Defendants’ products were the types of products that could endanger others

if negligently made, promoted, or distributed. Defendants knew the risks that young people

would be attracted to their e-cigarette products and knew or should have known the

importance of ensuring that the products were not sold and/or distributed to anyone under

age 26, but especially to minors.

       883.   Defendants knew or should have known that their marketing, distribution,

and sales practices did not adequately safeguard minors from the sale and/or distribution

of Defendants’ products and, in fact, induced minors to purchase Defendants’ products.

       884.   Defendants were grossly negligent in designing, manufacturing, supplying,

distributing, inspecting, testing (or not testing), marketing, promoting, advertising,

packaging, and/or labeling Defendants’ products.

       885.   As powerfully addictive and dangerous nicotine-delivery devices,

Defendants knew or should have known that their e-cigarette products needed to be

researched, tested, designed, advertised, marketed, promoted, produced, packaged, labeled,

manufactured, inspected, sold, supplied and distributed properly, without defects and with

due care to avoid needlessly causing harm. Defendants knew or should have known that



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their products could cause serious risk of harm, particularly to young persons like students

in Plaintiff’s schools.

       886.   Defendants engaged in willful and/or wanton conduct amounting to

aggravated negligence in that they acted with reckless indifference to the results, or to the

rights or safety of others because Defendants knew, or a reasonable person or company in

Defendants’ position should have known, that Defendants’ action and/or inaction created

an unreasonable risk of harm, and the risk was so great that it was highly probable that

harm would result. Defendants’ willful and wanton conduct, and aggravated negligence,

caused Plaintiff to suffer harm.

       887.   The willful and wanton conduct, and aggravated negligence of Defendants

includes, but is not limited to, the following:

              i.      Researching, designing, manufacturing, assembling, inspecting,
                      testing, packaging, labeling, marketing, advertising, promoting,
                      supplying, distributing, and/or selling their products, without
                      thorough and adequate pre- and post-market testing;

              ii.     Failing to undertake sufficient studies and conduct necessary tests to
                      determine whether or not their products were safe for their intended
                      use;

              iii.    Failing to use reasonable and prudent care in the design, research,
                      manufacture, formulation, and development of their products so as to
                      avoid the risk of serious harm associated with the prevalent use of e-
                      cigarettes and nicotine products;

              iv.     Designing and manufacturing their products to cause nicotine
                      addiction, including by maximizing nicotine delivery while
                      minimizing “throat hit” or “harshness”;

              v.      Failing to utilize proper materials, ingredients, additives and
                      components in the design of their products to ensure they would not
                      deliver unsafe doses of nicotine;




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vi.     Designing and manufacturing their products to appeal to minors and
        young people, including through the use of flavors and an easily
        concealable, tech-inspired design;

vii.    Advertising, marketing, and promoting their products to minors,
        including through the use of viral social media campaigns;

viii.   Failing to take steps to prevent their products from being sold to,
        distributed to, or used by minors;

ix.     Failing to provide adequate instructions, guidelines, and safety
        precautions to those persons who Defendants could reasonably
        foresee would use their products;

x.      Affirmatively encouraging new JUUL users through an instructional
        starter pack insert to disregard any initial discomfort and to continue
        e-cigarette use by instructing users to “keep trying even if the JUUL
        feels too harsh,” and telling them, “[d]on’t give up, you’ll find your
        perfect puff”;

xi.     Failing to disclose to, or warn, Plaintiff, users, consumers, and the
        general public of negative health consequences associated with
        exposure to nicotine and other harmful and toxic ingredients
        contained in Defendants’ products;

xii.    Misrepresenting to Plaintiff, users, consumers, and the general
        public the actual nicotine content of Defendants’ products;

xiii.   Failing to disclose to Plaintiff, users, consumers, and the general
        public that Defendants’ products deliver more nicotine than
        represented;

xiv.    Misrepresenting Defendants’ products as non-addictive, less
        addictive, and/or safer nicotine delivery systems than traditional
        cigarettes;

xv.     Representing that Defendants’ products were safe for their intended
        use when, in fact, Defendants knew or should have known that the
        products were not safe for their intended use;

xvi.    Declining to make or propose any changes to the labeling or other
        promotional materials for Defendants’ e-cigarette and nicotine
        products that would alert consumers and the general public,
        including minors in Plaintiffs’ schools of the true risks of using
        Defendants’ products;



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              xvii. Advertising, marketing, and recommending Defendants’ products
                    while concealing and failing to disclose or warn of the dangers
                    known by Defendants to be associated with, or caused by, the use of
                    Defendants’ products;

              xviii. Continuing to disseminate information to consumers, which
                     indicates or implies that Defendants’ products are not unsafe for
                     their intended use;

              xix.   Continuing the manufacture and sale of Defendants’ products with
                     knowledge that the products were unreasonably unsafe, addictive,
                     and dangerous;

              xx.    Failing to recall Defendants’ products; and

              xxi.   Committing other failures, acts, and omissions set forth herein.

       888.   Defendants breached the duties they owed to Plaintiff and in doing so, were

wholly unreasonable. A responsible company, whose primary purpose is to help adult

smokers, would not design a product to appeal to minors and nonsmokers nor market their

products to minors and nonsmokers. If they are aware of the dangers of smoking and

nicotine ingestion enough to create a device to help people stop smoking, then they are

aware of the dangers enough to know that it would be harmful for young people and

nonsmokers to use.

       889.   Defendants breached their duties through their false and misleading

statements and omissions in the course of the manufacture, distribution, sale, and/or

marketing of Defendants’ e-cigarette products.

       890.   As a foreseeable consequence of Defendants’ breaches of their duties,

Plaintiff suffered direct and consequential economic and other injuries as a result of dealing

with the e-cigarette epidemic in Plaintiff’s schools.




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       891.       E-cigarette use is the single most disruptive behavioral situation in

Plaintiff’s high schools and Plaintiff’s injuries, harm and economic losses include, but are

not limited to:

              A.       Expending, diverting and increasing staff time to confiscate product;

              B.       Expending, diverting and increasing staff time to communicate and
                       engage with parents;

              C.       Expending, diverting and increasing the time that teachers must be
                       out of class to prepare witness statements and assist in
                       investigations;

              D.       Expending, diverting and increasing staff time associated with
                       discipline and suspension of students;

              E.       Expending, diverting and increasing staff time associated with
                       routing students to social workers to develop and convene support
                       groups for suspended students;

              F.       Expending, diverting and increasing staff time associated with
                       routing students to social workers to develop and conduct prevention
                       programing;

              G.       Expending, diverting and increasing resources for modifications to
                       the health curriculum; and

              H.       Expending, diverting and increasing resources to make physical
                       changes to schools and/or address property damage in schools.

       892.   Defendants’ breaches of their duties involved an indifference to duty

amounting to recklessness and actions outside the bounds of reason, so as to constitute

gross negligence, willful or wanton conduct, and aggravated negligence.

       893.   Defendants’ gross negligence, willful and wanton conduct and aggravated

negligence was egregious, directed at the public generally, and involved a high degree of

moral culpability.




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       894.   Defendants’ conduct, as described above, was intended to cause injury

and/or was motivated by spite or ill will and/or Defendants acted to serve their own

interests, having reason to know and consciously disregarding a substantial risk that their

conduct might significantly injure the rights of others, including Plaintiff, and/or

Defendants consciously pursued a course of conduct knowing that it created a substantial

risk of significant harm to others, including Plaintiff. Defendants regularly risks the lives

and health of consumers and users of its products with full knowledge of the dangers of

its products. Defendants made conscious decisions not to redesign, re-label, warn, or

inform the unsuspecting public, including Plaintiff’s students or Plaintiff.

Defendants’ willful, knowing and reckless conduct therefore warrants an award of

aggravated or punitive damages.

                             VII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

       895.   Entering an Order that the conduct alleged herein constitutes a public

nuisance under Arizona law;

       896.   Entering an Order that Defendants are jointly and severally liable;

       897.   Entering an Order requiring Defendants to abate the public nuisance

described herein and to deter and/or prevent the resumption of such nuisance;

       898.   Enjoining Defendants from engaging in further actions causing or

contributing to the public nuisance as described herein;

       899.   Awarding equitable relief to fund prevention education and addiction

treatment;




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      900.   Awarding actual and compensatory damages;

      901.   Awarding punitive damages;

      902.   Awarding statutory damages in the maximum amount permitted by law;

      903.   Awarding reasonable attorneys’ fees and costs of suit;

      904.   Awarding pre-judgment and post-judgment interest; and

      905.   Such other and further relief as the Court deems just and proper under the

circumstances.

                         VIII. JURY TRIAL DEMANDED

      906.   Plaintiff hereby demands a trial by jury.

       DATED this 8th day of February, 2022.

MARICOPA COUNTY                             KELLER ROHRBACK L.L.P.


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